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           EXHIBIT A
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



NUANCE COMMUNICATIONS, INC.,

                  Plaintiff and Counterclaim
                  Defendant,
                                                      Case No. 1:19-CV-11438-PBS
       v.

OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,

                  Defendant and Counterclaim
                  Plaintiff.


             OMILIA NATURAL LANGUAGE SOLUTIONS, LTD.’S
       SECOND SUPPLEMENTAL PRELIMINARY NON-INFRINGEMENT AND
        INVALIDITY CONTENTIONS PURSUANT TO LOCAL RULE 16(d)(4)

       Omilia Natural Language Solutions, Ltd. (“Omilia NLS”), pursuant to Local Rule

16.6(d)(4)(D) and (E) and the Court’s Scheduling Order (ECF No. 55), submits its Second

Supplemental Non-Infringement Contentions and Invalidity Claim Charts concerning U.S. Patent

Nos. 6,999,925 (the “’925 Patent”) and 8,532,993 (the “’993 Patent”) (collectively the “asserted

patents”).

       For at least the reasons discussed herein, the asserted patents are not infringed and invalid.

Omilia NLS reserves the right to amend, supplement, and/or materially modify these Non-

Infringement and Invalidity Contentions pursuant to the Federal Rules of Civil Procedure, the

Court’s Local Rules, and/or any other order or schedule entered by the Court.

OMILIA NLS’ SUPPLEMENTAL NON-INFRINGEMENT AND INVALIDITY
CONTENTIONS (JUNE 9, 2020)

       PRELIMINARY STATEMENT

       1.     At the October 30, 2019 case management conference, the Court ordered Nuance

to narrow the asserted patents in this matter. Following the Court’s order, Nuance selected the

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’925 Patent and the ’993 Patent and elected to stay all other asserted patents. Omilia NLS serves

these contentions as to the ’925 Patent and ’993 Patent and reserves all rights to serve further

contentions with regard to the remaining patents at an appropriate time as determined by the parties

and the Court.

        2.       On December 6, 2019, Nuance served its preliminary infringement contentions for

the ’925 and ’993 Patents. Nuance asserted all claims, a total of 49, across the two patents.

Nuance’s contentions fail to sufficiently describe Nuance’s infringement theories or indicate how

it believes Omilia NLS’ products infringe the asserted claims. As a result, Omilia NLS has been

prejudiced in understanding and responding to Nuance’s allegations. Omilia NLS further reserves

the right to respond to these allegations if Nuance is permitted to provide further arguments or

evidence.

        3.       These supplemental contentions are limited to Omilia NLS’ products accused in

this litigation that are sold, offered for sale or available to users in the United States.

        4.       These non-infringement and invalidity contentions are based on Omilia NLS’

current knowledge, understanding, and belief as to the facts and information available as of the

date of these contentions. Discovery is ongoing and Omilia NLS has not completed its

investigation, discovery, or analysis of information related to this action. Omilia NLS reserves the

right to amend, modify and/or supplement its non-infringement and invalidity contentions.

        5.       Nothing stated herein is or shall be treated as an admission or suggestion that

Omilia NLS agrees with Nuance regarding either the scope of any of the asserted claims or the

claim construction positions advanced expressly or implicitly by Nuance’s Preliminary

Infringement Contentions or in any other pleading, discovery request or response, or any written

or verbal communication with Omilia NLS. Additionally, nothing in these Non-Infringement and


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Invalidity Contentions shall be treated as an admission that any of Omilia NLS’ accused products

meet any limitation of the asserted claims. The disclosures herein are not, and should not be

construed as a statement that no other persons have discoverable information, that no other

documents, data compilations, and/or tangible things exist that Omilia NLS may use to support

their claims or defenses, or that no other legal theories or factual bases will be pursued.

       6.      This preliminary disclosure is directed to non-infringement and invalidity issues

only and does not address unenforceability, claim construction, waiver, estoppel, laches

(prosecution laches), failure to mark, limitations on damages under 35 U.S.C. § 286 and 28 U.S.C.

§ 1498, or any other defense precluding the enforcement of the asserted patents, or barring or

limiting damages or injunctive relief. Omilia NLS reserves all rights with respect to such issues.

In addition, Omilia NLS has not deposed any of the inventors or the prosecuting attorneys of the

asserted patents. Omilia NLS reserves the right to raise any issues or defenses that come to light

during discovery, including defenses concerning inventorship and/or inequitable conduct.

       7.      Omilia NLS does not assign any particular claim construction or scope to the

claims. The timing and manner of claim construction contentions are governed by Local Rule

16(e) and the Court’s Scheduling Order (ECF No. 55). Omilia NLS reserves all rights to make

any claim construction arguments as permitted under the rules and recognizes final claim

construction and scope will be determined by the Court.

       8.      Omilia NLS is providing these non-infringement and invalidity contentions prior

to any claim construction ruling by the Court. Any non-infringement analysis depends, ultimately,

upon claim construction, which is a question of law reserved for the Court. Omilia NLS reserves

the right to amend, supplement, or materially modify its non-infringement and invalidity

contentions after the claims have been construed by the Court. Omilia NLS also reserves the right


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to amend, supplement, or materially modify its non-infringement and invalidity contentions based

on any claim construction positions that Nuance may take in this case. Moreover, since claim

construction has yet to occur, Omilia NLS has been forced to make assumptions about the meaning

of certain terms. The assumptions, or the lack thereof, made by Omilia NLS for the purposes of

these non-infringement and invalidity contentions do not necessarily convey Omilia NLS’

positions as to the meaning or validity of claim terms and cannot be used as evidence of Omilia

NLS’ views in future proceedings involving claim construction or invalidity of the claims,

including under 35 U.S.C. § 112.

       9.      Omilia NLS is providing these supplemental non-infringement and invalidity

contentions prior to any expert discovery. Omilia NLS reserves the right to amend, supplement,

or materially modify its non-infringement contentions in view of expert discovery.

       NON-INFRINGEMENT CONTENTIONS

       A.      The ’925 Patent

       Omilia NLS does not infringe the asserted claims of the ’925 patent for at least the

following reasons:

                       Nuance Cannot Demonstrate that Omilia NLS’ Products Infringe

       Nuance’s infringement contentions fail to provide a sufficient basis for infringement either

literally or under the doctrine of equivalents. For example, Nuance fails to demonstrate that each

of the steps in method claims 1-13 and 27-29 is practiced in the United States. Nuance also fails

to demonstrate that a “second speech recognizer” is generated and how it is generated as required

by all the claims, that the alleged “second speech recognizer” has a “second decision network” or

“second phonetic contexts,” that the “second decision network is not fixed by the number of nodes

in the first decision network,” or that “re-estimating comprises partitioning said training data using

said first decision network of said fair speech recognizer.” Nuance provides no allegations or
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evidence to support its claims that these elements are literally satisfied. See e.g., Nuance’s

December 6, 2019 Infringement Contentions, Exhibit A at A-15. Nuance’s allegations with

respect to the dependent claims are equally deficient and fail to provide a meaningful basis to

understand or evaluate their claims of infringement.

       Nuance provides no allegations whatsoever concerning how Omilia NLS’ products

infringe under the doctrine of equivalents. Moreover, as explained below, Omilia NLS’ products

do not infringe under the doctrine of equivalents as the differences between those products and the

’925 patent are substantial. For the reasons set forth below, the Omilia NLS’ products do not

substantially perform the same function in substantially the same way to obtain the same result.

See infra. Nuance is estopped from claiming infringement as an equivalent to the extent Nuance’s

theories ensnare prior art or seek coverage over designs disclaimed during the prosecution of the

’925 patent. As Nuance has not provided any potential equivalents, Nuance may be foreclosed

from asserting infringement analysis to the extent Nuance’s arguments are ensnared by the prior

art.

       Because Nuance’s contentions remain deficient, Omilia NLS reserves the right to further

supplement its contentions to account for any additional arguments or evidence presented by

Nuance.



       Independent claim 27 and dependent claims 28 and 29 claim a “second speech recognizer,”

which “is a multi-lingual speech recognizer.” See, e.g., the ’925 Patent at 14:22-23. Omilia NLS

does not infringe claims 27-29 of the ’925 Patent because




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       Independent claim 27 and dependent claims 28 and 29 require a “second domain

comprising a second acoustic model.” See, e.g., the ’925 Patent at 14:17-18.




       Claims 1-26 of the ’925 Patent claim a method (claims 1-13) or a machine-readable storage

(claims 14-26) that includes “automatically generating from a first speech recognizer a second

speech recognizer.” See, e.g., the ’925 Patent at 10:42-43. Omilia NLS’ software does not

automatically generate a second speech recognizer from a first speech recognizer.




       Accordingly, Omilia NLS’ products do not infringe claims 1-26. For the same reasons

Omilia NLS’ products also do not infringe claims 27-29 of the ’925 Patent directed to “a

computerized method of generating a second speech recognizer,”




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       All of the asserted claims of the ’925 Patent require a “second speech recognizer” or

“second acoustic model” generated from “said first decision network and said corresponding first

phonetic contexts based on domain-specific training data.” See, e.g., the ’925 Patent at 10:51-53.

Nuance’s infringement contentions do not sufficiently identify a second speech recognizer such

that Omilia NLS infringes the claims of the ’925 patent.




                            Therefore, Omilia NLS’ products do not infringe any claims of the

’925 Patent.



                                                                  As the ’925 Patent explains, “re-

estimation” means “a complete recalculation of the decision network and its corresponding

phonetic contexts based on the general speech recognizer decision network.” The ’925 Patent at

7:7-11. This re-estimation requires the “adaptation of the recognizer’s sub-word inventory to a

special domain.” Id. at 6:66-7:2.

       Additionally,

                   as claimed in claims 1, 3-14, 16-26 of the ’925 Patent. See, e.g., the ’925 Patent

at 10:59-61. The ’925 Patent explains, “one obtains partitioning of the adaption data that already

utilizes the phonetic context information of the much larger and more general training corpus of

the base system.” Id. at 7:58-61.




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       All of the asserted claims of the ’925 Patent require that the “second speech recognizer” or

“acoustic model” has (1) “a second decision network”, and (2) “corresponding second phonetic

contexts.” See, e.g., the ’925 Patent at 10:49-51.




                                                         Therefore, Omilia NLS’ products do not

infringe any claims of the ’925 Patent.



       Claims 1-26 of the ’925 Patent require that “the number of nodes in the second decision

network is not fixed by the number of nodes in the first decision network.” See, e.g., the ’925

Patent at 10:56-59. Independent claims 2 and 15 further require “adding a node to the second

decision network for the identified context independent of other generating step operations.” See,

e.g., the ’925 Patent at 11:17-19.




                    Accordingly, Omilia NLS does not infringe claims 1-26 of the ’925 Patent.

                       Nuance Has Not Sufficiently Identified the Claimed Generation Based
                       On “Domain-Specific Training Data”

       Claims 1-29 of the ’925 patent require that the second speech recognizer use “domain-

specific training data” to train the second speech recognizer. See, e.g., the ’925 patent at 10:52–

53; 11:4–6; 12:14–16; 12:38–40; 14:13–14. Similarly, claims 2 and 15 specify that the domain-


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specific training data is “of a limited amount.” Id. at 11:12-14; 12:46-47. In its infringement

contentions, Nuance has not sufficiently identified the claimed domain-specific training data, nor

explained how the domain-specific training data is used to generate the alleged second speech

recognizer.



       Claims 1-13 and 27-29 of the ’925 Patent are directed to methods of “generating” “a second

speech recognizer” and include the step of “generating a second acoustic model.” See, e.g., the

’925 Patent at 10:42-49.

                                        required by claims 1-13 and 27-29, such work is performed

by Omilia NLS’ personnel located outside of the United States. Likewise, to the extent the step is

performed at all, the               step of claims 27-29 is performed by Omilia NLS’ personnel

located outside of the United States.

                      and could not be alleged to perform all elements of the methods of claims 1-

13 and 27-29 in the United States. For these reasons, Omilia NLS does not infringe claims 1-13

and 27-29 of the ’925 Patent.

                        Indirect Infringement

       Nuance alleges that Omilia NLS induced and/or contributed to its customers’ infringement

of the ’925 Patent.




                                Accordingly, none of Omilia NLS’ customers directly infringe the

claims of the ’925 Patent. Omilia NLS does not induce or contribute to infringement of claims 1-

13 and 27-29 of the ’925 Patent because it does not enable its customers to perform the claimed
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method steps. Additionally, Omilia NLS does not induce or contribute to infringement of claims

14-26 of the ’925 Patent



       B.      The ’993 Patent

       Omilia NLS does not infringe the asserted claims of the ’993 patent for at least the

following reasons:

                       Nuance Cannot Demonstrate that Omilia NLS’ Products Infringe

       Nuance’s infringement contentions fail to allege a sufficient basis for infringement either

literally or under the doctrine of equivalents. Nuance fails to demonstrate that each of the steps in

method claims 1-8 is practiced in the United States or that systems (claims 9-16), or computer-

readable storage devices (claims 17-20), having stored instructions to perform the recited methods

are sold or used in the U.S. Nuance further fails to demonstrate how Omilia NLS’ products

“approximat[e] transcribed speech using a phonemic transcription dataset associated with a

speaker, to yield a language model” and “where the phonemic transcription dataset is based on a

pronunciation model of the speaker.” Nuance fails to demonstrate how Omilia NLS’ products

“incorporate, into the language model, pronunciation probabilities associated with respective

unique labels for each different pronunciation of a word,” where there are “unique labels for a

most frequent word” and that unique “label indicates a special status in the language model.”

Nuance further provides no evidence of how or when a language model with the incorporated

attributes “recognizes an utterance using the language model.” Nuance provides no allegations or

evidence to support its claims that these elements are literally satisfied. See e.g. Nuance’s

December 6, 2019 Infringement Contentions, Exhibit B at B-3-6.1 Nuance’s allegations with


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 These deficiencies are also present in all of the dependent claims of the ’993 Patent. See, e.g.,
Nuance’s December 6, 2019 Infringement Contentions, Exhibit B at B-7-17.
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respect to the dependent claims are equally deficient and fail to provide a meaningful basis to

understand or evaluate their claims of infringement.

       Likewise, Nuance provides no allegations concerning how Omilia NLS’ products infringe

under the doctrine of equivalents. Omilia NLS’ products do not infringe under the doctrine of

equivalents as the difference between those products and the ’993 Patent are substantial. Omilia

NLS’ products do not substantially perform the same function in substantially the same way to

obtain the same result as the claims of the ’993 Patent. See infra. Nuance is estopped from

claiming infringement as an equivalent to the extent Nuance’s theories ensnare prior art or seek

coverage over designs disclaimed during the prosecution of the ’993 Patent. As Nuance has not

alleged any equivalents in its Invalidity Contentions, Nuance may be foreclosed from asserting

infringement analysis to the extent Nuance’s arguments are ensnared by the prior art.

       Because Nuance’s contentions remain deficient, Omilia NLS reserves the right to further

supplement its contentions to account for any additional arguments or evidence presented by

Nuance.



       All claims of the ’993 Patent require “incorporating, into the language model,

pronunciation probabilities associated with respective unique labels for each different

pronunciation of a word.” See, e.g., the ’993 Patent at 12:19-21.




                                                             Accordingly, Omilia NLS’ products
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do not infringe any claims of the ’993 Patent.



       All claims of the ’993 Patent require “unique labels for each different pronunciation of a

word” wherein a “unique label for a most frequent word indicates a special status.” See. e.g., the

’993 Patent at 12:20-23.



                                                 Accordingly, Omilia NLS’ products do not

infringe any claims of the ’993 Patent.



       All claims of the ’993 Patent require a “transcription dataset associated with a speaker, to

yield a language model, where the phonemic transcription dataset is based on a pronunciation

model of the speaker.” See, e.g., the ’993 Patent at 12:15-18.




                                Accordingly, Omilia NLS’ products do not infringe any claims of

the ’993 Patent.




       All claims of the ’993 Patent require “after incorporating the pronunciation probabilities

into the language model, recognizing an utterance using the language model.” See, e.g., the ’993

Patent at 12:14-26.



              Accordingly, Omilia NLS’ products do not infringe any claims of the ’993 Patent.




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                       Omilia’s Speech Transcription Operations are Performed Outside the
                       United States

       Claims 1-8 of the ’993 Patent include the steps




            To the extent Omilia NLS activities can be construed as the performance of any of the

steps of the claimed methods, the steps are performed at least in part by Omilia NLS’ personnel

located outside of the United States. To the extent any such steps that are alleged to be evidence

of infringement are performed at all, the                                          steps required by

claims 1-8 are performed in part outside of the United States. Therefore, it is not possible that all

elements of claims 1-8 are performed by Omilia in the United States.

       For these reasons, Omilia NLS does not infringe claims 1-8 of the ’993 Patent.

                       Indirect Infringement

       Nuance asserts that Omilia NLS induced and/or contributed to its customers’ infringement

of the ’993 Patent.




                                                                                                 No

Omilia NLS’ customer directly infringes any of the claims of the ’993 Patent. Accordingly, Omilia

NLS does not induce or contribute to infringement of any claims of the ’993 Patent.

       C.      Omilia NLS Does Not Induce or Contribute to Infringement of the ’925 and
               ’993 Patents

       Omilia NLS does not induce or contribute to infringement of the ’925 Patent or ’993 Patent

because there is no direct infringement by Omilia NLS’ customers. Therefore, Omilia NLS is not

liable for contributory or induced infringement.
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       Nuance has failed to allege any facts that would give rise to induced infringement. Induced

infringement requires both knowledge of the patent and specific intent to cause infringement. See

DSU Med. Corp. v. JMS Co., 471 F.3d 1293, 1306 (Fed. Cir. 2006) (“[T]he ‘alleged infringer must

be shown to have knowingly induced infringement,’ not merely knowingly induced the acts that

constitute direct infringement.”) (emphasis in original) (citations omitted) (quoting Manville Sales

Corp. v. Paramount Sys., 917 F.2d 544, 553 (Fed. Cir. 1990)); accord Commil USA, LLC v. Cisco

Sys., 135 S. Ct. 1920, 1928 (2015) (“[Induced infringement] requires proof the defendant knew

the acts were infringing.”). Nuance has failed to properly allege induced infringement by alleging

only knowledge of the asserted patents and conclusory allegations that Omilia NLS knows the

Accused IVR Platform operates in a manner that infringes the asserted patents. Such conclusory

allegations are insufficient and Nuance has failed to provide evidence that Omilia NLS had the

specific intent to induce acts that constitute infringement. See DSU Med., 471 F.3d at 1306.

Nuance cannot show that Omilia NLS had knowledge or specific intent to induce infringement at

least because Omilia NLS has a good-faith belief that the asserted patents are not infringed.

       Nuance has similarly failed to allege any facts that would give rise to contributory

infringement. Contributory infringement requires the sale or offer of “a component of a patented

machine, manufacture, combination or composition, or a material or apparatus for use in practicing

a patented process, constituting a material part of the invention . . . .” See 35 U.S.C. § 271(c).

Nuance provides only conclusory allegations that the entire Accused IVR Platform is a material

part of the purported inventions. Such conclusory allegations do not and cannot demonstrate that

a component sold by Omilia NLS “constitutes a material part” of the purported inventions covered

by the asserted patents.

       D.      Omilia NLS Does Not Willfully Infringe the Asserted Patents

       Nuance has failed to meet its burden to prove willfulness.          Nuance’s Infringement
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Contentions have alleged nothing more than Omilia NLS’ knowledge of the asserted patent, mere

knowledge of the patents is insufficient for a finding of willfulness. See, e.g., Trs. of Bos. Univ. v.

Everlight Elecs. Co., Ltd., 212 F. Supp. 3d 254, 256-57 (D. Mass. 2016) (A court may not “award

enhanced damages simply because the evidence shows that the infringer knew about the patent

and nothing more.”) (citing Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1936 (2016))

(emphasis in original).

       Nuance has similarly failed to show that enhanced damages are appropriate even if the

Court were to find willfulness because such punishment should generally be reserved for egregious

cases typified by willful misconduct. Koninklijke Philips N.V. v. Zoll Med. Corp., 257 F. Supp.

3d 159, 163 (D. Mass. 2017) (“Plaintiffs have not met their burden to show that defendant’s

conduct was so malicious that a finding of willful infringement is warranted in this case”); see also

Brigham & Women’s Hosp., Inc. v. Perrigo Co., 251 F. Supp. 3d 285, 293 (D. Mass. 2017) (for

enhanced damages under Halo, infringement must be willful and egregious); Everlight Elecs., 212

F. Supp. 3d at 258 (“Assuming without deciding that the jury’s verdict, based on the subjective

prong of the now-overruled Seagate test, is sufficient to find subjective willfulness, the Court still

finds, in its discretion, that the defendants’ conduct did not rise to the level of egregiousness

meriting an award of enhanced damages.”)

       INVALIDITY CONTENTIONS

       A.       The ’925 Patent

       As described in Exhibit A, at least the prior art references below render the claims of the

’925 Patent invalid.

               United States Patent No. 6,912,499, Sabourin et al., filed August 31, 1999
                (“Sabourin”).
               United States Patent No. 6,336,108, Thiesson et al., filed December 23, 1998
                (“Thiesson”).
               United States Patent No. 7,216,079, Barnard et al., filed November 2, 1999
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               (“Barnard”).
              United States Patent Publication No. 2008-0147404, Liu et al., priority to May 15,
               2000 (“Liu”).
              United States Patent No. 6,151,574, Lee et al., filed September 8, 1998 (“Lee”).
              Duchateau et al., A Novel Node Splitting Criterion in Decision Tree Construction
               for Semi-Continuous HMMS, 5th European Conference on Speech Communication
               and Technology EUROSPEECH ‘97 (1997) (“Duchateau”).
              Schultz, et al., Japanese LVCSR on the Spontaneous Scheduling Task with
               JANUS-3, Eurospeech, Rhodes 1997 (“Schultz”).
              M. Finke, et al., Wide Context Acoustic Modeling in Read vs. Spontaneous
               Speech, Proc. Of ICASSP, Munich 1997 (“Finke”).
              V. Fischer, et al., Speaker-Independent Upfront Dialect Adaptation in a Large
               Vocabulary Continuous Speech Recognizer, 5th International Conference on
               Spoken Language Processing, Sydney, Australia 1998 (“Fischer”).
              United States Patent No. 6,324,510, Waibel et al., filed November 6, 1998
               (“Waibel”).
              United States Patent No. 6,789,061, Fischer et al., filed August 14, 2000 (the
               “’061 Patent”).

For example, the ’925 patent is anticipated under § 102 or rendered obvious under § 103 in light

of one or more of the below combinations of prior art.

           1. Thiesson anticipates claim 1 of the ’925 Patent and renders obvious claims 2-29

               alone or in combination with Liu, Lee and Duchateau.

           2. Sabourin renders obvious, alone or in combination with Thiesson, Liu, Lee, and

               Duchateau, all claims of the ’925 Patent.

           3. Barnard renders obvious, alone or in combination with Thiesson, Liu, Lee, and

               Duchateau, all claims of the ’925 Patent.

           4. Schultz renders obvious, alone or in combination with Finke, Fischer, and

               Sabourin, all claims of the ’925 Patent.

           5. Waibel in view of Sabourin renders obvious claims 27-29 of the ’925 Patent.

           6. The ’061 Patent anticipates claims 1, 13, 14, and 26 of the ’925 Patent.

       Additionally, the claims of the ’925 Patent are invalid for Obvious-Type Double Patenting

over the ’061 Patent”. Specifically:

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           1. Claim 1 is invalid over claim 6 of the ’061 Patent.

           2. Claims 3-11, and 13 are invalid over claims 3 and 6 of the ’061 Patent.

           3. Claims 14, 16-24, and 26 are invalid over claims 12 and 15 of the ’061 Patent.

           4. Claim 2 is invalid for double patenting over claim 6 of the ’061 Patent in view of

               Schultz.

           5. Claim 15 is invalid for double patenting over claim 15 of the ’061 patent in view

               of Schultz.

           6. Claims 12 and 27-29 are invalid over claim 6 of the ’061 Patent in view of Schultz

               and Sabourin.

           7. Claim 25 is invalid over claim 15 of the ’061 Patent in view of Schultz and

               Sabourin.

       The prior art references all relate to methods of generating speech recognizers. A person

of ordinary skill in the art would be motivated to combine the references with known elements of

other speech recognizers to create better more efficient speech recognizers. A person of ordinary

skill in the art would be motivated to combine the references. All of the references are directed to

building an improved speech recognizer. It would have been obvious to implement the teachings

of the references in a way corresponding to the ’925 patent. Combining the references in the above

manner would have employed a known technique such as disclosed in the ’925 patent. As such, a

person of ordinary skill would expect the combinations above would yield predictable and

successful results. Nuance has not yet indicated what secondary considerations of non-obvious it

plans to rely on. Omilia NLS reserves the right to amend or supplement its contentions if Nuance

elects to pursue secondary considerations.

       In addition, the claims of the ’925 Patent are directed to an abstract idea because the claims


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relate to ineligible subject matter under 35 U.S.C. § 101. The performance of a mathematical

formula and abstract idea by a machine is not “an inventive concept sufficient to transform the

claimed abstract idea into a patent eligible application,” and thus, renders the claims unpatentable

subject matter. See Alice Corp. Pty. Ltd v. CLS Bank Int’l, 134 S. Ct. 2347, 2357 (2014). For

example, the claims of the ’925 Patent generally concern the abstract idea of generating a second

speech recognizer by modifying a first speech recognizer for a different type of speech (or

language) based on training information from that different speech. The claims are, thus, directed

to abstract mental steps that can be performed without a computer. The claims do not recite a

method or machine readable storage that improves the functionality of a computer or addresses a

computer-specific issue. Additionally, the limitations and combination of limitations do not

provide an inventive contribution. Rather, the limitations recite either mental steps, steps that

could be done by a human without aid of a computer, or well-understood, conventional or routine

activities performed on a generic processor. The scope of the claims preempt the entire field of

use relating to modifying existing speech detection techniques using training data from another

language or field. Thus, the claims of the ’925 Patent fail to transform the claimed abstract idea

into a patent-eligible subject matter.

        In addition, the ’925 Patent claims are invalid under 35 U.S.C. § 112(a) because they fail

to provide sufficient written description and enablement for what is claimed. For example:

       The ’925 Patent fails to provide sufficient disclosure or enablement for “automatically

        generating” the second speech recognizer.

       To the extent the claims of the ’925 Patent encompass “re-estimation” methods beyond the

        limited method of “re-estimation” as described and defined in the ’925 Patent (see e.g.,

        6:66-7:16), the claims are invalid for lack of written description under 35 U.S.C. § 112.


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        The ’925 Patent fails to enable under 35 U.S.C. § 112 the generation of a “second speech

         recognizer” as claimed or how to “add[] a node to the second decision network for the

         identified context independent of other generating step operations”.

        To the extent the claims of the ’925 Patent encompass subject matter that extends beyond

         the “generating” as described and defined in the ’925 Patent (see e.g., 6:66-7:16), the

         claims are invalid under 35 U.S.C. § 112 for lack of written description and enablement.

        The ’925 Patent fails to describe or enable what it means to “partition training data using

         said first decision network of said first speech recognizer,” and are therefore invalid under

         35 U.S.C. § 112.

         In addition, the ’925 Patent asserted claims are invalid under 35 U.S.C. § 112(b) because

they are indefinite and fail to define the scope of what is claimed. The term “the number of nodes

in the second decision network is not fixed by the number of nodes in the first decision network”

(claims 1-26) fails to define the scope of the asserted claims, to the extent this limitation is

understood to cover the second decision network with the same nodes (as well as number) as the

first decision network. To the extent the claims are understood to include any “generating” steps

other than those described in the specification, the term “generating… a second speech recognizer”

is indefinite.

         These invalidity arguments, including the prior art references and their use described above

(and in Exhibit A), are merely representative and this list is not meant to limit Omilia NLS’

invalidity arguments in this case. Omilia NLS reserves the right to supplement these contentions

as the case proceeds, in particular in light of the Court’s claim construction order as well as in

connection with expert discovery.

         B.      The ’993 Patent


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       As described in Exhibit B, at least the prior art references below render the claims of the

’993 Patent invalid.

              Mirjam Wester, Pronunciation Variation Modeling for Dutch Automatic Speech
               Recognition, 2002 (“Wester”) and exemplary publications incorporated and
               discussed therein:
                   o Kessens et al., Improving the performance of a Dutch CSR by modeling
                       within-word and cross-word pronunciation variation, Speech
                       Communication 29 (1999) 193-07 (incorporated as pp. 49-65 in Wester)
                       (“Kessens”)
                   o Wester, Pronunciation Modeling for ASR – Knowledge-based and Data-
                       derived Methods, 2001 (incorporated as pp. 97-122 in Wester)
                       (“Wester2”)
              Steinbiss et al., The Philips research system for large-vocabulary continuous-
               speech recognition, Proc. of 3rd European Conference on Speech Communication
               and Technology EUROSPEECH ‘93, 2125-28 (1993) (“Steinbiss”)
              Bahl et al., Context Dependent Modeling of Phones in Continuous Speech Using
               Decision Trees, HLT ‘91 Proceedings of the workshop on Speech and Natural
               Language (1991) 264-69 (“Bahl”)

For example, the ’993 patent is anticipated under § 102 or rendered obvious under § 103 in light

of one or more of the below combinations of prior art.

           1. Wester anticipates each and every claim of the ’993 Patent.

           2. Wester renders obvious, alone or in combination with Bahl, claims 4, 12, and 20 of

               the ’993 Patent.

           3. Wester renders obvious, alone or in combination with Steinbiss, claims 9 through

               20 of the ’993 Patent.

       The references all relate to methods of generating speech recognizers. A person of ordinary

skill in the art would be motivated to combine the references with known elements of other speech

recognizers to create more efficient and effective speech recognizers. A person of ordinary skill

in the art would be motivated to combine the references. All of the references are directed to

improved pronunciation models in speech recognition systems. It would have been obvious to

implement the teachings of the references in a way corresponding to the ’993 patent. Combining

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the references in the above manner would have employed a known technique such as disclosed in

the ’993 patent. As such, a person of ordinary skill would expect the combinations above would

yield predictable and successful results.        Nuance has not yet indicated what secondary

considerations of non-obvious it plans to rely on. Omilia reserves the right to amend or supplement

its contentions if Nuance elects to pursue secondary considerations.

        The claims of the ’993 Patent are directed to an abstract idea and claim ineligible subject

matter under 35 U.S.C. § 101. The performance of a mathematical formula or abstract idea by a

machine is not “an inventive concept sufficient to transform the claimed abstract idea into a patent

eligible application,” and thus, renders the claims unpatentable subject matter. See Alice Corp.

Pty. Ltd, 134 S. Ct. at 2357. The claims are directed to abstract mental steps that can be performed

without a computer. The recited claims do not recite a method or system that improves the

functionality of a computer or addresses a computer-specific issue. Additionally, the limitations

and combination of limitations do not provide an inventive contribution. Rather, the limitations

recite either mental steps, steps that could be done by a human without aid of a computer, or well-

understood, routine, or conventional activities performed on a generic processor. The scope of the

asserted claims preempt the entire field of use pronunciation probabilities to modifying existing

speech detection techniques. Thus, the claims of the ’993 Patent fail to transform the claimed

abstract idea into a patent-eligible subject matter.

        The ’993 Patent asserted claims are invalid under 35 U.S.C. § 112(a) because they fail to

provide sufficient written description and enablement for what is claimed.

       The ’993 Patent fails to provide sufficient disclosure or enablement for the “incorporating”

        limitation present in all claims.     There is insufficient disclosure or enablement for

        “incorporating into a language model” as well as “incorporating . . . probabilities associated


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        with respective unique labels for each different pronunciation of a word.”

       The limitation “unique label for a most frequent word indicates a special status” does not

        refer to an integer representing which pronunciation is associated with the lexical entry.

        There is no written description or enablement under 35 U.S.C. § 112 for all claims of the

        ’993 Patent and the claims are, therefore, invalid.

        The asserted claims of the ’993 Patent are invalid under 35 U.S.C. § 112(b) because they

are indefinite and fail to define the scope of what is claimed. The following terms fail to define

the scope of the asserted claims:

       “approximating transcribed speech” (all claims)

       “incorporating, into the language model” (all claims)

       “most frequent word” (all claims)

       “recognizing an utterance” (all claims)

       “modeling pronunciation dependencies across word boundaries” (claims 3, 11, 19)

       “contextual dependency” (claims 4, 12, 20)

       “consistency in pronunciation probabilities” (claims 4, 12, 20)

       “throughout the utterance” (claims 4, 12, 20)

       “a set of most frequent words each with more than one pronunciation alternative”

        (claim 7)

       “pronunciation alternative” (claim 8)

        These invalidity arguments, including the prior art references and their use described above

(and in Exhibit B), are merely representative and this list is not meant to limit Omilia NLS’

invalidity arguments in this case. Omilia NLS reserves the right to supplement these contentions

as the case proceeds, in particular in light of the Court’s claim construction order as well as in

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connection with expert discovery.

OMILIA NLS’ SECOND SUPPLEMENTAL NON-INFRINGEMENT AND INVALIDITY
CONTENTIONS (OCTOBER 30, 2020) 2

          SECOND SUPPLEMENTAL NON-INFRINGEMENT CONTENTIONS

          In addition to its prior Non-Infringement Contentions, which Omilia NLS hereby reaffirms

and reincorporates herein, Omilia NLS further states as follows:

          Omilia objects to Nuance’s improper and incorrect generalizations of the operation of

Omilia’s software. In its contentions, Nuance does not show any specific act of infringement for

any specific ASR component created, deployed or sold by Omilia NLS, nor does Nuance

demonstrate that the process used to generate any specific ASR components is representative of

all of Omilia NLS’ ASR components that it provides to its customers. Moreover, Nuance has

failed to demonstrate what conduct or use, if any, is performed or occurs in the United States or

meets any other basis for liability within the United States. Both of these deficiencies are true for

all of Nuance’s infringement allegations. Instead, Nuance talks about Omilia’s software in

generalities, without demonstrating an actual and specific model that infringes any of the claims.

This deficiency is further compounded by the fact that Nuance’s allegations cobble together

disparate functionality and software that does not work together or concerns different elements.

Nuance likewise cites to legacy or reference software without any indications that they have been

used, let alone what model infringes and how there is liability within the United States. It is

Nuance’s burden to demonstrate that these elements are met and Nuance continues to have no

basis to do so.

          Contrary to Nuance’s arguments, Nuance’s inability to establish that Omilia’s products

infringe the ’925 and ’993 patents is not because certain discovery has not been provided to


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    This is when Omilia sought leave of the Court to amend its invalidity contentions.
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Nuance, but because Omilia’s products operate in a fundamentally different manner than the ’925

and ’993 patents. Nuance has had and continues to have access to all of the Omilia source code

governing the creation and use of its ASR technology as well as ASR components demonstrating

the results of that code and the development, use and deployment of those components. Omilia

has also made available its entire GitLab repository. Any further discovery is not relevant,

duplicative, or non-proportional to the needs of this case. In any case, Omilia has provided or

agreed to provide the additional requested materials.

       Omilia further objects to Nuance’s contentions to the extent that they accuse actions by

Omilia’s customers taken independently of Omilia.         Omilia does not direct or control its

customers’ performance, nor does it form a joint enterprise with its customers. In addition, Omilia

does not condition participation in an activity or the receipt of a benefit upon any actions by its

customers.

       A.      The ’925 Patent

       On August 24, 2020, Nuance narrowed the asserted ’925 patent claims to 1, 14, and 27.

Nuance’s allegations of infringement are limited to Omilia’s alleged use of “transfer learning” to

train its ASR technology. Nuance’s Response to Omilia’s Interrogatory No. 9, Ex. A. Nuance has

not alleged infringement of the ’925 patent by any other aspects of Omilia’s products. Further,

Nuance has not identified a single alleged “acoustic model” or “speech recognizer” that was

generated using the method claimed in the ’925 patent.          Moreover, Nuance has failed to

demonstrate what conduct or use, if any, is performed or occurs in the United States or meets any

other basis for liability within the United States.

       Omilia NLS does not infringe the ’925 patent claims as the accused Omilia products

operate in a fundamentally different manner. For example, Omilia NLS’ software does not create

a second speech recognizer by re-estimating a first speech recognizer, as required by the claims of
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the ’925 patent. Furthermore, nearly every limitation of the asserted claims operates in a manner

different than the recited elements of the ’925 patent. As described in Appendix 1, and as

illustrated in the documents cited therein, which are incorporated by reference herein, Omilia NLS’

software does not practice, either literally or under the doctrine of equivalents, multiple claim

limitations of the asserted claims of the ’925 patent. As Omilia has previously raised with Nuance,

Nuance still has no good faith basis to continue to assert these claims given these fundamental

differences.

       With regard to the doctrine of equivalents, Nuance’s infringement contentions fail to

identify any aspect of any accused product that purportedly infringes any claim or any element of

any asserted claim under the doctrine of equivalents. See Intendis GMBH v. Glenmark Pharm.

Inc., USA, 822 F.3d 1355, 1360 (Fed. Cir. 2016) (“[e]ven when an accused product does not meet

each and every claim element literally, it may nevertheless be found to infringe the claim ‘if there

is ‘equivalence’ between the elements of the accused product or process and the claimed

elements of the patented invention.’”). Indeed, Nuance’s infringement contentions do not even

identify what specific products allegedly infringe under the doctrine of equivalents. Instead,

Nuance’s infringement contentions generically set forth boilerplate and include only conclusory

allegations of infringement under the doctrine of equivalents. See Nuance’s Response to Omilia’s

Interrogatory No. 9, Ex. A. This is insufficient as a matter of law. See, e.g., Oil-Dri Corp. of Am.

v. Nestlé Purina Petcare Co., No. 15 C 1067, 2018 WL 1071443, *5 (N.D. Ill. Feb. 26, 2018)

(striking doctrine of equivalents arguments where they “do not sufficiently address why the

purported aspects of the Accused Products are equivalent and why any differences are

insubstantial”). To the extent Nuance is permitted to supplement its infringement contentions with

a doctrine of equivalents infringement theory, Omilia reserves the right to respond.


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       B.      The ’993 Patent

       On August 24, 2020, Nuance narrowed the asserted ’9993 patent claims to 17 and 19.

Further, Nuance has not identified a single alleged “language model” that was generated using the

method claimed in the ’993 patent, let alone any computer readable storage media with the

instructions for the steps claimed in the ’993 patent. Moreover, Nuance has failed to demonstrate

what conduct or use, if any, is performed or occurs in the United States or meets any other basis

for liability within the United States.

       Omilia NLS does not infringe the ’993 patent claims as the accused Omilia products

operate in a fundamentally different manner. For example, Omilia NLS’ software does not use

pronunciation probabilities in a dictionary, let alone a language model as required by the claims of

the ’993 patent. Furthermore, nearly every limitation of the asserted claims operates in a manner

different than the recited elements of the ’993 patent. As described in Appendix 2, and as

illustrated in the documents cited therein, which are incorporated by reference herein, Omilia NLS’

software does not practice, either literally or under the doctrine of equivalents, multiple claim

limitations of the asserted claims of the ’993 patent. As Omilia has previously raised with Nuance,

Nuance still has no good faith basis to continue to assert these claims given these fundamental

differences.

       With regard to the doctrine of equivalents, Nuance’s infringement contentions fail to

identify any aspect of any accused product that purportedly infringes any claim or any element of

any asserted claim under the doctrine of equivalents. See Intendis GMBH, 822 F.3d at 1360

(“[e]ven when an accused product does not meet each and every claim element literally, it may

nevertheless be found to infringe the claim ‘if there is ‘equivalence’ between the elements of the

accused product or process and the claimed elements of the patented invention.’”). Indeed,

Nuance’s infringement contentions do not even identify what specific products allegedly infringe
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under the doctrine of equivalents. Instead, Nuance’s infringement contentions generically set forth

boilerplate and include only conclusory allegations of infringement under the doctrine of

equivalents. See Nuance’s Response to Omilia’s Interrogatory No. 9, Ex. B. This is insufficient

as a matter of law. See, e.g., Oil-Dri Corp. of Am., 2018 WL 1071443, *5 (striking doctrine of

equivalents arguments where they “do not sufficiently address why the purported aspects of the

Accused Products are equivalent and why any differences are insubstantial”). To the extent

Nuance is permitted to supplement its infringement contentions with a doctrine of equivalents

infringement theory, Omilia reserves the right to respond.

       Omilia’s investigation is ongoing and Omilia reserves the right to supplement or amend its

responses based on additional discovery, or changes or supplements to Nuance’s infringement

allegations.

       SECOND SUPPLEMENTAL INVALIDITY CONTENTIONS

       In addition to its prior Invalidity Contentions, which Omilia NLS hereby reaffirms and

reincorporates herein, Omilia NLS further states as follows:

       On August 24, 2020, Nuance narrowed the asserted claims to claims to 1, 14, and 27 of the

’925 patent and claims 17 and 19 of the ’993 patent. Pursuant to the Court’s scheduling order,

Omilia provides further detail on its bases for invalidity of the remaining asserted claims. Dkt.

No. 101. These supplemental contentions are focused on only these five claims. To the extent

Nuance’s asserted claims change, Omilia reserves the right to further supplement its contentions

in response. Omilia NLS incorporates its prior invalidity disclosures (January 17, 2020 and June

9, 2020) and further explains the basis for invalidity below.

       These invalidity arguments, including the prior art references and their use described below

are merely representative and this list is not meant to limit Omilia NLS’ invalidity arguments in

this case. Omilia NLS reserves the right to use any of the described references to further support
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the arguments identified. For example, Omilia NLS may use any of the current or previously

disclosed references to describe the state of the art, meaning of certain terms, as well as elements

that were conventional and routine during the relevant timeframe. Omilia NLS reserves the right

to supplement these contentions as the case proceeds as well as in connection with expert

discovery, in particular to provide additional details, if new prior art is discovered through

discovery, or as Nuance further describes its infringement theories or interpretation of the claims

or responds to Omilia NLS’ invalidity allegations.

       A.       The ’925 Patent

       As described in Exhibit A (now broken into Exhibits A-1 to A-5), at least the prior art

references below render the claims of the ’925 Patent invalid.

               United States Patent No. 6,912,499, Sabourin et al., filed August 31, 1999
                (“Sabourin”).
               United States Patent No. 6,336,108, Thiesson et al., filed December 23, 1998
                (“Thiesson”).
               United States Patent No. 7,216,079, Barnard et al., filed November 2, 1999
                (“Barnard”).
               United States Patent Publication No. 2008-0147404, Liu et al., priority to May 15,
                2000 (“Liu”).
               United States Patent No. 6,151,574, Lee et al., filed September 8, 1998 (“Lee”).
               Duchateau et al., A Novel Node Splitting Criterion in Decision Tree Construction
                for Semi-Continuous HMMS, 5th European Conference on Speech Communication
                and Technology EUROSPEECH ‘97 (1997) (“Duchateau”).
               Schultz, et al., Japanese LVCSR on the Spontaneous Scheduling Task with
                JANUS-3, Eurospeech, Rhodes 1997 (“Schultz”).
               M. Finke, et al., Wide Context Acoustic Modeling in Read vs. Spontaneous
                Speech, Proc. Of ICASSP, Munich 1997 (“Finke”).
               V. Fischer, et al., Speaker-Independent Upfront Dialect Adaptation in a Large
                Vocabulary Continuous Speech Recognizer, 5th International Conference on
                Spoken Language Processing, Sydney, Australia 1998 (“Fischer”).
               United States Patent No. 6,324,510, Waibel et al., filed November 6, 1998
                (“Waibel”).
               United States Patent No. 6,789,061, Fischer et al., filed August 14, 2000 (the
                “’061 Patent”).
               R. Singh, et al., Domain Adduced State Tying For Cross-Domain Acoustic
                Modeling, Proc. Of the 6th Europ. Conf. on Speech Communication and
                Technology, Budapest (1999).
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       Claims 1, 14 and 25 of the ’925 patent are anticipated under § 102 or rendered obvious

under § 103 in light at least the following bases:

       1.      Thiesson in combination with Sabourin or Schultz renders claims 1 and 14 of the
               ’925 patent obvious. In addition, Thiesson in combination with Sabourin renders
               claim 27 of the ’925 patent obvious. Thiesson describes a computerized method of
               “bootstrapping” or adapting a first speech recognizer to a second speech recognizer
               using specialized training data. It would have been obvious to combine Thiesson’s
               disclosure with Sabourin or Schultz, which disclose that the adaptation of a first
               speech recognizer to a second speech recognizer modifies the decision network and
               phonetic contexts of the first recognizer to create a second recognizer using
               specialized training data. It further would have been obvious to combine Sabourin
               disclosure concerning the resulting multilingual recognizer using a recognizer and
               training data from different languages. Exhibit A-1 details the exemplary
               disclosures of Thiesson and combination references on an element-by-element
               basis and describes the specific motivations to combine Thiesson with those
               references.

       2.      Sabourin anticipates claims 1, 14 and 27 of the ’925 patent. In addition, Sabourin
               alone or in combination with Singh renders claims 1 and 14 of the ’925 patent
               obvious. Sabourin describes a computerized method of adapting a first language
               “speech model” to create a multilingual speech model by adjusting the phonetic
               contexts of the first model using training data from a second language. While the
               use of a decision tree is disclosed in Sabourin, the use of a decision tree in speech
               recognition would also have been obvious based on Sabourin’s disclosure alone or
               in combination with Singh, which describes the established and known method of
               using decision trees in speech recognizers. Exhibit A-2 details the exemplary
               disclosures of Sabourin and combination references on an element-by-element
               basis and describes the specific motivations to combine Sabourin with those
               references.

       3.      Schultz anticipates or renders obvious claims 1, 14 and 27 of the ’925 patent. In
               addition, Schultz alone or in combination with Sabourin and Waibel render claims
               1, 14 and 27 of the ’925 patent obvious. Schultz describes a computerized method
               of adapting a German speech recognizer to a Japanese speech recognizer by
               adjusting the phonetic contexts of the German recognizer using Japanese training
               data. It would have been obvious based on Schultz’s disclosure alone or in
               combination with Sabourin’s disclosure to create a multilingual recognizer.
               Sabourin describes a similar process of adapting phonetic contexts of a first
               recognizer with training data from a second language as described in Schultz. In
               addition, while Schultz discloses a computerized method for its adaptation, it also
               would have been obvious to combine Schultz’s disclosure with Sabourin and
               Waibel, which all describe using computers to automate the adaptation process.
               Exhibit A-3 details the exemplary disclosures of Schultz and combination
               references on an element-by-element basis and describes the specific motivations
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                to combine Schultz with those references.

       4.       Waibel alone or in combination with Sabourin or Schultz render claim 27 of the
                ’925 patent obvious. Waibel describes a computerized method of adapting the
                decision network of a first speech recognizer to create a second speech recognizer
                by adjusting the phonetic contexts of the first decision network based on domain
                specific training data. It also would have been obvious to combine Waibel with
                Sabourin’s disclosure concerning the resulting multilingual recognizer, which both
                describe a similar process of adapting phonetic contexts of a first recognizer with
                second language training data. Exhibit A-4 details the exemplary disclosures of
                Waibel and combination references on an element-by-element basis and describes
                the specific motivations to combine Waibel with those references.

       5.       Fischer (’061 patent). Claims 6 or Claim 15 of the ’061 patent render claims 1,
                14, and 27 of the ’925 patent invalid for obvious type double patenting. Claims 6
                or Claim 15 of the ’061 patent recite the same or an obvious variant of what is
                recited in claims 1, 14 and 27 of the ’925 patent. These claims are obvious in light
                of claims 6 or 15 of the ’061 patent alone or in combination with Sabourin or
                Schultz. The ’061 patent claims describes a computerize method of adapting a first
                recognizer to a second recognizer using domain specific training data. A resulting
                multilingual recognizer is an obvious variant. Moreover, it would have been
                obvious to combine these claims with Sabourin, which discloses a resulting
                multilingual recognizer using a first speech recognizer and training data from
                different languages. Exhibit A-5 details the exemplary disclosures of ’061 patent
                and combination references on an element-by-element basis and describes the
                specific motivations to combine the ’061 patent with those references.

       Omilia’s prior disclosures concerning the ’925 patent invalidity bases under 35 U.S.C. §

101 and 112 still apply. In addition, based on the court’s claim construction, the ’925 Patent fails

to describe or enable what it means to be “multilingual” or “second language” as asserted by

Nuance. While Omilia believes Nuance’s interpretations contradict the Court’s Markman order,

these interpretations also render claim 27 invalid under 35 U.S.C. § 112.

       B.       The ’993 Patent

       As described in Exhibit B (now broken into Exhibits B-1 to B-3), at least the prior art

references below render the claims of the ’993 Patent invalid.

               Mirjam Wester, Pronunciation Variation Modeling for Dutch Automatic Speech
                Recognition, 2002 (“Wester”) and exemplary publications incorporated and
                discussed therein:


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                     o Kessens et al., Improving the performance of a Dutch CSR by modeling
                         within-word and cross-word pronunciation variation, Speech
                         Communication 29 (1999) 193-07 (incorporated as pp. 49-65 in Wester)
                         (“Kessens”)
                     o Wester, Pronunciation Modeling for ASR – Knowledge-based and Data-
                         derived Methods, 2001 (incorporated as pp. 97-122 in Wester)
                         (“Wester2”)
               Steinbiss et al., The Philips research system for large-vocabulary continuous-
                speech recognition, Proc. of 3rd European Conference on Speech Communication
                and Technology EUROSPEECH ‘93, 2125-28 (1993) (“Steinbiss”)
               Kessens et al., Improving the performance of a Dutch CSR by modeling within-
                word and cross-word pronunciation variation, Speech Communication 29 (1999)
                193-07 (“Kessens”)
               Jain, et al., Creating Speaker-Specific Phonetic Templates with a Speaker-
                Independent Phonetic Recognizer: Implications for Voice Dialing, IEEE
                International Conference on Acoustics, Speech, and Signal Processing Conference
                Proceedings, 881-884 (1996) (“Jain”)
               Helmer Strik, Modeling pronunciation variation for ASR: A survey of the
                literature, 1999 (“Strik”)
               Florian Schiel, et al., Statistical Modelling of Pronunciation: It’s not the Model,
                It’s the Data, 1998 (“Schiel”)

       Claims 17 and 19 of the ’993 patent are anticipated under § 102 or rendered obvious under

§ 103 in light at least the following bases:

       1.       Wester anticipates claims 17 and 19 of the ’993 patent (Wester also incorporates
                disclosures from Wester2 and Kessens, which are companion articles relating to the
                same system). In addition, Wester alone or in combination with Jain and/or
                Steinbiss render claims 17 and 19 of the ’993 patent obvious. Wester describes
                creating and using an improved speech recognition system with language models
                where pronunciations and their probabilities that are generated using phonetic
                transcribed information. Wester2 and Kessens similarly disclose creating and using
                an improved speech recognition system with language models where
                pronunciations and their probabilities are generated using phonetic transcribed
                information. Given this disclosure, it also would have been obvious to combine
                Wester’s disclosure with Jain and/or Steinbiss. Wester discloses using phonetic
                transcribed speech that includes pronunciation variants. Jain describes using user-
                specific pronunciations to create phonetic transcribed speech that includes
                pronunciation variants. Wester is implemented using the computer-based system
                of, Steinbiss to create and use the modified language model. Exhibit B-1 details
                the exemplary disclosures of Wester and combination references on an element-by-
                element basis and describes the specific motivations to combine Wester with those
                references.

       2.       Schiel anticipates claims 17 and 19 of the ’993 patent. In addition, Schiel alone or

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               in combination with Jain and/or Steinbiss render claims 17 and 19 of the ’993 patent
               obvious. Schiel describes creating and using an improved speech recognition with
               pronunciation rules in the language models using pronunciations and their
               probabilities. These are created using digitized speech waves that are automatically
               segmented and converted into phonetic/phonemic symbols. Given this disclosure,
               it also would have been obvious to combine Schiel’s disclosure with Jain and/or
               Steinbiss. Schiel discloses using phonetic transcribed speech that includes
               pronunciation variants. Jain describes using user-specific pronunciations to create
               phonetic transcribed speech that includes pronunciation variants. Like Schiel,
               Steinbiss discloses the use of computers to create and use a speech recognition
               system. Exhibit B-2 details the exemplary disclosures of Schiel and combination
               references on an element-by-element basis and describes the specific motivations
               to combine Schiel with those references.

       3.      Strik anticipates claims 17 and 19 of the ’993 patent. In addition, Strik alone or in
               combination with Jain, Steinbiss and/or Kessen render claims 17 and 19 of the ’993
               patent obvious. Strik describes creating and using an improved speech recognition
               with language models with pronunciations and their probabilities. It also would
               have been obvious to combine Strik’s disclosure with Jain, Steinbiss and/or Kessen.
               Strik discloses using phonetic transcribed speech that includes pronunciation
               variants. Jain describes using user-specific pronunciations to create phonetic
               transcribed speech that includes pronunciation variants. Like Strik, Steinbiss
               discloses the use of computers to create and use a speech recognition system. Strik
               discloses that including many pronunciation variants may increase “confusability.”
               Kessens discloses using the most frequently occurring word sequences in order to
               protect against performance degradation. Exhibit B-3 details the exemplary
               disclosures of Strik and combination references on an element-by-element basis
               and describes the specific motivations to combine Strik with those references.

       Omilia’s prior disclosures concerning the ’993 patent invalidity bases under 35 U.S.C.

§ 101 and 112 for the still apply. In addition, based on the interpretation set forth by Nuance in its

infringement contentions for the “approximating transcribed speech using a phonemic

transcription dataset associated with a speaker to yield a language model, where the phonemic

transcription dataset is based on a pronunciation model of the speaker,” the claims of the ’993

patent are further invalid under § 112 because it fails to provide sufficient disclosure or enablement

for this limitation. Nuance’s contentions far exceed the scope of what is described and enabled in

the ’993 patent.




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Dated: October 30, 2020             Respectfully Submitted,


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                                    CERTIFICATE OF SERVICE

       I hereby certify that on October 30, 2020, the foregoing document was served by

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   APPENDIX 1
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   APPENDIX 2
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                                                          APPENDIX A-1
                                  Invalidity Claim Chart for U.S. Pat. No. 6,999,925 (’925 patent)
                           U.S. Pat. No. 6,336,108, Thiesson et al., filed December 23, 1998 (“Thiesson”)1

On October 16, 2020, Nuance narrowed the asserted ’925 patent claims to 1, 14 and 27. Nuance’s Disclosure Limiting Asserted
Claims of Phase 1 Patents. Claims 1, 14 and 27 of the ’925 patent are anticipated and/or rendered obvious by Thiesson alone or in
combination with at least the following references. The chart below discloses how prior art references identified by Omilia disclose,
either expressly or inherently, and/or render obvious each of the asserted claims:

    (1) U.S. Pat. No. 6,912,499, Sabourin et al., filed August 31, 1999 (“Sabourin”)2

    (2) Schultz, et al., Japanese LVCSR on the Spontaneous Scheduling Task with JANUS-3, Eurospeech, Rhodes 1997 (“Schultz”)3

This invalidity claim chart is based on Omilia’s present understanding of the asserted claims, the Court’s August 6, 2020 Claim
Construction Order on (ECF. No. 157), Nuance’s initial and all subsequent supplemental Infringement Contentions, its July 7, 2020
Response to Omilia’s Supplemental Non-Infringement and Invalidity Responses, Nuance’s Response to Omilia’s Interrogatory No. 9,
and Omilia’s investigation to date. Omilia is not adopting Nuance’s apparent constructions, nor is Omilia admitting to the accuracy of
any particular construction. Omilia reserves all rights to amend this invalidity claim chart if Nuance further amends its Infringement
Contentions, or in response to any statements made by Nuance at any phase of this litigation. In addition, Discovery is still ongoing,
and Omilia reserves its right to supplement its contentions with additional evidence as discovery continues.

The citations provided are exemplary and do not necessarily include each and every disclosure of the limitation in the references. Omilia
has cited the most relevant portions of the identified prior art. Other portions of the identified prior art may additionally disclose, either
expressly or inherently, and/or render obvious one or more limitations of the asserted claims. To provide context or aid in understanding
the prior art and the state of the art at the time of the alleged invention, Omilia reserves the right to rely on: (1) uncited portions of the
identified prior art; (2) other prior art not identified herein; (3) references that show the state of the art (irrespective of whether such
references themselves qualify as prior art to the asserted patents); (4) factual testimony from the inventors or authors of the prior art
references, or purveyors of prior art devices; and/or (5) expert testimony.

1
  Thiesson was filed on December 23, 1998 and is prior art at least under 35 U.S.C. § 102(a) & 102(e).
2
  Sabourin was filed on August 31, 1999 and constitutes prior art at least under 35 U.S.C. § 102(a) & 102(e).
3
  Schultz was presented at Eurospeech 97 from September 22-25, 1997 and constitutes prior art at least under 35 U.S.C. § 102(a) &
102(b).
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Citations to particular drawing or figure in the accompanying charts should be understood to include the description of the drawing or
figure, as well as any text associated with the drawing or figure. Citations to particular text concerning a drawing or figure, should
also be understood to encompasses that drawing or figure as well. The identified prior art expressly and/or inherently discloses the
features of the asserted claims under all proposed constructions of the asserted claims. To establish the inherency of certain features
of the prior art to invalidate the asserted claims, Omilia may rely on cited or uncited portions of the prior art, other documents, factual
testimony, and expert testimony. To the extent that the Court finds that this reference does not explicitly teach certain limitations in
the asserted claims, such limitations would have been inherent and/or obvious and Omilia reserves the right to supplement or amend
this claim chart to address such a finding.

 ’925 Patent

 Claim 1
 1.pre.a   “A computerized method of       Thiesson discloses a computerized method of automatically generating from a first speech
           automatically generating        recognizer a second speech recognizer. Thiesson discloses utilizing a personal computer
           from a first speech             system to run the invention. Thiesson describes using a fast bootstrap training procedure to
           recognizer a second speech      adapt a first speech recognizer into a second speech recognizer. See, e.g.,
           recognizer”
                                           “The advent of artificial intelligence within computer science has brought an abundance of
                                           decision-support systems. Decision-support systems are computer systems in which
                                           decisions, typically rendered by humans, are recommended and sometimes made. In creating
                                           decision-support systems, computer scientists seek to provide decisions with the greatest
                                           possible accuracy. Thus, computer scientists strive to create decision-support systems that
                                           are equivalent to or more accurate than a human expert. Applications of decision-support
                                           systems include medical diagnosis, troubleshooting computer networks, or other systems
                                           wherein a decision is based upon identifiable criteria.”

                                           Thiesson at 1:18-29; see Thiesson claim 54.

                                           “With reference to FIG. 4, an exemplary system for implementing the invention includes a
                                           general purpose computing device in the form of a conventional personal computer 420,
                                           including a processing unit 421, a System memory 422, and a System buS 423 that couples
                                           various System components including the System memory to the processing unit 421. The
                                           system bus 423 may be any of several types of bus Structures including a memory bus or


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             memory controller, a peripheral bus, and a local bus using any of a variety of bus
             architectures. The System memory includes read only memory (ROM) 424 and random
             access memory (RAM) 425. A basic input/output system 426 (BIOS), containing the basic
             process that helps to transfer information between elements within the personal computer
             420, Such as during start-up, is stored in ROM 424. The personal computer 420 further
             includes a hard disk drive 427 for reading from and Writing to a hard disk, not shown, a
             magnetic disk drive 428 for reading from or writing to a removable magnetic disk 429, and
             an optical disk drive 430 for reading from or writing to a removable optical disk 431 Such
             as a CD ROM or other optical media. The hard disk drive 427, magnetic disk drive 428, and
             optical disk drive 430 are connected to the system bus 423 by a hard disk drive interface
             432, a magnetic disk drive interface 433, and an optical drive interface 434, respectively.
             The drives and their associated computer-readable media provide nonvolatile Storage of
             computer readable instructions, data Structures, program modules and other data for the
             personal computer 420. Although the exemplary environment described herein employs a
             hard disk, a removable magnetic disk 429 and a removable optical disk 431, it should be
             appreciated by those skilled in the art that other types of computer readable media which can
             Store data that is accessible by a computer, Such as magnetic cassettes, flash memory cards,
             digital Video disks, Bernoulli cartridges, random access memories (RAMs), read only
             memories (ROM), and the like, may also be used in the exemplary operating environment.

             A number of program modules may be Stored on the hard disk, magnetic disk 429, optical
             disk 431, ROM 424 or RAM 425, including an operating system 435, one or more
             application programs 436, other program modules 437, and program data 438. A user may
             enter commands and information into the personal computer 420 through input devices such
             as a keyboard 440 and pointing device 442. Other input devices (not shown) may include a
             microphone, joystick, game pad, Satellite dish, Scanner, or the like. These and other input
             devices are often connected to the processing unit 421 through a Serial port interface 446
             that is coupled to the System bus, but may be connected by other interfaces, Such as a parallel
             port, game port or a universal Serial bus (USB). A monitor 447 or other type of display
             device is also connected to the System bus 423 via an interface, Such as a video adapter 448.
             In addition to the monitor, personal computers typically include other peripheral output
             devices (not shown), Such as speakers and printers.”



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             Thiesson at 10:50-11:36.

             “Preferably, there are 20 HSBNs 3050 in each MBN 3020 (i.e., m=20) so that the hidden
             class variable C has 20 states. The hidden class variable C accounts for other variables not
             included in the model, Such as, for example, different speech dialects among different
             clusters of Speakers.”
             Thiesson at 37:63-67.
             “FIG. 33 illustrates a bootstrap training procedure involving the entire speech recognition
             system of FIG. 30 including the language model 3040. In this case, the training data consists
             of an input utterance waveform representing a predetermined (a priori known) sequence of
             Senones. The speech recognition system of FIG. 30 partitions the data (block 3310 of FIG.
             33) by assigning each successive acoustic observation vector to a particular Senone “bucket'
             (block 3320 of FIG. 33). Initially, when this step is performed the speech recognition system
             of FIG. 30 can employ a conventional Structure as an acoustic model in place of the acoustic
             model 3010 consisting of the array of MBNs of the present invention. Once the 33-
             dimensional acoustic observation vectors have been assigned to various Senone buckets by
             the step of block 3320, the resulting data is used to train the array of MBNs 3010 of FIG. 30
             using the training procedures described in this specification (block 3330 of FIG. 33). The
             array of MBNs 3010 is then used as the acoustic model in place of the conventional acoustic
             model in the speech recognition system of FIG. 30, and the data partitioning step of block
             3310 is then repeated (block 3340 of FIG. 33). This may result in a change in the way in
             which Some of the acoustic observation vectors are bucketed, resulting in a more correct Set
             of training data. Then, using this improved training data Set, the array of MBNS 3010 is re-
             trained using the training procedures described in this specification. This latter Step is a
             repetition of the step of block 3330 of FIG.33. Thereafter, as more new acoustic observations
             are received, the bucketing Step of block 3310 is carried out for the incoming acoustic
             observation vectors, and the entire process of FIG.33 recycles in this manner.”
             Thiesson at 38:53-39:16; see also Fig 33.




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1.pre.b   “said first speech recognizer   Thiesson discloses a first speech recognizer with a first acoustic model, first decision
          comprising a first acoustic     network and corresponding phonetic contexts. Thiesson describes using conventional
          model with a first decisions    structures in its fast bootstrapping procedure, and also the use of Bayesian networks of
          network and corresponding       acoustic observations, which make up an acoustic model. See, e.g.,
          first phonetic contexts”
                                          “The invention performs speech recognition using an array of mixtures of Bayesian
                                          networks. A mixture of Bayesian networks (MBN) consists of plural hypothesis-specific
                                          Bayesian networks (HSBNs) having possibly hidden and observed variables. A common
                                          external hidden variable is associated with the MBN, but is not included in any of the
                                          HSBNs. The number of HSBNs in the MBN corresponds to the number of states of the
                                          common external hidden variable, and each HSBN models the world under the hypothesis
                                          that the common external hidden variables is in a corresponding one of those states. In
                                          accordance with the invention, the MBNs encode the probabilities of observing the sets of
                                          acoustic observations given the utterance of a respective one of said parts of speech. Each
                                          of the HSBNs encodes the probabilities of observing the sets of acoustic observations given
                                          the utterance of a respective one of the parts of speech and given the hidden common variable
                                          being in a particular state. Each HSBN has nodes corresponding to the elements of the
                                          acoustic observations. These nodes store probability parameters corresponding to the
                                          probabilities with causal links representing dependencies between ones of said node.”



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             Thiesson at Abstract.
             “FIG. 33 illustrates a bootstrap training procedure involving the entire speech recognition
             system of FIG. 30 including the language model 3040. In this case, the training data consists
             of an input utterance waveform representing a predetermined (a priori known) sequence of
             Senones. The speech recognition system of FIG. 30 partitions the data (block 3310 of FIG.
             33) by assigning each successive acoustic observation vector to a particular Senone “bucket'
             (block 3320 of FIG. 33). Initially, when this step is performed the speech recognition system
             of FIG. 30 can employ a conventional Structure as an acoustic model in place of the acoustic
             model 3010 consisting of the array of MBNs of the present invention. Once the 33-
             dimensional acoustic observation vectors have been assigned to various Senone buckets by
             the step of block 3320, the resulting data is used to train the array of MBNs 3010 of FIG. 30
             using the training procedures described in this specification (block 3330 of FIG. 33). The
             array of MBNs 3010 is then used as the acoustic model in place of the conventional acoustic
             model in the speech recognition system of FIG. 30, and the data partitioning step of block
             3310 is then repeated (block 3340 of FIG. 33). This may result in a change in the way in
             which Some of the acoustic observation vectors are bucketed, resulting in a more correct Set
             of training data. Then, using this improved training data Set, the array of MBNS 3010 is re-
             trained using the training procedures described in this specification. This latter Step is a
             repetition of the step of block 3330 of FIG.33. Thereafter, as more new acoustic observations
             are received, the bucketing Step of block 3310 is carried out for the incoming acoustic
             observation vectors, and the entire process of FIG.33 recycles in this manner.”
             Thiesson at 38:53-39:16; see also Fig 33.




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             In the alternative, Thiesson suggests that the acoustic model may convey a conventional
             structure and that one such conventional structure is a decision tree. A decision tree is a
             decision network and includes by virtue of its structure, phonetic context for each leaf of the
             network. See, e.g.,
             “A tree data Structure is an acyclic, undirected graph where each vertex is connected to each
             other vertex via a single path. The graph is acyclic in that there is no path that both emanates
             from a vertex and returns to the same vertex, where each edge in the path is traversed only
             once. FIG. 3C depicts an example tree data structure 330 that stores into its leaf vertices 336-
             342 the probabilities shown in table 320 of FIG. 3B. Assuming that a decision-support
             system performs probabilistic inference with X's value being 0 and Y S value being 1, the
             following Steps occur to access the appropriate probability in the tree data Structure 330:
             First, the root vertex 332, vertex X, is accessed, and its value determines the edge or branch
             to be traversed. In this example, X's value is 0, so edge 344 is traversed to vertex 334, which
             is vertex Y. Second, after reaching vertex Y, the value for this vertex determines which edge
             is traversed to the next vertex. In this example, the value for vertex Y is 1, so edge 346 is
             traversed to vertex 338, which is a leaf vertex. Finally, after reaching the leaf vertex 338,
             which stores the probability for Z equaling 0 when X=0 and Y =1, the appropriate probability

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                                        can be accessed. AS compared to a table, a tree is a more efficient way of Storing
                                        probabilities in a node of a Bayesian network, because it requires less Space. However, tree
                                        data Structures are inflexible in the Sense that they can not adequately represent relationships
                                        between probabilities. For example, because of the acyclic nature of tree data Structures, a
                                        tree cannot be used to indicate Some types of equality relationships where multiple
                                        combinations of the values of the parent Vertices have the same probability (i.e., refer to the
                                        same leaf vertex). This inflexibility requires that multiple vertices must Sometimes store the
                                        same probabilities, which is wasteful. It is thus desirable to improve Bayesian networks with
                                        tree distributions.”

                                        Thiesson at 5:6-39; see also Thiesson Fig 3C.
1.pre.c   “and said second speech       Thiesson discloses a second speech recognizer being adapted by training data. See also
          recognizer being adapted to   claim 1.pre.b. See also,
          a specific domain, said
          method comprising:”           “FIG. 33 illustrates a bootstrap training procedure involving the entire speech recognition
                                        system of FIG. 30 including the language model 3040. In this case, the training data consists
                                        of an input utterance waveform representing a predetermined (a priori known) sequence of
                                        senones. The speech recognition system of FIG. 30 partitions the data (block 3310 of FIG.
                                        33) by assigning each successive acoustic observation vector to a particular senone “bucket'
                                        (block 3320 of FIG. 33). Initially, when this step is performed the speech recognition system
                                        of FIG. 30 can employ a conventional structure as an acoustic model in place of the acoustic
                                        model 3010 consisting of the array of MBNs of the present invention. Once the 33-
                                        dimensional acoustic observation vectors have been assigned to various senone buckets by
                                        the step of block 3320, the resulting data is used to train the array of MBNs 3010 of FIG. 30
                                        using the training procedures described in this specification (block 3330 of FIG. 33). The
                                        array of MBNs 3010 is then used as the acoustic model in place of the conventional acoustic
                                        model in the speech recognition system of FIG. 30, and the data partitioning step of block
                                        3310 is then repeated (block 3340 of FIG. 33). This may result in a change in the way in
                                        which Some of the acoustic observation vectors are bucketed, resulting in a more correct Set
                                        of training data. Then, using this improved training data Set, the array of MBNS 3010 is re-
                                        trained using the training procedures described in this specification. This latter Step is a
                                        repetition of the step of block 3330 of FIG.33. Thereafter, as more new acoustic observations



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             are received, the bucketing Step of block 3310 is carried out for the incoming acoustic
             observation vectors, and the entire process of FIG.33 recycles in this manner.”
             Thiesson at 38:53-39:16; see also Thiesson Fig. 33.




             In addition, a POSITA would have recognized that at the time of the invention, training a
             speech recognizer to a specific domain was well known in the art and used in a variety of
             situations. A POSITA would have looked to other references to describe domain specific
             training data, such as Sabourin and Schultz. See Schultz at Abstract, Section 3.3; Sabourin
             at Abstract, 2:23-28, 6:45-7:8.

             A POSITA would have been motivated to combine Thiesson with any one of these
             references. Moreover, given this disclosure, the use of domain specific training data was
             obvious in light of Thiesson alone, or in combination with any of the above references. The
             motivation to combine these references would at least include:
                   Combining prior art elements according to known methods to yield predictable
                    results (use of domain specific training data and adaptation based on that training
                    data was known);


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                                              Simple substitution of one known element for another to obtain predictable results
                                               (substituting just the training data);
                                              Use of known technique to improve similar devices (methods, or products) in the
                                               same way (same technique of adapting the recognizer to new domain training data));
                                              Applying a known technique to a known device (method, or product) ready for
                                               improvement to yield predictable results (adapted recognizers were known using
                                               similar known techniques for predictable results);
                                              “Obvious to try”—choosing from a finite number of identified, predictable solutions,
                                               with a reasonable expectation of success (obvious to try to use new training data to
                                               a specific domain);
                                              Market forces and benefits associated with the known benefits of multilingual
                                               recognizers were predictable to POSA
                                              Teaching of prior art would have lead a POSA to combine the references to arrive at
                                               a multilingual recognizer.
                                        It would be obvious to a person having ordinary skill in the art to combine Thiesson with
                                        any of the above references to disclose utilizing domain specific training data to adapt the
                                        acoustic model. All of the references are in the same field of art. A person having
                                        ordinary skill in the art would be motivated to combine Thiesson with any of the
                                        references. A person having ordinary skill in the art considering Thiesson’s disclosure that
                                        the hidden variables may be dialects would be motivated to seek out a system that adapts
                                        the first decision network using domain specific training data to better account for things
                                        like the hidden dialects, as disclosed by the above references. A person having ordinary
                                        skill in the art would have a reasonable expectation of success in implementing the
                                        teaching of Thiesson to adapt the acoustic model based on domain specific training data as
                                        provided by the above references because the combination involves the predictable use of
                                        prior art elements according to their established functions.
1.a.1   “based on said first acoustic   Thiesson in combination with the references below renders this limitation obvious and
        model, generating a second      discloses that based on said first acoustic model, generating a second acoustic model with a
        acoustic model with a           second decision network and corresponding second phonetic contexts for said second speech


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second decision network        recognizer by re-estimating said first decision network and said corresponding first phonetic
and corresponding second       contexts based on domain-specific training data. See, e.g.,
phonetic contexts for said
second speech recognizer by    “FIG. 33 illustrates a bootstrap training procedure involving the entire speech recognition
re-estimating said first       system of FIG. 30 including the language model 3040. In this case, the training data consists
decision network and said      of an input utterance waveform representing a predetermined (a priori known) sequence of
corresponding first phonetic   senones. The speech recognition system of FIG. 30 partitions the data (block 3310 of FIG.
contexts based on domain-      33) by assigning each successive acoustic observation vector to a particular senone “bucket'
specific training data,”       (block 3320 of FIG. 33). Initially, when this step is performed the speech recognition system
                               of FIG. 30 can employ a conventional Structure as an acoustic model in place of the acoustic
                               model 3010 consisting of the array of MBNs of the present invention. Once the 33-
                               dimensional acoustic observation vectors have been assigned to various senone buckets by
                               the step of block 3320, the resulting data is used to train the array of MBNs 3010 of FIG. 30
                               using the training procedures described in this specification (block 3330 of FIG. 33). The
                               array of MBNs 3010 is then used as the acoustic model in place of the conventional acoustic
                               model in the speech recognition system of FIG. 30, and the data partitioning step of block
                               3310 is then repeated (block 3340 of FIG. 33). This may result in a change in the way in
                               which Some of the acoustic observation vectors are bucketed, resulting in a more correct Set
                               of training data. Then, using this improved training data set, the array of MBNs 3010 is
                               re-trained using the training procedures described in this specification. This latter step
                               is a repetition of the step of block 3330 of FIG.33. Thereafter, as more new acoustic
                               observations are received, the bucketing Step of block 3310 is carried out for the incoming
                               acoustic observation vectors, and the entire process of FIG.33 recycles in this manner.”
                               Thiesson at 38:53-39:16 (emphasis added).

                               “However, if an alternative embodiment of the present invention is used where cycles are
                               allowed to be introduced into the Bayesian network, then complete splits are performed on
                               all nodes in the Bayesian network other than the parent of the leaf node. When performing
                               a complete Split, the Bayesian network generator Selects one of the non-descendent nodes
                               described above and replaces the leaf node in the decision graph with a vertex that
                               corresponds to the Selected non-descendent node. Then, new leaves are created which
                               depend from the newly created vertex; one leaf vertex is created for each value of the newly
                               added vertex. For example, if the leaf vertex 1908 of the decision graph 1904 of FIG. 27A

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             had a complete split performed on the age node, the resulting decision graph appears in FIG.
             27B where the leaf 1908 of FIG. 27A is replaced with age vertex 1918 of FIG. 27B and
             leaves 1920-1926 are created, one for each value of the age vertex (i.e., each State of the age
             node of the Bayesian network). Each complete split on a particular non-descendent node
             generates a new decision graph which is Stored. To conserve Space, an exemplary
             embodiment Stores an identification of the change and not the entire decision graph.

             After performing a complete split, the Bayesian network generator performs a binary split if
             the number of States is greater than two (step 1844). In this step, a binary split is performed
             on the leaf for all nodes that are not descendants of the identified node as reflected in the
             Bayesian network and for all values for these non-descendent nodes. AS Stated above, this
             restriction is enforced to prevent the addition of cycles into the Bayesian network. However,
             an alternative embodiment does not enforce this restriction. In a binary Split operation, a
             leaf is replaced with a vertex that corresponds to one of the non-descendant nodes, and two
             leaves are generated from the newly created vertex node: one of the leaves contains a Single
             value and the other leaf contains all other values. For example, in the decision graph 1904
             of FIG. 27A, if leaf 1908 had a binary split performed on the age variable, the leaf 108 of
             FIG. 27A would be replaced with age vertex 1930 as shown in FIG. 27C and two leaves
             1932 and 1934 would be generated for that vertex. The first leaf 932 would contain one value
             (e.g., 1) and the Second leaf 1934 would be for all other values of the age vertex 1930 (e.g.,
             0, 2 and 3). As stated above, the binary splits on the leaf will be performed for all non-
             descendent nodes and for each value of each non-descendent node. Thus, when a node has
             n values, a binary Split is performed on this node n times. For example, Since the age node
             has four values, four splits would occur: (1) one leaf would have a value of 0, and the other
             leaf would have a value of 1, 2, or 3; (2) one leaf would have a value of 1, and the other leaf
             would have a value of 0, 2, or 3; (3) one leaf would have a value of 2, and the other leaf
             would have a value of 0, 1, or 3; (4) one leaf would have a value of 3, and the other leaf
             would have a value of 0, 1, or 2. The Bayesian network generator Stores identifications of
             the changes reflected by these binary splits.

             After performing a binary split, the Bayesian network generator merges all pairs of leaf
             nodes together (step 1846). In this step, the Bayesian network generator generates a number
             of new decision graphs by merging the leaf node selected in step 1840 with each other leaf


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             node to form a Single vertex. For example, with respect to the decision graph 1904 of FIG.
             27A, leaf 1908 and leaf 1912 can be merged into a single leaf 1938 as depicted in FIG.27D.
             After merging all pairs of leaf nodes, the Bayesian network generator determines if the
             decision graph has more leaves for processing. If So, processing continues to Step 1840.
             Otherwise, processing ends. Although the exemplary embodiment is described as
             performing a complete split, a binary split, and a merge, one skilled in the art will appreciate
             that other operations can be performed.”

             Thiesson at 33:59-34:61; see also Thiesson at Figs. 27A, 27B, 27C, and 27D.

             It would have been obvious to combine Thiesson’s adaptation of a first recognizer with at
             least Sabourin and Schultz, which describe the same type of adaptation where the phonetic
             contexts and decision network structure is modified. A POSITA would have looked to
             similar art in the field and recognized it was well known to add or delete nodes and adapt
             the phonetic contexts in the decision network based on at least Sabourin and Schultz.

             Moreover, given this disclosure, the re-estimation of the first speech recognizer was obvious
             in light of Thiesson in combination with Sabourin or Schultz. The motivation to combine
             these references would at least include:
                   Combining prior art elements according to known methods to yield predictable
                    results (adding nodes to account for new phones in a domain or deleting unused
                    phones were known using similar techniques for predictable results);
                   Simple substitution of one known element for another to obtain predictable results;
                   Use of known technique to improve similar devices (methods, or products) in the
                    same way (same technique of adapting the decision network when expanding the
                    domain of the recognizer to include new phones or deleting unused phones was
                    known));
                   Applying a known technique to a known device (method, or product) ready for
                    improvement to yield predictable results (adding and deleting nodes in the decision



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                                              network during adaptation were known using similar known techniques for
                                              predictable results);
                                             “Obvious to try”—choosing from a finite number of identified, predictable solutions,
                                              with a reasonable expectation of success (obvious to add nodes for new sounds or
                                              remove nodes for unused phones);
                                             Market forces and benefits associated with the known benefits of adding and deleting
                                              nodes were predictable to POSA
                                             Teaching of prior art would have lead a POSA to combine the references to arrive at
                                              an adaptation of a recognizer that includes adding or deleting nodes.
                                       For example, Sabourin and Schultz explicitly perform re-estimation by deleting unused
                                       nodes, adding nodes, pruning nodes and merging nodes in the decision network.
                                       It would be obvious to a person having ordinary skill in the art to combine Thiesson with
                                       Sabourin or Schultz to disclose deleting nodes, adding nodes, pruning nodes and merging
                                       nodes in the decision network. Thiesson, Sabourin, and Schultz are in the same field of art.
                                       A person having ordinary skill in the art would be motivated to combine Thiesson with
                                       Sabourin or Schultz. A person having ordinary skill in the art considering Thiesson’s
                                       disclosure that “the array of MBNs 3010 is re-trained” would be motivated to seek out other
                                       systems that train the first decision network, including by adding and deleting nodes, as
                                       disclosed by Sabourin and Schultz, to attempt to achieve an even further improved system.
                                       A person having ordinary skill in the art would have a reasonable expectation of success in
                                       implementing the teaching of Thiesson to re-estimate the first decision network through
                                       addition of nods and deletion of nodes as provided by Sabourin and Schultz because the
                                       combination involves the predictable use of prior art elements according to their established
                                       functions.

                                       See Sabourin at Abstract, 2:57-3:6, 3:52-4:7, 4:16-45, 5:66-6:44, 6:45-7:8, 8:49-10:23;
                                       Schultz at Abstract, Section 3.3., Section 3.4.
1.a.2   “wherein said first decision   Thiesson discloses that the first and second decision networks may utilize phonetic
        network and said second        decision trees to perform speech operations.
        decision network utilize a


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phonetic decision free [sic]   “FIG. 33 illustrates a bootstrap training procedure involving the entire speech recognition
to perform speech              system of FIG. 30 including the language model 3040. In this case, the training data consists
recognition operations”        of an input utterance waveform representing a predetermined (a priori known) sequence of
                               senones. The speech recognition system of FIG. 30 partitions the data (block 3310 of FIG.
                               33) by assigning each successive acoustic observation vector to a particular senone “bucket'
                               (block 3320 of FIG. 33). Initially, when this step is performed the speech recognition system
                               of FIG. 30 can employ a conventional Structure as an acoustic model in place of the
                               acoustic model 3010 consisting of the array of MBNs of the present invention. Once the 33-
                               dimensional acoustic observation vectors have been assigned to various senone buckets by
                               the step of block 3320, the resulting data is used to train the array of MBNs 3010 of FIG. 30
                               using the training procedures described in this specification (block 3330 of FIG. 33). The
                               array of MBNs 3010 is then used as the acoustic model in place of the conventional acoustic
                               model in the speech recognition system of FIG. 30, and the data partitioning step of block
                               3310 is then repeated (block 3340 of FIG. 33). This may result in a change in the way in
                               which Some of the acoustic observation vectors are bucketed, resulting in a more correct Set
                               of training data. Then, using this improved training data set, the array of MBNs 3010 is re-
                               trained using the training procedures described in this specification. This latter step is a
                               repetition of the step of block 3330 of FIG.33. Thereafter, as more new acoustic observations
                               are received, the bucketing Step of block 3310 is carried out for the incoming acoustic
                               observation vectors, and the entire process of FIG.33 recycles in this manner.”
                               Thiesson at 38:53-39:16 (emphasis added).
                               Thiesson discloses using conventional structures in the fast bootstrapping procedure and
                               describes a decision tree as a conventional structure. Thus, Thiesson teaches at least that a
                               decision tree can be used in its fast bootstrapping adaptation procedure. See, e.g.,
                               “A tree data Structure is an acyclic, undirected graph where each vertex is connected to each
                               other vertex via a single path. The graph is acyclic in that there is no path that both emanates
                               from a vertex and returns to the same vertex, where each edge in the path is traversed only
                               once. FIG. 3C depicts an example tree data structure 330 that stores into its leaf vertices 336-
                               342 the probabilities shown in table 320 of FIG. 3B. Assuming that a decision-support
                               system performs probabilistic inference with X's value being 0 and Y S value being 1, the
                               following Steps occur to access the appropriate probability in the tree data Structure 330:
                               First, the root vertex 332, vertex X, is accessed, and its value determines the edge or branch


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             to be traversed. In this example, X's value is 0, so edge 344 is traversed to vertex 334, which
             is vertex Y. Second, after reaching vertex Y, the value for this vertex determines which edge
             is traversed to the next vertex. In this example, the value for vertex Y is 1, so edge 346 is
             traversed to vertex 338, which is a leaf vertex. Finally, after reaching the leaf vertex 338,
             which stores the probability for Z equaling 0 when X=0 and Y =1, the appropriate probability
             can be accessed. AS compared to a table, a tree is a more efficient way of Storing
             probabilities in a node of a Bayesian network, because it requires less Space. However, tree
             data Structures are inflexible in the Sense that they can not adequately represent relationships
             between probabilities. For example, because of the acyclic nature of tree data Structures, a
             tree cannot be used to indicate Some types of equality relationships where multiple
             combinations of the values of the parent Vertices have the same probability (i.e., refer to the
             same leaf vertex). This inflexibility requires that multiple vertices must Sometimes store the
             same probabilities, which is wasteful. It is thus desirable to improve Bayesian networks with
             tree distributions.”

             Thiesson at 5:6-39; see also Fig. 3C.




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                                         “FIG. 3C depicts a tree data structure containing the probabilities for one of the nodes of the
                                         Bayesian network of FIG 3A.”

                                         Thiesson at 8:61-63.

                                         “In the exemplary embodiment, a Bayesian network (i.e., the initial network or the test
                                         network 608) is stored in memory as a tree data Structure where each node in the tree data
                                         Structure corresponds to a node in the Bayesian network. The arcs of the Bayesian network
                                         are implemented as pointers from one node in the tree data Structure to another node. In
                                         addition, the probabilities for each node in the Bayesian network are Stored in the
                                         corresponding node in the tree data Structure.”

                                         Thiesson at 22:17-25.

1.b.1   “wherein the number of           Thiesson discloses a process of modifying the decision network to split and merge nodes.
        nodes in the second decision
        network is not fixed by the      Combining this adaptation process with the fast bootstrap in FIG 33, would be obvious
        number of nodes in the first     because Thiesson explicitly contemplates that the training procedure of the patent will be
        decision network,”               applied after the partitioning step in the fast bootstrap procedure. Thiesson’s disclosure of
                                         splitting and merging nodes alone or further combined with references that add or delete
                                         nodes, for example Sabourin and Schultz (see claim 1.a.1) necessarily means that the number
                                         of nodes in the second decision network is not fixed by the number of nodes in the first
                                         decision network. Thus, Thiesson in combination with the references as described in claim
                                         1.a.1 discloses that “the number of nodes in the second decision network is not fixed by the
                                         number of nodes of the first decision network.”

1.b.2   “and wherein said re-            Thiesson discloses that the re-estimation comprises partitioning said training data using
        estimating comprises             said first decision network of said first speech recognizer. Thiesson describes the speech
        partitioning said training       recognition unit partitioning the training data. See, e.g.,
        data using said first decision
        network of said first speech     “FIG. 33 illustrates a bootstrap training procedure involving the entire speech recognition
        recognizer.”                     system of FIG. 30 including the language model 3040. In this case, the training data consists
                                         of an input utterance waveform representing a predetermined (a priori known) sequence of


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             senones. The speech recognition system of FIG. 30 partitions the data (block 3310 of FIG.
             33) by assigning each successive acoustic observation vector to a particular senone “bucket'
             (block 3320 of FIG. 33). Initially, when this step is performed the speech recognition system
             of FIG. 30 can employ a conventional Structure as an acoustic model in place of the acoustic
             model 3010 consisting of the array of MBNs of the present invention. Once the 33-
             dimensional acoustic observation vectors have been assigned to various senone buckets by
             the step of block 3320, the resulting data is used to train the array of MBNs 3010 of FIG. 30
             using the training procedures described in this specification (block 3330 of FIG. 33). The
             array of MBNs 3010 is then used as the acoustic model in place of the conventional acoustic
             model in the speech recognition system of FIG. 30, and the data partitioning step of block
             3310 is then repeated (block 3340 of FIG. 33). This may result in a change in the way in
             which Some of the acoustic observation vectors are bucketed, resulting in a more correct Set
             of training data. Then, using this improved training data set, the array of MBNs 3010 is re-
             trained using the training procedures described in this specification. This latter step is a
             repetition of the step of block 3330 of FIG.33. Thereafter, as more new acoustic observations
             are received, the bucketing Step of block 3310 is carried out for the incoming acoustic
             observation vectors, and the entire process of FIG.33 recycles in this manner.”
             Thiesson at 38:53-39:16; see also Fig 33.




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Claim 14
14.pre     A machine-readable storage,    See claim 1, including 1.pre.a-c. See also,
           having stored thereon a
           computer program having a      “The advent of artificial intelligence within computer science has brought an abundance of
           plurality of code sections     decision-support systems. Decision-support systems are computer systems in which
           executable by a machine for    decisions, typically rendered by humans, are recommended and sometimes made. In creating
           causing the machine to         decision-support systems, computer scientists seek to provide decisions with the greatest
           automatically generate from    possible accuracy. Thus, computer scientists strive to create decision-support systems that
           a first speech recognizer a    are equivalent to or more accurate than a human expert. Applications of decision-support
           second speech recognizer,      systems include medical diagnosis, troubleshooting computer networks, or other systems
           said first speech recognizer   wherein a decision is based upon identifiable criteria.”
           comprising a first acoustic
           model with a first decision    Thiesson at 1:18-29; see Thiesson claim 54.
           network and corresponding
           first phonetic contexts, and   “With reference to FIG. 4, an exemplary system for implementing the invention includes a
           said second speech             general purpose computing device in the form of a conventional personal computer 420,
           recognizer being adapted to    including a processing unit 421, a System memory 422, and a System buS 423 that couples
           a specific domain, said        various System components including the System memory to the processing unit 421. The
           machine-readable storage       system bus 423 may be any of several types of bus Structures including a memory bus or
           causing the machine to         memory controller, a peripheral bus, and a local bus using any of a variety of bus
           perform the steps of:          architectures. The System memory includes read only memory (ROM) 424 and random
                                          access memory (RAM) 425. A basic input/output system 426 (BIOS), containing the basic
                                          process that helps to transfer information between elements within the personal computer
                                          420, Such as during start-up, is stored in ROM 424. The personal computer 420 further
                                          includes a hard disk drive 427 for reading from and Writing to a hard disk, not shown, a
                                          magnetic disk drive 428 for reading from or writing to a removable magnetic disk 429, and
                                          an optical disk drive 430 for reading from or writing to a removable optical disk 431 Such
                                          as a CD ROM or other optical media. The hard disk drive 427, magnetic disk drive 428, and
                                          optical disk drive 430 are connected to the system bus 423 by a hard disk drive interface
                                          432, a magnetic disk drive interface 433, and an optical drive interface 434, respectively.
                                          The drives and their associated computer-readable media provide nonvolatile Storage of
                                          computer readable instructions, data Structures, program modules and other data for the


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                                      personal computer 420. Although the exemplary environment described herein employs a
                                      hard disk, a removable magnetic disk 429 and a removable optical disk 431, it should be
                                      appreciated by those skilled in the art that other types of computer readable media which can
                                      Store data that is accessible by a computer, Such as magnetic cassettes, flash memory cards,
                                      digital Video disks, Bernoulli cartridges, random access memories (RAMs), read only
                                      memories (ROM), and the like, may also be used in the exemplary operating environment.

                                      A number of program modules may be Stored on the hard disk, magnetic disk 429, optical
                                      disk 431, ROM 424 or RAM 425, including an operating system 435, one or more
                                      application programs 436, other program modules 437, and program data 438. A user may
                                      enter commands and information into the personal computer 420 through input devices such
                                      as a keyboard 440 and pointing device 442. Other input devices (not shown) may include a
                                      microphone, joystick, game pad, Satellite dish, Scanner, or the like. These and other input
                                      devices are often connected to the processing unit 421 through a Serial port interface 446
                                      that is coupled to the System bus, but may be connected by other interfaces, Such as a parallel
                                      port, game port or a universal Serial bus (USB). A monitor 447 or other type of display
                                      device is also connected to the System bus 423 via an interface, Such as a video adapter 448.
                                      In addition to the monitor, personal computers typically include other peripheral output
                                      devices (not shown), Such as speakers and printers.”

                                      Thiesson at 10:50-11:36.
14.a   based on said first acoustic   See claim 1, including 1.a.1-2, and 14.pre.
       model, generating a second
       acoustic model with a
       second decision network
       and corresponding second
       phonetic contexts for said
       second speech recognizer by
       re-estimating said first
       decision network and said
       corresponding first phonetic
       contexts based on domain-
       specific training data,


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           wherein said first decision
           network and said second
           decision network utilize a
           phonetic decision tree to
           perform speech recognition
           operations,
14.b       wherein the number of          See claim 1, including 1.b.1-2, and 14.pre, 14.a.
           nodes in the second decision
           network is not fixed by the
           number of nodes in the first
           decision network, and
           wherein said re-estimating
           comprises partitioning said
           training data using said first
           decision network of said
           first speech recognizer.
Claim 27
27.pre     “A computerized method of      See claim 1, including 1.pre.a-c.
           generating a second speech
           recognizer comprising the
           steps of:”

27.a       “identifying a first speech    See claim 1, including 1.pre.b and 27.pre.
           recognizer of a first domain
           comprising a first acoustic
           model with a first decision
           network and corresponding
           first phonetic contexts;”
27.b       “receiving domain-specific     Thiesson discloses receiving domain-specific training data of a second domain. Thiesson
           training data of a second      discloses a fast bootstrapping procedure that inputs waveforms from the training data to
           domain; and”


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                                      partition the data and train the acoustic model. See claim 1 including 1.pre.c and 1.a.1. See
                                      also,

                                      “FIG. 33 illustrates a bootstrap training procedure involving the entire speech recognition
                                      system of FIG. 30 including the language model 3040. In this case, the training data consists
                                      of an input utterance waveform representing a predetermined (a priori known) sequence of
                                      senones. The speech recognition system of FIG. 30 partitions the data (block 3310 of FIG.
                                      33) by assigning each successive acoustic observation vector to a particular senone “bucket'
                                      (block 3320 of FIG. 33). Initially, when this step is performed the speech recognition system
                                      of FIG. 30 can employ a conventional Structure as an acoustic model in place of the acoustic
                                      model 3010 consisting of the array of MBNs of the present invention. Once the 33-
                                      dimensional acoustic observation vectors have been assigned to various senone buckets by
                                      the step of block 3320, the resulting data is used to train the array of MBNs 3010 of FIG. 30
                                      using the training procedures described in this specification (block 3330 of FIG. 33). The
                                      array of MBNs 3010 is then used as the acoustic model in place of the conventional acoustic
                                      model in the speech recognition system of FIG. 30, and the data partitioning step of block
                                      3310 is then repeated (block 3340 of FIG. 33). This may result in a change in the way in
                                      which Some of the acoustic observation vectors are bucketed, resulting in a more correct Set
                                      of training data. Then, using this improved training data set, the array of MBNs 3010 is re-
                                      trained using the training procedures described in this specification. This latter step is a
                                      repetition of the step of block 3330 of FIG.33. Thereafter, as more new acoustic observations
                                      are received, the bucketing Step of block 3310 is carried out for the incoming acoustic
                                      observation vectors, and the entire process of FIG.33 recycles in this manner.”
                                      Thiesson at 38:53-39:16; see also Thiesson at Fig. 33.


27.c   “based on the first speech     Thiesson in combination with the references mentioned in claim 1.a.1 disclose based on
       recognizer and the domain-     the first speech recognizer and the domain-specific training data, generating a second
       specific training data,        acoustic model of said first domain and said second domain comprising a second acoustic
       generating a second acoustic   model with a second decision network and corresponding second phonetic contexts. This
       model of said first domain     includes re-estimating the first decision network and first phonetic contexts. See claim 1
       and said second domain         including 1.pre.c and 1.a.1.
       comprising a second

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acoustic model with a         Moreover, the creation of a multilingual second recognizer was obvious in light of Thiesson
second decision network       in combination with any of the following references. For example, multilingual speech
and corresponding second      recognizers were well known at the time of the ’925 patent. See, e.g., Schultz et al.,
phonetic contexts, wherein    “Polyphone Decision Tree Specialization for Language Adaptation”, ICASSP-2000,
the first domain comprises    Istanbul, Turkey, Jun. 2000 (Section 2.2. describing generating and use of multilingual
at least a first language,    speech recognizers). The motivation to combine these references would at least include:
wherein the second domain
comprises at least a second         Combining prior art elements according to known methods to yield predictable
language, and wherein the            results (multilingual recognizers were known using similar techniques for
second speech recognizer is          predictable results);
a multi-lingual speech              Simple substitution of one known element for another to obtain predictable results
recognizer.”                         (substituting the domain from just one language to two);
                                    Use of known technique to improve similar devices (methods, or products) in the
                                     same way (same technique of expanding domain of the recognizer to include multiple
                                     languages was known));
                                    Applying a known technique to a known device (method, or product) ready for
                                     improvement to yield predictable results (multilingual recognizers were known using
                                     similar known techniques for predictable results);
                                    “Obvious to try”—choosing from a finite number of identified, predictable solutions,
                                     with a reasonable expectation of success (obvious to try to recognize more than one
                                     language);
                                    Market forces and benefits associated with the known benefits of multilingual
                                     recognizers were predictable to POSA
                                    Teaching of prior art would have lead a POSA to combine the references to arrive at
                                     a multilingual recognizer.
                              For example, Sabourin discloses a multilingual system.
                              Sabourin discloses a multilingual system where there are two different language domains as
                              recited. It would be obvious to a person having ordinary skill in the art to combine Thiesson


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             with Sabourin. Both Thiesson and Sabourin are in the same field of art. A person having
             ordinary skill in the art would be motivated to combine Thiesson with Sabourin. A person
             having ordinary skill in the art considering Thiesson’s broad incorporation of unspecified
             training data would be motivated to seek out a system that builds a multilingual speech set,
             as disclosed by Sabourin. A person having ordinary skill in the art would have a reasonable
             expectation of success in implementing the teaching of Thiesson to generate a multilingual
             speech recognizer as provided by Sabourin because the combination involves the predictable
             use of prior art elements according to their established functions.
             “The invention relates to a method and apparatus for training a multilingual speech model
             Set. The multilingual Speech model Set generated is Suitable for use by a speech
             recognition System for recognizing spoken utterances for at least two different languages.
             The invention allows using a single Speech recognition unit with a single Speech model
             Set to perform Speech recognition on utterances from two or more languages. The method
             and apparatus make use of a group of a group of acoustic Sub-word units comprised of a
             first Subgroup of acoustic Sub-word units associated to a first language and a Second
             Subgroup of acoustic Sub-word units associated to a Second language where the first
             Subgroup and the Second Subgroup share at least one common acoustic Sub-word unit.
             The method and apparatus also make use of a plurality of letter to acoustic Sub-word unit
             rules Sets, each letter to acoustic Sub-word unit rules Set being associated to a different
             language. A Set of untrained speech models is trained on the basis of a training Set
             comprising speech tokens and their associated labels in combination with the group of
             acoustic Sub-word units and the plurality of letter to acoustic Sub-word unit rules Sets. The
             invention also provides a computer readable Storage medium comprising a program
             element for implementing the method for training a multilingual Speech model Set.”
             Sabourin at Abstract.
             “A deficiency of the above-described method is that the Speech recognition System
             requires as an input the language associated to the input utterance, which may not be
             readily available to the Speech recognition System. Usually, obtaining the language
             requires prompting the user for the language of use thereby requiring an additionally Step
             in the Service being provided by the Speech recognition enabled system which may lower
             the level of satisfaction of the user with the system as a whole. Another deficiency of the


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             above noted method is the costs associated to developing and maintaining a Speech model
             Set for each language the Speech recognition System is adapted to recognize. More
             Specifically, each speech model Set must be trained individually, a task requiring
             manpower for each individual language thereby increasing significantly the cost of Speech
             recognition Systems operating in multilingual environments with respect to Systems
             operating in unilingual environments. In addition, the above-described method requires the
             Storage of a speech model Set for each language in memory thereby increasing the cost of
             the Speech recognition System in terms of memory requirements. Finally, the above
             described method requires testing a speech model Set for each language thereby increasing
             the testing cost of the Speech recognition System for each language the Speech recognition
             System is adapted to recognize. Thus, there exists a need in the industry to refine the
             process of training Speech models So as to obtain an improved multilingual Speech model
             Set capable of being used by a speech recognition System for recognizing spoken
             utterances for at least two different languages.”

             Sabourin at 1:55-2:17.

             “In accordance with another broad aspect, the invention provides a method for generating a
             multilingual speech model Set Suitable for use in a multilingual speech recognition
             System. The method comprises providing a group of acoustic Sub-word units having a first
             Subgroup of acoustic Sub-word units associated to a first language and a Second Subgroup
             of acoustic Sub-word units associated to a Second language. The first Subgroup and the
             Second Subgroup share at least one common acoustic Sub-word unit. The method further
             comprises providing a training Set comprising a plurality of entries, each entry having a
             speech token representative of a word and a label being an orthographic representation of
             the word. The method further comprises providing a Set of untrained speech models and
             training the Set of untrained speech models by utilizing the training Set, the plurality of
             letter to acoustic Sub-word unit rules Sets and the group of acoustic Sub-word units to
             derive the multilingual Speech model Set.”

             Sabourin at 2:57-3:7.




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             “The invention provides a method for generating the multilingual speech model set shown
             in FIG.1. As shown in FIG. 2 of the drawings, the method comprises providing 200 a
             group of acoustic Sub-word units comprised of a first Subgroup of acoustic Sub-word units
             associated to a first language and a Second Subgroup of acoustic Sub-word units
             associated to a Second language. The first Subgroup and the Second Subgroup share at
             least one common acoustic Sub word unit. In a preferred embodiment, the group of
             acoustic Sub word unit is obtained by combining sub-word units from individual
             languages. For each language for which the multilingual Speech model Set is to be
             representative of, an inventory of sub-word units can be obtained. The acoustic Sub-word
             units are basic units of Sound in a language. These inventories may be produced by
             phoneticians or may be provided as off-the-shelf components. In a specific example, the
             Sub-word units are phonemes. The Skilled person in the art will readily see that other sub-
             word units may be used here without detracting from the spirit of the invention.”

             Sabourin at 4:25-45.

             “The training of the set of untrained speech models further comprises processing 304 the
             group of transcriptions generated at step 300 on the basis of a speech token of the
             corresponding entry in the training Set whereby training the Set of untrained speech models
             to derive the multilingual Speech model Set.”

             Sabourin at 9:34-39.

             See Figs. 1-7.




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                                                           APPENDIX A-2
                                   Invalidity Claim Chart for U.S. Pat. No. 6,999,925 (’925 patent)
                                        U.S. Pat. No. 6,912,499, Sabourin et al. (“Sabourin”)1

On October 16, 2020, Nuance narrowed the asserted ’925 patent claims to 1, 14 and 27. Nuance’s Disclosure Limiting Asserted
Claims of Phase 1 Patents. Claims 1, 14 and 27 of the ’925 patent are anticipated and/or rendered obvious by Sabourin alone or in
combination with at least the following references. The chart below discloses how prior art references identified by Omilia disclose,
either expressly or inherently, and/or render obvious each of the asserted claims:

      1. R. Singh, et al., Domain Adduced State Tying For Cross-Domain Acoustic Modeling, Proc. Of the 6th Europ. Conf. on Speech
         Communication and Technology, Budapest (1999).2

Sabourin incorporates by reference the following references:

      1. U.S. Pat. No. 5,195,167 by Bahl et al., “Apparatus and Method of Grouping Utterance of a Phoneme into Context-Dependent
         Categories based on Sound-Similarity for Automatic Speech Recognition”, Mar. 16, 1993.

This invalidity claim chart is based on Omilia’s present understanding of the asserted claims, the Court’s August 6, 2020 Claim
Construction Order (ECF. No. 157), Nuance’s initial and all subsequent supplemental Infringement Contentions, its July 7, 2020
Response to Omilia’s Supplemental Non-Infringement and Invalidity Responses, Nuance’s Response to Omilia’s Interrogatory No. 9,
and Omilia’s investigation to date. Omilia is not adopting Nuance’s apparent constructions, nor is Omilia admitting to the accuracy of
any particular construction. Omilia reserves all rights to amend this invalidity claim chart if Nuance further amends its Infringement
Contentions, or in response to any statements made by Nuance at any phase of this litigation. In addition, Discovery is still ongoing,
and Omilia reserves its right to supplement its contentions with additional evidence as discovery continues.

The citations provided are exemplary and do not necessarily include each and every disclosure of the limitation in the references. Omilia
has cited the most relevant portions of the identified prior art. Other portions of the identified prior art may additionally disclose, either
expressly or inherently, and/or render obvious one or more limitations of the asserted claims. To provide context or aid in understanding
the prior art and the state of the art at the time of the alleged invention, Omilia reserves the right to rely on: (1) uncited portions of the
identified prior art; (2) other prior art not identified herein; (3) references that show the state of the art (irrespective of whether such


1
    Sabourin was filed on August 31, 1999 and is prior art at least under 35 §102(a) & 102(e).
2
    Singh was published at the conference in September 5-9, 1999 and is prior art at least under 35 §102(a) & 102(b).
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references themselves qualify as prior art to the asserted patents); (4) factual testimony from the inventors or authors of the prior art
references, or purveyors of prior art devices; and/or (5) expert testimony.

Citations to a particular drawing or figure in the accompanying charts should be understood to include the description of the drawing or
figure, as well as any text associated with the drawing or figure. Citations to particular text concerning a drawing or figure, should also
be understood to encompasses that drawing or figure as well. The identified prior art expressly and/or inherently discloses the features
of the asserted claims under all proposed constructions of the asserted claims. To establish the inherency of certain features of the prior
art to invalidate the asserted claims, Omilia may rely on cited or uncited portions of the prior art, other documents, factual testimony,
and expert testimony. To the extent that the Court finds that this reference does not explicitly teach certain limitations in the asserted
claims, such limitations would have been inherent and/or obvious and Omilia reserves the right to supplement or amend this claim chart
to address such a finding.

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 Claim 1
 1.pre.a   “A computerized method of           Sabourin discloses automatically generating a second speech recognizer from a first
           automatically generating from a     speech recognizer. Sabourin describes using a computer method to create a
           first speech recognizer a second    multilingual speech recognizer based on other speech recognizers. Sabourin discloses
           speech recognizer”                  at least a set of speech models of a first language to generate speech models of a
                                               second language. See, e.g.:
                                               “In another embodiment, the labels can be assigned using a speech recognizer unit by
                                               Selecting the top scoring recognition candidate as the label for the utterance processed
                                               by the recognizer.”
                                               Sabourin at 6:12-15.
                                               “This invention relates to speech model sets and to a method and apparatus for training
                                               speech model sets for use in speech recognition systems operating in multilingual
                                               environments as may be used in a telephone directory assistance system, voice
                                               activated dialing (VAD) system, personal voice dialing systems and other speech
                                               recognition enabled services.”




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                               Sabourin at 1:6-13; see also Title (54) (“Method and Apparatus for Training A
                               Multilingual Speech Model Set”).
                               “The invention relates to a method and apparatus for training a multilingual speech
                               model Set. The multilingual Speech model Set generated is Suitable for use by a speech
                               recognition System for recognizing spoken utterances for at least two different
                               languages. The invention allows using a single Speech recognition unit with a single
                               Speech model Set to perform Speech recognition on utterances from two or more
                               languages. The method and apparatus make use of a group of a group of acoustic Sub-
                               word units comprised of a first Subgroup of acoustic Sub-word units associated to a first
                               language and a Second Subgroup of acoustic Sub-word units associated to a Second
                               language where the first Subgroup and the Second Subgroup share at least one common
                               acoustic Sub-word unit. The method and apparatus also make use of a plurality of letter
                               to acoustic Sub-word unit rules Sets, each letter to acoustic Sub-word unit rules Set being
                               associated to a different language. A Set of untrained speech models is trained on the
                               basis of a training Set comprising speech tokens and their associated labels in
                               combination with the group of acoustic Sub-word units and the plurality of letter to
                               acoustic Sub-word unit rules Sets. The invention also provides a computer readable
                               Storage medium comprising a program element for implementing the method for
                               training a multilingual Speech model Set.”
                               Sabourin at Abstract (57).
                               “The invention provides a method for generating the multilingual speech model set
                               shown in FIG.1. As shown in FIG. 2 of the drawings, the method comprises providing
                               200 a group of acoustic Sub-word units comprised of a first Subgroup of acoustic Sub-
                               word units associated to a first language and a Second Subgroup of acoustic Sub-word
                               units associated to a Second language. The first Subgroup and the Second Subgroup
                               share at least one common acoustic Sub word unit. In a preferred embodiment, the group
                               of acoustic Sub word unit is obtained by combining sub-word units from individual
                               languages. For each language for which the multilingual Speech model Set is to be
                               representative of, an inventory of sub-word units can be obtained. The acoustic Sub-


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                               word units are basic units of Sound in a language. These inventories may be produced
                               by phoneticians or may be provided as off-the-shelf components. In a specific example,
                               the Sub-word units are phonemes. The Skilled person in the art will readily see that other
                               sub-word units may be used here without detracting from the spirit of the invention.”
                               Sabourin at 4:24-45.
                               “The invention provides a method for initializing a speech model set for a first language
                               on the basis of a speech model set from a second language different from the first
                               language. In the preferred embodiment, the invention makes use of the feature
                               descriptions of the sub-word unit to generate initialization data for the speech models.
                               In specific example, suppose we have a first language for which speech models are
                               available and a second language for which speech models are not available. In addition,
                               suppose that in the second language, there is an acoustic sub-word unit, herein
                               designated as the new acoustic sub-word unit, that is not comprised in the acoustic sub-
                               word inventory of the first language. The acoustic sub-word units common to the first
                               language and the second language are initialized with the speech models associated to
                               the first language. This invention provides a method for initializing the speech model of
                               a new acoustic sub-word unit on the basis of the known speech models associated to the
                               first language more specifically by using the nearest phoneme as a basis to initialization.
                               For example, say the nearest phoneme to /X/ according to a certain criteria is phoneme
                               /Y/ and that the speech model for /Y/ is known. Initialization involves copying all the
                               model parameters (eg. State transition weights) for model /Y/ into a model for /X/. This
                               is particularly advantageous for initializing the speech model for sub-word units in a
                               language for speech models are not available. The method will be described below for
                               acoustic sub-word units being phonemes. The skilled person in the art will readily
                               observe that this method may be applied to other types or acoustic sub-word units
                               without detracting from the spirit of the invention.”
                               Sabourin at 6:45-7:8.
                               Claim 1 (“a method for generating a multilingual speech model set, . . . providing a set
                               of untrained speech model, said set of untrained speech models have at least a first


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                                            untrained speech model . . . training a set of untrained speech models by utilizing said
                                            training set, a plurality of letter to acoustic sub-word unit rules sets and said group of
                                            acoustic sub-word units to derive the multilingual speech model set, …”). See also
                                            other claims (e.g. claim 11-24).
                                            Sabourin Claim 1
                                            “The above-described method for generating a multilingual speech model Set can also
                                            be implemented on any suitable computing platform as shown in FIG. 6. Such
                                            computing platform typically includes a CPU 602 and a memory or computer readable
                                            medium 600 connected to the CPU 602 by a data communication bus. The memory
                                            stores the data 606 and the instructions of the program element 604 implementing the
                                            functional blocks depicted in the drawings and described in the Specification. In a
                                            specific example, the program element 604 implements the processing unit 408 and the
                                            data 606 comprises the group of acoustic Sub-word units, the plurality of letter to
                                            acoustic Sub-word units rules Sets, the training Sets and the untrained Speech models.
                                            The program element 604 operates on the data 606 in accordance with the algorithms
                                            described above to generate a multilingual Speech model Set using the techniques
                                            described in this specification.”
                                            Sabourin at 13:48-64
                                            Sabourin at Figs. 1-5, 7.
1.pre.b “said first speech recognizer       Sabourin discloses a first speech recognizer comprising a first acoustic model with a
        comprising a first acoustic model   first decision network and corresponding first phonetic contexts. Sabourin discloses the
        with a first decisions network      speech models that have corresponding phonetic contexts of phonemes. In addition,
        and corresponding first phonetic    Sabourin describes the use of HMMs, which make use of decision networks with
        contexts”                           corresponding phonetic contexts. See, e.g.,

                                            “In a preferred embodiment, as shown in FIG. 1, the invention provides a computer
                                            readable Storage medium comprising a data Structure containing a multilingual speech
                                            model set 100. The multilingual speech model set 100 is Suitable for use in a speech


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                               recognition System for recognizing spoken utterances for at least two different
                               languages. The multilingual speech model Set comprises a first Subset of Speech models
                               associated to a first language and a Second Subset of Speech models associated to a
                               Second language. The first Subset and the Second Subset share at least one common
                               Speech model. Preferably, a single copy of the shared common Speech model is Stored
                               on the computer readable medium. The data Structure containing a multilingual Speech
                               model Set 100 provides an association between the speech models in the multilingual
                               speech model set 100 and their respective acoustic Sub-word unit. In a specific example,
                               the acoustic Sub-word units are phonemes. Optionally, the Speech models in the Speech
                               model Set maybe representative of the allophonic context of the phonemes. In these
                               cases, the data Structure containing a multilingual speech model set 100 provides an
                               association between the speech models in the multilingual speech model set 100 and
                               their respective allophones.”

                               Sabourin at 3:52-4:7.

                               “In a preferred embodiment, the first subset and the second subset share a plurality of
                               speech models. In a specific example the speech models in the multilingual speech
                               models set 100 are represented by Hidden Markov Models. Hidden Markov Models are
                               well known in the art to which this invention pertains and will not be described in further
                               detail here.”

                               Sabourin at 4:16-23.

                                “In a preferred embodiment, the group of acoustic Sub word unit is obtained by
                               combining sub-word units from individual languages. For each language for which the
                               multilingual Speech model Set is to be representative of, an inventory of sub-word units
                               can be obtained. The acoustic Sub-word units are basic units of Sound in a language.
                               These inventories may be produced by phoneticians or may be provided as off-the-shelf
                               components. In a specific example, the Sub-word units are phonemes. The Skilled
                               person in the art will readily see that other sub-word units may be used here without


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                               detracting from the spirit of the invention. The table below shows an example of a
                               phoneme inventory for the Spanish language.
                               …
                               Typically each language possesses a unique inventory of acoustic Sub-word units.
                               Preferably, each acoustic Sub-word unit in the acoustic Sub-word unit inventory for each
                               language is associated to a feature description. The feature description provides a
                               convenient means for establishing confusability rules for a given language and provide
                               initialization information for the recognizer. The table below shows an example of
                               feature descriptions of a Subset of the phonemes for the Spanish language.”

                               Sabourin at 4:36-67.

                               “The method also comprises providing 206 a set of untrained speech models. Each
                               speech model is associated to an acoustic sub-word unit in the group of acoustic sub-
                               word units. In a specific example, the untrained speech models are HMMs and are
                               assigned a complex topology of about 80 means per phonemes and three HMMs states.
                               The untrained speech models may be obtained as off-the-shelf components or may be
                               generated using a nearest sub-word unit method.”

                               Sabourin at 6:16-24.

                                “In a preferred embodiment, the Speech models are trained using a maximum likelihood
                               method. The speech models are HMMs having a set of States and transitions between
                               these States, each State represented by a State probability and a set of transition
                               probabilities. The state probability is modeled as a mixture of Gaussian distributions
                               where each Gaussian distribution has a means and a covariance matrix. The means and
                               covariance matrices may be shared be other models without detracting from the spirit of
                               the invention. The transition probabilities are exponential distributions with mean u. In
                               a Specific example, the untrained speech models are trained using maximum a posteriori
                               adaptation (MAP) as described in Gauvain J.-L. and Lee C. -H. (1994) “maxi mum a
                               posteriori estimation for multivariate Gaussian mixture observations of Markov chains'


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                                          IEEE Trans. Speech Audio Process. 2, pp. 291-298. The content of this document is
                                          hereby incorporated by reference. Other methods of training Speech models on the basis
                                          of Speech tokens may be used here without detracting from the Spirit of the invention.
                                          In a preferred embodiment Several training iterations are performed to condition the
                                          Speech models.”

                                          Sabourin at 9:55-10:20.

                                          “In another specific example, the acoustic Sub-word units are Selected from the Set
                                          consisting of allophones, triphones biphones or any other representation of a phoneme
                                          on the basis of context.”

                                          Sabourin at 10:24-27
                                          “Having generated multilingual Speech models associated to phonemes, the
                                          Speech labels in the training Set are Segmented on the basis of the phonemes and
                                          more precise Speech models are build. The allophonic context is defined on the
                                          basis of adjoining phonemes and an allophonic decision tree.”

                                          Sabourin at 10:37-41.
1.pre.c   “and said second speech         Sabourin discloses that the second speech recognizer (which is multilingual) is adapted
          recognizer being adapted to a   for a specific domain. For example, Sabourin discloses initializing a speech model set
          specific domain, said method    for sub-word units in the second language that are not present in the first language.
          comprising:”                    See, e.g.,
                                           “The invention relates to a method and apparatus for training a multilingual speech
                                          model Set. The multilingual Speech model Set generated is Suitable for use by a speech
                                          recognition System for recognizing spoken utterances for at least two different
                                          languages. The invention allows using a single Speech recognition unit with a single
                                          Speech model Set to perform Speech recognition on utterances from two or more
                                          languages. The method and apparatus make use of a group of a group of acoustic Sub-


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                               word units comprised of a first Subgroup of acoustic Sub-word units associated to a first
                               language and a Second Subgroup of acoustic Sub-word units associated to a Second
                               language where the first Subgroup and the Second Subgroup share at least one common
                               acoustic Sub-word unit. The method and apparatus also make use of a plurality of letter
                               to acoustic Sub-word unit rules Sets, each letter to acoustic Sub-word unit rules Set being
                               associated to a different language. A Set of untrained speech models is trained on the
                               basis of a training Set comprising speech tokens and their associated labels in
                               combination with the group of acoustic Sub-word units and the plurality of letter to
                               acoustic Sub-word unit rules Sets. The invention also provides a computer readable
                               Storage medium comprising a program element for implementing the method for
                               training a multilingual Speech model Set.”
                               Sabourin at Abstract.
                               “In accordance with a broad aspect, the invention provides a computer readable storage
                               medium having a data structure containing a multilingual speech model set. The
                               multilingual speech model set is suitable for use in a speech recognition system for
                               recognizing spoken utterances for at least two different languages.”
                               Sabourin at 2:23-28.
                               “The invention provides a method for initializing a speech model set for a first
                               language on the basis of a speech model set form a second language different from the
                               first language. In the preferred embodiment, the invention makes use of the feature
                               descriptions of the sub-word unit to generate initialization data for the speech models.
                               In specific example, suppose we have a first language for which speech models are
                               available and a second language for which speech models are not available. In
                               addition, suppose that in the second language, there is an acoustic sub-word unit,
                               herein designated as the new acoustic sub-word unit, that is not comprised in the
                               acoustic sub-word inventory of the first language. The acoustic sub-word units
                               common to the first language and the second language are initialized with the speech
                               models associated to the first language. This invention provides a method for
                               initializing the speech model of new acoustic sub-word unit on the basis of the known


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                                           speech models associated to the first language more specifically by using the nearest
                                           phoneme as a basis to initialization. For example, say the nearest phoneme to /X/
                                           according to a certain criteria is phoneme /Y/ and that the speech model for /Y/ is
                                           known. Initialization involves copying all the model parameters (eg. State transition
                                           weights) for model /Y/ into a model for /X/. This is particularly advantageous for
                                           initializing the speech model for sub-word units in a language for speech models are
                                           not available. The method will be described below for acoustic sub-word units being
                                           phonemes. The skilled person in the art will readily observe that this method may be
                                           applied to other types or acoustic sub-word units without detracting from the spirit of
                                           the invention.”
                                           Sabourin at 6:45-7:8
                                           Sabourin at Figs. 1-5, 7.
                                           See, e.g., Sabourin at claim 1 (other claims as well)
1.a.1   “based on said first acoustic      Sabourin discloses based on said first acoustic model, generating a second acoustic
        model, generating a second         model with a second decision network and corresponding second phonetic contexts for
        acoustic model with a second       said second speech recognizer by re-estimating said first decision network and said
        decision network and               corresponding first phonetic contexts based on domain-specific training data. In
        corresponding second phonetic      Sabourin, a first speech model is adapted based on acoustic information to create a
        contexts for said second speech    second multilingual speech model with different phonetic contexts than the first. For
        recognizer by re-estimating said   example, Sabourin adapts speech models of a first language to new sub-word units in
        first decision network and said    the second language that are not present in the first language. See, e.g.,:
        corresponding first phonetic
        contexts based on domain-          “The method also comprises providing 204 a training Set comprising a plurality of
        specific training data,”           entries, each entry having a speech token representative of a Vocabulary item and a label
                                           being an orthographic representation of the Vocabulary item. The training Set may be
                                           obtained by Storing speech tokens and manually writing out each Vocabulary item
                                           associated to the Speech token or by having individuals read a predetermined Sequence
                                           of Vocabulary items. Such training Sets are also available as off-the-shelf components.
                                           In a specific example of implementation, the training Sets are reasonably accurate in that


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                               the Speech tokens have a high likelihood of corresponding to the written vocabulary
                               items. A training Set is provided for each language that the multilingual speech model
                               Set is to be representative of. In another embodiment, the labels can be assigned using a
                               speech recognizer unit by Selecting the top scoring recognition candidate as the label for
                               the utterance processed by the recognizer. The method also comprises providing 206 a
                               set of untrained speech models. Each speech model is associated to an acoustic Sub-
                               word unit in the group of acoustic Sub-word units. In a specific example, the untrained
                               speech models are HMMS and are assigned a complex topology of about 80 means per
                               phonemes and three HMMs states. The untrained Speech models may be obtained as
                               off-the-shelf components or may be generated by using a nearest Sub word unit method.
                               In the Specific example where the Sub word units are phonemes, a nearest phoneme
                               method is used. The nearest phoneme method is described in detail below. The skilled
                               person in the art will readily observe that it may be applied to acoustic Sub-word units
                               other than phonemes without detracting from the Spirit of the invention. In its broad
                               aspect, a nearest phoneme method includes initializing a speech model of a new
                               phoneme on the basis of a speech model of a phoneme that is acoustically similar to the
                               new phoneme. The phoneme acoustically Similar to the new phoneme may be
                               determined by a human which determines the closest Sounding phoneme or by a
                               heuristic algorithm implemented on a computer readable medium. In the preferred
                               embodiment, the nearest phoneme is derived on the basis of a phonological Similarity
                               method. Alternatively, the Speech models may be initialized by assigning random values
                               to the initial models and by hand aligning the Speech tokens with their corresponding
                               transcriptions for a large number of Speech tokens and training the initial model values.
                               This alternative method is particularly useful when there are no speech models
                               available.”

                               Sabourin at 5:66-6:44

                               “The invention provides a method for initializing a speech model set for a first
                               language on the basis of a speech model set form a second language different from the
                               first language. In the preferred embodiment, the invention makes use of the feature


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                               descriptions of the sub-word unit to generate initialization data for the speech models.
                               In specific example, suppose we have a first language for which speech models are
                               available and a second language for which speech models are not available. In
                               addition, suppose that in the second language, there is an acoustic sub-word unit,
                               herein designated as the new acoustic sub-word unit, that is not comprised in the
                               acoustic sub-word inventory of the first language. The acoustic sub-word units
                               common to the first language and the second language are initialized with the speech
                               models associated to the first language. This invention provides a method for
                               initializing the speech model of new acoustic sub-word unit on the basis of the known
                               speech models associated to the first language more specifically by using the nearest
                               phoneme as a basis to initialization. For example, say the nearest phoneme to /X/
                               according to a certain criteria is phoneme /Y/ and that the speech model for /Y/ is
                               known. Initialization involves copying all the model parameters (e.g. State transition
                               weights) for model /Y/ into a model for /X/. This is particularly advantageous for
                               initializing the speech model for sub-word units in a language for speech models are
                               not available. The method will be described below for acoustic sub-word units being
                               phonemes. The skilled person in the art will readily observe that this method may be
                               applied to other types or acoustic sub-word units without detracting from the spirit of
                               the invention.”
                               Sabourin at 6:45-7:8.
                               “The invention relates to a method and apparatus for training a multilingual speech
                               model Set. The multilingual Speech model Set generated is Suitable for use by a speech
                               recognition System for recognizing spoken utterances for at least two different
                               languages. The invention allows using a single Speech recognition unit with a single
                               Speech model Set to perform Speech recognition on utterances from two or more
                               languages. The method and apparatus make use of a group of a group of acoustic Sub-
                               word units comprised of a first Subgroup of acoustic Sub-word units associated to a first
                               language and a Second Subgroup of acoustic Sub-word units associated to a Second
                               language where the first Subgroup and the Second Subgroup share at least one common
                               acoustic Sub-word unit. The method and apparatus also make use of a plurality of letter


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                               to acoustic Sub-word unit rules Sets, each letter to acoustic Sub-word unit rules Set being
                               associated to a different language. A Set of untrained speech models is trained on the
                               basis of a training Set comprising speech tokens and their associated labels in
                               combination with the group of acoustic Sub-word units and the plurality of letter to
                               acoustic Sub-word unit rules Sets. The invention also provides a computer readable
                               Storage medium comprising a program element for implementing the method for
                               training a multilingual Speech model Set.”
                               Sabourin at Abstract.
                               “In accordance with another broad aspect, the invention provides a method for
                               generating a multilingual speech model Set Suitable for use in a multilingual speech
                               recognition System. The method comprises providing a group of acoustic Sub-word
                               units having a first Subgroup of acoustic Sub-word units associated to a first language
                               and a Second Subgroup of acoustic Sub-word units associated to a Second language.
                               The first Subgroup and the Second Subgroup share at least one common acoustic Sub-
                               word unit. The method further comprises providing a training Set comprising a plurality
                               of entries, each entry having a speech token representative of a word and a label being
                               an orthographic representation of the word. The method further comprises providing a
                               Set of untrained speech models and training the Set of untrained speech models by
                               utilizing the training Set, the plurality of letter to acoustic Sub-word unit rules Sets and
                               the group of acoustic Sub-word units to derive the multilingual Speech model Set.”
                               Sabourin at 2:57-3:6.
                               “In a preferred embodiment, as shown in FIG. 1, the invention provides a computer
                               readable Storage medium comprising a data Structure containing a multilingual speech
                               model set 100. The multilingual speech model set 100 is Suitable for use in a speech
                               recognition System for recognizing spoken utterances for at least two different
                               languages. The multilingual speech model Set comprises a first Subset of Speech
                               models associated to a first language and a Second Subset of Speech models associated
                               to a Second language. The first Subset and the Second Subset share at least one
                               common Speech model. Preferably, a single copy of the shared common Speech model


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                               is Stored on the computer readable medium. The data Structure containing a
                               multilingual Speech model Set 100 provides an association between the speech models
                               in the multilingual speech model set 100 and their respective acoustic Sub-word unit.
                               In a specific example, the acoustic Sub-word units are phonemes. Optionally, the
                               Speech models in the Speech model Set maybe representative of the allophonic context
                               of the phonemes. In these cases, the data Structure containing a multilingual speech
                               model set 100 provides an association between the speech models in the multilingual
                               speech model set 100 and their respective allophones.”
                               Sabourin at 3:52-4:7.
                               “In a preferred embodiment, the first subset and the second subset share a plurality of
                               speech models. In a specific example the speech models in the multilingual speech
                               models set 100 are represented by Hidden Markov Models. Hidden Markov Models are
                               well known in the art to which this invention pertains and will not be described in further
                               detail here.
                               The invention provides a method for generating the multilingual speech model set shown
                               in FIG.1. As shown in FIG. 2 of the drawings, the method comprises providing 200 a
                               group of acoustic Sub-word units comprised of a first Subgroup of acoustic Sub-word
                               units associated to a first language and a Second Subgroup of acoustic Sub-word units
                               associated to a Second language. The first Subgroup and the Second Subgroup share at
                               least one common acoustic Sub word unit.
                               In a preferred embodiment, the group of acoustic Sub word unit is obtained by
                               combining sub-word units from individual languages. For each language for which the
                               multilingual Speech model Set is to be representative of, an inventory of sub-word units
                               can be obtained. The acoustic Sub-word units are basic units of Sound in a language.
                               These inventories may be produced by phoneticians or may be provided as off-the-shelf
                               components. In a specific example, the Sub-word units are phonemes. The Skilled
                               person in the art will readily see that other sub-word units may be used here without
                               detracting from the spirit of the invention.”



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                               Sabourin at 4:16-45.
                               “The method also comprises training 208 the set of untrained Speech models by utilizing
                               the training Set, the plurality of letter to acoustic Sub-word unit rules Sets and the group
                               of acoustic Sub-word units to derive the multilingual speech model set 100. In a
                               preferred embodiment, as shown in FIG. 3 of the drawings, training 208 the Set of
                               untrained speech models comprises processing 300 at least Some of the entries in the
                               training Set on the basis of a certain letter to acoustic Sub-word unit rules Set in the
                               plurality of letter to acoustic Sub-word unit rules Sets to derive a group of transcriptions.
                               In a Specific example, there is a plurality of training Sets, each Set being associated to a
                               language. A given training Set associated to a given language is first processed to extract
                               the labels from each entry. This operation will be readily available to those skilled in the
                               art. The labels extracted from the given training Set are then processed by a given letter
                               to acoustic Sub-word unit rules Set, the given letter to acoustic Sub-word unit rules Set
                               being associated to the given language. The result of this processing is a group of
                               transcriptions associated to a given language, the transcriptions in the group of
                               transcriptions comprising a Sequence of acoustic Sub-word units of the group of acoustic
                               Sub-word units. This processing is performed on all the training Sets of the plurality of
                               training Sets. Optionally, the groups of transcriptions from each respective training Set
                               are combined to form a compound training Set. As a variant, the training Set comprises
                               a plurality of entries, the entries being representative of Vocabulary items in one or more
                               languages. The training Set is first processed to extract the labels from each entry. The
                               labels extracted from the training Set are then processed by a Subset of the plurality of
                               letter to acoustic Sub-word unit rules Sets to derive a plurality of transcriptions. A first
                               transcription in the plurality of transcriptions corresponding to a certain vocabulary item
                               is associated to a first language and a Second transcription in the plurality of
                               transcriptions corresponding to the same certain vocabulary item is associated to a
                               Second language different from the first language.
                               As yet another variant, prosodic rules may be used to process the transcriptions
                               generated by with the letter to acoustic unit rules Sets to derive Surface form
                               transcriptions. The prosodic rules are associated to respective languages may be applied


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                               to the groups of transcriptions associated to the same languages. Alternatively, a Subset
                               of the prosodic rules may be applies to the transcriptions associated to languages
                               different from the languages associated to the prosodic rules being considered. In
                               accordance with a preferred embodiment, training the Set of untrained Speech models
                               further comprises associating 302 the acoustic Sub-word units in the group of acoustic
                               Sub-word units to respective speech models in the Set of untrained speech models. The
                               training of the Set of untrained speech models further comprises processing 304 the
                               group of transcriptions generated at step 300 on the basis of a speech token of the
                               corresponding entry in the training Set whereby training the Set of untrained speech
                               models to derive the multilingual Speech model Set. In a specific example of
                               implementation, the Speech tokens in Said training Set are processed by a feature
                               extraction unit to convert the Speech Signals into a Set of numeric values for Storage in
                               a vector representative of acoustic information. A specific example of a vector is a
                               cepstral vector. Each speech token is associated to a set of cepstral vectors, one vector
                               being associated to a frame of the Speech token. The cepstral vectors are then aligned
                               with the phonemes of the transcription corresponding to the Speech token. In a specific
                               example, for the initial alignment, the cepstral vectors of the Speech token are randomly
                               divided between the phonemes of the transcription. In another specific example, vector
                               quantization or Kohonen associative mapping is used to provide the initial alignment of
                               the cepstral vectors and the phonemes. These cepstral vectors are then used to condition
                               the untrained speech models thereby training the Speech models. In a preferred
                               embodiment, the Speech models are trained using a maximum likelihood method. The
                               speech models are HMMs having a set of States and transitions between these States,
                               each State represented by a State probability and a set of transition probabilities. The
                               state probability is modeled as a mixture of Gaussian distributions where each Gaussian
                               distribution has a means and a covariance matrix. The means and covariance matrices
                               may be shared be other models without detracting from the spirit of the invention. The
                               transition probabilities are exponential distributions with mean u. In a Specific example,
                               the untrained speech models are trained using maximum a posteriori adaptation (MAP)
                               as described in Gauvain J.-L. and Lee C. -H. (1994) “maximum a posteriori estimation
                               for multivariate Gaussian mixture observations of Markov chains' IEEE Trans. Speech


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                                           Audio Process. 2, pp. 291-298. The content of this document is hereby incorporated by
                                           reference. Other methods of training Speech models on the basis of Speech tokens may
                                           be used here without detracting from the Spirit of the invention. In a preferred
                                           embodiment Several training iterations are performed to condition the Speech models.
                                           The iterations are performed by obtaining another assignation of the vectors to the
                                           phonemic transcription of the Speech label and restarting the training.”
                                           Sabourin at 8:49-10:23.
                                           Sabourin at Figs. 1-5, 7.
                                           See, e.g., Sabourin, claim 1 (and other claims).
                                           See also 1.pre.b (discussing acoustic models, decision networks and phonetic context)
1.a.2   “wherein said first decision       Sabourin discloses that the first decision network and second decision network utilize a
        network and said second decision   phonetic decision tree in speech recognition operations. See, e.g.,
        network utilize a phonetic
        decision free [sic] to perform     “The allophonic context is defined on the basis of adjoining phonemes and an allophonic
        speech recognition operations”     decision tree.
                                           A question set is provided to build the decision tree allophones. Decision trees have
                                           been described in U.S. Pat. No. 5,195,167 by Bahl et al. “Apparatus and Method of
                                           Grouping Utterance of a Phoneme into Context-Dependent Categories based on
                                           Sound-Similarity for Automatic Speech Recognition”, Mar. 16, 1993. The content of
                                           this document is hereby incorporated by reference. The invention provides a universal
                                           question set by grouping acoustic sub-word units into classes and develop a question
                                           set on the basis of the class and feature scores. Typically, each question involves a
                                           class of phonemes ranging from single phonemes to substantially large sets. Larger
                                           classes are built by concatenating smaller classes. The table below shows a specific
                                           example of entries in the universal question set. In a specific example of
                                           implementation, the universal question set is language independent.”
                                           Sabourin at 10:39-57.


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                               “The method also comprises providing 206 a set of untrained speech models. Each
                               speech model is associated to an acoustic sub-word unit in the group of acoustic sub-
                               word units. In a specific example, the untrained speech models are HMMs and are
                               assigned a complex topology of about 80 means per phonemes and three HMMs states.
                               The untrained speech models may be obtained as off-the-shelf components or may be
                               generated using a nearest sub-word unit method.”

                               Sabourin at 6:16-24.

                                “In a preferred embodiment, the Speech models are trained using a maximum likelihood
                               method. The speech models are HMMs having a set of States and transitions between
                               these States, each State represented by a State probability and a set of transition
                               probabilities. The state probability is modeled as a mixture of Gaussian distributions
                               where each Gaussian distribution has a means and a covariance matrix. The means and
                               covariance matrices may be shared be other models without detracting from the spirit of
                               the invention. The transition probabilities are exponential distributions with mean u. In
                               a Specific example, the untrained speech models are trained using maximum a posteriori
                               adaptation (MAP) as described in Gauvain J.-L. and Lee C. -H. (1994) “maxi mum a
                               posteriori estimation for multivariate Gaussian mixture observations of Markov chains'
                               IEEE Trans. Speech Audio Process. 2, pp. 291-298. The content of this document is
                               hereby incorporated by reference. Other methods of training Speech models on the basis
                               of Speech tokens may be used here without detracting from the Spirit of the invention.
                               In a preferred embodiment Several training iterations are performed to condition the
                               Speech models.”

                               Sabourin at 9:55-10:20.
                               “Once the allophonic context is defined, the allophones are extracted by pruning the
                               allophonic decision tree where appropriate. For each Speech token, the corresponding
                               phonemic transcription is examined. For each phoneme in the transcription, the adjacent
                               “N” phoneme neighbors are examined for membership in a class of phonemes. The
                               classes in which the neighboring phonemes belong are tabulated. The phonemic

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                               transcriptions associated to the Speech labels of the training Set are relabeled with the
                               allophones on the basis of the defined allophonic context.”
                               Sabourin at 11:23-32.
                               Second, given this disclosure, use of phonetic decision trees to recognize speech was
                               obvious in light of Sabourin in combination with Singh. The motivation to combine
                               these references would at least include:
                                     Combining prior art elements according to known methods to yield predictable
                                      results (use of phonetic decision trees were utilized in speech recognition using
                                      similar techniques for predictable results);
                                     Simple substitution of one known element for another to obtain predictable
                                      results (substituting the type of decision network to a decision tree is simple and
                                      predicable);
                                     Use of known technique to improve similar devices (methods, or products) in the
                                      same way (same technique of adapting the decision tree in a recognizer was
                                      known in speech recognizers));
                                     Applying a known technique to a known device (method, or product) ready for
                                      improvement to yield predictable results (use of decision trees in speech
                                      recognition was known using similar known techniques for predictable results);
                                     “Obvious to try”—choosing from a finite number of identified, predictable
                                      solutions, with a reasonable expectation of success (obvious to try to use decision
                                      trees in speech recognition);
                                     Market forces and benefits associated with the known benefits of using decision
                                      trees were predictable to POSA




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                                     Teaching of prior art would have lead a POSA to combine the references to arrive
                                      at a speech recognizer that uses decision trees.
                               For example, Singh discloses that HMMs are organized as decision trees that are used
                               to recognize speech.
                               It would be obvious to a person having ordinary skill in the art to combine Sabourin with
                               Singh to disclose adding nodes, pruning nodes and merging nodes in the decision
                               network. Both Sabourin and Singh are in the same field of art. A person having ordinary
                               skill in the art would be motivated to combine Sabourin with Singh. A person having
                               ordinary skill in the art considering Sabourin’s disclosure that the HMMs “may be off-
                               the-shelf components,” would be motivated to seek out a system or off-the-shelf
                               component that adapts that explicitly organizes HMMs as decision trees, as disclosed by
                               Singh, to further utilize the HMM tree structure. Further, Sabourin’s incorporation by
                               reference of Bahl describing decision trees, suggests the potential use of trees with
                               Sabourin. A person having ordinary skill in the art would have a reasonable expectation
                               of success in implementing the teaching of Sabourin to organize the HMM in phonetic
                               decision trees and use the trees to recognize speech as provided by Singh, because the
                               combination involves the predictable use of prior art elements according to their
                               established functions.
                               Sabourin at 10:42-47: “A question set is provided to build the decision tree allophones.
                               Decision tress have been described in U.S. Pat. No. 5,195,167 by Bahl et al. “Apparatus
                               and Method of Grouping Utterance of a Phoneme into Context-Dependent Categories
                               based on Sound-Similarity for Automatic Speech Recognition,” Mar. 16, 1993.”
                                “This reduced set of parameters is obtained by grouping triphones into a statistically
                               estimable number of clusters using decision trees [3]. For ASR systems based on Hidden
                               Markov Models (HMMs), the decision trees result in sharing of output probability
                               distribution functions across states, a procedure well known as state tying. Canonically,
                               parameters are distributed (i.e. the states are tied) so as to best capture the acoustic-
                               phonetic structure of the training corpus. In CDM, however, the acoustic-phonetic
                               structure of the task domain may be significantly different from that of the training

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                                           corpus. This disparity alone largely accounts for the degradation in performance when
                                           ASR systems are trained from out-of-domain corpora. In this paper we explore the
                                           possibility of compensating for some of this disparity by redistributing the states of
                                           HMM-based ASR systems according to the acoustic phonetic structure of the task
                                           domain data, rather than that of the training domain data.”
                                           Singh at Section 1.
1.b.1   “wherein the number of nodes in    Sabourin discloses that “the number of nodes in the second decision network is not fixed
        the second decision network is     by the number of nodes in the first decision network.” For example, Sabourin describes
        not fixed by the number of nodes   copying those subword units common between the two languages and adding subword
        in the first decision network,”    units for the second language not present in the first language. See. e.g.,:
                                           “The invention relates to a method and apparatus for training a multilingual speech
                                           model Set. The multilingual Speech model Set generated is Suitable for use by a speech
                                           recognition System for recognizing spoken utterances for at least two different
                                           languages. The invention allows using a single Speech recognition unit with a single
                                           Speech model Set to perform Speech recognition on utterances from two or more
                                           languages. The method and apparatus make use of a group of a group of acoustic Sub-
                                           word units comprised of a first Subgroup of acoustic Sub-word units associated to a first
                                           language and a Second Subgroup of acoustic Sub-word units associated to a Second
                                           language where the first Subgroup and the Second Subgroup share at least one common
                                           acoustic Sub-word unit. The method and apparatus also make use of a plurality of letter
                                           to acoustic Sub-word unit rules Sets, each letter to acoustic Sub-word unit rules Set being
                                           associated to a different language. A Set of untrained speech models is trained on the
                                           basis of a training Set comprising speech tokens and their associated labels in
                                           combination with the group of acoustic Sub-word units and the plurality of letter to
                                           acoustic Sub-word unit rules Sets. The invention also provides a computer readable
                                           Storage medium comprising a program element for implementing the method for
                                           training a multilingual Speech model Set.”
                                           Sabourin at Abstract.



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                               “In accordance with another broad aspect, the invention provides a method for
                               generating a multilingual speech model Set Suitable for use in a multilingual speech
                               recognition System. The method comprises providing a group of acoustic Sub-word
                               units having a first Subgroup of acoustic Sub-word units associated to a first language
                               and a Second Subgroup of acoustic Sub-word units associated to a Second language.
                               The first Subgroup and the Second Subgroup share at least one common acoustic Sub-
                               word unit. The method further comprises providing a training Set comprising a
                               plurality of entries, each entry having a speech token representative of a word and a
                               label being an orthographic representation of the word. The method further comprises
                               providing a Set of untrained speech models and training the Set of untrained speech
                               models by utilizing the training Set, the plurality of letter to acoustic Sub-word unit
                               rules Sets and the group of acoustic Sub-word units to derive the multilingual Speech
                               model Set.”
                               Sabourin at 2:57-3:7.

                               “The invention provides a method for generating the multilingual speech model set
                               shown in FIG.1. As shown in FIG. 2 of the drawings, the method comprises providing
                               200 a group of acoustic Sub-word units comprised of a first Subgroup of acoustic Sub-
                               word units associated to a first language and a Second Subgroup of acoustic Sub-word
                               units associated to a Second language. The first Subgroup and the Second Subgroup
                               share at least one common acoustic Sub word unit. In a preferred embodiment, the group
                               of acoustic Sub word unit is obtained by combining sub-word units from individual
                               languages. For each language for which the multilingual Speech model Set is to be
                               representative of, an inventory of sub-word units can be obtained. The acoustic Sub-
                               word units are basic units of Sound in a language. These inventories may be produced
                               by phoneticians or may be provided as off-the-shelf components. In a specific example,
                               the Sub-word units are phonemes. The Skilled person in the art will readily see that other
                               sub-word units may be used here without detracting from the spirit of the invention. The
                               table below shows an example of a phoneme inventory for the Spanish language.
                               …



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                               Typically each language possesses a unique inventory of acoustic Sub-word units.
                               Preferably, each acoustic Sub-word unit in the acoustic Sub-word unit inventory for each
                               language is associated to a feature description. The feature description provides a
                               convenient means for establishing confusability rules for a given language and provide
                               initialization information for the recognizer. The table below shows an example of
                               feature descriptions of a Subset of the phonemes for the Spanish language.
                               …
                               The acoustic sub-word unit inventories for each language are then merged into a single
                               group of acoustic sub-word units. Preferably acoustic sub-word unties that belong to
                               the acoustic sub-word unit inventory of more than one language are stored only once in
                               the group of acoustic sub-word units.”
                               Sabourin at 4:25-5:14.

                               “In its broad aspect, a nearest phoneme method includes initializing a speech model of
                               a new phoneme on the basis of a speech model of a phoneme that is acoustically similar
                               to the new phoneme. The phoneme acoustically similar to the new phoneme may be
                               determined by a human which determines the closest sounding phoneme or by a heuristic
                               algorithm implemented on a computer readable medium. In the preferred embodiment,
                               the nearest phoneme is derived on the basis of a phonological similarity method.
                               Alternatively, the speech models may be initialized by assigning random values to the
                               initial models and by hand aligning the speech tokens with their corresponding
                               transcriptions for a large number of speech tokens and training the initial model values.
                               This alternative method is particularly useful when there are no speech models available.
                               The invention provides a method for initializing a speech model set for a first language
                               on the basis of a speech model set from a second language different from said first
                               language. In a preferred embodiment, the invention makes use of the feature
                               descriptions of the sub-word unit to generate initialization data for the speech models.
                               In a specific example, suppose we have a first language for which speech models are
                               available and a second language for which speech models are not available. In
                               addition, suppose that in the second language, there is an acoustic sub-word unit,


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                                          herein designated as the new acoustic sub-word unit, that is not comprised in the
                                          acoustic sub-word inventory of the first language. The acoustic sub-word units
                                          common to the first language and the second language are initialized with the speech
                                          models associated to the first language. This invention provides a method for
                                          initializing the speech model of new acoustic sub-word unit on the basis of the known
                                          speech models associated to the first language more specifically by using the nearest
                                          phoneme as a basis to initialization. For example, say the nearest phoneme to /X/
                                          according to a certain criteria is phoneme /Y/ and that the speech model for /Y/ is
                                          known. Initialization involves copying all the model parameters (eg. State transition
                                          weights) for model /Y/ into a model for /X/. This is particularly advantageous for
                                          initializing the speech model for sub-word units in a language for speech models are
                                          not available. The method will be described below for acoustic sub-word units being
                                          phonemes. The skilled person in the art will readily observe that this method may be
                                          applied to other types or acoustic sub-word units without detracting from the spirit of
                                          the invention.”
                                          Sabourin at 6:30-7:8.

                                          Sabourin at Figs. 2-5, 7.
                                          See e.g. Sabourin at claim 1 (and other claims).
1.b.2   “and wherein said re-estimating   Sabourin specifically discloses partitioning training data using said first decision
        comprises partitioning said       network. For example, Sabourin’s method includes associating the sub-word units in
        training data using said first    the speech models with the training set. See, e.g.,
        decision network of said first
        speech recognizer.”               “As a variant, the training set 404 comprises a plurality of entries, the entries being
                                          representative of vocabulary items in two or more languages. The number of entries in
                                          the training set depends on the processing time available and the urgency of obtaining
                                          the results. The training set is first processed by the automatic transcription generator to
                                          extract the labels from each entry. The automatic transcription generator 500 is operative
                                          for processing the labels extracted from the training set 404 on the basis of a subset of
                                          the plurality of letter to acoustic sub-word unit rules sets 402 to derive a plurality of


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                               transcriptions. Each transcription in the plurality of transcriptions comprises a sequence
                               of acoustic sub-word units of the group of acoustic sub-word units 400. A first
                               transcription in the plurality of transcriptions corresponding to a certain vocabulary item
                               is associated to a first language and a second transcription in the plurality of
                               transcriptions corresponding to the same certain vocabulary item is associated to a
                               second language different from the first language.
                               The processing unit 408 further comprises a phoneme mapping unit 502 operatively
                               connected to the first memory unit 400 and fourth memory unit 406 for associating the
                               acoustic sub-word units in the group of acoustic sub-word units to respective speech
                               models in said set of untrained speech models.
                               The outputs of the automatic transcription generator 500 and of the phoneme mapping
                               unit are operatively connected to a model training unit 504. The model training unit is
                               also operatively coupled to the training set 404. The model training unit 504 is operative
                               for processing the group of transcriptions received from the transcription generator 500
                               on the basis of a speech token of the corresponding entry in the training set 404 whereby
                               training the set of untrained speech models 406 to derive the multilingual speech model
                               set 410 on the basis of the method described in connection with FIG. 3.”
                               Sabourin at 13:4-39.
                               “The method also comprises providing 204 a training Set comprising a plurality of
                               entries, each entry having a speech token representative of a Vocabulary item and a label
                               being an orthographic representation of the Vocabulary item. The training Set may be
                               obtained by Storing speech tokens and manually writing out each Vocabulary item
                               associated to the Speech token or by having individuals read a predetermined Sequence
                               of Vocabulary items. Such training Sets are also available as off-the-shelf components.
                               In a specific example of implementation, the training Sets are reasonably accurate in that
                               the Speech tokens have a high likelihood of corresponding to the written vocabulary
                               items. A training Set is provided for each language that the multilingual speech model
                               Set is to be representative of. In another embodiment, the labels can be assigned using a
                               speech recognizer unit by Selecting the top scoring recognition candidate as the label for


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                               the utterance processed by the recognizer. The method also comprises providing 206 a
                               set of untrained speech models. Each speech model is associated to an acoustic Sub-
                               word unit in the group of acoustic Sub-word units. In a specific example, the untrained
                               speech models are HMMS and are assigned a complex topology of about 80 means per
                               phonemes and three HMMs states. The untrained Speech models may be obtained as
                               off-the-shelf components or may be generated by using a nearest Sub word unit method.
                               In the Specific example where the Sub word units are phonemes, a nearest phoneme
                               method is used. The nearest phoneme method is described in detail below. The skilled
                               person in the art will readily observe that it may be applied to acoustic Sub-word units
                               other than phonemes without detracting from the Spirit of the invention. In its broad
                               aspect, a nearest phoneme method includes initializing a speech model of a new
                               phoneme on the basis of a speech model of a phoneme that is acoustically similar to the
                               new phoneme. The phoneme acoustically Similar to the new phoneme may be
                               determined by a human which determines the closest Sounding phoneme or by a
                               heuristic algorithm implemented on a computer readable medium. In the preferred
                               embodiment, the nearest phoneme is derived on the basis of a phonological Similarity
                               method. Alternatively, the Speech models may be initialized by assigning random values
                               to the initial models and by hand aligning the Speech tokens with their corresponding
                               transcriptions for a large number of Speech tokens and training the initial model values.
                               This alternative method is particularly useful when there are no speech models
                               available.”

                               Sabourin at 5:66-6:44

                               “The method also comprises training 208 the set of untrained Speech models by utilizing
                               the training Set, the plurality of letter to acoustic Sub-word unit rules Sets and the group
                               of acoustic Sub-word units to derive the multilingual speech model set 100. In a
                               preferred embodiment, as shown in FIG. 3 of the drawings, training 208 the Set of
                               untrained speech models comprises processing 300 at least Some of the entries in the
                               training Set on the basis of a certain letter to acoustic Sub-word unit rules Set in the
                               plurality of letter to acoustic Sub-word unit rules Sets to derive a group of transcriptions.


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                               In a Specific example, there is a plurality of training Sets, each Set being associated to a
                               language. A given training Set associated to a given language is first processed to extract
                               the labels from each entry. This operation will be readily available to those skilled in the
                               art. The labels extracted from the given training Set are then processed by a given letter
                               to acoustic Sub-word unit rules Set, the given letter to acoustic Sub-word unit rules Set
                               being associated to the given language. The result of this processing is a group of
                               transcriptions associated to a given language, the transcriptions in the group of
                               transcriptions comprising a Sequence of acoustic Sub-word units of the group of acoustic
                               Sub-word units. This processing is performed on all the training Sets of the plurality of
                               training Sets. Optionally, the groups of transcriptions from each respective training Set
                               are combined to form a compound training Set. As a variant, the training Set comprises
                               a plurality of entries, the entries being representative of Vocabulary items in one or more
                               languages. The training Set is first processed to extract the labels from each entry. The
                               labels extracted from the training Set are then processed by a Subset of the plurality of
                               letter to acoustic Sub-word unit rules Sets to derive a plurality of transcriptions. A first
                               transcription in the plurality of transcriptions corresponding to a certain vocabulary item
                               is associated to a first language and a Second transcription in the plurality of
                               transcriptions corresponding to the same certain vocabulary item is associated to a
                               Second language different from the first language.
                               As yet another variant, prosodic rules may be used to process the transcriptions
                               generated by with the letter to acoustic unit rules Sets to derive Surface form
                               transcriptions. The prosodic rules are associated to respective languages may be applied
                               to the groups of transcriptions associated to the same languages. Alternatively, a Subset
                               of the prosodic rules may be applies to the transcriptions associated to languages
                               different from the languages associated to the prosodic rules being considered. In
                               accordance with a preferred embodiment, training the Set of untrained Speech models
                               further comprises associating 302 the acoustic Sub-word units in the group of acoustic
                               Sub-word units to respective speech models in the Set of untrained speech models. The
                               training of the Set of untrained speech models further comprises processing 304 the
                               group of transcriptions generated at step 300 on the basis of a speech token of the
                               corresponding entry in the training Set whereby training the Set of untrained speech

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                               models to derive the multilingual Speech model Set. In a specific example of
                               implementation, the Speech tokens in Said training Set are processed by a feature
                               extraction unit to convert the Speech Signals into a Set of numeric values for Storage in
                               a vector representative of acoustic information. A specific example of a vector is a
                               cepstral vector. Each speech token is associated to a set of cepstral vectors, one vector
                               being associated to a frame of the Speech token. The cepstral vectors are then aligned
                               with the phonemes of the transcription corresponding to the Speech token. In a specific
                               example, for the initial alignment, the cepstral vectors of the Speech token are randomly
                               divided between the phonemes of the transcription. In another specific example, vector
                               quantization or Kohonen associative mapping is used to provide the initial alignment of
                               the cepstral vectors and the phonemes. These cepstral vectors are then used to condition
                               the untrained speech models thereby training the Speech models. In a preferred
                               embodiment, the Speech models are trained using a maximum likelihood method. The
                               speech models are HMMs having a set of States and transitions between these States,
                               each State represented by a State probability and a set of transition probabilities. The
                               state probability is modeled as a mixture of Gaussian distributions where each Gaussian
                               distribution has a means and a covariance matrix. The means and covariance matrices
                               may be shared be other models without detracting from the spirit of the invention. The
                               transition probabilities are exponential distributions with mean u. In a Specific example,
                               the untrained speech models are trained using maximum a posteriori adaptation (MAP)
                               as described in Gauvain J.-L. and Lee C. -H. (1994) “maximum a posteriori estimation
                               for multivariate Gaussian mixture observations of Markov chains' IEEE Trans. Speech
                               Audio Process. 2, pp. 291-298. The content of this document is hereby incorporated by
                               reference. Other methods of training Speech models on the basis of Speech tokens may
                               be used here without detracting from the Spirit of the invention. In a preferred
                               embodiment Several training iterations are performed to condition the Speech models.
                               The iterations are performed by obtaining another assignation of the vectors to the
                               phonemic transcription of the Speech label and restarting the training.”
                               Sabourin at 8:49-10:23.




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                                               Sabourin at Figs. 2-5, 7.
                                               See e.g. Sabourin at claim 1 (and other claims).
Claim 14
14.pre     A machine-readable storage          See claim 1, including 1.pre.a-c.
           medium, having stored thereon a
           computer program having a           Sabourin further discloses that a machine readable storage with a computer program
           plurality of code sections          having code that executes the described limitations. See e.g.,
           executable by a machine for         See Sabourin at Fig. 6.
           causing the machine to
           automatically generate from a
           first speech recognizer a second
           speech recognizer, said first
           speech recognizer comprising a
           first acoustic model with a first
           decision
           network and corresponding first
           phonetic contexts, and said
           second speech recognizer being
           adapted to a specific domain,
           said machine-readable storage
           causing the machine to perform
           the steps of:




                                               “The invention relates to a method and apparatus for training a multilingual speech
                                               model Set. The multilingual Speech model Set generated is Suitable for use by a speech
                                               recognition System for recognizing spoken utterances for at least two different


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                               languages. The invention allows using a single Speech recognition unit with a single
                               Speech model Set to perform Speech recognition on utterances from two or more
                               languages. The method and apparatus make use of a group of a group of acoustic Sub-
                               word units comprised of a first Subgroup of acoustic Sub-word units associated to a first
                               language and a Second Subgroup of acoustic Sub-word units associated to a Second
                               language where the first Subgroup and the Second Subgroup share at least one common
                               acoustic Sub-word unit. The method and apparatus also make use of a plurality of letter
                               to acoustic Sub-word unit rules Sets, each letter to acoustic Sub-word unit rules Set being
                               associated to a different language. A Set of untrained speech models is trained on the
                               basis of a training Set comprising speech tokens and their associated labels in
                               combination with the group of acoustic Sub-word units and the plurality of letter to
                               acoustic Sub-word unit rules Sets. The invention also provides a computer readable
                               Storage medium comprising a program element for implementing the method for
                               training a multilingual Speech model Set.”
                               Sabourin at Abstract.
                               “In accordance with another broad aspect, the invention provides an apparatus for
                               generating a multilingual speech model set. In accordance with another broad aspect,
                               the invention provides a computer readable storage medium containing a program
                               element suitable for use on a computer having a memory, the program element being
                               suitable for generating a multilingual speech model set.”
                               Sabourin at 3:8-15.
                               “In a specific embodiment, the apparatus depicted in FIGS. 4 and 5 comprises a
                               processor coupled to a computer reasonable storage medium, the computer readable
                               storage medium comprising a program element for execution by the processor for
                               implementing the processing unit 408.
                               …




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                                              The above-described method of generating a multilingual speech model set can also be
                                              implemented on any suitable computing platform as show in FIG 6.”
                                              Sabourin at 13:40-50.
                                              “10. A computer readable storage medium comprising a data structure containing a
                                              multilingual speech model set generated by the method defined in claim 1.”
                                              Sabourin at 15:65-67.
                                              Sabourin claim 11-24.
14.a    based on said first acoustic          See claim 1, including 1.a.1-2, and 14.pre.
        model, generating a second
        acoustic model with a second
        decision network and
        corresponding second phonetic
        contexts for said second speech
        recognizer by re-estimating said
        first decision network and said
        corresponding first phonetic
        contexts based on domain-
        specific training data, wherein
        said first decision network and
        said second decision network
        utilize a phonetic decision tree to
        perform speech recognition
        operations,
14.b    wherein the number of nodes in        See claim 1, including 1.b.1-2, and 14.pre, 14.a.
        the second decision network is
        not fixed by the number of nodes
        in the first decision network, and
        wherein said re-estimating


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           comprises partitioning said
           training data using said first
           decision network of said first
           speech recognizer.
Claim 27
27.pre     “A computerized method of           See claim 1, including 1.pre.a-c.
           generating a second speech
           recognizer comprising the steps
           of:
27.a       identifying a first speech          See claim 1, including 1.pre.b and 27.pre.
           recognizer of a first domain
           comprising a first acoustic model
           with a first decision network and
           corresponding first phonetic
           contexts;”
27.b       “receiving domain-specific          Sabourin discloses receiving domain-specific training data of a second domain. See
           training data of a second domain;   claim 1 including 1.pre.c and 1.a.1. See also
           and”
                                               “A training set is provided for each language that the multilingual speech model set is
                                               to be representative of.”
                                               Sabourin at 6:10-12.
                                               “In a specific example, there is a plurality of training sets, each set being associated to
                                               a language.”
                                               Sabourin at 8:60-61.
                                               Sabourin at Fig. 3; see also Figs. 2, 4, 5.
                                               See, e.g., Sabourin, Claim 1 (and other claims).




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27.c    “based on the first speech           Sabourin discloses based on the first speech recognizer and the domain-specific
        recognizer and the domain-           training data, generating a second acoustic model of said first domain and said second
        specific training data, generating   domain comprising a second acoustic model with a second decision network and
        a second acoustic model of said      corresponding second phonetic contexts. See claim 1 including 1.pre.c and 1.a.1.
        first domain and said second
        domain comprising a second           Further, Sabourin discloses a multilingual system where there are two different
        acoustic model with a second         language domains as recited.
        decision network and
        corresponding second phonetic        “The invention relates to a method and apparatus for training a multilingual speech
        contexts, wherein the first          model Set. The multilingual Speech model Set generated is Suitable for use by a speech
        domain comprises at least a first    recognition System for recognizing spoken utterances for at least two different
        language, wherein the second         languages. The invention allows using a single Speech recognition unit with a single
        domain comprises at least a          Speech model Set to perform Speech recognition on utterances from two or more
        second language, and wherein         languages. The method and apparatus make use of a group of a group of acoustic Sub-
        the second speech recognizer is a    word units comprised of a first Subgroup of acoustic Sub-word units associated to a first
        multi-lingual speech recognizer.”    language and a Second Subgroup of acoustic Sub-word units associated to a Second
                                             language where the first Subgroup and the Second Subgroup share at least one common
                                             acoustic Sub-word unit. The method and apparatus also make use of a plurality of letter
                                             to acoustic Sub-word unit rules Sets, each letter to acoustic Sub-word unit rules Set being
                                             associated to a different language. A Set of untrained speech models is trained on the
                                             basis of a training Set comprising speech tokens and their associated labels in
                                             combination with the group of acoustic Sub-word units and the plurality of letter to
                                             acoustic Sub-word unit rules Sets. The invention also provides a computer readable
                                             Storage medium comprising a program element for implementing the method for
                                             training a multilingual Speech model Set.”
                                             Sabourin at Abstract.
                                             “A deficiency of the above-described method is that the Speech recognition System
                                             requires as an input the language associated to the input utterance, which may not be
                                             readily available to the Speech recognition System. Usually, obtaining the language
                                             requires prompting the user for the language of use thereby requiring an additionally


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                               Step in the Service being provided by the Speech recognition enabled system which
                               may lower the level of satisfaction of the user with the system as a whole. Another
                               deficiency of the above noted method is the costs associated to developing and
                               maintaining a Speech model Set for each language the Speech recognition System is
                               adapted to recognize. More Specifically, each speech model Set must be trained
                               individually, a task requiring manpower for each individual language thereby
                               increasing significantly the cost of Speech recognition Systems operating in
                               multilingual environments with respect to Systems operating in unilingual
                               environments. In addition, the above-described method requires the Storage of a
                               speech model Set for each language in memory thereby increasing the cost of the
                               Speech recognition System in terms of memory requirements. Finally, the above
                               described method requires testing a speech model Set for each language thereby
                               increasing the testing cost of the Speech recognition System for each language the
                               Speech recognition System is adapted to recognize. Thus, there exists a need in the
                               industry to refine the process of training Speech models So as to obtain an improved
                               multilingual Speech model Set capable of being used by a speech recognition System
                               for recognizing spoken utterances for at least two different languages.”

                               Sabourin at 1:55-2:17.

                               “In accordance with another broad aspect, the invention provides a method for
                               generating a multilingual speech model Set Suitable for use in a multilingual speech
                               recognition System. The method comprises providing a group of acoustic Sub-word
                               units having a first Subgroup of acoustic Sub-word units associated to a first language
                               and a Second Subgroup of acoustic Sub-word units associated to a Second language.
                               The first Subgroup and the Second Subgroup share at least one common acoustic Sub-
                               word unit. The method further comprises providing a training Set comprising a
                               plurality of entries, each entry having a speech token representative of a word and a
                               label being an orthographic representation of the word. The method further comprises
                               providing a Set of untrained speech models and training the Set of untrained speech
                               models by utilizing the training Set, the plurality of letter to acoustic Sub-word unit


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                               rules Sets and the group of acoustic Sub-word units to derive the multilingual Speech
                               model Set.”

                               Sabourin at 2:57-3:7.

                               “The invention provides a method for generating the multilingual speech model set
                               shown in FIG.1. As shown in FIG. 2 of the drawings, the method comprises providing
                               200 a group of acoustic Sub-word units comprised of a first Subgroup of acoustic Sub-
                               word units associated to a first language and a Second Subgroup of acoustic Sub-word
                               units associated to a Second language. The first Subgroup and the Second Subgroup
                               share at least one common acoustic Sub word unit. In a preferred embodiment, the
                               group of acoustic Sub word unit is obtained by combining sub-word units from
                               individual languages. For each language for which the multilingual Speech model Set
                               is to be representative of, an inventory of sub-word units can be obtained. The acoustic
                               Sub-word units are basic units of Sound in a language. These inventories may be
                               produced by phoneticians or may be provided as off-the-shelf components. In a
                               specific example, the Sub-word units are phonemes. The Skilled person in the art will
                               readily see that other sub-word units may be used here without detracting from the
                               spirit of the invention.”

                               Sabourin at 4:25-45.

                               “The training of the set of untrained speech models further comprises processing 304
                               the group of transcriptions generated at step 300 on the basis of a speech token of the
                               corresponding entry in the training Set whereby training the Set of untrained speech
                               models to derive the multilingual Speech model Set.”

                               Sabourin at 9:34-39.

                               See Sabourin at Figs. 2-7.
                               See, e.g., Sabourin, Claim 1 (and other claims).

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                                                            APPENDIX A-3
                                    Invalidity Claim Chart for U.S. Pat. No. 6,999,925 (’925 patent)
                                                  U.S. Pat. No. 6,324,510 (“Waibel”)1

On October 16, 2020, Nuance narrowed the asserted ’925 patent claims to 1, 14 and 27. Nuance’s Disclosure Limiting Asserted
Claims of Phase 1 Patents. Claim 27 of the ’925 patent is anticipated and/or rendered obvious by Waibel alone or in combination with
at least the following references. The chart below discloses how prior art references identified by Omilia disclose, either expressly or
inherently, and/or render obvious these asserted claims:

      (1) U.S. Pat. No. 6,912,499, Sabourin et al., filed August 31, 1999 (“Sabourin”)2

This invalidity claim chart is based on Omilia’s present understanding of the asserted claims, the Court’s August 6, 2020 Claim
Construction Order (ECF. No. 157), Nuance’s initial and all subsequent supplemental Infringement Contentions, its July 7, 2020
Response to Omilia’s Supplemental Non-Infringement and Invalidity Responses, Nuance’s Response to Omilia’s Interrogatory No. 9,
and Omilia’s investigation to date. Omilia is not adopting Nuance’s apparent constructions, nor is Omilia admitting to the accuracy of
any particular construction. Omilia reserves all rights to amend this invalidity claim chart if Nuance further amends its Infringement
Contentions, or in response to any statements made by Nuance at any phase of this litigation. In addition, Discovery is still ongoing,
and Omilia reserves its right to supplement its contentions with additional evidence as discovery continues.

The citations provided are exemplary and do not necessarily include each and every disclosure of the limitation in the references. Omilia
has cited the most relevant portions of the identified prior art. Other portions of the identified prior art may additionally disclose, either
expressly or inherently, and/or render obvious one or more limitations of the asserted claims. To provide context or aid in understanding
the prior art and the state of the art at the time of the alleged invention, Omilia reserves the right to rely on: (1) uncited portions of the
identified prior art; (2) other prior art not identified herein; (3) references that show the state of the art (irrespective of whether such
references themselves qualify as prior art to the asserted patents); (4) factual testimony from the inventors or authors of the prior art
references, or purveyors of prior art devices; and/or (5) expert testimony.

Citations to a particular drawing or figure in the accompanying charts should be understood to include the description of the drawing or
figure, as well as any text associated with the drawing or figure. Citations to particular text concerning a drawing or figure, should also
be understood to encompasses that drawing or figure as well. The identified prior art expressly and/or inherently discloses the features
of the asserted claims under all proposed constructions of the asserted claims. To establish the inherency of certain features of the prior

1
    Waibel was filed on November 6, 1998 and is prior art at least under 35 U.S.C. § 102(a) & 102(e).
2
    Sabourin was filed on August 31, 1999 and is prior art at least under 35 U.S.C. § 102(a) & 102(e).
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art to invalidate the asserted claims, Omilia may rely on cited or uncited portions of the prior art, other documents, factual testimony,
and expert testimony. To the extent that the Court finds that this reference does not explicitly teach certain limitations in the asserted
claims, such limitations would have been inherent and/or obvious and Omilia reserves the right to supplement or amend this claim chart
to address such a finding.

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 Claim 27
 27.pre     “A computerized method of      Waibel discloses a computerized method of generating a second speech recognizer. See
            generating a second speech     e.g.,
            recognizer comprising the
            steps of:                       “A method of organizing an acoustic model for speech recognition is comprised of the
                                           steps of calculating a measure of acoustic dissimilarity of subphonetic units. A clustering
                                           technique is recursively applied to the subphonetic units based on the calculated measure
                                           of acoustic dissimilarity to automatically generate a hierarchically arranged model. Each
                                           application of the clustering technique produces another level of the hierarchy with the
                                           levels progressing from the least specific to the most specific. A technique for adapting the
                                           structure and size of a trained acoustic model to an unseen domain using only a small
                                           amount of adaptation data is also disclosed.”

                                           Waibel, at Abstract.

                                           “The present invention is also directed to a method of structurally adapting a hierarchical
                                           acoustic model having both nodes and leaves to a new domain. The method is comprised
                                           of the steps of identifying nodes that receive more than a predetermined amount of
                                           adaptation data and adapting the local estimators of conditional posteriors and priors of the
                                           identified nodes using data from the new domain. A user-specified quantity of the non-
                                           identified nodes are removed and leaves are created, where needed, to replace the removed
                                           nodes. All of the HMM states are related to the new leaves such that they share a single
                                           model represented by the new leaves.”

                                           Waibel, at 2:66–3:10.




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                                        “The present invention is directed to a method of organizing an acoustic model for speech
                                        recognition comprised of the steps of calculating a measure of acoustic dissimilarity of
                                        subphonetic units. Recursively clustering the subphonetic units based on the calculated
                                        measure automatically generates a hierarchically arranged model. An apparatus for
                                        performing the method is also disclosed.”

                                        Waibel, at 2:52–58.

                                        “Starting from an initial set of decision tree clustered, context-dependent, subphonetic
                                        units, the present invention uses an aglommerative clustering algorithm across
                                        monophones to automatically design a tree-structured decomposition of posterior
                                        probabilities which is instantiated with thousands of small neural network estimators at
                                        each of the nodes of the tree.”

                                        Waibel, at 2:59–65.

                                        “FIG. 1 illustrates a computer on which the present invention may be practiced.”

                                        Waibel, at 3:41-42; see also Fig. 1.

                                        “The methods of the present invention may be carried out on a computer 10 of the type
                                        illustrated in FIG. 1. It is anticipated that the methods of the present invention will be
                                        embodied in software and conventionally stored such as on the computer’s hard drive 12, a
                                        floppy dish 14, or other storage medium. When the computer 10 executes software which
                                        embodies the methods of the present invention, the computer 10 becomes the means
                                        necessary for performing the various steps of the method.”

                                        Waibel, at 3:56-64.

                                        Waibel, Claims 16-36, in particular claim 23.

27.a     identifying a first speech     Waibel discloses a first speech recognizer with a first acoustic model that includes a
         recognizer of a first domain   decision network and corresponds to phonetic contexts at least because Waibel is describes

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         comprising a first acoustic   HMMs and HMM-based speech recognition systems which make use of decision networks
         model with a first decision   with corresponding phonetic context as described in Waibel. See e.g.,
         network and corresponding
         first phonetic contexts;”     “Another problem with current HMM-based speech recognition technology is that it
                                       suffers from domain dependence. Over the years, the community has validated and
                                       commercialized the technology based on standardized training and test sets in restricted
                                       domains, such as the Wall Street Journal (WSJ) (business newspaper texts), Switchboard
                                       (SWB) (spontaneous telephone conversations) and Broadcast News (BN) (radio/tv news
                                       shows). Performance of systems trained on such domains typically drops significantly
                                       when applied to a different domain, especially with changing speaking style, e.g. when
                                       moving from read speech to spontaneous speech. D. L. Thomson, “Ten Case Studies of the
                                       Effect of Field Conditions on Speech Recognition Errors”, Proceedings of the IEEE ASRU
                                       Workshop, Santa Barbara, 1997. For instance, performance of a recognizer trained on WSJ
                                       typically decreases severely when decoding SWB data. Several factors can be held
                                       responsible for the strong domain dependence of current statistical speech recognition
                                       systems. One is constrained quality, type or recording conditions of domain specific
                                       speech data (read, conversational, spontaneous speech/noisy, clean recordings/presence of
                                       acoustic background sources, etc.). Another is vocabulary and language model dependence
                                       of phonetic context modeling based on phonetic decision trees. That implies a strong
                                       dependence of allophonic models on the specific domain. Another factor is domain
                                       dependent optimization of size of acoustic model based on amount of available training
                                       data and/or size of vocabulary. While the first of the above-mentioned factors is typically
                                       addressed by some sort of speaker and/or environment adaptation technique, the latter two
                                       factors are usually not adequately addressed in cross-domain applications.”

                                       Waibel, at 1:64-2:28.

                                       “The present invention is also directed to a method of structurally adapting a hierarchical
                                       acoustic model having both nodes and leaves to a new domain. The method is comprised
                                       of the steps of identifying nodes that receive more than a predetermined amount of
                                       adaptation data and adapting the local estimators of conditional posteriors and priors of the
                                       identified nodes using data from the new domain. A user-specified quantity of the non-


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                            identified nodes are removed and leaves are created, where needed, to replace the removed
                            nodes. All of the HMM states are related to the new leaves such that they share a single
                            model represented by the new leaves.”

                            Waibel, at 2:66–3:10.

                            “The disclosed method allows effective adaptation of the structure and size of a trained
                            acoustic model to an unseen domain using only a small amount of adaptation data. The
                            present invention benefits from the multi-level, hierarchical representation of the context-
                            dependent acoustic model. In contrast to approaches based on acoustic adaptation only, the
                            present invention uses an estimate of the a-priori distribution of modeled HMM states on
                            the new domain to dynamically downsize or prune the tree-structured acoustic model. In
                            that manner, the present invention accounts for differences in vocabulary size and adjusts
                            to the specificity of phonetic context observed in the new domain.”

                            Waibel, at 3:11-22.

                            “By adapting the specificity of the acoustic model, improved performance can be obtained
                            with very little requirements for adaptation data. Furthermore, the present invention
                            compensates over fitting effects particularly when targeting a domain with a much smaller
                            vocabulary. The present invention may also be applied to downsize/prune an acoustic
                            model to any desired size to accommodate computing and/or memory resource limitations.
                            Those, and other advantages and benefits of the present invention, will become apparent
                            from reading the Description Of The Preferred Embodiment hereinbelow.”

                            Waibel, at 3:23-33.

                            “An interesting property of HNNs that can be exploited for structural adaptation is that
                            partially computed posterior probabilities at all crossed paths in every horizontal cross
                            section of the tree constitute a legal posterior probability distribution over a reduced
                            (merged) set of leaves. A starting point for structural adaptation is an HNN constructed and
                            trained on a domain exhibiting sufficiently rich diversity in phonetic context to provide a


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                            basis for any new, unseen domain. To adapt this baseline for any new, smaller domain
                            typically exhibiting very different specificity of phonetic context, the following steps are
                            performed:

                            1. Take the baseline HNN tree (circles=nodes, squares=leaves) (FIG. 5A)

                            2. Select nodes that receive more than a predetermined, sufficiently large amount of
                            adaptation data (mincount) and adapt their local estimators of conditional posteriors and
                            priors using adaptation data from the new domain. (FIG. 5B)

                            3. Remove all nodes that receive less than a predetermined amount of adaptation data.
                            Create new leaf nodes (squares) in place of the root nodes of pruned subtrees. (FIG. 5C)

                            4. Finally, merge leaf nodes of pruned subtrees. (FIG.5D) Tie all HMM states
                            corresponding to the leaves of pruned subtrees in the original tree such that they share a
                            single model, represented by the newly created leaves.”

                            Waibel, at 6:29-6:55.

                            “A method of organizing an acoustic model for speech recognition is comprised of the
                            steps of calculating a measure of acoustic dissimilarity of subphonetic units. A clustering
                            technique is recursively applied to the subphonetic units based on the calculated measure
                            of acoustic dissimilarity to automatically generate a hierarchically arranged model. Each
                            application of the clustering technique produces another level of the hierarchy with the
                            levels progressing from the least specific to the most specific. A technique for adapting the
                            structure and size of a trained acoustic model to an unseen domain using only a small
                            amount of adaptation data is also disclosed.”

                            Waibel, at Abstract.

                            “The present invention is directed to a method of organizing an acoustic model for speech
                            recognition comprised of the steps of calculating a measure of acoustic dissimilarity of


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                            subphonetic units. Recursively clustering the subphonetic units based on the calculated
                            measure automatically generates a hierarchically arranged model. An apparatus for
                            performing the method is also disclosed.”

                            Waibel, at 2:52–58.

                            “Starting from an initial set of decision tree clustered, context-dependent, subphonetic
                            units, the present invention uses an aglommerative clustering algorithm across
                            monophones to automatically design a tree-structured decomposition of posterior
                            probabilities which is instantiated with thousands of small neural network estimators at
                            each of the nodes of the tree.”

                            Waibel, at 2:59–65.

                            “In contrast to conventional mixtures of Gaussians based acoustic models, the HNN
                            framework of the present invention does not require additional structures to reduce the
                            complexity of model evaluation. The tree structure itself can be exploited to control the
                            speed-accuracy trade-off. The size of the tree, and hence the degree of accuracy, may be
                            dynamically adapted based on the requirements and data available for a given task. The
                            evaluation of posterior state probabilities follows a path from root node to a specific leaf in
                            the HNN, multiplying all estimates of conditional posteriors along the way. Subtrees can
                            be pruned by closing paths whenever the partial probability falls below a suitable
                            threshold. This can be performed dynamically during speech recognition. This way the
                            evaluation of a significant amount of networks at the bottom of the HNN can be avoided,
                            possibly at the cost of increased error rate.”

                            Waibel, at 7:9–24.

                            See also Waibel, Claims 16-36.




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27.b     “receiving domain-specific     Waibel discloses receiving domain-specific training data of a second domain. Waibel
         training data of a second      describes using “adaptation data” to adapt the decision tree model. See e.g.,
         domain; and”
                                        “The present invention is also directed to a method of structurally adapting a hierarchical
                                        acoustic model having both nodes and leaves to a new domain. The method is comprised
                                        of the steps of identifying nodes that receive more than a predetermined amount of
                                        adaptation data and adapting the local estimators of conditional posteriors and priors of the
                                        identified nodes using data from the new domain. A user-specified quantity of the non-
                                        identified nodes are removed and leaves are created, where needed, to replace the removed
                                        nodes. All of the HMM states are related to the new leaves such that they share a single
                                        model represented by the new leaves.”

                                        Waibel, at 2:66–3:10.

                                        “The disclosed method allows effective adaptation of the structure and size of a trained
                                        acoustic model to an unseen domain using only a small amount of adaptation data. The
                                        present invention benefits from the multi-level, hierarchical representation of the context-
                                        dependent acoustic model. In contrast to approaches based on acoustic adaptation only, the
                                        present invention uses an estimate of the a-priori distribution of modeled HMM states on
                                        the new domain to dynamically downsize or prune the tree-structured acoustic model. In
                                        that manner, the present invention accounts for differences in vocabulary size and adjusts
                                        to the specificity of phonetic context observed in the new domain.”

                                        Waibel, at 3:11–22.

27.c     “based on the first speech     Waibel discloses based on the first speech recognizer and the domain-specific training data,
         recognizer and the domain-     generating a second acoustic model of said first domain and said second domain comprising
         specific training data,        a second acoustic model with a second decision network and corresponding second phonetic
         generating a second acoustic   contexts. In Waibel, the generating of a new speech recognizer includes re-estimating said
         model of said first domain     first decision network and said corresponding first phonetic contexts based on domain-
         and said second domain
         comprising a second


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         acoustic model with a         specific training data, at least because the method adapts the structure and size of the acoustic
         second decision network       model and its phonetic contexts. See e.g.,
         and corresponding second
         phonetic contexts, wherein    “A method of organizing an acoustic model for speech recognition is comprised of the
         the first domain comprises    steps of calculating a measure of acoustic dissimilarity of subphonetic units. A clustering
         at least a first language,    technique is recursively applied to the subphonetic units based on the calculated measure
         wherein the second domain     of acoustic dissimilarity to automatically generate a hierarchically arranged model. Each
         comprises at least a second   application of the clustering technique produces another level of the hierarchy with the
         language, and wherein the     levels progressing from the least specific to the most specific. A technique for adapting the
         second speech recognizer is   structure and size of a trained acoustic model to an unseen domain using only a small
         a multi-lingual speech        amount of adaptation data is also disclosed.”
         recognizer.”
                                       Waibel, at Abstract.

                                       “The present invention is also directed to a method of structurally adapting a hierarchical
                                       acoustic model having both nodes and leaves to a new domain. The method is comprised
                                       of the steps of identifying nodes that receive more than a predetermined amount of
                                       adaptation data and adapting the local estimators of conditional posteriors and priors of the
                                       identified nodes using data from the new domain. A user-specified quantity of the non-
                                       identified nodes are removed and leaves are created, where needed, to replace the removed
                                       nodes. All of the HMM states are related to the new leaves such that they share a single
                                       model represented by the new leaves.”

                                       Waibel, at 2:66–3:10.

                                       “The disclosed method allows effective adaptation of the structure and size of a trained
                                       acoustic model to an unseen domain using only a small amount of adaptation data. The
                                       present invention benefits from the multi-level, hierarchical representation of the context-
                                       dependent acoustic model. In contrast to approaches based on acoustic adaptation only, the
                                       present invention uses an estimate of the a-priori distribution of modeled HMM states on
                                       the new domain to dynamically downsize or prune the tree-structured acoustic model. In



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                            that manner, the present invention accounts for differences in vocabulary size and adjusts
                            to the specificity of phonetic context observed in the new domain.”

                            Waibel, at 3:11–22.

                            “By adapting the specificity of the acoustic model, improved performance can be obtained
                            with very little requirements for adaptation data. Furthermore, the present invention
                            compensates over fitting effects particularly when targeting a domain with a much smaller
                            vocabulary. The present invention may also be applied to downsize/prune an acoustic
                            model to any desired size to accommodate computing and/or memory resource limitations.
                            Those, and other advantages and benefits of the present invention, will become apparent
                            from reading the Description Of The Preferred Embodiment hereinbelow.”

                            Waibel, at 3:23–33.

                            “An interesting property of HNNs that can be exploited for structural adaptation is that
                            partially computed posterior probabilities at all crossed paths in every horizontal cross
                            section of the tree constitute a legal posterior probability distribution over a reduced
                            (merged) set of leaves. A starting point for structural adaptation is an HNN constructed and
                            trained on a domain exhibiting sufficiently rich diversity in phonetic context to provide a
                            basis for any new, unseen domain. To adapt this baseline for any new, smaller domain
                            typically exhibiting very different specificity of phonetic context, the following steps are
                            performed:

                            1. Take the baseline HNN tree (circles=nodes, squares=leaves) (FIG. 5A)

                            2. Select nodes that receive more than a predetermined, sufficiently large amount of
                            adaptation data (mincount) and adapt their local estimators of conditional posteriors and
                            priors using adaptation data from the new domain. (FIG. 5B)




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                            3. Remove all nodes that receive less than a predetermined amount of adaptation data.
                            Create new leaf nodes (squares) in place of the root nodes of pruned subtrees. (FIG. 5C)

                            4. Finally, merge leaf nodes of pruned subtrees. (FIG.5D) Tie all HMM states
                            corresponding to the leaves of pruned subtrees in the original tree such that they share a
                            single model, represented by the newly created leaves.”

                            Waibel, at 6:28–55.
                            “In contrast to conventional mixtures of Gaussians based acoustic models, the HNN
                            framework of the present invention does not require additional structures to reduce the
                            complexity of model evaluation. The tree structure itself can be exploited to control the
                            speed-accuracy trade-off. The size of the tree, and hence the degree of accuracy, may be
                            dynamically adapted based on the requirements and data available for a given task. The
                            evaluation of posterior state probabilities follows a path from root node to a specific leaf in
                            the HNN, multiplying all estimates of conditional posteriors along the way. Subtrees can be
                            pruned by closing paths whenever the partial probability falls below a suitable threshold.
                            This can be performed dynamically during speech recognition. This way the evaluation of a
                            significant amount of networks at the bottom of the HNN can be avoided, possibly at the
                            cost of increased error rate.”
                            Waibel, at 7:9–24.
                            “The present invention maintains the advantages of discriminative training while
                            circumventing the limitations of standard connectionist acoustic models. Furthermore, HNN
                            acoustic models incorporate the Structure for Speaker adaptation and Scoring Speed-up
                            algorithms that usually require additional effort in traditional mixture densities acoustic
                            models. The present invention enables effective adaptation of the Structure of a tree-
                            structured hierarchical connectionist acoustic model to unseen new domains. In contrast to
                            existing architectures and adaptation techniques, the present invention not only compensates
                            for mismatches in acoustic Space, but adapts to differing Specificity of phonetic context in




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                            unseen domains by adapting node priors and pruning defective parts of the modeling
                            hierarchy.”
                            Waibel, at 7:45-58:
                            See also Waibel, claims 16-36
                            While Waibel does not explicitly contemplate that the final speech recognizer will be able
                            to understand multiple languages, Waibel contemplates that its solution avoids the cost with
                            adapting acoustic models for example, in connection with different applications within a
                            language. See Waibel at 2:66-3:33 and 2:29-42. A POSITA would understand that this same
                            adaptation could be performed with a pre-existing multi-lingual recognizer or used to create
                            a multilingual recognizer. This was a common application and there was a need for modified
                            recognizers. For example, multilingual speech recognizers were well known at the time of
                            the ’925 patent. See, e.g., Schultz et al., “Polyphone Decision Tree Specialization for
                            Language Adaptation”, ICASSP-2000, Istanbul, Turkey, Jun. 2000 (Section 2.2. describing
                            generating and use of multilingual speech recognizers).
                            A POSITA would have known that multilingual speech recognizers were well known and
                            desirable. See Exhibit A-1, (Sabourin Chart, claim 27.c).
                            Given this disclosure, the creation of a multilingual second recognizer was obvious in light
                            of Waibel alone, or in combination with Sabourin. The motivation to combine these
                            references would at least include:
                                  Combining prior art elements according to known methods to yield predictable
                                   results (multilingual recognizers were known using similar techniques for
                                   predictable results);
                                  Simple substitution of one known element for another to obtain predictable results
                                   (substituting the domain from just one language to two);




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                                  Use of known technique to improve similar devices (methods, or products) in the
                                   same way (same technique of expanding domain of the recognizer to include multiple
                                   languages was known));
                                  Applying a known technique to a known device (method, or product) ready for
                                   improvement to yield predictable results (multilingual recognizers were known using
                                   similar known techniques for predictable results);
                                  “Obvious to try”—choosing from a finite number of identified, predictable solutions,
                                   with a reasonable expectation of success (obvious to try to recognize more than one
                                   language);
                                  Market forces and benefits associated with the known benefits of multilingual
                                   recognizers were predictable to POSA
                                  Teaching of prior art would have lead a POSA to combine the references to arrive at
                                   a multilingual recognizer.
                            For example, Sabourin explicitly discloses a multilingual system. Sabourin also discloses
                            that there are two different language domains as recited.
                            “The invention relates to a method and apparatus for training a multilingual speech model
                            Set. The multilingual Speech model Set generated is Suitable for use by a speech
                            recognition System for recognizing spoken utterances for at least two different languages.
                            The invention allows using a single Speech recognition unit with a single Speech model
                            Set to perform Speech recognition on utterances from two or more languages. The method
                            and apparatus make use of a group of a group of acoustic Sub-word units comprised of a
                            first Subgroup of acoustic Sub-word units associated to a first language and a Second
                            Subgroup of acoustic Sub-word units associated to a Second language where the first
                            Subgroup and the Second Subgroup share at least one common acoustic Sub-word unit.
                            The method and apparatus also make use of a plurality of letter to acoustic Sub-word unit
                            rules Sets, each letter to acoustic Sub-word unit rules Set being associated to a different
                            language. A Set of untrained speech models is trained on the basis of a training Set


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                            comprising speech tokens and their associated labels in combination with the group of
                            acoustic Sub-word units and the plurality of letter to acoustic Sub-word unit rules Sets. The
                            invention also provides a computer readable Storage medium comprising a program
                            element for implementing the method for training a multilingual Speech model Set.”
                            Sabourin at Abstract.

                            “A deficiency of the above-described method is that the Speech recognition System
                            requires as an input the language associated to the input utterance, which may not be
                            readily available to the Speech recognition System. Usually, obtaining the language
                            requires prompting the user for the language of use thereby requiring an additionally Step
                            in the Service being provided by the Speech recognition enabled system which may lower
                            the level of satisfaction of the user with the system as a whole. Another deficiency of the
                            above noted method is the costs associated to developing and maintaining a Speech model
                            Set for each language the Speech recognition System is adapted to recognize. More
                            Specifically, each speech model Set must be trained individually, a task requiring
                            manpower for each individual language thereby increasing significantly the cost of Speech
                            recognition Systems operating in multilingual environments with respect to Systems
                            operating in unilingual environments. In addition, the above-described method requires the
                            Storage of a speech model Set for each language in memory thereby increasing the cost of
                            the Speech recognition System in terms of memory requirements. Finally, the above
                            described method requires testing a speech model Set for each language thereby increasing
                            the testing cost of the Speech recognition System for each language the Speech recognition
                            System is adapted to recognize. Thus, there exists a need in the industry to refine the
                            process of training Speech models So as to obtain an improved multilingual Speech model
                            Set capable of being used by a speech recognition System for recognizing spoken
                            utterances for at least two different languages.”

                            Sabourin at 1:55-2:17.

                            “In accordance with another broad aspect, the invention provides a method for generating a
                            multilingual speech model Set Suitable for use in a multilingual speech recognition

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                            System. The method comprises providing a group of acoustic Sub-word units having a first
                            Subgroup of acoustic Sub-word units associated to a first language and a Second Subgroup
                            of acoustic Sub-word units associated to a Second language. The first Subgroup and the
                            Second Subgroup share at least one common acoustic Sub-word unit. The method further
                            comprises providing a training Set comprising a plurality of entries, each entry having a
                            speech token representative of a word and a label being an orthographic representation of
                            the word. The method further comprises providing a Set of untrained speech models and
                            training the Set of untrained speech models by utilizing the training Set, the plurality of
                            letter to acoustic Sub-word unit rules Sets and the group of acoustic Sub-word units to
                            derive the multilingual Speech model Set.”

                            Sabourin at 2:57-3:7.

                            “The invention provides a method for generating the multilingual speech model set shown
                            in FIG.1. As shown in FIG. 2 of the drawings, the method comprises providing 200 a
                            group of acoustic Sub-word units comprised of a first Subgroup of acoustic Sub-word units
                            associated to a first language and a Second Subgroup of acoustic Sub-word units
                            associated to a Second language. The first Subgroup and the Second Subgroup share at
                            least one common acoustic Sub word unit. In a preferred embodiment, the group of
                            acoustic Sub word unit is obtained by combining sub-word units from individual
                            languages. For each language for which the multilingual Speech model Set is to be
                            representative of, an inventory of sub-word units can be obtained. The acoustic Sub-word
                            units are basic units of Sound in a language. These inventories may be produced by
                            phoneticians or may be provided as off-the-shelf components. In a specific example, the
                            Sub-word units are phonemes. The Skilled person in the art will readily see that other sub-
                            word units may be used here without detracting from the spirit of the invention.”

                            Sabourin at 4:25-45.

                            “The training of the set of untrained speech models further comprises processing 304 the
                            group of transcriptions generated at step 300 on the basis of a speech token of the


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                            corresponding entry in the training Set whereby training the Set of untrained speech models
                            to derive the multilingual Speech model Set.”

                            Sabourin at 9:34-39.

                            See Sabourin at Figs. 1-7.

                            It would be obvious to a person having ordinary skill in the art to combine Waibel with
                            Sabourin. Both Waibel and Sabourin are in the same field of art. A person having ordinary
                            skill in the art would be motivated to combine Waibel with Sabourin. A person having
                            ordinary skill in the art considering Waibel’s disclosure that there is a need for a model that
                            “is easily integrated into existing large vocabulary conversational speech recognition
                            (LVCSR) systems,” when many such systems were multilingual and “the need also exists
                            for a trained acoustic model to be easily adapted in structure and size to unseen domains
                            using only small amount of adaptation data,” would be motivated to seek out a system that
                            builds a multilingual or different language speech set when the new domain is a new
                            language, as disclosed by Sabourin. A person having ordinary skill in the art would have a
                            reasonable expectation of success in implementing the teaching of Waibel to generate a
                            multilingual or new language speech recognizer as provided by Sabourin because the
                            combination at least involves the predictable use of prior art elements according to their
                            established functions.
                            Further, recognizers that re-estimated by adding nodes to the second speech recognizer were
                            known. Sabourin and Schultz similarly disclose adding nodes. For the reasons above, a
                            POSITA would similarly be motivated to combine either Sabourin or Schultz with Waibel
                            to create a multilingual speech recognizer where re-estimation includes the addition of nodes
                            to account for new phones or contexts not present in the first speech recognizer.
                                  See Exhibit A-2, Claim 1.a.1.
                                  See Exhibit A-4, Claim 1.a.1.



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                                                         APPENDIX A-4
                                  Invalidity Claim Chart for U.S. Pat. No. 6,999,925 (’925 patent)
    Schultz, et al., Japanese LVCSR on the Spontaneous Scheduling Task with JANUS-3, Eurospeech, Rhodes 1997 (“Schultz”)1

On October 16, 2020, Nuance narrowed the asserted ’925 patent claims to 1, 14 and 27. Nuance’s Disclosure Limiting Asserted
Claims of Phase 1 Patents. Claims 1, 14 and 27 of the ’925 patent are anticipated and/or rendered obvious by Schultz alone or in
combination with at least the following references. The chart below discloses how prior art references identified by Omilia disclose,
either expressly or inherently, and/or render obvious each of the asserted claims:

     (1) U.S. Pat. No. 6,912,499, Sabourin et al., filed August 31, 1999 (“Sabourin”)2

     (2) U.S. Pat. No. 6,324,510, Waibel et al., filed November 6, 1998 (“Waibel”)3

Schultz incorporated the following prior-art references:

        M. Finke, et al., Wide Context Acoustic Modeling in Read vs Spontaneous Speech, Proc. Of ICASSP, Munich 1997 (“Finke”)

This invalidity claim chart is based on Omilia’s present understanding of the asserted claims, the Court’s August 6, 2020 Claim
Construction Order (ECF. No. 157), Nuance’s initial and all subsequent supplemental Infringement Contentions, its July 7, 2020
Response to Omilia’s Supplemental Non-Infringement and Invalidity Responses, Nuance’s Response to Omilia’s Interrogatory No. 9,
and Omilia’s investigation to date. Omilia is not adopting Nuance’s apparent constructions, nor is Omilia admitting to the accuracy of
any particular construction. Omilia reserves all rights to amend this invalidity claim chart if Nuance further amends its Infringement
Contentions, or in response to any statements made by Nuance at any phase of this litigation. In addition, Discovery is still ongoing,
and Omilia reserves its right to supplement its contentions with additional evidence as discovery continues.

The citations provided are exemplary and do not necessarily include each and every disclosure of the limitation in the references. Omilia
has cited the most relevant portions of the identified prior art. Other portions of the identified prior art may additionally disclose, either
expressly or inherently, and/or render obvious one or more limitations of the asserted claims. To provide context or aid in understanding
the prior art and the state of the art at the time of the alleged invention, Omilia reserves the right to rely on: (1) uncited portions of the

1
  Schultz was presented at Eurospeech 97 from September 22-25, 1997 and constitutes prior art at least under 35 U.S.C. § 102(a) &
102(b).
2
  Sabourin was filed on August 31, 1999 and constitutes prior art at least under 35 § 102(a) & 102(e).
3 Waibel was filed on November 6, 1998 and is prior art at least under 35 U.S.C. § 102(a) & 102(e).
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identified prior art; (2) other prior art not identified herein; (3) references that show the state of the art (irrespective of whether such
references themselves qualify as prior art to the asserted patents); (4) factual testimony from the inventors or authors of the prior art
references, or purveyors of prior art devices; and/or (5) expert testimony.

Citations to a particular drawing or figure in the accompanying charts should be understood to include the description of the drawing or
figure, as well as any text associated with the drawing or figure. Citations to particular text concerning a drawing or figure, should also
be understood to encompasses that drawing or figure as well. The identified prior art expressly and/or inherently discloses the features
of the asserted claims under all proposed constructions of the asserted claims. To establish the inherency of certain features of the prior
art to invalidate the asserted claims, Omilia may rely on cited or uncited portions of the prior art, other documents, factual testimony,
and expert testimony. To the extent that the Court finds that this reference does not explicitly teach certain limitations in the asserted
claims, such limitations would have been inherent and/or obvious and Omilia reserves the right to supplement or amend this claim chart
to address such a finding.

 ’925 Patent

 Claim 1
 1.pre.a   “A computerized method of          Schultz discloses a computerized method of automatically generating from a first speech
           automatically generating from      recognizer a second speech recognizer. Schultz describes creating a Japanese speech-to-
           a first speech recognizer a        speech translator by using a previously constructed German speech recognizer.
           second speech recognizer”
                                              “This paper presents our findings during development of the recognition engine for the
                                              Japanese art of the VERBMOBIL speech-to-speech translation project. We describe an
                                              efficient method to bootstrap a large vocabulary speech recognizer for spontaneously
                                              spoken Japanese from a German recognizer and show that the amount of effort in
                                              developing the system could be reduced by using this rapid cross language bootstrapping
                                              technique. The Japanese recognizer is integrated into the VERBMOBIL system and
                                              shows very promising results achieving 9.3% word error rate.”
                                              Schultz at Abstract.
                                              “To bootstrap the Japanese system we took a German context-independent 3-state HMM
                                              recognizer. Each state of the HMM is modeled by one codebook. Each codebook
                                              contains 16 mixture Gaussian distribution of a 32 dimensional feature space. 16 Mel-
                                              scale coefficients, power and their first and second derivatives are calculated from the 16


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                              kHz sampled input speech. Mean subtraction is applied. The amount of features is
                              reduced to 32 coefficients by computing a Linear Discrimination Analysis (LDA).
                              We created a copy of the German recognizer containing the codebooks and distributions
                              of the German counterparts for the Japanese models as described in table 2. Additional
                              copies for codebooks and distributions from similar German phonemes are added for the
                              4 phonemes not found in the German phoneme set. As can be seen in table 3 this
                              recognizer has a reasonable performance, though it has never seen any Japanese data. In
                              the next step this bootstrapped version was trained 3 iterations. A new LDA had been
                              calculated, and new codebooks were clustered. Another 3 training iteration made out the
                              context-independent Japanese system, which leads to 20.9% word error rate.”

                              Schultz at Section 3.3.

                              To the extent, Schultz does not explicitly describe the method as automatic, a POSITA
                              would have understood that the steps of automating are described as conventional and
                              common place. The ’925 patent concedes this in its description and use of computer
                              readable storage medium. ’925 patent at 3:29-33, 9:48-53. Schultz likewise references
                              the end implementation in a computer system, VERMOBIL. Moreover, the use of
                              computers to implement this method is obvious. Not simply by Schultz, but also in light
                              of Sabourin and Waibel.
                              It would be obvious to a person having ordinary skill in the art to combine Schultz with
                              Sabourin or Waibel to disclose automatically generate the second decision network.
                              Schultz, Sabourin, and Waibel are in the same field of art. A person having ordinary skill
                              in the art would be motivated to combine Schultz with Sabourin or Waibel. A person
                              having ordinary skill in the art considering Schultz’s disclosure that “the [human
                              performed] segmentation approach . . . results in relatively small vocabulary growth rates
                              as compared to the non-segmented data” would be motivated to seek out a system that
                              adapts the first decision network automatically to achieve improved results, as disclosed
                              by Waibel, to attempt to achieve even further improved system. A person having ordinary
                              skill in the art would have a reasonable expectation of success in implementing the


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                              teaching of Schultz to automatically generate the second decision network as provided by
                              Waibel because the combination involves the predictable use of prior art elements
                              according to their established functions.
                              “In another embodiment, the labels can be assigned using a speech recognizer unit by
                              Selecting the top scoring recognition candidate as the label for the utterance processed by
                              the recognizer.”
                              Sabourin at 6:12-15.
                              “This invention relates to speech model sets and to a method and apparatus for training
                              speech model sets for use in speech recognition systems operating in multilingual
                              environments as may be used in a telephone directory assistance system, voice activated
                              dialing (VAD) system, personal voice dialing systems and other speech recognition
                              enabled services.”
                              “The present invention is directed to a method of organizing an acoustic model for
                              speech recognition comprised of the steps of calculating a measure of acoustic
                              dissimilarity of subphonetic units. Recursively clustering the subphonetic units based on
                              the calculated measure automatically generates a hierarchically arranged model. An
                              apparatus for performing the method is also disclosed.”

                              Waibel, at 2:52–58.

                              “Starting from an initial set of decision tree clustered, context-dependent, subphonetic
                              units, the present invention uses an aglommerative clustering algorithm across
                              monophones to automatically design a tree-structured decomposition of posterior
                              probabilities which is instantiated with thousands of small neural network estimators at
                              each of the nodes of the tree.”

                              Waibel, at 2:59–65.




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1.pre.b   “said first speech recognizer   Schultz discloses a first speech recognizer with a first acoustic model, first decision
          comprising a first acoustic     network and corresponding phonetic contexts. Schultz describes a German language
          model with a first decisions    recognizer using a German dictionary, phoneme codebook, and polyphone decision tree
          network and corresponding       using HMM. See, e.g.,
          first phonetic contexts”
                                          “To bootstrap the Japanese system we took a German context-independent 3-state HMM
                                          recognizer. Each state of the HMM is modeled by one codebook. Each codebook
                                          contains 16 mixture Gaussian distribution of a 32 dimensional feature space. 16 Mel-
                                          scale coefficients, power and their first and second derivatives are calculated from the 16
                                          kHz sampled input speech. Mean subtraction is applied. The amount of features is
                                          reduced to 32 coefficients by computing a Linear Discrimination Analysis (LDA).
                                          We created a copy of the German recognizer containing the codebooks and distributions
                                          of the German counterparts for the Japanese models as described in table 2. Additional
                                          copies for codebooks and distributions from similar German phonemes are added for the
                                          4 phonemes not found in the German phoneme set. As can be seen in table 3 this
                                          recognizer has a reasonable performance, though it has never seen any Japanese data. In
                                          the next step this bootstrapped version was trained 3 iterations. A new LDA had been
                                          calculated, and new codebooks were clustered. Another 3 training iteration made out the
                                          context-independent Japanese system, which leads to 20.9% word error rate.”

                                          Schultz at Section 3.3.

                                          “After training and testing the context-independent system a context-dependent system
                                          was developed based on the JANUS-3 toolkit. Analyzing the scheduling database shows
                                          that only 54000 different sept-phones (a context of 3 phonemes to the right and to the
                                          left) could be found. The Japanese phonetic
                                          seems to be more restricted compared to German speech in the equivalent appointment
                                          scheduling task (200.000 quint-phones) and for English in the switch-board task
                                          (500.000 triphones).




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                              We modeled 54000 sept-phones in the context-dependent Japanese system and clustered
                              these sept-phones to 600 decision-tree-clustered polyphone models as described in [8].
                              The final context-dependent system has about 2000 distributions over the 600 polyphone
                              models. The phonetic questions needed for the clustering procedure could be derived
                              from the German phonetic questions. The resulting contextdependent Japanese speech
                              recognition system achieves 13.0% word error rate.”

                              Schultz at Section 3.4.

                              “Using the full data-set for the estimation of the HMM-parameters we changed the
                              system structure to a fully continuous approach with an increased number of codebooks.
                              The polyphonic tree of all occurring sept-phones (containing cross-word models with up
                              to one phoneme lookahead to adjacent words) has been clustered to 2000 codebooks =,
                              each of which has been modeled as a mixture of 32 Gaussians with diagonal covariance.
                              In order to increase recognition speed the dimensionality of the feature set was reduced
                              to the first 24 LDA parameters of the feature set described in section 3.3. Label boosting
                              (using supervised MLLR-adaption) was used to improve the quality of the database
                              labeling.”

                              Schultz at Section 4.1.

                              To the extent, Schultz does not explicitly disclose a first acoustic model with first
                              decision network and first phonetic context, a POSITA would have recognized that
                              HMMs naturally are organized in decision networks and a typical type of network is a
                              decision tree. Further each state in an HMM system is the resulting state of the decision
                              network, meaning that the state is a state in context to the rest of the decision network.
                              This context is the phonetic context. A POSITA would have recognized these properties
                              of an HMM system as described in Waibel.

                              “The disclosed method allows effective adaptation of the structure and size of a trained
                              acoustic model to an unseen domain using only a small amount of adaptation data. The


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                                          present invention benefits from the multi-level, hierarchical representation of the
                                          context-dependent acoustic model. In contrast to approaches based on acoustic
                                          adaptation only, the present invention uses an estimate of the a-priori distribution of
                                          modeled HMM states on the new domain to dynamically downsize or prune the tree-
                                          structured acoustic model. In that manner, the present invention accounts for differences
                                          in vocabulary size and adjusts to the specificity of phonetic context observed in the new
                                          domain.”

                                          Waibel, at 3:11–22.

1.pre.c   “and said second speech         Schultz discloses that the second speech recognizer is adapted to a specific domain.
          recognizer being adapted to a   Schultz discloses creating a Japanese speech recognizer from the German speech
          specific domain, said method    recognizer. See, e.g.,
          comprising:”
                                          “This paper presents our findings during development of the recognition engine for the
                                          Japanese art of the VERBMOBIL speech-to-speech translation project. We describe an
                                          efficient method to bootstrap a large vocabulary speech recognizer for spontaneously
                                          spoken Japanese from a German recognizer and show that the amount of effort in
                                          developing the system could be reduced by using this rapid cross language bootstrapping
                                          technique. The Japanese recognizer is integrated into the VERBMOBIL system and
                                          shows very promising results achieving 9.3% word error rate.”
                                          Schultz at Abstract.
                                          “To bootstrap the Japanese system we took a German context-independent 3-state HMM
                                          recognizer. Each state of the HMM is modeled by one codebook. Each codebook
                                          contains 16 mixture Gaussian distribution of a 32 dimensional feature space. 16 Mel-
                                          scale coefficients, power and their first and second derivatives are calculated from the 16
                                          kHz sampled input speech. Mean subtraction is applied. The amount of features is
                                          reduced to 32 coefficients by computing a Linear Discrimination Analysis (LDA).
                                          We created a copy of the German recognizer containing the codebooks and distributions
                                          of the German counterparts for the Japanese models as described in table 2. Additional

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                                         copies for codebooks and distributions from similar German phonemes are added for the
                                         4 phonemes not found in the German phoneme set. As can be seen in table 3 this
                                         recognizer has a reasonable performance, though it has never seen any Japanese data. In
                                         the next step this bootstrapped version was trained 3 iterations. A new LDA had been
                                         calculated, and new codebooks were clustered. Another 3 training iteration made out the
                                         context-independent Japanese system, which leads to 20.9% word error rate.”

                                       Schultz at Section 3.3.
1.a.1   “based on said first acoustic  Schultz discloses that based on said first acoustic model, generating a second acoustic
        model, generating a second     model with a second decision network and corresponding second phonetic contexts for
        acoustic model with a second   said second speech recognizer by re-estimating said first decision network and said
        decision network and           corresponding first phonetic contexts based on domain-specific training data. Schultz
        corresponding second phonetic discloses training the new system with the Japanese data such that the decision tree is re-
        contexts for said second       clustered to be context dependent and select those codebooks of the German recognizer
        speech recognizer by re-       that are used in the Japanese language while adding new codebooks for Japanese phones
        estimating said first decision that are not in the German language. See, e.g.,
        network and said
        corresponding first phonetic   “This paper presents our findings during development of the recognition engine for the
        contexts based on domain-      Japanese art of the VERBMOBIL speech-to-speech translation project. We describe an
        specific training data,”       efficient method to bootstrap a large vocabulary speech recognizer for spontaneously
                                       spoken Japanese from a German recognizer and show that the amount of effort in
                                       developing the system could be reduced by using this rapid cross language bootstrapping
                                       technique. The Japanese recognizer is integrated into the VERBMOBIL system and
                                       shows very promising results achieving 9.3% word error rate.”
                                         Schultz at Abstract.
                                         “To bootstrap the Japanese system we took a German context-independent 3-state HMM
                                         recognizer. Each state of the HMM is modeled by one codebook. Each codebook
                                         contains 16 mixture Gaussian distribution of a 32 dimensional feature space. 16 Mel-
                                         scale coefficients, power and their first and second derivatives are calculated from the 16



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                              kHz sampled input speech. Mean subtraction is applied. The amount of features is
                              reduced to 32 coefficients by computing a Linear Discrimination Analysis (LDA).
                              We created a copy of the German recognizer containing the codebooks and distributions
                              of the German counterparts for the Japanese models as described in table 2. Additional
                              copies for codebooks and distributions from similar German phonemes are added for the
                              4 phonemes not found in the German phoneme set. As can be seen in table 3 this
                              recognizer has a reasonable performance, though it has never seen any Japanese data. In
                              the next step this bootstrapped version was trained 3 iterations. A new LDA had been
                              calculated, and new codebooks were clustered. Another 3 training iteration made out the
                              context-independent Japanese system, which leads to 20.9% word error rate.”

                              Schultz at Section 3.3.

                              “After training and testing the context-independent system a context-dependent system
                              was developed based on the JANUS-3 toolkit. Analyzing the scheduling database shows
                              that only 54000 different sept-phones (a context of 3 phonemes to the right and to the
                              left) could be found. The Japanese phonetic
                              seems to be more restricted compared to German speech in the equivalent appointment
                              scheduling task (200.000 quint-phones) and for English in the switch-board task
                              (500.000 triphones).

                              We modeled 54000 sept-phones in the context-dependent Japanese system and clustered
                              these sept-phones to 600 decision-tree-clustered polyphone mo-
                              dels as described in [8]. The final context-dependent system has about 2000 distributions
                              over the 600 polyphone models. The phonetic questions needed for the clustering
                              procedure could be derived from the German phonetic questions. The resulting context-
                              dependent Japanese speech recognition system achieves 13.0% word error rate.”

                              Schultz at Section 3.4.




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                              Further, recognizers that re-estimated the first recognizer by deleting or merging nodes
                              were known. For example, Sabourin describes a similar process with the added process
                              of removing nodes below a certain threshold and merging other nodes where desired.

                              Moreover, given this disclosure, the re-estimation of the first speech recognizer was
                              obvious in light of Schultz alone, or in combination with Sabourin. The motivation to
                              combine these references would at least include:
                                    Combining prior art elements according to known methods to yield predictable
                                     results ( deleting unused phones were known using similar techniques for
                                     predictable results);
                                    Simple substitution of one known element for another to obtain predictable results;
                                    Use of known technique to improve similar devices (methods, or products) in the
                                     same way (same technique of adapting the decision network when expanding the
                                     domain of the recognizer to include new phones or deleting unused phones was
                                     known));
                                    Applying a known technique to a known device (method, or product) ready for
                                     improvement to yield predictable results (deleting nodes in the decision network
                                     during adaptation were known using similar known techniques for predictable
                                     results);
                                    “Obvious to try”—choosing from a finite number of identified, predictable
                                     solutions, with a reasonable expectation of success (obvious to try to remove nodes
                                     for unused phones for better recognition accuracy);
                                    Market forces and benefits associated with the known benefits of deleting nodes
                                     were predictable to POSA
                                    Teaching of prior art would have lead a POSA to combine the references to arrive
                                     at an adaptation of a recognizer that includes deleting nodes.


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                                          For example, Sabourin explicitly re-estimates by adding nodes, pruning nodes and
                                          merging nodes in the decision network.
                                          It would be obvious to a person having ordinary skill in the art to combine Schultz with
                                          Sabourin to disclose adding nodes, pruning nodes and merging nodes in the decision
                                          network. Both Schultz and Sabourin are in the same field of art. A person having ordinary
                                          skill in the art would be motivated to combine Schultz with Sabourin. A person having
                                          ordinary skill in the art considering Schultz’s disclosure that “the word error rate of 9.3%
                                          [of the resulting system] achieves very promising results” would be motivated to seek out
                                          a system that adapts the first decision network by merging and deleting nodes, as disclosed
                                          by Sabourin, to attempt to achieve even further improved system. A person having
                                          ordinary skill in the art would have a reasonable expectation of success in implementing
                                          the teaching of Schultz to re-estimate the first decision network through addition of nods,
                                          merging of nodes and deleting of nodes as provided by Sabourin because the combination
                                          involves the predictable use of prior art elements according to their established functions.
                                          See Sabourin at Abstract, 2:57-3:6, 3:52-4:7, 4:16-45, 5:66-6:44, 6:45-7:8, 8:49-10:23.
1.a.2   “wherein said first decision      Schultz discloses that the first and second decision networks utilized phonetic decision
        network and said second           trees to perform speech operations. In Schultz, both the Japanese and the German
        decision network utilize a        recognizers use polyphone decision trees as the decision network. See claim 1.pre.b.
        phonetic decision free [sic] to   See also:
        perform speech recognition
        operations”                       “Using the full data-set for the estimation of the HMM-parameters we changed the system
                                          structure to a fully continuous approach with an increased number of codebooks. The
                                          polyphonic tree of all occurring sept-phones (containing cross-word models with up to one
                                          phoneme lookahead to adjacent words) has been clustered to 2000 codebooks, each of
                                          which has been modeled as a mixture of 32 Gaussians with diagonal covariance. In order
                                          to increase recognition speed the dimensionality of the feature set was reduced to the first
                                          24 LDA parameters of the feature set described in section 3.3. Label boosting (using
                                          supervised MLLR-adaption) was used to improve the quality of the database labeling.”




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                              Schultz at Section 4.1.
                              “To bootstrap the Japanese system we took a German context-independent 3-state HMM
                              recognizer. Each state of the HMM is modeled by one codebook. Each codebook
                              contains 16 mixture Gaussian distribution of a 32 dimensional feature space. 16 Mel-
                              scale coefficients, power and their first and second derivatives are calculated from the 16
                              kHz sampled input speech. Mean subtraction is applied. The amount of features is
                              reduced to 32 coefficients by computing a Linear Discrimination Analysis (LDA).
                              We created a copy of the German recognizer containing the codebooks and distributions
                              of the German counterparts for the Japanese models as described in table 2. Additional
                              copies for codebooks and distributions from similar German phonemes are added for the
                              4 phonemes not found in the German phoneme set. As can be seen in table 3 this
                              recognizer has a reasonable performance, though it has never seen any Japanese data. In
                              the next step this bootstrapped version was trained 3 iterations. A new LDA had been
                              calculated, and new codebooks were clustered. Another 3 training iteration made out the
                              context-independent Japanese system, which leads to 20.9% word error rate.”

                              Schultz at Section 3.3.

                              “After training and testing the context-independent system a context-dependent system
                              was developed based on the JANUS-3 toolkit. Analyzing the scheduling database shows
                              that only 54000 different sept-phones (a context of 3 phonemes to the right and to the
                              left) could be found. The Japanese phonetic
                              seems to be more restricted compared to German speech in the equivalent appointment
                              scheduling task (200.000 quint-phones) and for English in the switch-board task
                              (500.000 triphones).

                              We modeled 54000 sept-phones in the context-dependent Japanese system and clustered
                              these sept-phones to 600 decision-tree-clustered polyphone mo-




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                              dels as described in [8]. The final context-dependent system has about 2000 distributions
                              over the 600 polyphone models. The phonetic questions needed for the clustering
                              procedure could be derived from the German phonetic questions. The resulting context-
                              dependent Japanese speech recognition system achieves 13.0% word error rate.”

                              Schultz at Section 3.4.

                              Schultz specifically contemplates that the first and second decision networks will be
                              polyphonic decision trees as those in Finke. Schultz references Finke in saying “We
                              modeled 54000 sept-phones in the context-dependent Japanese system and clustered these
                              sept-phones to 600 decision-tree-clustered polyphone models as described in [8],” in that
                              reference 8 is Finke. Finke describes using a polyphonic clustering algorithm to collect
                              polyphones and organize them into a decision tree.

                              “Due to the extremely large number of models we have to handle within the clustering
                              procedures, we had to come up with efficient data structures to organize the polyphones
                              and their associated distributions. One efficient way to represent a set of polyphones are
                              so called polyphonic trees: The root of the tree is the centric/mid phone. For each observed
                              immediate context +-1 there is a child to the root node with the names of the left and the
                              right phone, the count of how often the respective “triphone” was observed, and a pointer
                              to the acoustic model (distribution). Each “triphone” child has a set of children one for
                              each “quintphone” context found around the triphone parent in the training data.”

                              Finke at Section 3.1, see also Fig. 4.




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                               “In our standard training scheme we first grow a decision tree until it reaches the number
                              of desired leaf nodes (typically a few thousand, depending on the size of the available
                              training data; grey nodes in Figure 1). We constraint splits to be only valid as long as both
                              child nodes created still have sufficient training data to train the underlying codebook.
                              Then, a fully continuous Gaussian mixture model is trained for every leaf node. In a second
                              clustering phase, we continue growing the decision tree and eventually train a separate
                              distribution of mixture weights for each of the resulting leafs. This is a new way of
                              optimizing the degree of mixture tying in a large vocabulary hidden Markov model based
                              speech recognition system.”

                              Finke at Section 3.4, see also Tab. 1.




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                              “Hidden Markov models with continuous densities provide a detailed stochastic
                              representation of the acoustic space at the expense of increased computational complexity
                              and lack of robustness. This two level clustering approach addresses the problem of the
                              lack of robustness by having a set of distributions share the same codebook. In particular,
                              the algorithm proposed hr4ps to automatically determine the number of sets of HMM
                              states which share the same codebook and based on that subsets of HMM states which
                              share the same distribution.”
                              Finke at Section 3.4.



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                                         Finke is incorporated by the extensive reference and use in Schultz. However, to the extent
                                         a POSITA would not find the incorporation explicit, it would be obvious to a POSITA to
                                         combine Schultz with Finke to disclose the use of a phonetic decision tree to recognize
                                         speech. Both Schultz and Finke are in the same field of art. A person having ordinary
                                         skill in the art would be motivated to combine Schultz with Rinke. A person having
                                         ordinary skill in the art considering Schultz’s disclosure that “the context-dependent
                                         Japanese system and clustered these sept-phones to 600 decision-tree-clustered polyphone
                                         models” would be motivated to seek out a reference that explicitly describes the use of a
                                         decision tree for recognizing speech, as disclosed by Finke. A person having ordinary
                                         skill in the art would have a reasonable expectation of success in implementing the
                                         teaching of Schultz with the use of decision trees as provided by Finke because the
                                         combination involves the predictable use of prior art elements according to their
                                         established functions.
1.b.1   “wherein the number of nodes     Schultz discloses that the number of nodes in the second decision network is not fixed by
        in the second decision network   the number of nodes in the first decision network. Schultz teaches a method that copies
        is not fixed by the number of    German codebooks corresponding to Japanese phones and then adds clusters and code
        nodes in the first decision      books for Japanese phonemes that are not present in the German phoneme sets and then
        network,”                        also re-clustering the decision tree based on training data.
                                         “We created a copy of the German recognizer containing the codebooks and
                                         distributions of the German counterparts for the Japanese models as described in table 2.
                                         Additional copies for codebooks and distributions from similar German phonemes are
                                         added for the 4 phonemes not found in the German phoneme set. As can be seen in table
                                         3 this recognizer has a reasonable performance, though it has never seen any Japanese
                                         data. In the next step this bootstrapped version was trained 3 iterations. A new LDA had
                                         been calculated, and new codebooks were clustered. Another 3 training iteration made
                                         out the context-independent Japanese system, which leads to 20.9% word error rate.”
                                         Schultz at Section 3.3; see also Schultz Table 2.




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1.b.2   “and wherein said re-             Schultz discloses that the re-estimation comprises partitioning said training data using
        estimating comprises              said first decision network of said first speech recognizer. In Schultz, the data from the
        partitioning said training data   Japanese or German language is mapped to the phones of the first language.
        using said first decision
        network of said first speech      “Running an alignment of a German phoneme recognizer on Japanese input speech gave
        recognizer.”                      us the impression, that the Japanese phonetic is very similar to German. Therefore we
                                          decided to bootstrap the Japanese phoneme set with German models developed for the
                                          German VERBMOBIL recognizer system. Only 4 of the 31 phonemes required for
                                          acoustic modeling have no German counterparts. These were bootstrapped as follows:/4/
                                          from /u/, /4:/ from /u:/, /&0/ from /s/, and /dZ/ from /tS/. To cope with the effects arising
                                          in the spontaneously spoken data, like i.e. stuttering, false starts, or mumbling, special
                                          noise models [7] were included. All together 44 different phonemes are used to model
                                          Japanese speech: 31 speech models, 11 noise models, 1 silence and 1 glottal stop (ref. table
                                          2).
                                          After training a Japanese system we determined the similarity between the Japanese and
                                          German phoneme set by performing the following experiment: we trained a SCHMM for
                                          the combined phoneme set with both German and Japanese input and ran a clustering
                                          procedure. This leads to the result that the most similar phonemes in this order are the
                                          consonant /z/ and /b/, the affricate /ts/ and the semi vowel /j/. Japanese short vowels are
                                          similar to the long version of their German counterparts.”
                                          Schultz at Section 3.1, see Table 2.
                                          “To bootstrap the Japanese system we took a German context-independent 3-state HMM
                                          recognizer. Each state of the HMM is modeled by one codebook. Each codebook
                                          contains 16 mixture Gaussian distribution of a 32 dimensional feature space. 16 Mel-
                                          scale coefficients, power and their first and second derivatives are calculated from the 16
                                          kHz sampled input speech. Mean subtraction is applied. The amount of features is
                                          reduced to 32 coefficients by computing a Linear Discrimination Analysis (LDA).
                                          We created a copy of the German recognizer containing the codebooks and distributions
                                          of the German counterparts for the Japanese models as described in table 2. Additional


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                                            copies for codebooks and distributions from similar German phonemes are added for the
                                            4 phonemes not found in the German phoneme set. As can be seen in table 3 this
                                            recognizer has a reasonable performance, though it has never seen any Japanese data. In
                                            the next step this bootstrapped version was trained 3 iterations. A new LDA had been
                                            calculated, and new codebooks were clustered. Another 3 training iteration made out the
                                            context-independent Japanese system, which leads to 20.9% word error rate.”

                                            Schultz at Section 3.3.
Claim 14
14.pre     A machine-readable storage,      See claim 1, including 1.pre.a-c. Schultz is implemented with a computer, which has
           having stored thereon a          these elements. In any case, it is obvious in view of Sabourin and Waibel which
           computer program having a        describe computer readable storage medium and apparatus with software capable of
           plurality of code sections       performing the method of claim 1. For the reasons described in claim 1 and 27, a
           executable by a machine for      POSITA would be motivated to combine Schultz with either one of those references.
           causing the machine to
           automatically generate from a
           first speech recognizer a
           second speech recognizer, said
           first speech recognizer
           comprising a first acoustic
           model with a first decision
           network and corresponding
           first phonetic contexts, and
           said second speech recognizer
           being adapted to a specific
           domain, said machine-readable
           storage causing the machine to
           perform the steps of:




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14.a       based on said first acoustic     See claim 1, including 1.a.1-2, and 14.pre.
           model, generating a second
           acoustic model with a second
           decision network and
           corresponding second phonetic
           contexts for said second
           speech recognizer by re-
           estimating said first decision
           network and said
           corresponding first phonetic
           contexts based on domain-
           specific training data, wherein
           said first decision network and
           said second decision network
           utilize a phonetic decision tree
           to perform speech recognition
           operations,
14.b       wherein the number of nodes      See claim 1, including 1.b.1-2, and 14.pre, 14.a.
           in the second decision network
           is not fixed by the number of
           nodes in the first decision
           network, and wherein said re-
           estimating comprises
           partitioning said training data
           using said first decision
           network of said first speech
           recognizer.
Claim 27
27.pre     “A computerized method of        See claim 1, including 1.pre.a-c.
           generating a second speech



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        recognizer comprising the
        steps of:

27.a    identifying a first speech     See claim 1, including 1.pre.b and 27.pre.
        recognizer of a first domain
        comprising a first acoustic
        model with a first decision
        network and corresponding
        first phonetic contexts;”
27.b    “receiving domain-specific     Schultz discloses receiving domain-specific training data of a second domain. See claim
        training data of a second      1 including 1.pre.c and 1.a.1. In Schultz, Japanese training data was collected from
        domain; and”                   different native speakers and is used in creating the Japanese recognizer. See, e.g.,
                                       “The Japanese part of the VERBMOBIL database consists of 800 dialogs spoken by 324
                                       different native speakers. On average the dialogs cover 14 utterances each of a length of
                                       about 30 words. All dialogs are collected by ATR Interpreting Telecommunication
                                       Laboratories and the University of Electro-Communications in Tokyo (Japan). Further
                                       information about the corpus and collection procedures are given in [4].”
                                       Schultz at Section 2.
                                       “We created a copy of the German recognizer containing the codebooks and
                                       distributions of the German counterparts for the Japanese models as described in table 2.
                                       Additional copies for codebooks and distributions from similar German phonemes are
                                       added for the 4 phonemes not found in the German phoneme set. As can be seen in table
                                       3 this recognizer has a reasonable performance, though it has never seen any Japanese
                                       data. In the next step this bootstrapped version was trained 3 iterations. A new LDA had
                                       been calculated, and new codebooks were clustered. Another 3 training iteration made
                                       out the context-independent Japanese system, which leads to 20.9% word error rate.”
                                       Schultz at Section 3.3.




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27.c    “based on the first speech       Schultz discloses “based on the first speech recognizer and the domain-specific training
        recognizer and the domain-       data, generating a second acoustic model of said first domain and said second domain
        specific training data,          comprising a second acoustic model with a second decision network and corresponding
        generating a second acoustic     second phonetic contexts.” In Schultz, the first (German language) recognizer is adapted
        model of said first domain and   into the second (Japanese language) recognizer. See claim 1 including 1.pre.c and 1.a.1.
        said second domain
        comprising a second acoustic     Schultz does not explicitly contemplate that the final speech recognizer will be able to
        model with a second decision     understand both the Japanese and German languages, Schultz contemplates that its process
        network and corresponding        permits a fast adaptation of a known speech recognizer to a new language with reasonable
        second phonetic contexts,        results and reduced amount of effort. See Schultz at Abstract. However, the Japanese
        wherein the first domain         system would implicitly be able to understand both the Japanese language and the German
        comprises at least a first       language so long as both dictionaries are retained.
        language, wherein the second
        domain comprises at least a      Further, a POSITA would understand that this same adaptation could be performed with a
        second language, and wherein     pre-existing multi-lingual recognizer or used to create a multilingual recognizer. This was
        the second speech recognizer     a common application and need for modified recognizers. For example, multilingual
        is a multi-lingual speech        speech recognizers were well known at the time of the ’925 patent. See, e.g., Schultz et
        recognizer.”                     al., “Polyphone Decision Tree Specialization for Language Adaptation”, ICASSP-2000,
                                         Istanbul, Turkey, Jun. 2000 (Section 2.2. describing generating and use of multilingual
                                         speech recognizers).
                                         A POSITA would have known that multilingual speech recognizers were well known and
                                         desirable. See Exhibit A-1, (Sabourin Chart, claim 27.c).
                                         Moreover, given this disclosure, the creation of a multilingual second recognizer was
                                         obvious in light of Schultz alone, or in combination with Sabourin. The motivation to
                                         combine these references would at least include:
                                               Combining prior art elements according to known methods to yield predictable
                                                results (multilingual recognizers were known using similar techniques for
                                                predictable results);




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                                    Simple substitution of one known element for another to obtain predictable results
                                     (substituting the domain from just one language to two);
                                    Use of known technique to improve similar devices (methods, or products) in the
                                     same way (same technique of expanding domain of the recognizer to include
                                     multiple languages was known));
                                    Applying a known technique to a known device (method, or product) ready for
                                     improvement to yield predictable results (multilingual recognizers were known
                                     using similar known techniques for predictable results);
                                    “Obvious to try”—choosing from a finite number of identified, predictable
                                     solutions, with a reasonable expectation of success (obvious to try to recognize
                                     more than one language);
                                    Market forces and benefits associated with the known benefits of multilingual
                                     recognizers were predictable to POSA
                                    Teaching of prior art would have lead a POSA to combine the references to arrive
                                     at a multilingual recognizer.
                              For example, Sabourin explicitly discloses a multilingual system.
                              Sabourin discloses a multilingual system and where there are two different language
                              domains as recited. It would be obvious to a person having ordinary skill in the art to
                              combine Schultz with Sabourin. Both Schultz and Sabourin are in the same field of art.
                              A person having ordinary skill in the art would be motivated to combine Schultz with
                              Sabourin. A person having ordinary skill in the art considering Schultz’s disclosure that
                              “the Japanese recognizer is integrated into the VERBMOBIL system” and “the
                              VERBMOBILE project is to build speech-to-speech translation system from both German
                              and Japanese spontaneously spoken input speech to English, German and Japanese output
                              in an appointment scenario” would be motivated to seek out a system that builds a
                              multilingual speech set to better help with this translation, as disclosed by Sabourin. A


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                              person having ordinary skill in the art would have a reasonable expectation of success in
                              implementing the teaching of Schultz to generate a multilingual speech recognizer as
                              provided by Sabourin because the combination involves the predictable use of prior art
                              elements according to their established functions.
                              “The invention relates to a method and apparatus for training a multilingual speech
                              model Set. The multilingual Speech model Set generated is Suitable for use by a speech
                              recognition System for recognizing spoken utterances for at least two different
                              languages. The invention allows using a single Speech recognition unit with a single
                              Speech model Set to perform Speech recognition on utterances from two or more
                              languages. The method and apparatus make use of a group of a group of acoustic Sub-
                              word units comprised of a first Subgroup of acoustic Sub-word units associated to a first
                              language and a Second Subgroup of acoustic Sub-word units associated to a Second
                              language where the first Subgroup and the Second Subgroup share at least one common
                              acoustic Sub-word unit. The method and apparatus also make use of a plurality of letter
                              to acoustic Sub-word unit rules Sets, each letter to acoustic Sub-word unit rules Set
                              being associated to a different language. A Set of untrained speech models is trained on
                              the basis of a training Set comprising speech tokens and their associated labels in
                              combination with the group of acoustic Sub-word units and the plurality of letter to
                              acoustic Sub-word unit rules Sets. The invention also provides a computer readable
                              Storage medium comprising a program element for implementing the method for
                              training a multilingual Speech model Set.”
                              Sabourin at Abstract.
                              “A deficiency of the above-described method is that the Speech recognition System
                              requires as an input the language associated to the input utterance, which may not be
                              readily available to the Speech recognition System. Usually, obtaining the language
                              requires prompting the user for the language of use thereby requiring an additionally
                              Step in the Service being provided by the Speech recognition enabled system which may
                              lower the level of satisfaction of the user with the system as a whole. Another deficiency
                              of the above noted method is the costs associated to developing and maintaining a


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                              Speech model Set for each language the Speech recognition System is adapted to
                              recognize. More Specifically, each speech model Set must be trained individually, a task
                              requiring manpower for each individual language thereby increasing significantly the
                              cost of Speech recognition Systems operating in multilingual environments with respect
                              to Systems operating in unilingual environments. In addition, the above-described
                              method requires the Storage of a speech model Set for each language in memory thereby
                              increasing the cost of the Speech recognition System in terms of memory requirements.
                              Finally, the above described method requires testing a speech model Set for each
                              language thereby increasing the testing cost of the Speech recognition System for each
                              language the Speech recognition System is adapted to recognize. Thus, there exists a
                              need in the industry to refine the process of training Speech models So as to obtain an
                              improved multilingual Speech model Set capable of being used by a speech recognition
                              System for recognizing spoken utterances for at least two different languages.”

                              Sabourin at 1:55-2:17.

                              “In accordance with another broad aspect, the invention provides a method for
                              generating a multilingual speech model Set Suitable for use in a multilingual speech
                              recognition System. The method comprises providing a group of acoustic Sub-word
                              units having a first Subgroup of acoustic Sub-word units associated to a first language
                              and a Second Subgroup of acoustic Sub-word units associated to a Second language. The
                              first Subgroup and the Second Subgroup share at least one common acoustic Sub-word
                              unit. The method further comprises providing a training Set comprising a plurality of
                              entries, each entry having a speech token representative of a word and a label being an
                              orthographic representation of the word. The method further comprises providing a Set
                              of untrained speech models and training the Set of untrained speech models by utilizing
                              the training Set, the plurality of letter to acoustic Sub-word unit rules Sets and the group
                              of acoustic Sub-word units to derive the multilingual Speech model Set.”
                              Sabourin at 2:57-3:7.




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                              “The invention provides a method for generating the multilingual speech model set
                              shown in FIG.1. As shown in FIG. 2 of the drawings, the method comprises providing
                              200 a group of acoustic Sub-word units comprised of a first Subgroup of acoustic Sub-
                              word units associated to a first language and a Second Subgroup of acoustic Sub-word
                              units associated to a Second language. The first Subgroup and the Second Subgroup
                              share at least one common acoustic Sub word unit. In a preferred embodiment, the group
                              of acoustic Sub word unit is obtained by combining sub-word units from individual
                              languages. For each language for which the multilingual Speech model Set is to be
                              representative of, an inventory of sub-word units can be obtained. The acoustic Sub-
                              word units are basic units of Sound in a language. These inventories may be produced by
                              phoneticians or may be provided as off-the-shelf components. In a specific example, the
                              Sub-word units are phonemes. The Skilled person in the art will readily see that other
                              sub-word units may be used here without detracting from the spirit of the invention.”

                              Sabourin at 4:25-45.

                              “The training of the set of untrained speech models further comprises processing 304 the
                              group of transcriptions generated at step 300 on the basis of a speech token of the
                              corresponding entry in the training Set whereby training the Set of untrained speech
                              models to derive the multilingual Speech model Set.”

                              Sabourin at 9:34-39, see Figs. 1-7.




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                                                            APPENDIX A-5
                                   Invalidity Claim Chart for U.S. Pat. No. 6,999,925 (’925 patent)
                                                  U.S. Pat. No. 6,789,061 (“Fischer”)

On October 16, 2020, Nuance narrowed the asserted ’925 patent claims to 1, 14 and 27. Nuance’s Disclosure Limiting Asserted
Claims of Phase 1 Patents. Claims 1, 14, and 27 of the ’925 patent are invalid for obvious type double patenting in view of claims 6
and 15 of the ’061 patent alone or in combination with at least the following references. The chart below discloses how prior art
references identified by Omilia disclose, either expressly or inherently, and/or render obvious these asserted claims:

    (1) U.S. Pat. No. 6,912,499, Sabourin et al., filed August 31, 1999 (“Sabourin”)1

    (2) Schultz, et al., Japanese LVCSR on the Spontaneous Scheduling Task with JANUS-3, Eurospeech, Rhodes 1997 (“Schultz”)2

This invalidity claim chart is based on Omilia’s present understanding of the asserted claims, the Court’s August 6, 2020 Claim
Construction Order (ECF. No. 157), Nuance’s initial and all subsequent supplemental Infringement Contentions, its July 7, 2020
Response to Omilia’s Supplemental Non-Infringement and Invalidity Responses, Nuance’s Response to Omilia’s Interrogatory No. 9,
and Omilia’s investigation to date. Omilia is not adopting Nuance’s apparent constructions, nor is Omilia admitting to the accuracy of
any particular construction. Omilia reserves all rights to amend this invalidity claim chart if Nuance further amends its Infringement
Contentions, or in response to any statements made by Nuance at any phase of this litigation. In addition, Discovery is still ongoing,
and Omilia reserves its right to supplement its contentions with additional evidence as discovery continues.

The citations provided are exemplary and do not necessarily include each and every disclosure of the limitation in the references. Omilia
has cited the most relevant portions of the identified prior art. Other portions of the identified prior art may additionally disclose, either
expressly or inherently, and/or render obvious one or more limitations of the asserted claims. To provide context or aid in understanding
the prior art and the state of the art at the time of the alleged invention, Omilia reserves the right to rely on: (1) uncited portions of the
identified prior art; (2) other prior art not identified herein; (3) references that show the state of the art (irrespective of whether such
references themselves qualify as prior art to the asserted patents); (4) factual testimony from the inventors or authors of the prior art
references, or purveyors of prior art devices; and/or (5) expert testimony.



1
 Sabourin was filed on August 31, 1999 and is prior art at least under 35 U.S.C. § 102(a) & 102(e).
2
 Schultz was presented at Eurospeech 97 from September 22-25, 1997 and constitutes prior art at least under 35 U.S.C. § 102 (a) &
102(b).
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Citations to a particular drawing or figure in the accompanying charts should be understood to include the description of the drawing or
figure, as well as any text associated with the drawing or figure. Citations to particular text concerning a drawing or figure, should also
be understood to encompasses that drawing or figure as well. The identified prior art expressly and/or inherently discloses the features
of the asserted claims under all proposed constructions of the asserted claims. To establish the inherency of certain features of the prior
art to invalidate the asserted claims, Omilia may rely on cited or uncited portions of the prior art, other documents, factual testimony,
and expert testimony. To the extent that the Court finds that this reference does not explicitly teach certain limitations in the asserted
claims, such limitations would have been inherent and/or obvious and Omilia reserves the right to supplement or amend this claim chart
to address such a finding.

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 Claim 1
 1.pre.a   “A computerized method of Fischer discloses automatically generating a second speech recognizer from a first
           automatically generating from a speech recognizer. See, e.g.,:
           first speech recognizer a second
           speech recognizer”               “1. A computer-based method of automatically generating, from a first speech
                                            recognizer, a second speech recognizer wherein the first speech recognizer includes a
                                            set of states and a set of probability functions assembling output probabilities for an
                                            observation of a speech frame in the states, the method comprising the steps of:

                                               generating, from the set of states of the first speech recognizer, a set of states of the
                                               second speech recognizer by selecting a subset of states of the first speech recognizer
                                               being distinctive of a particular application; and

                                               generating, from the set of probability density functions of the first speech recognizer, a
                                               set of probability density functions of the second speech recognizer by selecting a subset
                                               of probability density functions of the first speech recognizer being distinctive of the
                                               particular application, such that the second speech recognizer is at least one tailored to
                                               the particular application and requires reduced resources compared to the first speech
                                               recognizer.
                                               2. The method of claim 1, further comprising the step of generating acoustic model
                                               parameters of the second speech recognizer by re-estimating acoustic model parameters


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                                             of the first speech recognizer based on the set of states of the second speech recognizer
                                             and the set of probability density functions of the second speech recognizer.
                                             4. The method of claim 2, wherein selecting at least one of the subset of states and the
                                             subset of probability density functions of the first speech recognizer exploits phonetical
                                             knowledge of the particular application.
                                             5. The method of claim 4, wherein selecting at least one of the subset of states and the
                                             subset of probability density functions of the first speech recognizer exploits application
                                             specific training data.
                                             6. The method of claim 5, wherein selecting the subset of states comprises associating a
                                             multitude of speech frames of the training data with the correct states of the first speech
                                             recognizer and selecting those states with a frequency of occurrence above a threshold
                                             as the subset of states.”
                                             Fischer, claim 6 (emphasis added).
1.pre.b “said first speech recognizer        Fischer discloses a first speech recognizer comprising a first acoustic model with a first
        comprising a first acoustic model    decision network and corresponding first phonetic contexts. For example, the set of
        with a first decisions network and   states describes the structure of an acoustic model, where states have a corresponding
        corresponding first phonetic         phonetic context. See, e.g.,
        contexts”
                                             “1. A computer-based method of automatically generating, from a first speech
                                             recognizer, a second speech recognizer wherein the first speech recognizer includes
                                             a set of states and a set of probability functions assembling output probabilities for
                                             an observation of a speech frame in the states, the method comprising the steps of:

                                             generating, from the set of states of the first speech recognizer, a set of states of the
                                             second speech recognizer by selecting a subset of states of the first speech recognizer
                                             being distinctive of a particular application; and




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                                             generating, from the set of probability density functions of the first speech recognizer, a
                                             set of probability density functions of the second speech recognizer by selecting a subset
                                             of probability density functions of the first speech recognizer being distinctive of the
                                             particular application, such that the second speech recognizer is at least one tailored to
                                             the particular application and requires reduced resources compared to the first speech
                                             recognizer.
                                             2. The method of claim 1, further comprising the step of generating acoustic model
                                             parameters of the second speech recognizer by re-estimating acoustic model parameters
                                             of the first speech recognizer based on the set of states of the second speech recognizer
                                             and the set of probability density functions of the second speech recognizer.
                                             4. The method of claim 2, wherein selecting at least one of the subset of states and the
                                             subset of probability density functions of the first speech recognizer exploits phonetical
                                             knowledge of the particular application.
                                             5. The method of claim 4, wherein selecting at least one of the subset of states and the
                                             subset of probability density functions of the first speech recognizer exploits application
                                             specific training data.
                                             6. The method of claim 5, wherein selecting the subset of states comprises associating a
                                             multitude of speech frames of the training data with the correct states of the first speech
                                             recognizer and selecting those states with a frequency of occurrence above a threshold
                                             as the subset of states.”
                                             Fischer, claim 6 (emphasis added).
1.pre.c   “and said second speech Fischer discloses that the second speech recognizer is adapted for a specific domain at
          recognizer being adapted to a least because the second speech recognizer is distinctive of a particular application (i.e.
          specific domain, said method domain) See, e.g.,
          comprising:”
                                        “1. A computer-based method of automatically generating, from a first speech
                                        recognizer, a second speech recognizer wherein the first speech recognizer includes a



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                               set of states and a set of probability functions assembling output probabilities for an
                               observation of a speech frame in the states, the method comprising the steps of:

                               generating, from the set of states of the first speech recognizer, a set of states of the
                               second speech recognizer by selecting a subset of states of the first speech recognizer
                               being distinctive of a particular application; and

                               generating, from the set of probability density functions of the first speech recognizer, a
                               set of probability density functions of the second speech recognizer by selecting a subset
                               of probability density functions of the first speech recognizer being distinctive of the
                               particular application, such that the second speech recognizer is at least one
                               tailored to the particular application and requires reduced resources compared to the
                               first speech recognizer.
                               2. The method of claim 1, further comprising the step of generating acoustic model
                               parameters of the second speech recognizer by re-estimating acoustic model parameters
                               of the first speech recognizer based on the set of states of the second speech recognizer
                               and the set of probability density functions of the second speech recognizer.
                               4. The method of claim 2, wherein selecting at least one of the subset of states and the
                               subset of probability density functions of the first speech recognizer exploits phonetical
                               knowledge of the particular application.
                               5. The method of claim 4, wherein selecting at least one of the subset of states and the
                               subset of probability density functions of the first speech recognizer exploits application
                               specific training data.
                               6. The method of claim 5, wherein selecting the subset of states comprises associating a
                               multitude of speech frames of the training data with the correct states of the first speech
                               recognizer and selecting those states with a frequency of occurrence above a threshold
                               as the subset of states.”
                               Fischer, claim 6 (emphasis added).


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1.a.1   “based on said first acoustic      Fischer discloses based on said first acoustic model, generating a second acoustic model
        model, generating a second         with a second decision network and corresponding second phonetic contexts for said
        acoustic model with a second       second speech recognizer by re-estimating said first decision network and said
        decision        network      and   corresponding first phonetic contexts based on domain-specific training data at least
        corresponding second phonetic      because Fischer discloses selecting a subset set of states, i.e. deleting nodes form the
        contexts for said second speech    first decision network. See, e.g.,:
        recognizer by re-estimating said
        first decision network and said    “1. A computer-based method of automatically generating, from a first speech
        corresponding first phonetic       recognizer, a second speech recognizer wherein the first speech recognizer includes a
        contexts based on domain-          set of states and a set of probability functions assembling output probabilities for an
        specific training data,”           observation of a speech frame in the states, the method comprising the steps of:

                                           generating, from the set of states of the first speech recognizer, a set of states of the
                                           second speech recognizer by selecting a subset of states of the first speech
                                           recognizer being distinctive of a particular application; and

                                           generating, from the set of probability density functions of the first speech
                                           recognizer, a set of probability density functions of the second speech recognizer
                                           by selecting a subset of probability density functions of the first speech recognizer
                                           being distinctive of the particular application, such that the second speech recognizer is
                                           at least one tailored to the particular application and requires reduced resources
                                           compared to the first speech recognizer.
                                           2. The method of claim 1, further comprising the step of generating acoustic model
                                           parameters of the second speech recognizer by re-estimating acoustic model parameters
                                           of the first speech recognizer based on the set of states of the second speech recognizer
                                           and the set of probability density functions of the second speech recognizer.
                                           4. The method of claim 2, wherein selecting at least one of the subset of states and the
                                           subset of probability density functions of the first speech recognizer exploits phonetical
                                           knowledge of the particular application.



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                               5. The method of claim 4, wherein selecting at least one of the subset of states and
                               the subset of probability density functions of the first speech recognizer exploits
                               application specific training data.
                               6. The method of claim 5, wherein selecting the subset of states comprises associating a
                               multitude of speech frames of the training data with the correct states of the first speech
                               recognizer and selecting those states with a frequency of occurrence above a threshold
                               as the subset of states.”
                               Fischer, claim 6 (emphasis added).

                               In addition, speech recognizers that re-estimate by adding nodes was well known at the
                               time of invention. A POSITA would have found the addition of new phonetic contexts
                               and nodes (which is not required by the claims) is an obvious variant to Fischer Claim
                               6. Moreover, this is obvious in light of Fischer alone or in combination with Sabourin
                               or Schultz. A POSITA would have recognized that Sabourin, Schultz, and Fischer are
                               in similar fields of invention.

                               Moreover, given this disclosure, the re-estimation of the first speech recognizer was
                               obvious in light of Fischer alone, or in combination with Sabourin or Schultz. The
                               motivation to combine these references would at least include:
                                     Combining prior art elements according to known methods to yield predictable
                                      results (adding nodes to account for new phones in a domain or deleting unused
                                      phones were known using similar techniques for predictable results);
                                     Simple substitution of one known element for another to obtain predictable
                                      results;
                                     Use of known technique to improve similar devices (methods, or products) in the
                                      same way (same technique of adapting the decision network when expanding the




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                                      domain of the recognizer to include new phones or deleting unused phones was
                                      known));
                                     Applying a known technique to a known device (method, or product) ready for
                                      improvement to yield predictable results (adding and deleting nodes in the
                                      decision network during adaptation were known using similar known techniques
                                      for predictable results);
                                     “Obvious to try”—choosing from a finite number of identified, predictable
                                      solutions, with a reasonable expectation of success (obvious to add nodes for
                                      new sounds or remove nodes for unused phones);
                                     Market forces and benefits associated with the known benefits of adding and
                                      deleting nodes were predictable to POSA
                                     Teaching of prior art would have lead a POSA to combine the references to arrive
                                      at a adaptation of a recognizer that includes adding or deleting nodes.
                               For example, Sabourin and Schultz explicitly re-estimate by adding nodes, pruning
                               nodes and merging nodes in the decision network.
                               It would be obvious to a POSITA to combine Fischer with Sabourin and Schultz to
                               disclose deleting nodes, adding nodes, pruning nodes and merging nodes in the decision
                               network. Sabourin, Schultz, and Fischer are in the same field of art. A POSITA would
                               be motivated to combine Fischer with Sabourin or Schultz. A POSITA considering
                               Fischer’s disclosure that resources can be re-invested in to the speech recognition system
                               would be motivated to seek out a system that trains the first decision network by adding
                               nodes to account for new sounds, as disclosed by Sabourin and Schultz, which is a way
                               of re-investing nodes. POSITA would have a reasonable expectation of success in
                               implementing the teaching of Fischer to re-estimate the first decision network through
                               addition of nods and deleting of nodes as provided by Sabourin and Schultz because the
                               combination involves the predictable use of prior art elements according to their
                               established functions.


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                                           See Sabourin at Abstract, 2:57-3:6, 3:52-4:7, 4:16-45, 5:66-6:44, 6:45-7:8, 8:49-10:23;
                                           Schultz at Abstract, Section 3.3., Section 3.4.
1.a.2   “wherein said first decision       Fischer discloses that the first decision network and second decision network utilize a
        network and said second decision   set of states, which are part of and organized into a phonetic decision tree in speech
        network utilize a phonetic         recognition operations. See, e.g.,
        decision free [sic] to perform
        speech recognition operations”     “1. A computer-based method of automatically generating, from a first speech
                                           recognizer, a second speech recognizer wherein the first speech recognizer includes a
                                           set of states and a set of probability functions assembling output probabilities for an
                                           observation of a speech frame in the states, the method comprising the steps of:

                                           generating, from the set of states of the first speech recognizer, a set of states of the
                                           second speech recognizer by selecting a subset of states of the first speech
                                           recognizer being distinctive of a particular application; and

                                           generating, from the set of probability density functions of the first speech
                                           recognizer, a set of probability density functions of the second speech recognizer
                                           by selecting a subset of probability density functions of the first speech recognizer
                                           being distinctive of the particular application, such that the second speech recognizer is
                                           at least one tailored to the particular application and requires reduced resources
                                           compared to the first speech recognizer.
                                           2. The method of claim 1, further comprising the step of generating acoustic model
                                           parameters of the second speech recognizer by re-estimating acoustic model parameters
                                           of the first speech recognizer based on the set of states of the second speech recognizer
                                           and the set of probability density functions of the second speech recognizer.
                                           4. The method of claim 2, wherein selecting at least one of the subset of states and the
                                           subset of probability density functions of the first speech recognizer exploits phonetical
                                           knowledge of the particular application.



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                                           5. The method of claim 4, wherein selecting at least one of the subset of states and the
                                           subset of probability density functions of the first speech recognizer exploits application
                                           specific training data.
                                           6. The method of claim 5, wherein selecting the subset of states comprises associating a
                                           multitude of speech frames of the training data with the correct states of the first speech
                                           recognizer and selecting those states with a frequency of occurrence above a threshold
                                           as the subset of states.”
                                           Fischer, claim 6 (emphasis added).
1.b.1   “wherein the number of nodes in    Fischer discloses that “the number of nodes in the second decision network is not fixed
        the second decision network is     by the number of nodes in the first decision network.” Fischer describes selecting a
        not fixed by the number of nodes   subset of states which is necessarily only a subset of the states of the first speech
        in the first decision network,”    recognizer and therefore nodes are not fixed. See. e.g.,:
                                           “1. A computer-based method of automatically generating, from a first speech
                                           recognizer, a second speech recognizer wherein the first speech recognizer includes a
                                           set of states and a set of probability functions assembling output probabilities for an
                                           observation of a speech frame in the states, the method comprising the steps of:

                                           generating, from the set of states of the first speech recognizer, a set of states of the
                                           second speech recognizer by selecting a subset of states of the first speech
                                           recognizer being distinctive of a particular application; and

                                           generating, from the set of probability density functions of the first speech
                                           recognizer, a set of probability density functions of the second speech recognizer
                                           by selecting a subset of probability density functions of the first speech recognizer
                                           being distinctive of the particular application, such that the second speech recognizer is
                                           at least one tailored to the particular application and requires reduced resources
                                           compared to the first speech recognizer.




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                                          2. The method of claim 1, further comprising the step of generating acoustic model
                                          parameters of the second speech recognizer by re-estimating acoustic model parameters
                                          of the first speech recognizer based on the set of states of the second speech recognizer
                                          and the set of probability density functions of the second speech recognizer.
                                          4. The method of claim 2, wherein selecting at least one of the subset of states and the
                                          subset of probability density functions of the first speech recognizer exploits phonetical
                                          knowledge of the particular application.
                                          5. The method of claim 4, wherein selecting at least one of the subset of states and the
                                          subset of probability density functions of the first speech recognizer exploits application
                                          specific training data.
                                          6. The method of claim 5, wherein selecting the subset of states comprises associating a
                                          multitude of speech frames of the training data with the correct states of the first speech
                                          recognizer and selecting those states with a frequency of occurrence above a threshold
                                          as the subset of states.”
                                          Fischer, claim 6 (emphasis added).

                                          In addition, Fischer in combination with Sabourin and/or Schultz discloses the number
                                          of nodes are not fixed by virtue of the addition or deletion of nodes in the re-estimation
                                          process. For the same reasons stated above, a POSITA would be motivated to combine
                                          Fischer with Sabourin and Schultz. See claim 1.a.1.
1.b.2   “and wherein said re-estimating   Fischer specifically discloses partitioning training data using said first decision network.
        comprises    partitioning  said   Specifically, Fischer’s method includes associating the speech frames of the training
        training data using said first    data set with the correct states of the speech recognizer. See, e.g.,
        decision network of said first
        speech recognizer.”               “1. A computer-based method of automatically generating, from a first speech
                                          recognizer, a second speech recognizer wherein the first speech recognizer includes a
                                          set of states and a set of probability functions assembling output probabilities for an
                                          observation of a speech frame in the states, the method comprising the steps of:


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                               generating, from the set of states of the first speech recognizer, a set of states of the
                               second speech recognizer by selecting a subset of states of the first speech recognizer
                               being distinctive of a particular application; and
                               generating, from the set of probability density functions of the first speech recognizer, a
                               set of probability density functions of the second speech recognizer by selecting a subset
                               of probability density functions of the first speech recognizer being distinctive of the
                               particular application, such that the second speech recognizer is at least one tailored to
                               the particular application and requires reduced resources compared to the first speech
                               recognizer.
                               2. The method of claim 1, further comprising the step of generating acoustic model
                               parameters of the second speech recognizer by re-estimating acoustic model parameters
                               of the first speech recognizer based on the set of states of the second speech recognizer
                               and the set of probability density functions of the second speech recognizer.
                               4. The method of claim 2, wherein selecting at least one of the subset of states and the
                               subset of probability density functions of the first speech recognizer exploits phonetical
                               knowledge of the particular application.
                               5. The method of claim 4, wherein selecting at least one of the subset of states and the
                               subset of probability density functions of the first speech recognizer exploits application
                               specific training data.
                               6. The method of claim 5, wherein selecting the subset of states comprises associating
                               a multitude of speech frames of the training data with the correct states of the first
                               speech recognizer and selecting those states with a frequency of occurrence above
                               a threshold as the subset of states.”
                               Fischer, claim 6 (emphasis added).
Claim 14




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14.pre   A machine-readable storage          See claim 1.pre (same reasoning from Fischer claim 6 but applying Fischer claim 15 or
         medium, having stored thereon a     claim 6).
         computer program having a
         plurality of code sections          See also Fischer Claim 15 (emphasis added).
         executable by a machine for         “10. Apparatus for automatically generating, from a first Speech recognizer, a
         causing     the    machine     to   Second speech recognizer, wherein the first Speech recognizer includes a set of
         automatically generate from a       States and a set of probability density functions assembling output probabilities for
         first speech recognizer a second    an observation of a speech frame in the States, the apparatus comprising:
         speech recognizer, said first
         speech recognizer comprising a      at least one processor operative to: (i) generate, from the Set of States of the first
         first acoustic model with a first   Speech recognizer, a set of States of the Second Speech recognizer by Selecting a Subset
         decision        network      and    of States of the first speech recognizer being distinctive of a particular application;
         corresponding first phonetic        and (ii) generate, from the Set of probability density functions of the first speech
         contexts, and said second speech    recognizer, a set of probability density functions of the Second Speech recognizer by
         recognizer being adapted to a       Selecting a Subset of probability density functions of the first Speech recognizer being
         specific domain, said machine-      distinctive of the particular application, Such that the Second speech recognizer is at
         readable storage causing the        least one of tailored to the particular application and requires reduced resources
         machine to perform the steps of:    compared to the first Speech recognizer.
                                             11. The apparatus of claim 10, wherein the at least one processor is further operative to
                                             generate acoustic model parameters of the Second Speech recognizer by re-estimating
                                             acoustic model parameters of the first Speech recognizer based on the Set of States of
                                             the Second Speech recognizer and the set of probability density functions of the second
                                             Speech recognizer.
                                             12. The apparatus of claim 11, wherein the at least one processor is further operative to:
                                             (i) determine at least one of resource requirements and recognition accuracy of the
                                             Second speech recognizer; and (ii) repeat the State Set generation, probability density
                                             function Set generation, and acoustic model parameter generation operations, with one
                                             of more limiting and less limiting Selection criteria, when at least one of the resource
                                             requirements and the recognition accuracy does not achieve at least one of a resource
                                             target and an accuracy target, respectively.


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                                              13. The apparatus of claim 11, wherein the operation of Selecting at least one of the
                                              Subset of States and the Subset of probability density functions of the first Speech
                                              recognizer exploits phonetical knowledge of the particular application.
                                              14. The apparatus of claim 13, wherein the operation of Selecting at least one of the
                                              Subset of States and the Subset of probability density functions of the first Speech
                                              recognizer exploits application-specific training data.
                                              15. The apparatus of claim 14, wherein the operation of Selecting the Subset of States
                                              comprises associating a multitude of Speech frames of the training data with the correct
                                              States of the first Speech recognizer and Selecting those States with a frequency.”
14.a    based on said first acoustic          See claim 1.a (same reasoning from Fischer claim 6 but applying Fischer claim 15 or
        model, generating a second            claim 6).and 14.pre.
        acoustic model with a second
        decision       network         and    See also Fischer Claim 15 (emphasis added).
        corresponding second phonetic         “10. Apparatus for automatically generating, from a first Speech recognizer, a Second
        contexts for said second speech       speech recognizer, wherein the first Speech recognizer includes a set of States and a set
        recognizer by re-estimating said      of probability density functions assembling output probabilities for an observation of a
        first decision network and said       speech frame in the States, the apparatus comprising:
        corresponding first phonetic
        contexts based on domain-             at least one processor operative to: (i) generate, from the Set of States of the first
        specific training data, wherein       Speech recognizer, a set of States of the Second Speech recognizer by Selecting a
        said first decision network and       Subset of States of the first speech recognizer being distinctive of a particular
        said second decision network          application; and (ii) generate, from the Set of probability density functions of the
        utilize a phonetic decision tree to   first speech recognizer, a set of probability density functions of the Second Speech
        perform speech recognition            recognizer by Selecting a Subset of probability density functions of the first Speech
        operations,                           recognizer being distinctive of the particular application, Such that the Second speech
                                              recognizer is at least one of tailored to the particular application and requires reduced
                                              resources compared to the first Speech recognizer.
                                              11. The apparatus of claim 10, wherein the at least one processor is further operative to
                                              generate acoustic model parameters of the Second Speech recognizer by reestimating


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                               acoustic model parameters of the first Speech recognizer based on the Set of States of
                               the Second Speech recognizer and the set of probability density functions of the second
                               Speech recognizer.
                               12. The apparatus of claim 11, wherein the at least one processor is further operative to:
                               (i) determine at least one of resource requirements and recognition accuracy of the
                               Second speech recognizer; and (ii) repeat the State Set generation, probability density
                               function Set generation, and acoustic model parameter generation operations, with one
                               of more limiting and less limiting Selection criteria, when at least one of the resource
                               requirements and the recognition accuracy does not achieve at least one of a resource
                               target and an accuracy target, respectively.
                               13. The apparatus of claim 11, wherein the operation of Selecting at least one of the
                               Subset of States and the Subset of probability density functions of the first Speech
                               recognizer exploits phonetical knowledge of the particular application.
                               14. The apparatus of claim 13, wherein the operation of Selecting at least one of the
                               Subset of States and the Subset of probability density functions of the first Speech
                               recognizer exploits application-specific training data.
                               15. The apparatus of claim 14, wherein the operation of Selecting the Subset of States
                               comprises associating a multitude of Speech frames of the training data with the correct
                               States of the first Speech recognizer and Selecting those States with a frequency.”
                               In addition, a POSITA would have found the addition of new phonetic contexts and
                               nodes (which is not required by the claims) is an obvious variant to Fischer Claim 6.
                               Moreover, this is obvious in light of Fischer alone or in combination with Sabourin or
                               Schultz. A POSITA would have recognized that Sabourin and Fischer are in similar
                               fields of invention.
                               To the extent, re-estimation requires adding nodes, a POSITA would have looked to
                               similar art in the field and recognized it was well known to add or delete nodes in the
                               decision tree based on at least Sabourin and Schultz.


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                               Moreover, given this disclosure, the re-estimation of the first speech recognizer was
                               obvious in light of Fischer alone, or in combination with Sabourin or Schultz. The
                               motivation to combine these references would at least include:
                                     Combining prior art elements according to known methods to yield predictable
                                      results (adding nodes to account for new phones in a domain or deleting unused
                                      phones were known using similar techniques for predictable results);
                                     Simple substitution of one known element for another to obtain predictable
                                      results;
                                     Use of known technique to improve similar devices (methods, or products) in the
                                      same way (same technique of adapting the decision network when expanding the
                                      domain of the recognizer to include new phones or deleting unused phones was
                                      known));
                                     Applying a known technique to a known device (method, or product) ready for
                                      improvement to yield predictable results (adding and deleting nodes in the
                                      decision network during adaptation were known using similar known techniques
                                      for predictable results);
                                     “Obvious to try”—choosing from a finite number of identified, predictable
                                      solutions, with a reasonable expectation of success (obvious to add nodes for
                                      new sounds or remove nodes for unused phones);
                                     Market forces and benefits associated with the known benefits of adding and
                                      deleting nodes were predictable to POSA
                                     Teaching of prior art would have lead a POSA to combine the references to arrive
                                      at a adaptation of a recognizer that includes adding or deleting nodes.
                               For example, Sabourin and Schultz explicitly re-estimate by adding nodes, pruning
                               nodes and merging nodes in the decision network.



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                                               It would be obvious to a person having ordinary skill in the art to combine Fischer with
                                               Sabourin and Schultz to disclose deleting nodes, adding nodes, pruning nodes and
                                               merging nodes in the decision network. Sabourin, Schultz, and Fischer are in the same
                                               field of art. A person having ordinary skill in the art would be motivated to combine
                                               Fischer with Sabourin or Schultz. A person having ordinary skill in the art considering
                                               Fischer’s disclosure that resources can be re-invested in to the speech recognition system
                                               would be motivated to seek out a system that trains the first decision network by adding
                                               nodes to account for new sounds, as disclosed by Sabourin and Schultz, which is a way
                                               of re-investing nodes. A person having ordinary skill in the art would have a reasonable
                                               expectation of success in implementing the teaching of Fischer to re-estimate the first
                                               decision network through addition of nods and deleting of nodes as provided by
                                               Sabourin and Schultz because the combination involves the predictable use of prior art
                                               elements according to their established functions.

                                               See Sabourin at Abstract, 2:57-3:6, 3:52-4:7, 4:16-45, 5:66-6:44, 6:45-7:8, 8:49-10:23;
                                               Schultz at Abstract, Section 3.3., Section 3.4.


14.b    wherein the number of nodes in         See claim 1.b (same reasoning from Fischer claim 6 but applying Fischer claim 15 or
        the second decision network is         claim 6).
        not fixed by the number of nodes
        in the first decision network, and     See also Fischer Claim 15 (emphasis added).
        wherein       said     re-estimating   “10. Apparatus for automatically generating, from a first Speech recognizer, a Second
        comprises       partitioning    said   speech recognizer, wherein the first Speech recognizer includes a set of States and a set
        training data using said first         of probability density functions assembling output probabilities for an observation of a
        decision network of said first         speech frame in the States, the apparatus comprising:
        speech recognizer.
                                               at least one processor operative to: (i) generate, from the Set of States of the first
                                               Speech recognizer, a set of States of the Second Speech recognizer by Selecting a
                                               Subset of States of the first speech recognizer being distinctive of a particular
                                               application; and (ii) generate, from the Set of probability density functions of the


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                               first speech recognizer, a set of probability density functions of the Second Speech
                               recognizer by Selecting a Subset of probability density functions of the first Speech
                               recognizer being distinctive of the particular application, Such that the Second speech
                               recognizer is at least one of tailored to the particular application and requires reduced
                               resources compared to the first Speech recognizer.
                               11. The apparatus of claim 10, wherein the at least one processor is further operative to
                               generate acoustic model parameters of the Second Speech recognizer by reestimating
                               acoustic model parameters of the first Speech recognizer based on the Set of States of
                               the Second Speech recognizer and the set of probability density functions of the second
                               Speech recognizer.
                               12. The apparatus of claim 11, wherein the at least one processor is further operative to:
                               (i) determine at least one of resource requirements and recognition accuracy of the
                               Second speech recognizer; and (ii) repeat the State Set generation, probability density
                               function Set generation, and acoustic model parameter generation operations, with one
                               of more limiting and less limiting Selection criteria, when at least one of the resource
                               requirements and the recognition accuracy does not achieve at least one of a resource
                               target and an accuracy target, respectively.
                               13. The apparatus of claim 11, wherein the operation of Selecting at least one of the
                               Subset of States and the Subset of probability density functions of the first Speech
                               recognizer exploits phonetical knowledge of the particular application.
                               14. The apparatus of claim 13, wherein the operation of Selecting at least one of the
                               Subset of States and the Subset of probability density functions of the first Speech
                               recognizer exploits application-specific training data.
                               15. The apparatus of claim 14, wherein the operation of Selecting the Subset of States
                               comprises associating a multitude of Speech frames of the training data with the
                               correct States of the first Speech recognizer and Selecting those States with a
                               frequency.”



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Claim 27
27.pre     “A computerized method of            See claim 1, including 1.pre.a-c.
           generating a second speech
           recognizer comprising the steps
           of:
27.a       identifying a first speech           See claim 1, including 1.pre.b and 27.pre.
           recognizer of a first domain
           comprising a first acoustic model
           with a first decision network and
           corresponding first phonetic
           contexts;”
27.b       “receiving         domain-specific   Fischer discloses receiving domain-specific training data of a second domain. See claim
           training data of a second domain;    1 including 1.pre.c and 1.a.1. See also:
           and”
                                                “1. A computer-based method of automatically generating, from a first speech
                                                recognizer, a second speech recognizer wherein the first speech recognizer includes a
                                                set of states and a set of probability functions assembling output probabilities for an
                                                observation of a speech frame in the states, the method comprising the steps of:

                                                generating, from the set of states of the first speech recognizer, a set of states of the
                                                second speech recognizer by selecting a subset of states of the first speech recognizer
                                                being distinctive of a particular application; and

                                                generating, from the set of probability density functions of the first speech recognizer, a
                                                set of probability density functions of the second speech recognizer by selecting a subset
                                                of probability density functions of the first speech recognizer being distinctive of the
                                                particular application, such that the second speech recognizer is at least one
                                                tailored to the particular application and requires reduced resources compared to the
                                                first speech recognizer.




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                                             2. The method of claim 1, further comprising the step of generating acoustic model
                                             parameters of the second speech recognizer by re-estimating acoustic model parameters
                                             of the first speech recognizer based on the set of states of the second speech recognizer
                                             and the set of probability density functions of the second speech recognizer.
                                             4. The method of claim 2, wherein selecting at least one of the subset of states and the
                                             subset of probability density functions of the first speech recognizer exploits phonetical
                                             knowledge of the particular application.
                                             5. The method of claim 4, wherein selecting at least one of the subset of states and
                                             the subset of probability density functions of the first speech recognizer exploits
                                             application specific training data.
                                             6. The method of claim 5, wherein selecting the subset of states comprises associating a
                                             multitude of speech frames of the training data with the correct states of the first speech
                                             recognizer and selecting those states with a frequency of occurrence above a threshold
                                             as the subset of states.”
                                             Fischer, claim 6 (emphasis added).
27.c    “based on the first speech           Fischer discloses based on the first speech recognizer and the domain-specific training
        recognizer and the domain-           data, generating a second acoustic model of said first domain and said second domain
        specific training data, generating   comprising a second acoustic model with a second decision network and corresponding
        a second acoustic model of said      second phonetic contexts. Claim 27 is an obvious variant of Fischer claim 6 because a
        first domain and said second         POSITA would have found it obvious to add nodes to account for phones in the training
        domain comprising a second           data missing in the first speech recognizer. See claim 1 including 1.pre.c and 1.a.1.
        acoustic model with a second
        decision        network        and   While Fischer does not explicitly contemplate that the final speech recognizer will be
        corresponding second phonetic        able to understand multiple languages, Fischer contemplates that its solution avoids the
        contexts, wherein the first domain   cost with adapting acoustic models for example, in connection with different
        comprises at least a first           applications within a dialect or application. Fischer further contemplates that once
        language, wherein the second         Fischer builds the speech recognition it can re-invest the saved resources into the system.
        domain comprises at least a          See Fischer at 9:13-18. A POSITA would understand that this same adaptation could be


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        second language, and wherein the performed with a pre-existing multi-lingual recognizer or used to create a multilingual
        second speech recognizer is a recognizer. This was a common application and need for modified recognizers. For
        multi-lingual speech recognizer.” example, multilingual speech recognizers were well known at the time of the ’925
                                          patent. See, e.g., Schultz et al., “Polyphone Decision Tree Specialization for Language
                                          Adaptation”, ICASSP-2000, Istanbul, Turkey, Jun. 2000 (Section 2.2. describing
                                          generating and use of multilingual speech recognizers).
                                           A POSITA would have known that multilingual speech recognizers were well known
                                           and desirable.
                                           Given this disclosure, the creation of a multilingual second recognizer was obvious in
                                           light of Fischer alone, or in combination with Sabourin. The motivation to combine
                                           these references would at least include:
                                                 Combining prior art elements according to known methods to yield predictable
                                                  results (multilingual recognizers were known using similar techniques for
                                                  predictable results);
                                                 Simple substitution of one known element for another to obtain predictable
                                                  results (substituting the domain from just one language to two);
                                                 Use of known technique to improve similar devices (methods, or products) in the
                                                  same way (same technique of expanding domain of the recognizer to include
                                                  multiple languages was known));
                                                 Applying a known technique to a known device (method, or product) ready for
                                                  improvement to yield predictable results (multilingual recognizers were known
                                                  using similar known techniques for predictable results);
                                                 “Obvious to try”—choosing from a finite number of identified, predictable
                                                  solutions, with a reasonable expectation of success (obvious to try to recognize
                                                  more than one language);




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                                     Market forces and benefits associated with the known benefits of multilingual
                                      recognizers were predictable to POSA
                                     Teaching of prior art would have lead a POSA to combine the references to arrive
                                      at a multilingual recognizer.
                               For example, Sabourin explicitly discloses a multilingual system.          Sabourin also
                               discloses that there are two different language domains as recited.
                               “The invention relates to a method and apparatus for training a multilingual speech
                               model Set. The multilingual Speech model Set generated is Suitable for use by a speech
                               recognition System for recognizing spoken utterances for at least two different
                               languages. The invention allows using a single Speech recognition unit with a single
                               Speech model Set to perform Speech recognition on utterances from two or more
                               languages. The method and apparatus make use of a group of a group of acoustic Sub-
                               word units comprised of a first Subgroup of acoustic Sub-word units associated to a first
                               language and a Second Subgroup of acoustic Sub-word units associated to a Second
                               language where the first Subgroup and the Second Subgroup share at least one common
                               acoustic Sub-word unit. The method and apparatus also make use of a plurality of letter
                               to acoustic Sub-word unit rules Sets, each letter to acoustic Sub-word unit rules Set being
                               associated to a different language. A Set of untrained speech models is trained on the
                               basis of a training Set comprising speech tokens and their associated labels in
                               combination with the group of acoustic Sub-word units and the plurality of letter to
                               acoustic Sub-word unit rules Sets. The invention also provides a computer readable
                               Storage medium comprising a program element for implementing the method for
                               training a multilingual Speech model Set.”
                               Sabourin at Abstract.
                               “A deficiency of the above-described method is that the Speech recognition System
                               requires as an input the language associated to the input utterance, which may not be
                               readily available to the Speech recognition System. Usually, obtaining the language
                               requires prompting the user for the language of use thereby requiring an additionally


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                               Step in the Service being provided by the Speech recognition enabled system which may
                               lower the level of satisfaction of the user with the system as a whole. Another deficiency
                               of the above noted method is the costs associated to developing and maintaining a
                               Speech model Set for each language the Speech recognition System is adapted to
                               recognize. More Specifically, each speech model Set must be trained individually, a task
                               requiring manpower for each individual language thereby increasing significantly the
                               cost of Speech recognition Systems operating in multilingual environments with respect
                               to Systems operating in unilingual environments. In addition, the above-described
                               method requires the Storage of a speech model Set for each language in memory thereby
                               increasing the cost of the Speech recognition System in terms of memory requirements.
                               Finally, the above described method requires testing a speech model Set for each
                               language thereby increasing the testing cost of the Speech recognition System for each
                               language the Speech recognition System is adapted to recognize. Thus, there exists a
                               need in the industry to refine the process of training Speech models So as to obtain an
                               improved multilingual Speech model Set capable of being used by a speech recognition
                               System for recognizing spoken utterances for at least two different languages.”

                               Sabourin at 1:55-2:17.

                               “In accordance with another broad aspect, the invention provides a method for
                               generating a multilingual speech model Set Suitable for use in a multilingual speech
                               recognition System. The method comprises providing a group of acoustic Sub-word
                               units having a first Subgroup of acoustic Sub-word units associated to a first language
                               and a Second Subgroup of acoustic Sub-word units associated to a Second language.
                               The first Subgroup and the Second Subgroup share at least one common acoustic Sub-
                               word unit. The method further comprises providing a training Set comprising a plurality
                               of entries, each entry having a speech token representative of a word and a label being
                               an orthographic representation of the word. The method further comprises providing a
                               Set of untrained speech models and training the Set of untrained speech models by
                               utilizing the training Set, the plurality of letter to acoustic Sub-word unit rules Sets and
                               the group of acoustic Sub-word units to derive the multilingual Speech model Set.”


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                               Sabourin at 2:57-3:7.

                               “The invention provides a method for generating the multilingual speech model set
                               shown in FIG.1. As shown in FIG. 2 of the drawings, the method comprises providing
                               200 a group of acoustic Sub-word units comprised of a first Subgroup of acoustic Sub-
                               word units associated to a first language and a Second Subgroup of acoustic Sub-word
                               units associated to a Second language. The first Subgroup and the Second Subgroup
                               share at least one common acoustic Sub word unit. In a preferred embodiment, the group
                               of acoustic Sub word unit is obtained by combining sub-word units from individual
                               languages. For each language for which the multilingual Speech model Set is to be
                               representative of, an inventory of sub-word units can be obtained. The acoustic Sub-
                               word units are basic units of Sound in a language. These inventories may be produced
                               by phoneticians or may be provided as off-the-shelf components. In a specific example,
                               the Sub-word units are phonemes. The Skilled person in the art will readily see that other
                               sub-word units may be used here without detracting from the spirit of the invention.”

                               Sabourin at 4:25-45.

                               “The training of the set of untrained speech models further comprises processing 304
                               the group of transcriptions generated at step 300 on the basis of a speech token of the
                               corresponding entry in the training Set whereby training the Set of untrained speech
                               models to derive the multilingual Speech model Set.”

                               Sabourin at 9:34-39.

                               See Sabourin at Figs. 2-7.
                               See, e.g., Sabourin, Claim 1 (and other claims).

                               It would be obvious to a person having ordinary skill in the art to combine Fischer with
                               Sabourin. Both Fischer and Sabourin are in the same field of art. A person having

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                               ordinary skill in the art would be motivated to combine Fischer with Sabourin. A person
                               having ordinary skill in the art considering Fischer discloses investing again resources
                               into the speech recognizer and the existence of any missing nodes, would be motivated
                               to seek out a system that builds a multilingual or different language speech set when the
                               new domain is a new language, as disclosed by Sabourin. A person having ordinary
                               skill in the art would have a reasonable expectation of success in implementing the
                               teaching of Fischer to generate a multilingual or new language speech recognizer as
                               provided by Sabourin because the combination at least involves the predictable use of
                               prior art elements according to their established functions.
                               Further, to the extent re-estimation requires also adding nodes to the second speech
                               recognizer, Schultz all similarly disclose adding nodes. For the reasons above, a
                               POSITA would similarly be motivated to combine either Schultz with Fischer to create
                               a multilingual speech recognizer where re-estimation includes the addition of nodes to
                               account for new phones or contexts not present in the first speech recognizer.
                                     See Exhibit A-4, Claim 1.a.1.




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                                                    APPENDIX B-1
                             Invalidity Claim Chart for U.S. Pat. No. 8,532,993 (’993 patent)
         Mirjam Wester, Pronunciation Variation Modeling for Dutch Automatic Speech Recognition, 2002 (“Wester”)1
On October 16, 2020, Nuance narrowed the asserted ’993 patent claims to 17 and 19. Nuance’s Disclosure Limiting Asserted Claims
of Phase 1 Patents. Claims 17 and 19 of the ’993 patent are anticipated and/or rendered obvious by Wester alone or in combination with
at least the following references. The chart below discloses how prior art references identified by Omilia disclose, either expressly or
inherently, and/or render obvious each of the asserted claims:

    (1) Steinbiss et al., The Philips research system for large-vocabulary continuous-speech recognition, Proc. of 3rd European
        Conference on Speech Communication and Technology EUROSPEECH ’93, 2125-2128 (1993) (“Steinbiss”)2

    (2) Jain, et al., Creating Speaker-Specific Phonetic Templates with a Speaker-Independent Phonetic Recognizer: Implications for
        Voice Dialing, IEEE International Conference on Acoustics, Speech, and Signal Processing Conference Proceedings, 881-884
        (1996) (“Jain”)3

Wester incorporates the following prior-art references:

       Kessens et al., Improving the performance of a Dutch CSR by modeling within-word and cross-word pronunciation variation,
        Speech Communication 29 (1999) 193-207 (incorporated as pp. 49-65 in Wester) (“Kessens”)
       Wester, Pronunciation Modeling for ASR – Knowledge-based and Data-derived Methods, 2001 (incorporated as pp. 97-122 in
        Wester) (“Wester2”)

This invalidity claim chart is based on Omilia’s present understanding of the asserted claims, the Court’s August 6, 2020 Claim
Construction Order (ECF. No. 241), Plaintiff (“Nuance’s”) initial and all subsequent supplemental Infringement Contentions, its
Response to Omilia NLS’ Supplemental Preliminary Non-Infringement and Invalidity Contentions, its Response to Omilia NLS’
Interrogatory No. 9, and Omilia’s investigation to date. Omilia is not adopting Nuance’s apparent constructions, nor is Omilia admitting
to the accuracy of any particular construction. Omilia reserves all rights to amend this invalidity claim chart if Nuance further amends




1
  Wester was published in 2002. Wester is prior art under at least pre-AIA 35 U.S.C. § 102(a), and (b).
2
  Steinbiss was published in September, 1993. Steinbiss is prior art under at least pre-AIA 35 U.S.C. § 102(a), and (b).
3
  Jain was published in 1996. Jain is prior art under at least pre-AIA 35 U.S.C. § 102(a), and (b).
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its Infringement Contentions, or in response to any statements made by Nuance at any phase of this litigation. In addition, Discovery is
still ongoing, and Omilia reserves its right to supplement its contentions with additional evidence as discovery continues.

The citations provided are exemplary and do not necessarily include each and every disclosure of the limitation in the references. Omilia
has cited the most relevant portions of the identified prior art. Other portions of the identified prior art may additionally disclose, either
expressly or inherently, and/or render obvious one or more limitations of the asserted claims. To provide context or aid in understanding
the prior art and the state of the art at the time of the alleged invention, Omilia reserves the right to rely on: (1) uncited portions of the
identified prior art; (2) other prior art not identified herein; (3) references that show the state of the art (irrespective of whether such
references themselves qualify as prior art to the asserted patents); (4) factual testimony from the inventors or authors of the prior art
references, or purveyors of prior art devices; and/or (5) expert testimony.

Citations to a particular drawing or figure in the accompanying charts should be understood to include the description of the drawing or
figure, as well as any text associated with the drawing or figure. Citations to particular text concerning a drawing or figure, should also
be understood to encompass that drawing or figure as well. The identified prior art expressly and/or inherently discloses the features of
the asserted claims under all proposed constructions of the asserted claims. To establish the inherency of certain features of the prior
art to invalidate the asserted claims, Omilia may rely on cited or uncited portions of the prior art, other documents, factual testimony,
and expert testimony. To the extent that the Court finds that this reference does not explicitly teach certain limitations in the asserted
claims, such limitations would have been inherent and/or obvious and Omilia reserves the right to supplement or amend this claim chart
to address such a finding.

 ’993 Patent

 Claim 17
 17.pre A computer-readable         To the extent that the preamble is limiting, Wester discloses, expressly or inherently, “computer-
        storage device having       readable storage device having instructions stored which, when executed on a processor, cause the
        instructions stored         processor to perform operations:” In Wester, the process described was developed and
        which, when executed        implemented using continuous speech recognition computer system using conventional computer
        on a processor, cause       elements. See, e.g.,
        the processor to
        perform operations          “Two continuous speech recognition (CSR) systems for Dutch are used in the publications in this
        comprising:                 thesis: the Phicos recognition system (Steinbiss et al. 1993), and the ICSI hybrid ANN/HMM speech
                                    recognition system (Bourlard and Morgan 1993). The main differences between the Phicos and ICSI
                                    systems are the search strategies that are used and the manner in which the acoustic probabilities are

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                                  Invalidity Claim Chart for U.S. Patent No. 8,532,993 (’993 patent)
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                      estimated. The ICSI system uses stack decoding and neural networks are employed to estimate the
                      acoustic probabilities, whereas in the Phicos system, a Viterbi beam search is employed and mixtures
                      of Gaussians are used to estimate the acoustic probabilities.”

                      Wester, at 8

                      “In the Phicos recognition system (Steinbiss et al. 1993), continuous density hidden Markov models
                      (HMMs) with 32 Gaussians per state are used. The HMMs have a tripartite structure, and each of
                      the three parts consists of two states with identical emission distributions. The transition
                      probabilities, which allow for loops, jumps and skips, are tied over all states. Feature extraction is
                      carried out every 10 ms for 16 ms frames. The first step in the feature analysis is anFFT analysis to
                      calculate the spectrum. In the following step, the energy in 14 mel-scaled filter bands between 350
                      and 3400 Hz is calculated. Next, a discrete cosine transformation is applied to the log of the
                      filterband coefficients. The final processing stage is a running cepstral mean subtraction. In addition
                      to the 14 cepstral coefficients, 14 delta coefficients are calculated, which makes a total of 28 feature
                      coefficients, which are used to describe the speech signal.”

                      Wester at 9.

                      “The neural network in the ICSI hybrid HMM/ANN speech recognition system (Bourlard and
                      Morgan 1993) was bootstrapped using segmentations of the training material obtained with the
                      Phicos system. These segmentations were obtained by performing a Viterbi alignment using a
                      baseline lexicon (only canonical pronunciations) and Phicos baseline acoustic models, i.e. no
                      pronunciation variation had been explicitly modeled. The front-end acoustic processing consisted of
                      calculating 12ift--order PLP features (Hermansky 1990), and energy every 10 ms, for 25 ms frames.
                      The neural net takes an acoustic feature vector plus additional context from eight surrounding frames
                      of features at the input, and outputs phone posterior probability estimates. The neural network has a
                      hidden layer size of 1000 units and the same network was employed in all experiments.”

                      Wester at 9.



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                      In addition, it would be obvious to a person having ordinary skill in the art to combine Wester with
                      Steinbiss. Both Wester and Steinbiss are in the same field of art. Wester discloses that the speech
                      recognition system of Steinbiss is “used in the publications in this thesis.” Wester, at 9. A person
                      having ordinary skill in the art would therefore be motivated to use Steinbiss to implement the
                      system of Wester. Steinbiss further teaches that “[s]peech recognition runs remotely on a PC
                      which is connected to the network.” Steinbiss, at 2128. A person having ordinary skill in the art
                      considering Wester would therefore understand that the system disclosed by Wester would be
                      implemented on a computer, as taught by Steinbiss. A person having ordinary skill in the art
                      would have a reasonable expectation of success in implementing Wester on the computer of
                      Steinbiss because the combination involves the predictable use of prior art elements according to
                      their established functions.

                      The motivation to combine these references would at least include:

                            Combining prior art elements according to known methods to yield predictable results (using
                             a computer to perform speech recognition using computers was well known in the art);
                            Simple substitution of one known element for another to obtain predictable results
                             (implementing the system of Wester on top of the system of Steinbiss using a computer);
                            Use of known technique to improve similar devices (methods, or products) in the same way
                             (the technique of using a computer to perform speech recognition was known);
                            Applying a known technique to a known device (method, or product) ready for improvement
                             to yield predictable results (using a computer to perform speech recognition using computers
                             was well known in the art);
                            “Obvious to try”—choosing from a finite number of identified, predictable solutions, with a
                             reasonable expectation of success (Wester teaches that Steinbiss may be used as a base
                             system);




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                               Market forces and benefits associated with the known benefits of automatic speech
                                recognition
                      Teaching of prior art would have lead a POSA to combine the references to arrive at a speech
                      recognition system implemented on a computer.

                      Steinbiss also discloses, expressly or inherently, “computer-readable storage device having
                      instructions stored which, when executed on a processor, cause the processor to perform operations:”
                      In Steinbiss, the process described was developed and implemented using PC based implementation.
                      See, e.g.,

                      “The system has been successfully applied to the American English DARPA RM task. Here, we
                      report experimental results for a German 13 000-word Philips internal dictation task. In addition to
                      the scientific prototype, a PC version has been set up which is described here for the first time.”

                      Steinbiss, at 2125.

                      “The organization of the paper is as follows. We first summarize the statistical approach to speech
                      recognition and then describe the four main entities of our system: acoustic analysis,
                      acousticphonetic modelling, language modelling and search. A section with experiments on our
                      internal dictation task follows. The final section describes a PC based implementation of our
                      system.”

                      Steinbiss, at 2125.

                      “8. A PC Based Continuous Speech-Recognition System for Dictation

                      ...

                      The system developed at Philips Dictation Systems, Vienna, and described here adopts this non-
                      interactive approach and thus allows the person to dictate with a natural speaking style. After the



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                                speech is processed by the speech recognizer, the secretary has only to correct the recognition errors,
                                which is both faster and a more interesting job to do.”

                                Steinbiss, at 2128.

                                “Speech recognition runs remotely on a PC which is connected to the network. An acoustic front-
                                end performs the acoustic analysis. Recognition is sped up by a dedicated co-processor board
                                containing application-specific ICs. Depending on the speaker and the specific boundary conditions,
                                recognition with a 10 - 20 000-word vocabulary runs in 1 - 3 times real-time.”

                                Steinbiss, at 2128.
17.a   approximating            Wester discloses, expressly or inherently, the step of “approximating transcribed speech using a
       transcribed speech       phonemic transcription dataset associated with a speaker, to yield a language model, where the
       using a phonemic         phonemic transcription dataset is based on a pronunciation model of the speaker:”
       transcription dataset
       associated with a        Wester discloses, expressly or inherently, the step of “approximating transcribed speech using a
       speaker, to yield a      phonemic transcription dataset associated with a speaker, to yield a language model, where the
       language model,          phonemic transcription dataset is based on a pronunciation model of the speaker:” In Wester, a
       where the phonemic       speech recognition system is trained using phonetic transcriptions of training material. Wester
       transcription dataset    further discloses the training data may include “rate of speech or type of dialect.” A POSA would
       is based on a            further understand that this training data is “associated with a speaker.” See, e.g.,
       pronunciation model
       of the speaker;          “Lexicon. The lexicon (or dictionary as it is often referred to) typically consists of the orthography
                                of words that occur in the training material and their corresponding phonetic transcriptions. During
                                recognition, the phonetic transcriptions in the lexicon function as a constraint which defines the
                                sequences of phonemes that are permitted to occur. The transcriptions can be obtained either
                                manually or through grapheme-to-phoneme conversion.

                                In pronunciation variation research one is usually confronted with two types of lexica: a canonical
                                (or baseline) lexicon and a multiple pronunciation lexicon. A canonical lexicon contains the
                                normative or standard transcriptions for the words; this is a single transcription per word. A

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                      multiple pronunciation lexicon contains more than one variant per word, for some or all of the
                      words in the lexicon.”

                      Wester, at 7.

                      “Within the search strategy, a single-pass or multi-pass search can be employed. In the work
                      presented in this thesis, only single-pass search strategies have been employed. However, it has
                      been shown that multi-pass searches can be very useful for pronunciation modeling, as this makes
                      it possible to dynamically change the lexicon. Factors such as rate of speech or type of dialect,
                      which are measured or estimated in a first pass, can be used to determine the appropriate set of
                      pronunciations to include in the lexicon. This dynamically adjusted lexicon can then be employed
                      in a second pass. Examples of pronunciation variation research in which a multi-pass approach has
                      been used are Fosler-Lussier (1999) and Lee and Wellekens (2001).”

                      Wester, at 7-8.

                      In addition, to the extent that Wester does not incorporate Wester2 by reference, it would be
                      obvious to a person having ordinary skill in the art to combine Wester with Wester2. Both Wester
                      and Wester2 are in the same field of art. Wester discloses that it and Wester2 are part of the same
                      research and that Wester2 provides results relied upon by Wester. Wester at 32. A person having
                      ordinary skill in the art would therefore be motivated to use the disclosures of Wester2 to
                      implement the system of Wester. A person having ordinary skill in the art would have a
                      reasonable expectation of success in implementing Wester using the disclosure of Wester2 because
                      the combination involves the predictable use of prior art elements according to their established
                      functions.

                      The motivation to combine these references would at least include:

                            Combining prior art elements according to known methods to yield predictable results
                             (creating a language model for speech recognition as well known in the art);



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                            Simple substitution of one known element for another to obtain predictable results
                             (implementing the system of Wester2 as part of the system of Wester);
                            Use of known technique to improve similar devices (methods, or products) in the same way
                             (the technique of creating language models for speech recognition was known);
                            Applying a known technique to a known device (method, or product) ready for improvement
                             to yield predictable results (using data-driven techniques to create a language model for
                             speech recognition was well known in the art);
                            “Obvious to try”—choosing from a finite number of identified, predictable solutions, with a
                             reasonable expectation of success (Wester teaches that Wester2 forms the basis of the
                             system);
                            Market forces and benefits associated with the known benefits of automatic speech
                             recognition; and
                            Teaching of prior art would have lead a POSA to combine the references to arrive at a
                             language model for speech recognition.
                      Wester2 also discloses, expressly or inherently, the step of “approximating transcribed speech
                      using a phonemic transcription dataset associated with a speaker, to yield a language model,
                      where the phonemic transcription dataset is based on a pronunciation model of the speaker:” In
                      Wester2, a speech recognition system is trained using phonetic transcriptions of training material.
                      Wester2 further discloses the training data includes phonetic transcription of data that include
                      pronunciation variation. A POSA would further understand that this training data is “associated
                      with a speaker.” See, e.g.,

                      “It is widely assumed that pronunciation variation is one of the factors which leads to less than
                      optimal performance in automatic speech recognition (ASR) systems. Therefore, in the last few
                      decades, effort has been put into finding solutions to deal with the difficulties linked to
                      pronunciation variation. “Pronunciation variation” as a term could be used to describe most of the
                      variation present in speech. The task of modeling it could consequently be seen as the task of

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                      solving the problem of ASR. However, this article has no pretension of going quite that far, seeing
                      as we are not dealing with the full scope of pronunciation variation, but have restricted ourselves to
                      pronunciation variation that becomes apparent in a careful broad phonetic (phonemic) transcription
                      of the speech, in the form of insertions, deletions or substitutions of phones relative to the
                      canonical transcription of the words. This type of pronunciation variation can be said to occur at
                      the segmental level.”

                      Wester2, at 99.

                      In addition, to the extent that Wester does not incorporate Kessens by reference, it would be
                      obvious to a person having ordinary skill in the art to combine Wester with Kessens. Both Wester
                      and Kessens are in the same field of art. Wester discloses that it and Kessens are part of the same
                      research and that Kessens provides results relied upon by Wester. Wester at 32. A person having
                      ordinary skill in the art would therefore be motivated to use the disclosures of Kessens to
                      implement the system of Wester. A person having ordinary skill in the art would have a
                      reasonable expectation of success in implementing Wester using the disclosure of Kessens because
                      the combination involves the predictable use of prior art elements according to their established
                      functions.

                      The motivation to combine these references would at least include:

                            Combining prior art elements according to known methods to yield predictable results
                             (creating a language model for speech recognition as well known in the art);
                            Simple substitution of one known element for another to obtain predictable results
                             (implementing the system of Wester2 as part of the system of Wester);
                            Use of known technique to improve similar devices (methods, or products) in the same way
                             (the technique of creating language models for speech recognition was known);




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                            Applying a known technique to a known device (method, or product) ready for improvement
                             to yield predictable results (using data-driven techniques to create a language model for
                             speech recognition was well known in the art);
                            “Obvious to try”—choosing from a finite number of identified, predictable solutions, with a
                             reasonable expectation of success (Wester teaches that Wester2 forms the basis of the
                             system);
                            Market forces and benefits associated with the known benefits of automatic speech
                             recognition; and
                            Teaching of prior art would have lead a POSA to combine the references to arrive at a
                             language model for speech recognition.
                      Kessens also discloses, expressly or inherently, the step of “approximating transcribed speech
                      using a phonemic transcription dataset associated with a speaker, to yield a language model,
                      where the phonemic transcription dataset is based on a pronunciation model of the speaker:” In
                      Kessens, a speech recognition system is trained using phonetic transcriptions of training material.
                      Kessens further discloses the training data includes pronunciation variants. A POSA would further
                      understand that this training data is “associated with a speaker.” See, e.g.,

                      “In the third step, the language model is altered. To calculate the baseline language model the
                      orthographic representation of the words in the training corpus is used. Because there is only one
                      variant per word this suffices. However, when a multiple pronunciation lexicon is used during
                      recognition and the language model is trained on the orthographic representation of the words, all
                      variants of the same word will have equal a priori probabilities (this probability is determined by
                      the language model). A drawback of this is that a sporadically occurring variant may have a high a
                      priori probability because it is a variant of a frequently occurring word, whereas the variant should
                      have a lower a priori probability on the basis of its occurrence. Consequently, the variant may be
                      easily confused with other words in the lexicon. A way of reducing this confusability is to base the
                      calculation of the language model on the phone transcription of the words instead of on the
                      orthographic transcription, i.e. on the basis of the phone transcriptions of the corpus obtained


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                      through forced recognition. A recognition test is performed using this language model, the multiple
                      pronunciation lexicon and the updated phone models (test condition: MMM).”

                      Kessens, at 197.

                      Wester discloses, expressly or inherently, the step of “approximating transcribed speech using a
                      phonemic transcription dataset associated with a speaker, to yield a language model, where the
                      phonemic transcription dataset is based on a pronunciation model of the speaker:” In Wester, a
                      language model is created using the training data, which includes pronunciation variation. See,
                      e.g.,

                      “Language Model. Typical recognizers use n-gram language models. An n-gram contains the
                      prior probability of the occurrence of a word (unigram), or of a sequence of words (bigram,
                      trigram etc.):

                      unigram probability P(wi) (1.4)
                      and bigram probability P(wi|wi-1) (1.5)

                      The prior probabilities (priors) in a language model are often estimated from large amounts of
                      training texts for which there is no corresponding acoustic material, i.e., the training texts consist
                      of text material only. In the studies presented in this thesis, this is not the case, as the training
                      material used to train the acoustic models is also employed to estimate the probabilities in the
                      language model (see Section 1.5 for more information on this speech material). This makes it
                      possible to incorporate pronunciation variation in the language models, by estimating prior
                      probabilities for the variants in the training corpus, rather than for the words.”

                      Wester, at 7.

                      “The systems use word-based unigram and bigram language models. The lexicon is the same in
                      both systems, in the sense that it contains the orthography of the words and phone transcriptions
                      for the pronunciations. However, it differs in the sense that the ICSI lexicon also contains prior
                      probabilities for the variants of the words, whereas the Phicos lexicon does not. In the ICSI lexicon

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                      the prior probabilities are distributed over all variants for a word and add up to 1.0 for each word.
                      Depending on the type of variants (knowledge-based or data-derived) the prior probabilities are
                      distributed either equally over the variants of a word or they differ for the variants of a word as
                      they are estimated from the training data.”

                      Wester, at 9.

                      “The main goal of the research presented in this thesis was to improve the performance of Dutch
                      ASR. Statistically significant improvements in WER were found, both for the knowledge-based
                      and data-derived approaches (Kessens et al. 1999a; Wester 2001). The results presented in
                      publication 1 and 3 show that in order to obtain significant improvements in WERs, prior
                      probabilities for the variants should be incorporated in the recognition process in addition to
                      adding variants to the lexicon.”

                      Wester, at 32.

                      “In publication 1, another of our objectives was formulated as follows: ‘Our long-term goal is to
                      find the set of rules which is optimal for modeling pronunciation variation.’ It is difficult to
                      conclude whether this goal has been reached or not. It is possible that in the course of the research
                      carried out for this thesis the optimal set of variants for the VIOS data was found. However, if that
                      is the case, it went unnoticed, as we implicitly assumed that performing recognition with the
                      optimal set of variants would lead to lower WERs. In Section 1.7.1, I argued that the reason for the
                      lack of improvement in WER is because conditional probabilities are not taken into account in a
                      static lexicon. Therefore, it could be the case that we have the correct set of variants to describe the
                      pronunciation variation present in the VIOS material, but that this is not reflected in the WERs
                      because of lexical confusability.”

                      Wester, at 32.

                      Wester discloses, expressly or inherently, the step of “approximating transcribed speech using a
                      phonemic transcription dataset associated with a speaker, to yield a language model, where the
                      phonemic transcription dataset is based on a pronunciation model of the speaker:” In Wester, a

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                      speech recognition system is trained using phonetic transcriptions of training material. Wester
                      further discloses the training data may include “rate of speech or type of dialect.” A POSA would
                      further understand that this training data is “based on a pronunciation model of the speaker.” See,
                      e.g.,

                      “Information about pronunciation variation can be acquired from the data itself or through (prior)
                      knowledge; also termed the data-derived and the knowledge-based approaches to modeling
                      pronunciation variation. One can classify approaches in which information is derived from
                      phonological or phonetic knowledge and/or linguistic literature (Cohen 1989; Giachin et al. 1991)
                      under knowledge-based approaches. Existing dictionaries also fit into this category (Lamel and
                      Adda 1996; Roach and Arnfield 1998). In contrast, data-derived approaches include methods in
                      which manual transcriptions of the training data are employed to obtain information (Riley et al.
                      1999; Saraclar et al. 2000), or automatic transcriptions are used as the starting point for generating
                      lists of variants (Fosler-Lussier 1999; Wester and Fosler-Lussier 2000).”

                      Wester, at 13.

                      “The options for incorporating the information into the ASR system are determined by the manner
                      in which the variants are obtained. Using theoretical phonological rules limits the possibilities one
                      has to merely adding variants, whereas a manual or good quality automatic transcription allows for
                      more options. In the studies presented in this thesis both major approaches to obtaining variants
                      have been used. In Kessens, Wester, and Strik (1999a) (publication 1), a knowledge based
                      approach to obtaining pronunciation variants for Dutch is investigated. In Wester (2001)
                      (publication 3), in addition to the knowledge-based approach, a data-derived approach is studied.
                      In this study, a comparison is also made between the two approaches by analyzing the degree of
                      overlap between the different lexica they produce.”

                      Wester, at 13.




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                      In addition, as previously discussed, to the extent that Wester does not incorporate Wester2 by
                      reference, it would be obvious to a person having ordinary skill in the art to combine Wester with
                      Wester2.

                      Wester2 also discloses, expressly or inherently, the step of “approximating transcribed speech
                      using a phonemic transcription dataset associated with a speaker, to yield a language model, where
                      the phonemic transcription dataset is based on a pronunciation model of the speaker:” In
                      Wester2, a speech recognition system is trained using phonetic transcriptions of training material.
                      Wester2 further discloses the training data includes phonetic transcription of data that include
                      pronunciation variation. A POSA would further understand that this training data is “based on a
                      pronunciation model of the speaker.” See, e.g.,

                       “Thus, it seems that the problem of modeling pronunciation variation lies in accurately predicting
                      the word pronunciations that occur in the test material. In order to achieve this, the pronunciation
                      variants must first be obtained in some way or other. Approaches that have been taken to modeling
                      pronunciation variation can be roughly divided into pronunciation variants derived from a corpus
                      of pronunciation data or from pre-specified phonological rules based on linguistic knowledge
                      (Strik and Cucchiarini 1999). Both have their pros and cons. For instance, the information from
                      linguistic literature is not exhaustive; many processes that occur in real speech are yet to be
                      described. On the other hand, the problem with an approach that employs data to access
                      information is that it is extremely difficult to extract reliable information from the data.”

                      Wester2, at 100.

                      “In the following section, the speech material is described. This is followed by a description of the
                      standard set-up of the two recognition systems: the ICSI hybrid ANN/HMM speech recognition
                      system (Bourlard and Morgan 1993) and the Phicos recognition system (Steinbiss et al. 1993). In
                      section 3, the baseline results of the two systems are presented. Next, a description is given of how
                      the various lexica pertaining to pronunciation modeling are created: the knowledge-based approach
                      to generating new pronunciations and the data-derived approach to pronunciation modeling. In
                      Section 5, an extended description of the confusability metric, proposed in Wester and Fosler-
                      Lussier (2000), is given. This is followed by the results of recognition experiments employing the

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                      different pronunciation lexica. In section 7, comparisons are made as to which variants overlap in
                      the different lexica. Finally, we end by discussing the implications of our results and shortly
                      summarizing the most important findings of this research.”

                      Wester2, at 101-02.

                      It would be obvious to a person having ordinary skill in the art to combine Wester with Jain. Both
                      Wester and Jain are in the same field of art. A person having ordinary skill in the art would be
                      motivated to combine Wester with Jain. A person having ordinary skill in the art considering
                      Wester’s disclosure that “pronunciation variation is one of the factors which leads to less than
                      optimal performance in automatic speech recognition (ASR) systems” and “automatic
                      transcriptions are used as the starting point for generating lists of variants” would be motivated to
                      seek out a system that automatically captures a phonetic representation of pronunciation variants,
                      as disclosed by Jain. A person having ordinary skill in the art would have a reasonable expectation
                      of success in implementing Wester using the phonetic transcriptions provided by Jain because the
                      combination involves the predictable use of prior art elements according to their established
                      functions.

                      The motivation to combine these references would at least include:

                            Combining prior art elements according to known methods to yield predictable results (using
                             speaker-dependent training data to improve accuracy for a user);
                            Simple substitution of one known element for another to obtain predictable results (adding
                             additional pronunciation variants to improve accuracy of a speech recognition system);
                            Use of known technique to improve similar devices (methods, or products) in the same way
                             (using speaker-dependent pronunciation data to improve the accuracy of a speech recognition
                             system);




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                             Applying a known technique to a known device (method, or product) ready for improvement
                              to yield predictable results (using speaker-dependent pronunciation was well known in the
                              art);
                             “Obvious to try”—choosing from a finite number of identified, predictable solutions, with a
                              reasonable expectation of success (there are a finite number of known techniques to improve
                              accuracy for speech recognition systems);
                             Market forces and benefits associated with the known benefits of automatic speech
                              recognition; and
                             Teaching of prior art would have lead a POSA to combine the references to arrive at a system
                              that includes transcription data reflecting pronunciation data from a speaker.
                      Jain also discloses, expressly or inherently, the step of “approximating transcribed speech using a
                      phonemic transcription dataset associated with a speaker, to yield a language model, where the
                      phonemic transcription dataset is based on a pronunciation model of the speaker:” In Jain,
                      speaker-specific models are used to transcribe telephone speech into its phonetic subparts. A
                      POSA would further understand that the “telephone speech” is associated with a particular
                      speaker. See, e.g.,

                      “In this section, we describe the method for generating the speaker-specific models. Our speaker-
                      specific models represent utterances as sequences of phonemes rather than acoustic parameters. A
                      speaker-independent phonetic front end is used to generate the string of phonemes. For this
                      approach to work, all that is needed is that the phonetic frontend behave in a consistent manner, i.e.
                      it must produce the same (or nearly the same) string of phonemes each time the word is spoken.”

                      Jain, at 881.

                      “The following steps produce a phonetic transcription:
                      1. Data Capture: Telephone speech is sampled at 8 kHz. Unnecessary silence at the beginning and
                      end of the utterance is removed by end-point detection.


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                                  2. Feature Extraction: Seventh order RASTA features [2] are computed for every 10ms of speech
                                  using a 10ms window. This yields eight coefficients per frame.”

                                  Jain, at 881.

                                  “Another method is to force-align each phoneme string (which was generated using the template
                                  generation technique) with all the other waveforms corresponding to the same label and compute
                                  the average Viterbi score. The template with the maximum average score is selected as the word-
                                  model for that label. Table 1 shows the error rates obtained with forced-alignment. It can be seen
                                  that the error rates decreased substantially for all the 4 channels.




                                                                           ”

                                  Jain, at 882-83.

                                  “It is well known that speaker dependent systems perform better than speaker-independent
                                  systems. In several commercial products, speaker adaptation is used to adapt speaker-independent
                                  models to the current user.”

                                  Jain at 883.

17.b   incorporating, into the    Wester discloses, expressly or inherently, the step of “incorporating, into the language model,
       language model,            pronunciation probabilities associated with respective unique labels for each different
       pronunciation              pronunciation of a word, wherein the respective unique label for a most frequent word indicates a
       probabilities              special status in the language model.”
       associated with
       respective unique          Wester discloses, expressly or inherently, the step of “incorporating, into the language model,
       labels for each            pronunciation probabilities associated with respective unique labels for each different
       different                  pronunciation of a word, wherein the respective unique label for a most frequent word indicates a

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       pronunciation of a        special status in the language model.” In Wester, multiple pronunciations contain more than one
       word, wherein the         variant for words and their probabilities, which are associated with unique labels. The variants and
       respective unique         their probabilities are then incorporated into a language model. See, e.g.,
       label for a most
       frequent word             “Lexicon. The lexicon (or dictionary as it is often referred to) typically consists of the orthography
       indicates a special       of words that occur in the training material and their corresponding phonetic transcriptions. During
       status in the language    recognition, the phonetic transcriptions in the lexicon function as a constraint which defines the
       model; and                sequences of phonemes that are permitted to occur. The transcriptions can be obtained either
                                 manually or through grapheme-to-phoneme conversion.

                                 In pronunciation variation research one is usually confronted with two types of lexica: a canonical
                                 (or baseline) lexicon and a multiple pronunciation lexicon. A canonical lexicon contains the
                                 normative or standard transcriptions for the words; this is a single transcription per word. A
                                 multiple pronunciation lexicon contains more than one variant per word, for some or all of the
                                 words in the lexicon.”

                                 Wester, at 7.

                                 “Language Model. Typical recognizers use n-gram language models. An n-gram contains the
                                 prior probability of the occurrence of a word (unigram), or of a sequence of words (bigram,
                                 trigram etc.):

                                 unigram probability P(wi) (1.4)
                                 and bigram probability P(wi|wi-1) (1.5)

                                 The prior probabilities (priors) in a language model are often estimated from large amounts of
                                 training texts for which there is no corresponding acoustic material, i.e., the training texts consist
                                 of text material only. In the studies presented in this thesis, this is not the case, as the training
                                 material used to train the acoustic models is also employed to estimate the probabilities in the
                                 language model (see Section 1.5 for more information on this speech material). This makes it



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                      possible to incorporate pronunciation variation in the language models, by estimating prior
                      probabilities for the variants in the training corpus, rather than for the words.”

                      Wester, at 7.

                      “Within the search strategy, a single-pass or multi-pass search can be employed. In the work
                      presented in this thesis, only single-pass search strategies have been employed. However, it has
                      been shown that multi-pass searches can be very useful for pronunciation modeling, as this makes
                      it possible to dynamically change the lexicon. Factors such as rate of speech or type of dialect,
                      which are measured or estimated in a first pass, can be used to determine the appropriate set of
                      pronunciations to include in the lexicon. This dynamically adjusted lexicon can then be employed
                      in a second pass. Examples of pronunciation variation research in which a multi-pass approach has
                      been used are Fosler-Lussier (1999) and Lee and Wellekens (2001).”

                      Wester, at 7-8.

                      “The systems use word-based unigram and bigram language models. The lexicon is the same in
                      both systems, in the sense that it contains the orthography of the words and phone transcriptions
                      for the pronunciations. However, it differs in the sense that the ICSI lexicon also contains prior
                      probabilities for the variants of the words, whereas the Phicos lexicon does not. In the ICSI lexicon
                      the prior probabilities are distributed over all variants for a word and add up to 1.0 for each word.
                      Depending on the type of variants (knowledge-based or dataderived2) the prior probabilities are
                      distributed either equally over the variants of a word or they differ for the variants of a word as
                      they are estimated from the training data.”

                      Wester, at 9.

                      “Information about pronunciation variation can be acquired from the data itself or through (prior)
                      knowledge; also termed the data-derived and the knowledge-based approaches to modeling
                      pronunciation variation. One can classify approaches in which information is derived from
                      phonological or phonetic knowledge and/or linguistic literature (Cohen 1989; Giachin et al. 1991)
                      under knowledge-based approaches. Existing dictionaries also fit into this category (Lamel and

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                      Adda 1996; Roach and Arnfield 1998). In contrast, data-derived approaches include methods in
                      which manual transcriptions of the training data are employed to obtain information (Riley et al.
                      1999; Saraclar et al. 2000), or automatic transcriptions are used as the starting point for generating
                      lists of variants (Fosler-Lussier 1999; Wester and Fosler-Lussier 2000).”

                      Wester, at 13.

                      “The options for incorporating the information into the ASR system are determined by the manner
                      in which the variants are obtained. Using theoretical phonological rules limits the possibilities one
                      has to merely adding variants, whereas a manual or good quality automatic transcription allows for
                      more options. In the studies presented in this thesis both major approaches to obtaining variants
                      have been used. In Kessens, Wester, and Strik (1999a) (publication 1), a knowledge based
                      approach to obtaining pronunciation variants for Dutch is investigated. In Wester (2001)
                      (publication 3), in addition to the knowledge-based approach, a data-derived approach is studied.
                      In this study, a comparison is also made between the two approaches by analyzing the degree of
                      overlap between the different lexica they produce.”

                      Wester, at 13.

                      “After the pronunciation variants are obtained, the next question that must be addressed is how the
                      information should be incorporated into the ASR system. There are different levels at which this
                      problem can be addressed. In Strik and Cucchiarini (1999) a distinction was made among
                      incorporating information on pronunciation variation in the lexicon, the acoustic models and the
                      language models. In the following sections, pronunciation modeling at each of these levels is
                      discussed. First, adding variants to the lexicon is addressed. This is followed by a discussion of
                      lexical confusability, which is an issue that is closely linked to modeling pronunciation variation in
                      the lexicon. Next, the role of forced alignment in pronunciation modeling is explained, before
                      discussing how pronunciation variation can be incorporated in the acoustic models and how the
                      language models are employed in pronunciation modeling. The final issue that is addressed in this
                      section is the use of articulatory-acoustic features in pronunciation modeling.”



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                      Wester, at 13-14.

                      “As speech recognizers make use of a lexicon, pronunciation variation is often modeled at the
                      level of the lexicon. Variation that occurs within a word can be dealt with in the lexicon by adding
                      variants of the words to the lexicon. Variants of a single word are different phonetic transcriptions
                      of one and the same word; i.e., substitutions, insertions and deletions of phones in relation to the
                      base-form variant. This type of variation is within-word variation. However, in continuous speech
                      a lot of variation occurs over word boundaries. This is referred to as cross-word variation. Cross-
                      word variation can, to a certain extent, be dealt with in the lexicon by adding sequences of words
                      which are treated as one entity, i.e., multi-words. The variation in pronunciation that occurs due to
                      cross-word variation is modeled by adding variants of the multi-words to the lexicon (Sloboda and
                      Waibel 1996; Fosler-Lussier and Williams 1999). An alternative method for modeling cross-word
                      variation in the lexicon is described in Cremelie and Martens (1999): the cross-word variants are
                      coded in the lexicon in such a way that during recognition only compatible variants can be
                      interconnected. The importance of cross-word variation modeling was illustrated in Yang and
                      Martens (2000) (the follow-up study to Cremelie and Martens (1999)) which shows that almost all
                      the gain (relative improvement of 45% in WER over baseline performance) in their method is due
                      to modeling cross-word variation.”

                      Wester, at 14.

                      “Incorporating pronunciation variation in the language model can be carried out by estimating the
                      probabilities of the variants instead of the probabilities of the words. This is of course only
                      possible if the pronunciation variants are transcribed in the training material, and the language
                      models are trained on this material. An intermediate level of modeling pronunciation variation in
                      the language model is possible in the form of word classes. In particular, this approach is taken to
                      deal with processes of cross-word variation such as liaisons in French (Brieussel-Pousse and
                      Perennou 1999).”

                      Wester at 16.



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                      “Many studies (Cohen 1989; Yang and Martens 2000; Ma et al. 1998; Fosler-Lussier 1999) have
                      shown that probabilities of the variants (or probabilities of rules) play an important role in whether
                      an approach to modeling pronunciation variation is successful or not. Prior probabilities of the
                      variants can be incorporated in the language model or in the lexicon, depending on the type of
                      recognizer that is being used.”

                      Wester at 17.

                      “Incorporating variants in the language model is an integral part of the method for modeling
                      pronunciation variation reported in (Kessens, Wester, and Strik 1999a) (publication 1). This
                      approach is necessary as in the Phicos recognition system incorporating priors for the variants in
                      the system is only possible through the language model. Incorporating priors for variants in the
                      ICSI system is possible in the lexicon, thus obviating the need for priors of variants in the language
                      model. Experiments investigating the effect of including or excluding priors during recognition are
                      reported in Wester (2001) (publication 3).”

                      Wester at 17.

                      “The main goal of the research presented in this thesis was to improve the performance of Dutch
                      ASR. Statistically significant improvements in WER were found, both for the knowledge-based
                      and data-derived approaches (Kessens et al. 1999a; Wester 2001). The results presented in
                      publication 1 and 3 show that in order to obtain significant improvements in WERs, prior
                      probabilities for the variants should be incorporated in the recognition process in addition to
                      adding variants to the lexicon.”

                      Wester, at 32.

                      “In publication 1, another of our objectives was formulated as follows: ‘Our long-term goal is to
                      find the set of rules which is optimal for modeling pronunciation variation.’ It is difficult to
                      conclude whether this goal has been reached or not. It is possible that in the course of the research
                      carried out for this thesis the optimal set of variants for the VIOS data was found. However, if that
                      is the case, it went unnoticed, as we implicitly assumed that performing recognition with the

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                      optimal set of variants would lead to lower WERs. In Section 1.7.1, I argued that the reason for the
                      lack of improvement in WER is because conditional probabilities are not taken into account in a
                      static lexicon. Therefore, it could be the case that we have the correct set of variants to describe the
                      pronunciation variation present in the VIOS material, but that this is not reflected in the WERs
                      because of lexical confusability.”

                      Wester, at 32.

                      “In Section 1.7, lexical confusability, phone transcriptions, and the beads-on-a-string paradigm
                      were presented as shortcomings of the segmental approach to modeling pronunciation variation.
                      This may give the impression that there is no future for pronunciation modeling. However, the
                      outlook for pronunciation modeling is not quite that bleak. It is my impression that the future of
                      pronunciation modeling should lie in employing different levels of linguistic information to predict
                      and model the variation present in the speech material. This section gives a few examples of how
                      this can be achieved in pronunciation modeling.”

                      Wester at 32-33.

                      “The results presented in publication 3 of this thesis show that simply adding a great deal of
                      variants to the lexicon leads to a deterioration in WER. Therefore, prior probabilities are included
                      in the decoding process. In Section 1.7.1, it was argued that although prior probabilities are
                      important to include in the recognition process they do not suffice for modeling pronunciation
                      variation and that conditional probabilities are possibly the key to reducing WERs.”

                      Wester, at 33.

                      In addition, to the extent that Wester does not incorporate Kessens by reference, as previously
                      discussed with respect to limitation 17.a, which is hereby incorporated by reference, it would be
                      obvious to a person having ordinary skill in the art to combine Wester with Kessens.

                      Kessens also discloses, expressly or inherently, the step of “incorporating, into the language
                      model, pronunciation probabilities associated with respective unique labels for each different

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                      pronunciation of a word, wherein the respective unique label for a most frequent word indicates a
                      special status in the language model:” In Kessens, pronunciation variations are modeled with their
                      associated probabilities, which are associated with unique labels. The pronunciation variants and
                      their probabilities are then incorporated into a language model. See, e.g.,

                      “The present research concerns the continuous speech recognition component of a spoken dialog
                      system called OVIS (Strik et al., 1997). OVIS is employed to automate part of an existing Dutch
                      public transport information service. A large number of telephone calls of the on-line version of
                      OVIS have been recorded and are stored in a database called VIOS. The speech material consists
                      of interactions between man and machine. The data clearly show that the manner in which people
                      speak to OVIS varies, ranging from using hypoarticulated speech to hyper-articulated speech. As
                      pronunciation variation degrades the performance of a continuous speech recognizer (CSR) - if it
                      is not properly accounted for - solutions must be found to deal with this problem. We expect that
                      by explicitly modeling pronunciation variation some of the errors introduced by the various ways
                      in which people address the system will be corrected. Hence, our ultimate aim is to develop a
                      method for modeling Dutch pronunciation variation which can be used to tackle the problem of
                      pronunciation variation for Dutch CSRs.”

                      Kessens, at 194.

                      “Our experiments showed that modeling within-word pronunciation variation in the lexicon
                      improves the CSR’s performance. However, in continuous speech there is also a lot of variation
                      which occurs over word boundaries. For modeling crossword variation, various methods have been
                      tested in the past (see e.g. Cremelie and Martens, 1998; Perennou and Brieussel-Pousse, 1998;
                      Wiseman and Downey, 1998). In our previous research (Kessens and Wester, 1997), we showed
                      that adding multi-words (i.e. sequences of words) and their variants to the lexicon can be
                      beneficial. Therefore, we decided to retain this approach in the current research. However, we also
                      tested a second method for modeling cross-word variation. For this method, we selected from the
                      multi-words the set of words which are sensitive to the cross-word processes that we focus on;
                      cliticization, reduction and contraction (Booij, 1995). Next, the variants of these words are added



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                      to the lexicon. In other words, in this approach no multi-words (or their variants) are added to the
                      lexicon.”

                      Kessens, at 195.

                      “In this paper, we propose a general procedure for modeling pronunciation variation. This
                      procedure affects all three levels of the CSR at which modeling can take place: i.e. the lexicon, the
                      phone models and the language models (Strik and Cucchiarini, 1998). Table 1 shows at which
                      levels pronunciation variation can be incorporated in the recognition process, and the different test
                      conditions which are used to measure the effect of adding pronunciation variation. In the
                      abbreviations used in Table 1, the first letter indicates which type of recognition lexicon was used;
                      either a lexicon with single (S) or multiple (M) pronunciations per word. The second letter
                      indicates whether single (S) or multiple (M) pronunciations per word were present in the corpus
                      used for training the phone models. The third letter indicates whether the language model was
                      based on words (S) or on the pronunciation variants of the words (M).”

                      Kessens, at 195.




                      Kessens, at 195.

                      “In the third step, the language model is altered. To calculate the baseline language model the
                      orthographic representation of the words in the training corpus is used. Because there is only one
                      variant per word this suffices. However, when a multiple pronunciation lexicon is used during
                      recognition and the language model is trained on the orthographic representation of the words, all
                      variants of the same word will have equal a priori probabilities (this probability is determined by
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                      the language model). A drawback of this is that a sporadically occurring variant may have a high a
                      priori probability because it is a variant of a frequently occurring word, whereas the variant should
                      have a lower a priori probability on the basis of its occurrence. Consequently, the variant may be
                      easily confused with other words in the lexicon. A way of reducing this confusability is to base the
                      calculation of the language model on the phone transcription of the words instead of on the
                      orthographic transcription, i.e. on the basis of the phone transcriptions of the corpus obtained
                      through forced recognition. A recognition test is performed using this language model, the multiple
                      pronunciation lexicon and the updated phone models (test condition: MMM).”

                      Kessens, at 197.

                      “The general procedure, described above, was employed to model within-word pronunciation
                      variation. Pronunciation variants were automatically generated by applying a set of optional
                      phonological rules for Dutch to the transcriptions in the baseline lexicon. The rules were applied to
                      all words in the lexicon wherever it was possible and in no specific order, using a script in which
                      the rules and conditions were specified. All of the variants generated by the script were added to
                      the baseline lexicon, thus creating a multiple pronunciation lexicon. We modeled within-word
                      variation using five optional phonological rules concerning: /n/-deletion, /r/-deletion, /t/-deletion,
                      /@/-deletion and /@/-insertion (SAMPA 2-notation is used throughout this article). These rules
                      were chosen according to the following four criteria.”

                      Kessens, at 197.

                      Wester discloses, expressly or inherently, the step of “incorporating, into the language model,
                      pronunciation probabilities associated with respective unique labels for each different
                      pronunciation of a word, wherein the respective unique label for a most frequent word indicates
                      a special status in the language model:” In Wester, the most frequently occurring words and
                      variants are selected, and given a special status. See, e.g.,

                      “An oft mentioned advantage of articulatory-acoustic (phonological) features in speech recognition
                      is that these features are better suited for pronunciation modeling than a purely phone-based
                      approach. Few studies, however, have investigated whether this claim is justified or not. In a recent

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                      study (Lee and Wellekens 2001) an approach to modeling pronunciation variation was described in
                      which articulatory-acoustic features are used. Lee’s approach consists of generating a multiple
                      variant static lexicon during training, which is dynamically adjusted during recognition. The
                      information used to generate pronunciation variants is obtained by extracting features from the
                      speech signal (using an approach similar to King and Taylor (2000)). The features are mapped to
                      phones which are then connected to each other to build a pronunciation network. All possible
                      pronunciations are generated from the network and the output is smoothed by a two-pass forced
                      recognition. The remaining variants are stored in the static lexicon. During recognition this static
                      lexicon is adjusted per utterance. Articulatory-acoustic features are extracted from the test
                      material, mapped to phones, and used to select those entries from the static lexicon that best match
                      the phonetic characteristics of a given speech signal. The selected entries constitute the dynamic
                      lexicon, which is used for recognition. A 16% relative reduction in WER was found on TIMIT
                      (Lamel et al. 1986) compared to their baseline system.”

                      Wester, at 17.

                      In addition, to the extent that Wester does not incorporate Wester2 by reference, as previously
                      discussed with respect to limitation 17.a, which is hereby incorporated by reference, it would be
                      obvious to a person having ordinary skill in the art to combine Wester with Wester2.

                      Wester2 also discloses, expressly or inherently, the step of “incorporating, into the language
                      model, pronunciation probabilities associated with respective unique labels for each different
                      pronunciation of a word, wherein the respective unique label for a most frequent word indicates
                      a special status in the language model:” In Wester2, the most frequently occurring words and
                      variants are selected, and given a special status. See, e.g.,

                      “Many studies (e.g. Cohen (1989, Yang and Martens (2000, Ma et al. (1998)) have found that
                      probabilities of the variants (or probabilities of rules) play an important role in whether an
                      approach to modeling pronunciation variation is successful or not. In this study, this was once
                      again shown by comparing results between Phicos and the ICSI system in §6.2. Not including
                      priors in the ICSI system and not incorporating variants in the language model for Phicos showed
                      significant deteriorations, whereas including probabilities showed significant improvements over

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                      the baseline. Yet if we are to relate this to the findings of McAllaster et al. (1998) and Saraclar et
                      al. (2000): if one can accurately predict word pronunciations in a certain test utterance the
                      performance should improve substantially, we must conclude that estimating the priors for a whole
                      lexicon is not optimal. The point is that a good estimation of priors is probably a conditional
                      probability with speaker, speaking mode, speaking rate, subject, etc. as conditionals. Some of these
                      factors can be dealt with in a two-pass scheme by rescoring n-best lists as the pronunciation
                      models in Fosler-Lussier (1999) showed; however, the gains found in this study remain small as it
                      is extremely difficult to accurately estimate the conditionals.”

                      Wester2, at 119.

                      In addition, to the extent that Wester does not incorporate Kessens by reference, as previously
                      discussed with respect to limitation 17.a, which is hereby incorporated by reference, it would be
                      obvious to a person having ordinary skill in the art to combine Wester with Kessens.

                      Kessens also discloses, expressly or inherently, the step of “incorporating, into the language
                      model, pronunciation probabilities associated with respective unique labels for each different
                      pronunciation of a word, wherein the respective unique label for a most frequent word indicates
                      a special status in the language model:” In Kessens, the 50 most frequently occurring word
                      sequences are selected, and given a special status. See, e.g.,

                      “The first step in cross-word method 1 consisted of selecting the 50 most frequently occurring
                      word sequences from our training material. Next, from those 50 word sequences we chose those
                      words which are sensitive to the cross-word processes cliticization, contraction and reduction. This
                      led to the selection of seven words which made up 9% of all the words in the training corpus (see
                      Table 2). The variants of these words were added to the lexicon and the rest of the steps of the
                      general procedure were carried out (see Section 2.2). Table 2 shows the selected words (column 1),
                      the total number of times the word occurs in the training material (column 2), their baseline
                      transcriptions (column 3) and their added cross-word variants (column 4).”

                      Kessens, at 199.


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                    Invalidity Claim Chart for U.S. Patent No. 8,532,993 (’993 patent)
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                                  “For all methods, the best results are obtained when pronunciation variants are used during training
                                  and recognition, and when they are added to the language model (MMM). All methods lead to an
                                  improvement in the CSR’s performance when their results are compared to the result of the
                                  baseline (SSS). These improvements are summed up in Table 5. Modeling within-word variation
                                  in isolation gives a significant improvement of 0.68%, and in combination with cross-word method
                                  2, the improvement is also significant.”

                                  Kessens, at 204.

17.c   after incorporating the    Wester discloses, expressly or inherently, the step of “after incorporating the pronunciation
       pronunciation              probabilities into the language model, recognizing an utterance using the language model:” Wester
       probabilities into the     discloses testing the recognizer with these techniques as well as the resulting performance
       language model,            disclosed. See, e.g.,
       recognizing an
       utterance using the        “Using the methods for modeling cross-word pronunciation variation, a total improvement of
       language model.            0.16% was found for cross-word method 1, and 0.30% for cross-word method 2. A combination of
                                  modeling within-word and cross-word pronunciation variation leads to a total improvement of
                                  0.61% for method 1, and a total improvement of 1.12% for crossword method 2. However, a great
                                  deal of the improvement for cross-word method 2 is due to adding multi-words (0.34%). We also
                                  investigated whether the sum of the improvements for the cross-word methods tested in isolation is
                                  comparable to the improvement obtained when testing combinations of the methods, and found
                                  that this is not the case. For crossword method 1, the sum of the methods in isolation gives better
                                  results than using the methods in combination, whereas for cross-word method 2, the combination
                                  leads to larger improvements than the sum of the results in isolation.”

                                  Wester, at 20-21.

                                  “To further understand the results that were found, we carried out a partial error analysis in which
                                  the utterances recognized with the baseline system were compared to those recognized with the
                                  experimental condition in which pronunciation variation was incorporated at all levels for a
                                  combination of within-word variants and cross-word variants modeled by multiwords. This error
                                  analysis showed that 14.7% of the recognized utterances changed, whereas a net improvement of

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                                 Invalidity Claim Chart for U.S. Patent No. 8,532,993 (’993 patent)
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                      only 1.3% in the sentence error rate was found (and 1.12% in the WER). Thus, the WER only
                      reflects the net result obtained, and our error analysis showed that this is only a fraction of what
                      actually happens due to applying our methods.”

                      Wester, at 21.

                      “To summarize, we obtained the best results when within-word pronunciation variation and cross-
                      word pronunciation variation using multi-words were modeled in combination, and all the steps of
                      the general procedure had been carried out. Using only five phonological rules and 22 multi-
                      words, a relative improvement of 8.8% was found (12.75% -11.63%).”

                      Wester, at 21.

                      “The main goal of the research presented in this thesis was to improve the performance of Dutch
                      ASR. Statistically significant improvements in WER were found, both for the knowledge-based
                      and data-derived approaches (Kessens et al. 1999a; Wester 2001). The results presented in
                      publication 1 and 3 show that in order to obtain significant improvements in WERs, prior
                      probabilities for the variants should be incorporated in the recognition process in addition to
                      adding variants to the lexicon.”

                      Wester, at 32.

                      “In publication 1, another of our objectives was formulated as follows: ‘Our long-term goal is to
                      find the set of rules which is optimal for modeling pronunciation variation.’ It is difficult to
                      conclude whether this goal has been reached or not. It is possible that in the course of the research
                      carried out for this thesis the optimal set of variants for the VIOS data was found. However, if that
                      is the case, it went unnoticed, as we implicitly assumed that performing recognition with the
                      optimal set of variants would lead to lower WERs. In Section 1.7.1, I argued that the reason for the
                      lack of improvement in WER is because conditional probabilities are not taken into account in a
                      static lexicon. Therefore, it could be the case that we have the correct set of variants to describe the




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                      pronunciation variation present in the VIOS material, but that this is not reflected in the WERs
                      because of lexical confusability.”

                      Wester, at 32.

                      “In Section 1.7, lexical confusability, phone transcriptions, and the beads-on-a-string paradigm
                      were presented as shortcomings of the segmental approach to modeling pronunciation variation.
                      This may give the impression that there is no future for pronunciation modeling. However, the
                      outlook for pronunciation modeling is not quite that bleak. It is my impression that the future of
                      pronunciation modeling should lie in employing different levels of linguistic information to predict
                      and model the variation present in the speech material. This section gives a few examples of how
                      this can be achieved in pronunciation modeling.”

                      Wester at 32-33.

                      “The objective of retraining the acoustic models on the basis of the output of forced alignment is
                      not only to obtain more accurate acoustic models but also to achieve a better match between the
                      multiple pronunciation lexicon and the acoustic models used during recognition. In various studies
                      improvements in recognition results were found after retraining the acoustic models (Sloboda and
                      Waibel 1996; Riley et al. 1999). However, in some studies no difference in performance was
                      measured (Holter and Svendsen 1999), or even a deterioration was found (Beulen et al. 1998).
                      Strik and Cucchiarini (1999) mention that these retranscriptionretraining steps can be iterated, and
                      Saraclar (2000) and Kessens et al. (1999b) demonstrate that most of the gain is found as a result of
                      the first iteration.”

                      Wester, at 16.

                      “In order to achieve this objective, we proposed a general procedure for modeling pronunciation
                      variation. This procedure affects all three levels of the CSR at which modeling can take place: i.e.
                      the lexicon, the phone models and the language model (Strik and Cucchiarini 1999). This means
                      that variants were added to the lexicon and language models, and that the phone models were


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                      retrained on a retranscription of the training material obtained through forced alignment. The
                      general procedure was employed to model within-word variation as well as cross-word variation.”

                      Wester, at 20.

                      “The main results that we found are the following. The baseline system WER is 12.75%. For the
                      within-word method, adding pronunciation variants to the lexicon leads to an improvement of
                      0.31% compared to the baseline. When, in addition, retrained phone models are used, a further
                      improvement of 0.22% is found, and finally, incorporating variants into the language model leads
                      to a further improvement of 0.15%. In total, a small but statistically significant improvement of
                      0.68% was found for modeling within-word pronunciation variation.”

                      Wester, at 20.

                      “The results presented in publication 3 of this thesis show that simply adding a great deal of
                      variants to the lexicon leads to a deterioration in WER. Therefore, prior probabilities are included
                      in the decoding process. In Section 1.7.1, it was argued that although prior probabilities are
                      important to include in the recognition process they do not suffice for modeling pronunciation
                      variation and that conditional probabilities are possibly the key to reducing WERs.”

                      Wester, at 33.

                      In addition, to the extent that Wester does not incorporate Kessens by reference, as previously
                      discussed with respect to limitation 17.a, which is hereby incorporated by reference, it would be
                      obvious to a person having ordinary skill in the art to combine Wester with Kessens.

                      Kessens also discloses, expressly or inherently, the step of “after incorporating the pronunciation
                      probabilities into the language model, recognizing an utterance using the language model:”
                      Kessens discloses testing the recognizer with these techniques as well as the resulting performance
                      disclosed. See, e.g.,




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                      Kessens, at 201.

                      “As was explained in Section 2.5, two processes play a role when using multi-words to model
                      cross crossword pronunciation variation, i.e., firstly, adding the multi-words and, secondly, adding
                      variants of the multi-words. To measure the effect of only adding the multi-words (without
                      variants), the experiments for within-word variation were repeated with the multi-words added to
                      the lexicon and the language model. Row 5 in Table 4 (within + multi) shows the results of these
                      experiments. The effect of the multi-words can be seen by comparing these results to the results of
                      the withinword method (row 2 in Table 4). The comparison clearly shows that adding multi-words
                      to the lexicon and the language model leads to improvements for all conditions. The improvements
                      range from 0.34% to 0.41% for the different conditions.”

                      Kessens, at 202.

                      “In row 6 (within + cross 1) and row 7 (within + cross 2) of Table 4, the results of combining the
                      within-word method with the two cross-word methods are shown. It can be seen that adding
                      variants to the lexicon improves the CSR’s performance by 0.05% and 0.04% for cross-word
                      methods 1 and 2, respectively (SSS ^ MSS, SSS* ^ MSS). Using retrained phone models (MSS ^
                      MMM) improves the WER by another 0.12% for cross-word method 1, and 0.07% for cross-word
                      method 2. Finally, the improvements are largest when the pronunciation variants are used in the



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                      language model too (MMM). For cross-word method 1, a further improvement of 0.44% is found
                      compared to MMS, and for cross-word method 2, an even larger improvement of 0.67% is found.”

                      Kessens, at 202.

                      “For the combination of the within-word method with cross-word method 1, a total improvement
                      of 0.61% is found for the test condition MMM compared to the baseline (SSS). For the same test
                      condition, the combination of the within-word method with cross-word method 2 leads to a total
                      improvement of 0.78% compared to the SSS* condition.”

                      Kessens, at 202.

                      “For all methods, the best results are obtained when pronunciation variants are used during training
                      and recognition, and when they are added to the language model (MMM). All methods lead to an
                      improvement in the CSR’s performance when their results are compared to the result of the
                      baseline (SSS). These improvements are summed up in Table 5. Modeling within-word variation
                      in isolation gives a significant improvement of 0.68%, and in combination with cross-word method
                      2, the improvement is also significant.”

                      Kessens, at 204.

                      “Up until now we have only presented our results in terms of WER (as is done in most studies).
                      WERs give an indication of the net change in the performance of one CSR compared to another
                      one. However, they do not provide more detailed information on how the recognition results of the
                      two CSRs differ. Since this kind of detailed information is needed to gain more insight, we carried
                      out a partial error analysis. To this end, we compared the utterances recognized with the baseline
                      test to those recognized with our best test (MMM for within + cross 2 in Table 4). For the moment,
                      we have restricted our error analysis to the level of the whole utterance, mainly for practical
                      reasons. In the near future, we plan to do it at the word level too.”

                      Kessens, at 204.



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                    Invalidity Claim Chart for U.S. Patent No. 8,532,993 (’993 patent)
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                      “In this research, we attempted to model two types of variation: within-word variation and cross-
                      word variation. To this end, we used a general procedure in which pronunciation variation was
                      modeled at the three different levels in the CSR: the lexicon, the phone models and the language
                      model. We found that the best results were obtained when all of the steps of the general procedure
                      were carried out, i.e. when pronunciation variants were incorporated at all three levels. Below, the
                      results of incorporating pronunciation variants at all three levels are successively discussed.”

                      Kessens, at 205.

                      “In the third step, pronunciation variants were also incorporated at the level of the language model
                      (MMS ^ MMM), which is beneficial to all methods. Moreover, the effect of adding variants to the
                      language model is much larger for the crossword methods than for the within-word method. This is
                      probably due to the fact that many recognition errors introduced in the first step (see above) are
                      corrected when variants are also included in the language model. When cross-word variants are
                      added to the lexicon (step 1), short sequences of only one or two phones long (like e.g. the phone
                      /k/) can easily be inserted, as was argued above. The output of forced recognition reveals that the
                      cross-word variants occur less frequently than the canonical pronunciations present in the baseline
                      lexicon: on average in about 13% of the cases for cross-word method 1, and 9% for cross-word
                      method 2. In the language model with cross-word variants included, the probability of these cross-
                      word variants is thus lower than in the original language model and, consequently, it is most likely
                      that they will be inserted less often.”

                      Kessens, at 205.

                      “To summarize, we obtained the best results when within-word pronunciation variation and cross-
                      word pronunciation variation using multiword were modeled in combination, and all the steps of
                      the general procedure had been carried out. Using only five phonological rules and 22 multi-words
                      a relative improvement of 8.8% was found (12.75%-11.63%).”

                      Kessens, at 207.



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Claim 19
19     The computer-            As discussed above with respect to claim 17, Wester, either by itself, or in combination with
       readable storage         Steinbiss, discloses, expressly or inherently, the computer-readable storage device of claim 17.
       device of claim 17,      See supra claim [17], which is incorporated by reference herein.
       wherein the language
       model is generated by    Wester discloses, expressly or inherently, a “language model [that] is generated by modeling
       modeling                 pronunciation dependencies across word boundaries.” Wester describes using “cross-word
       pronunciation            processes” as part of the pronunciation variations it accounts for in the language model. See, e.g.,
       dependencies across
       word boundaries.         “Incorporating pronunciation variation in the language model can be carried out by estimating the
                                probabilities of the variants instead of the probabilities of the words. This is of course only
                                possible if the pronunciation variants are transcribed in the training material, and the language
                                models are trained on this material. An intermediate level of modeling pronunciation variation in
                                the language model is possible in the form of word classes. In particular, this approach is taken to
                                deal with processes of cross-word variation such as liaisons in French (Brieussel-Pousse and
                                Perennou 1999).”

                                Wester, at 16.

                                “In order to achieve this objective, we proposed a general procedure for modeling pronunciation
                                variation. This procedure affects all three levels of the CSR at which modeling can take place: i.e.
                                the lexicon, the phone models and the language model (Strik and Cucchiarini 1999). This means
                                that variants were added to the lexicon and language models, and that the phone models were
                                retrained on a retranscription of the training material obtained through forced alignment. The
                                general procedure was employed to model within-word variation as well as cross-word variation.”

                                Wester, at 20.

                                “A limited number of cross-word processes were modeled, using two different techniques. The
                                type of cross-word processes we focussed on were cliticization, reduction and contraction (Booij
                                1995). The first technique consisted of modeling cross-word processes by adding the cross-word

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                               Invalidity Claim Chart for U.S. Patent No. 8,532,993 (’993 patent)
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                      variants directly to the lexicon (cross-word method 1), and in the second approach this was done
                      by using multi-words (cross-word method 2). These cross-word approaches were each tested in
                      isolation and in combination with the set of within-word variants (all five rules).”

                      Wester, at 20.

                      “Using the methods for modeling cross-word pronunciation variation, a total improvement of
                      0.16% was found for cross-word method 1, and 0.30% for cross-word method 2. A combination of
                      modeling within-word and cross-word pronunciation variation leads to a total improvement of
                      0.61% for method 1, and a total improvement of 1.12% for crossword method 2. However, a great
                      deal of the improvement for cross-word method 2 is due to adding multi-words (0.34%).”

                      Wester, at 20.

                      “The main goal of the research presented in this thesis was to improve the performance of Dutch
                      ASR. Statistically significant improvements in WER were found, both for the knowledge-based
                      and data-derived approaches (Kessens et al. 1999a; Wester 2001). The results presented in
                      publication 1 and 3 show that in order to obtain significant improvements in WERs, prior
                      probabilities for the variants should be incorporated in the recognition process in addition to
                      adding variants to the lexicon.”

                      Wester, at 32.

                      “In publication 1, another of our objectives was formulated as follows: ‘Our long-term goal is to
                      find the set of rules which is optimal for modeling pronunciation variation.’ It is difficult to
                      conclude whether this goal has been reached or not. It is possible that in the course of the research
                      carried out for this thesis the optimal set of variants for the VIOS data was found. However, if that
                      is the case, it went unnoticed, as we implicitly assumed that performing recognition with the
                      optimal set of variants would lead to lower WERs. In Section 1.7.1, I argued that the reason for the
                      lack of improvement in WER is because conditional probabilities are not taken into account in a
                      static lexicon. Therefore, it could be the case that we have the correct set of variants to describe the


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                    Invalidity Claim Chart for U.S. Patent No. 8,532,993 (’993 patent)
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                      pronunciation variation present in the VIOS material, but that this is not reflected in the WERs
                      because of lexical confusability.”

                      Wester, at 32.

                      In addition, to the extent that Wester does not incorporate Kessens by reference, as previously
                      discussed with respect to limitation 17.a, which is hereby incorporated by reference, it would be
                      obvious to a person having ordinary skill in the art to combine Wester with Kessens.

                      Kessens also discloses, expressly or inherently, a “language model [that] is generated by modeling
                      pronunciation dependencies across word boundaries.” Kessens describes using “cross-word
                      variants,” which Wester integrates into the language model. See, e.g.,

                      “This article describes how the performance of a Dutch continuous speech recognizer was
                      improved by modeling pronunciation variation. We propose a general procedure for modeling
                      pronunciation variation. In short, it consists of adding pronunciation variants to the lexicon,
                      retraining phone models and using language models to which the pronunciation variants have been
                      added. First, within-word pronunciation variants were generated by applying a set of five optional
                      phonological rules to the words in the baseline lexicon. Next, a limited number of cross-word
                      processes were modeled, using two different methods. In the first approach, cross-word processes
                      were modeled by directly adding the cross-word variants to the lexicon, and in the second
                      approach this was done by using multi-words. Finally, the combination of the within-word method
                      with the two cross-word methods was tested. The word error rate (WER) measured for the baseline
                      system was 12.75%. Compared to the baseline, a small but statistically significant improvement of
                      0.68% in WER was measured for the within-word method, whereas both cross-word methods in
                      isolation led to small, non-significant improvements. The combination of the within-word method
                      and cross-word method 2 led to the best result: an absolute improvement of 1.12% in WER was
                      found compared to the baseline, which is a relative improvement of 8.8% in WER.”

                      Kessens, at Abstract.



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                      “In this research, we attempted to model two types of variation: within-word variation and cross-
                      word variation. To this end, we used a general procedure in which pronunciation variation was
                      modeled at the three different levels in the CSR: the lexicon, the phone models and the language
                      model. We found that the best results were obtained when all of the steps of the general procedure
                      were carried out, i.e. when pronunciation variants were incorporated at all three levels. Below, the
                      results of incorporating pronunciation variants at all three levels are successively discussed.”

                      Kessens, at 205.

                      “In the first step, variants were only incorporated at the level of the lexicon. Compared to the
                      baseline (SSS ^ MSS), an improvement was found for the within-word method and for the within-
                      word method in combination with each of the two crossword methods. However, a deterioration
                      was found for the two cross-word methods in isolation. A possible explanation for the deterioration
                      for cross-word method 1 is related to the fact that the pronunciation variants of cross-word method
                      1 are very short (see Table 2); some of them consist of only one phone. Such short variants can
                      easily be inserted; for instance, the plosives /k/ and /t/ might occasionally be inserted at places
                      where clicks in the signal occur. Furthermore, this effect is facilitated by the high frequency of
                      occurrence of the words involved, i.e. they are favored by the language model. Similar things
                      might happen for cross-word method 2. Let us give an example to illustrate this: A possible variant
                      of the multi-word “ik_wil” /IkwIl/ is /kwIl/. The latter might occasionally be confused with the
                      word “wil” /wIl/. This confusion leads to a substitution, but effectively it is the insertion of the
                      phone /k/. Consequently, insertion of /k/ and other phones is also possible in cross-word method 2,
                      and this could explain the deterioration found for cross-word method 2.”

                      Kessens, at 205.

                      “When, in the second step, pronunciation variation is also incorporated at the level of the phone
                      models (MSS ^ MMS), the CSR’s performance improved in all cases, except in the case of
                      crossword method 2. A possible cause of this deterioration in performance could be that the phone
                      models were not retrained properly. During forced recognition, the option for recognizing a pause
                      between the separate parts of the multi-words was not given. As a consequence, if a pause
                      occurred in the acoustic signal of a multi-word, the pause was used to train the surrounding phone

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                      models, which results in contaminated phone models. Error analysis revealed that in 5% of the
                      cases a pause was indeed present within the multi-words in our training material. Further research
                      will have to show whether this was the only cause of the deterioration in performance or whether
                      there are other reasons why retraining phone models using multi-words did not lead to
                      improvements.”

                      Kessens, at 205.

                      “In the third step, pronunciation variants were also incorporated at the level of the language model
                      (MMS ^ MMM), which is beneficial to all methods. Moreover, the effect of adding variants to the
                      language model is much larger for the crossword methods than for the within-word method. This is
                      probably due to the fact that many recognition errors introduced in the first step (see above) are
                      corrected when variants are also included in the language model. When cross-word variants are
                      added to the lexicon (step 1), short sequences of only one or two phones long (like e.g. the phone
                      /k/) can easily be inserted, as was argued above. The output of forced recognition reveals that the
                      cross-word variants occur less frequently than the canonical pronunciations present in the baseline
                      lexicon: on average in about 13% of the cases for cross-word method 1, and 9% for cross-word
                      method 2. In the language model with cross-word variants included, the probability of these cross-
                      word variants is thus lower than in the original language model and, consequently, it is most likely
                      that they will be inserted less often.”

                      Kessens, at 205.

                      “One of the questions we posed in the introduction was what the best way of modeling crossword
                      variation is. On the basis of our results we can conclude that when cross-word variation is modeled
                      in isolation, cross-word method 2 performs better than cross-word method 1, but the difference is
                      non-significant. In combination with the within-word method, cross-word method 2 leads to an
                      improvement compared to the within-word method in isolation. This is not the case for cross-word
                      method 1, which leads to a degradation in WER. Therefore, it seems that cross-word method 2 is
                      more suitable for modeling cross-word pronunciation variation. It should be noted, however, that
                      most of the improvements gained with cross-word method 2 are due to adding the multi-words to
                      the lexicon and the language model. An explanation for these improvements is that by adding

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                      multi-words to the language model the span of the unigram and bigram increases for the most
                      frequent word sequences in the training corpus. Thus, more context information can be used during
                      the recognition process. Furthermore, it should also be noted that only a small amount of data was
                      involved in the cross-word processes which were studied; only 6-9% of the words in the training
                      corpus were affected by these processes. Therefore, we plan to test cross-word methods 1 and 2 for
                      a larger amount of data and a larger number of cross-word processes.”

                      Kessens, at 205-06.

                      “To summarize, we obtained the best results when within-word pronunciation variation and cross-
                      word pronunciation variation using multiword were modeled in combination, and all the steps of
                      the general procedure had been carried out. Using only five phonological rules and 22 multi-words
                      a relative improvement of 8.8% was found (12.75%-11.63%).”

                      Kessens, at 207.




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                                                            APPENDIX B-2
                                  Invalidity Claim Chart for U.S. Patent No. 8,532,993 (’993 patent)
          Florian Schiel, et al., Statistical Modelling of Pronunciation: It’s not the Model, It’s the Data, 1998 (“Schiel”) 1

On October 16, 2020, Nuance narrowed the asserted ’993 patent claims to 17 and 19. Nuance’s Disclosure Limiting Asserted Claims
of Phase 1 Patents. Claims 17 and 19 of the ’993 patent are anticipated and/or rendered obvious by Schiel alone or in combination with
at least the following references. The chart below discloses how prior art references identified by Omilia disclose, either expressly or
inherently, and/or render obvious each of the asserted claims:

    (1) Steinbiss et al., The Philips research system for large-vocabulary continuous-speech recognition, Proc. of 3rd European
        Conference on Speech Communication and Technology EUROSPEECH ’93, 2125-2128 (1993) (“Steinbiss”)2

    (2) Jain, et al., Creating Speaker-Specific Phonetic Templates with a Speaker-Independent Phonetic Recognizer: Implications for
        Voice Dialing, IEEE International Conference on Acoustics, Speech, and Signal Processing Conference Proceedings, 881-884
        (1996) (“Jain”)3

    (3) Kessens et al., Improving the performance of a Dutch CSR by modeling within-word and cross-word pronunciation variation,
        Speech Communication 29 (1999) 193-207 (“Kessens”)4

This invalidity claim chart is based on Omilia’s present understanding of the asserted claims, the Court’s August 6, 2020 Claim
Construction Order (ECF. No. 241), Plaintiff (“Nuance’s”) initial and all subsequent supplemental Infringement Contentions, its
Response to Omilia NLS’ Supplemental Preliminary Non-Infringement and Invalidity Contentions, its Response to Omilia NLS’
Interrogatory No. 9, and Omilia’s investigation to date. Omilia is not adopting Nuance’s apparent constructions, nor is Omilia admitting
to the accuracy of any particular construction. Omilia reserves all rights to amend this invalidity claim chart if Nuance further amends
its Infringement Contentions, or in response to any statements made by Nuance at any phase of this litigation. In addition, Discovery is
still ongoing, and Omilia reserves its right to supplement its contentions with additional evidence as discovery continues.

The citations provided are exemplary and do not necessarily include each and every disclosure of the limitation in the references. Omilia
has cited the most relevant portions of the identified prior art. Other portions of the identified prior art may additionally disclose, either

1
  Schiel was published in May 1998. Schiel is prior art under at least pre-AIA 35 U.S.C. § 102(a), and (b).
2
  Steinbiss was published in September, 1993. Steinbiss is prior art under at least pre-AIA 35 U.S.C. § 102(a), and (b).
3
  Jain was published in 1996. Jain is prior art under at least pre-AIA 35 U.S.C. § 102(a), and (b).
4
  Kessens was published in 1999. Kessens is prior art under at least pre-AIA 35 U.S.C. § 102(a), and (b).
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expressly or inherently, and/or render obvious one or more limitations of the asserted claims. To provide context or aid in understanding
the prior art and the state of the art at the time of the alleged invention, Omilia reserves the right to rely on: (1) uncited portions of the
identified prior art; (2) other prior art not identified herein; (3) references that show the state of the art (irrespective of whether such
references themselves qualify as prior art to the asserted patents); (4) factual testimony from the inventors or authors of the prior art
references, or purveyors of prior art devices; and/or (5) expert testimony.

Citations to a particular drawing or figure in the accompanying charts should be understood to include the description of the drawing or
figure, as well as any text associated with the drawing or figure. Citations to particular text concerning a drawing or figure, should also
be understood to encompass that drawing or figure as well. The identified prior art expressly and/or inherently discloses the features of
the asserted claims under all proposed constructions of the asserted claims. To establish the inherency of certain features of the prior
art to invalidate the asserted claims, Omilia may rely on cited or uncited portions of the prior art, other documents, factual testimony,
and expert testimony. To the extent that the Court finds that this reference does not explicitly teach certain limitations in the asserted
claims, such limitations would have been inherent and/or obvious and Omilia reserves the right to supplement or amend this claim chart
to address such a finding.

 ’993 Patent

 Claim 17
 17.pre A computer-readable             To the extent that the preamble is limiting, Schiel discloses, expressly or inherently,
        storage device having           “computer-readable storage device having instructions stored which, when executed on a
        instructions stored which,      processor, cause the processor to perform operations:” In Schiel, the process described was
        when executed on a              developed and implemented on the MAUS computer system using conventional computer
        processor, cause the            elements. See, e.g.,
        processor to perform
        operations comprising:          “The MAUS system was developed at the Bavarian Archive for Speech Signals (BAS) to
                                        facilitate the otherwise very time-consuming manual labelling and segmentation of speech
                                        corpora into phonetic units. Initially funded by the German government within the
                                        VERBMOBIL I project, MAUS is now further extended by BAS with the aim to automatically
                                        improve all BAS speech corpora by means of complete broad phonetic transcriptions and
                                        segmentations. The basic motivation for MAUS is the hypothesis that automatic speech
                                        recognition (ASR) of conversational speech as well as high quality 'concept-to-speech' systems



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                         will require huge amounts of carefully labelled and segmented speech data for their successful
                         progress.”

                         Schiel, at 131.

                         “Input to the MAUS system is the digitized speech wave and any kind of orthographic
                         representation that reflects the chain of words in the utterance. Optionally there might be markers
                         for non-speech events as well, but this is not essential for MAUS. The output of MAUS is a
                         sequence of phonetic/phonemic symbols from the extended German SAM Phonetic Alphabet
                         ([3]) together with the time position within the corresponding speech signal.”

                         Schiel, at 131.

                         In addition, it would be obvious to a person having ordinary skill in the art to combine Schiel
                         with Steinbiss. Both Schiel and Steinbiss are in the same field of art. A person having
                         ordinary skill in the art would be motivated to combine Schiel with Steinbiss. A person having
                         ordinary skill in the art considering Schiel would be motivated to implement the system on a
                         computer in order to construct a working system, as disclosed by Steinbiss. A person having
                         ordinary skill in the art would have a reasonable expectation of success in implementing Schiel
                         on the computer of Steinbiss because the combination involves the predictable use of prior art
                         elements according to their established functions.

                         The motivation to combine these references would at least include:

                                Combining prior art elements according to known methods to yield predictable results
                                 (using a computer to perform speech recognition using computers was well known in the
                                 art);
                                Simple substitution of one known element for another to obtain predictable results
                                 (implementing the system of Schiel on a computer, as disclosed by Steinbiss);




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                                Use of known technique to improve similar devices (methods, or products) in the same
                                 way (the technique of using a computer to perform speech recognition was known);
                                Applying a known technique to a known device (method, or product) ready for
                                 improvement to yield predictable results (using a computer to perform speech
                                 recognition using computers was well known in the art);
                                “Obvious to try”—choosing from a finite number of identified, predictable solutions,
                                 with a reasonable expectation of success (Schiel teaches that the system uses digitized
                                 speech, which can be processed using a computer);
                                Market forces and benefits associated with the known benefits of automatic speech
                                 recognition.
                         Teaching of prior art would have lead a POSA to combine the references to arrive at a speech
                         recognition implemented on a generic computer.

                         Steinbiss also discloses, expressly or inherently, “computer-readable storage device having
                         instructions stored which, when executed on a processor, cause the processor to perform
                         operations: In Steinbiss, the process described was developed and implemented using PC based
                         implementation. See, e.g.,

                         “The system has been successfully applied to the American English DARPA RM task. Here, we
                         report experimental results for a German 13 000-word Philips internal dictation task. In addition
                         to the scientific prototype, a PC version has been set up which is described here for the first
                         time.”

                         Steinbiss, at 2125.

                         “The organization of the paper is as follows. We first summarize the statistical approach to
                         speech recognition and then describe the four main entities of our system: acoustic analysis,
                         acoustic phonetic modelling, language modelling and search. A section with experiments on our


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                                    internal dictation task follows. The final section describes a PC based implementation of our
                                    system.”

                                    Steinbiss, at 2125.

                                    “8. A PC Based Continuous Speech-Recognition System for Dictation

                                    ...

                                    The system developed at Philips Dictation Systems, Vienna, and described here adopts this non-
                                    interactive approach and thus allows the person to dictate with a natural speaking style. After
                                    the speech is processed by the speech recognizer, the secretary has only to correct the recognition
                                    errors, which is both faster and a more interesting job to do.”

                                    Steinbiss, at 2128.

                                    “Speech recognition runs remotely on a PC which is connected to the network. An acoustic
                                    front-end performs the acoustic analysis. Recognition is sped up by a dedicated co-processor
                                    board containing application-specific ICs. Depending on the speaker and the specific boundary
                                    conditions, recognition with a 10 - 20 000-word vocabulary runs in 1 - 3 times real-time.”

                                    Steinbiss, at 2128.

17.a   approximating transcribed    Schiel discloses, expressly or inherently, the step of “approximating transcribed speech using a
       speech using a phonemic      phonemic transcription dataset associated with a speaker, to yield a language model, where the
       transcription dataset        phonemic transcription dataset is based on a pronunciation model of the speaker:”
       associated with a speaker,
       to yield a language model,   Schiel discloses, expressly or inherently, the step of “approximating transcribed speech using
       where the phonemic           a phonemic transcription dataset associated with a speaker, to yield a language model, where
       transcription dataset is     the phonemic transcription dataset is based on a pronunciation model of the speaker.” In
       based on a pronunciation     Schiel, a recognition system is trained using digitized speech waves that are automatically
       model of the speaker;        segmented and converted into phonetic/phonemic symbols. A POSA would further understand
                                    that the digitized speech wave is associated with a particular speaker. A POSA would further
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                             Invalidity Claim Chart for U.S. Patent No. 8,532,993 (’993 patent)
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                         understand that the process of transforming the “digitized speech wave” to “a sequence of
                         phonetic/phonemic symbols” disclosed by Schiel is “based on a pronunciation model of the
                         speaker.” See e.g.,

                         “Input to the MAUS system is the digitized speech wave and any kind of orthographic
                         representation that reflects the chain of words in the utterance. Optionally there might be markers
                         for non-speech events as well, but this is not essential for MAUS. The output of MAUS is a
                         sequence of phonetic/phonemic symbols from the extended German SAM Phonetic Alphabet
                         ([3]) together with the time position within the corresponding speech signal.”

                         Schiel, at 131.




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                         Schiel, at Fig. 1.

                         “In a first step the orthographic string of the utterance is looked up in a canonical
                         pronunciation dictionary ( e.g. PHONOLEX, see [14]) and processed into a Markov chain
                         (represented as a directed acyclic graph) containing all possible alternative pronunciations
                         using either a set of data driven microrules or using the phonetic expert system PHONRUL.”

                         Schiel, at 132.


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                         “The second stage of MAUS is a standard HMM Viterbi alignment where the search space is
                         constrained by the directed acyclic graph from the first stage (see figure 2 for an example).
                         Currently we use the HTK 2.0 as the aligner ([12]) with the following preprocessing: 12
                         MFCCs + log Energy, Delta, Delta-delta every 10 msec. Models are left-right, 3 to 5 states and
                         5 mixtures per state. No tying of parameters was applied to keep the model as sharp as
                         possible. The models were trained to manually segmented speech only (no embedded re-
                         estimation).”

                         Schiel, at 133.

                         “The outcome of the alignment is a transcript and a segmentation of 10 msec accuracy, which
                         is quite broad. Therefore in a third stage REFINE the segmentation is refined by a rule-based
                         system working on the speech wave as well as on other fine-grained features. However, the
                         third stage cannot alter the transcript itself, only the individual segment boundaries.”

                         Schiel, at 133.

                         “In terms of accuracy of segment boundaries the comparison between manual segmentations
                         shows a high agreement: on average 93% of all corresponding segment boundaries deviate less
                         than 20msec from each other. The average percentage of corresponding segment boundaries in
                         a MAUS versus a manual segmentation is only 84%. This yields a relative performance of
                         90.3%. We hope that a further improvement of the third stage of MAUS will increase these
                         already encouraging results.”

                         Schiel, at 133.

                         “We trained and tested the recogniser with the same amount of data in two different fashions:

                                Baseline System
                                 Standard bootstrapping to manually labelled data (1h40) and iterative embedded re-
                                 estimation (segmental-k-means) using 30h of speech until the performance on the
                                 independent test set converged. The re-estimation process used a canonical

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                                 pronunciation dictionary with one pronunciation per lexical entry. The system was
                                 tested with the same canonical dictionary.
                                MAUS System
                                 This system was bootstrapped to one third of the training corpus (approx. 10h of
                                 speech) using the MAUS segmentation and then iteratively re-estimated (30h of
                                 speech) using not the canonical dictionary but the transcripts of the MAUS analysis
                                 (note that the segmental information of the MAUS analysis is NOT used for the re-
                                 estimation).
                                 The system was tested with the probabilistic pronunciation model described in section
                                 2.1. using the pruning parameters N = 20 and M = 0%.”

                         Schiel, at 135.

                         In addition, it would be obvious to a person having ordinary skill in the art to combine Schiel
                         with Jain. Both Schiel and Jain are in the same field of art. A person having ordinary skill in
                         the art would be motivated to combine Schiel with Jain. A person having ordinary skill in the
                         art considering Schiel’s disclosure that it is beneficial to have multiple variants captured in the
                         training data would be motivated to seek out a system that automatically captures a phonetic
                         representation of pronunciation variants, as disclosed by Jain. A person having ordinary skill
                         in the art would have a reasonable expectation of success in implementing Schiel using the
                         phonetic transcriptions provided by Jain because the combination involves the predictable use
                         of prior art elements according to their established functions.

                         The motivation to combine these references would at least include:

                                Combining prior art elements according to known methods to yield predictable results
                                 (using speaker-dependent training data to improve accuracy for a user);
                                Simple substitution of one known element for another to obtain predictable results
                                 (adding additional pronunciation variants to improve accuracy of a speech recognition
                                 system);


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                                Use of known technique to improve similar devices (methods, or products) in the same
                                 way (using speaker-dependent pronunciation data to improve the accuracy of a speech
                                 recognition system);
                                Applying a known technique to a known device (method, or product) ready for
                                 improvement to yield predictable results (using speaker-dependent pronunciation was
                                 well known in the art);
                                “Obvious to try”—choosing from a finite number of identified, predictable solutions,
                                 with a reasonable expectation of success (there are a finite number of known techniques
                                 to improve accuracy for speech recognition systems);
                                Market forces and benefits associated with the known benefits of automatic speech
                                 recognition; and
                                Teaching of prior art would have lead a POSA to combine the references to arrive at a
                                 system that includes transcription data reflecting pronunciation data from a speaker.
                         Jain also discloses, expressly or inherently, the step of “approximating transcribed speech
                         using a phonemic transcription dataset associated with a speaker, to yield a language model,
                         where the phonemic transcription dataset is based on a pronunciation model of the
                         speaker.” In Jain, speaker-specific models are used to transcribe telephone speech into its
                         phonetic subparts. A POSA would further understand that the “telephone speech” is
                         associated with a particular speaker. See, e.g.,

                         “In this section, we describe the method for generating the speaker-specific models. Our
                         speaker-specific models represent utterances as sequences of phonemes rather than acoustic
                         parameters. A speaker-independent phonetic front end is used to generate the string of
                         phonemes. For this approach to work, all that is needed is that the phonetic frontend behave in
                         a consistent manner, i.e. it must produce the same (or nearly the same) string of phonemes
                         each time the word is spoken.”



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                         Jain, at 881.

                         “The following steps produce a phonetic transcription:
                         1. Data Capture: Telephone speech is sampled at 8 kHz. Unnecessary silence at the beginning
                         and end of the utterance is removed by end-point detection.
                         2. Feature Extraction: Seventh order RASTA features [2] are computed for every 10ms of
                         speech using a 10ms window. This yields eight coefficients per frame.”

                         Jain, at 881.

                         “Another method is to force-align each phoneme string (which was generated using the
                         template generation technique) with all the other waveforms corresponding to the same label
                         and compute the average Viterbi score. The template with the maximum average score is
                         selected as the word-model for that label. Table 1 shows the error rates obtained with forced-
                         alignment. It can be seen that the error rates decreased substantially for all the 4 channels.




                                                                   ”

                         Jain, at 882-83.

                         “It is well known that speaker dependent systems perform better than speaker-independent
                         systems. In several commercial products, speaker adaptation is used to adapt speaker-
                         independent models to the current user.”

                         Jain at 883.

                         Schiel discloses, expressly or inherently, the step of “approximating transcribed speech using a
                         phonemic transcription dataset associated with a speaker, to yield a language model, where the


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                         phonemic transcription dataset is based on a pronunciation model of the speaker.” In Schiel, a
                         recognition rule set is created using the previously-segmented digitized speech. See e.g.,

                         “The usage of direct statistics like in the previous section has the disadvantage that because of
                         lack of data most of the words will be modelled by only one variant, which in many cases will
                         be the canonical pronunciation. An easy way to generalise to less frequent words (or unseen
                         words) is to use not the statistics of the variants itself but the underlying rules that were
                         applied during the segmentation process of MAUS. Note that this has nothing to do with the
                         statistical weights of the microrules mentioned earlier in this paper; it’s the number of
                         applications of these rules that counts. Since there is formally no distinction between
                         microrules for segmentation in MAUS and probabilistic rules for recognition, we can use the
                         same format and formalism for this approach as in MAUS. The step-by-step procedure is as
                         follows:

                                Derive a set of statistical microrules from a subset of manually segmented data or use
                                 the rule set PHONRUL as labelling rule set (see section 1.).
                                Use the labelling rule set to label and segment the training corpus and count all
                                 appliances of each rule forming the statistics of the recognition rule set.
                                Apply the recognition rule set during the ASR search to all intra-word and inter-word
                                 phoneme strings to create statistically weighted alternate paths in the search space”

                         Schiel, at 134.

                         “This approach has the advantage that the statistics are more compact, independent of the
                         dictionary used for recognition (which for sure will contain words that were never seen in the
                         training set) and generalise knowledge about pronunciation to unseen cases. However, the last
                         point may be a source of uncertainty, since it cannot be foreseen whether the generalisation is
                         valid to all cases where the context matches. We cannot be sure that the context we are using is
                         sufficient to justify the usage of a certain rule in all places where this context occurs.”

                         Schiel, at 134.


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17.b   incorporating, into the     Schiel discloses, expressly or inherently, the step of “incorporating, into the language model,
       language model,             pronunciation probabilities associated with respective unique labels for each different
       pronunciation               pronunciation of a word, wherein the respective unique label for a most frequent word
       probabilities associated    indicates a special status in the language model.”
       with respective unique
       labels for each different   Schiel discloses, expressly or inherently, the step of “incorporating, into the language model,
       pronunciation of a word,    pronunciation probabilities associated with respective unique labels for each different
       wherein the respective      pronunciation of a word, wherein the respective unique label for a most frequent word
       unique label for a most     indicates a special status in the language model.” In Schiel, pronunciation probabilities are
       frequent word indicates a   associated with unique labels for different pronunciations. Those various pronunciations result
       special status in the       from a pruning process described in Schiel, which selects the most frequent words and
       language model; and         identifies a special status. See, e.g.,

                                   “Since in the MAUS output each segment is assigned to a word reference level (Partitur
                                   Format, see [13]), it is quite easy to derive all observed pronunciation variants from a corpus
                                   and collect them in a PHONOLEX ([14]) style dictionary. The analysis of the training set of
                                   the 1996 VERBMOBIL evaluation (volumes 1-5,7,12) led to a collection of approx. 230.000
                                   observations. The following shows a random excerpt of the resulting dictionary:




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                                                                 ”

                         Schiel, at 134.

                         “Obviously many of the observations are not frequent enough for a statistical parameterisation.
                         Therefore we prune the baseline dictionary in the following way:
                         • Observations with a total count of less than N per lexical item are discarded.



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                         • From the remaining observations for each lexical word L the a-posteriori probabilities P(VIL)
                         that the variant V was observed are calculated. All variants that have less than M% of the total
                         probability mass are discarded.
                         • The remaining variants are re-normalised to a total probability mass of 1.0. Applied to the
                         above example this yields the following more compact statistics (pruning parameters: N = 20,
                         M = 10):




                         where the second column contains the a-posteriori probabilities. This form can be directly used
                         in a standard ASR system with multi pronunciation dictionary like HTK (version 2.1).”

                         Schiel, at 134.

                         Schiel discloses, expressly or inherently, the step of “incorporating, into the language model,
                         pronunciation probabilities associated with respective unique labels for each different
                         pronunciation of a word, wherein the respective unique label for a most frequent word
                         indicates a special status in the language model.” In Schiel, the “recognition rule set”

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                         incorporates “the underlying rules” which includes the pronunciation probabilities described in
                         the lexicon. See, e.g.,

                         “The usage of direct statistics like in the previous section has the disadvantage that because of
                         lack of data most of the words will be modelled by only one variant, which in many cases will
                         be the canonical pronunciation. An easy way to generalise to less frequent words (or unseen
                         words) is to use not the statistics of the variants itself but the underlying rules that were
                         applied during the segmentation process of MAUS. Note that this has nothing to do with the
                         statistical weights of the microrules mentioned earlier in this paper; it’s the number of
                         applications of these rules that counts. Since there is formally no distinction between
                         microrules for segmentation in MAUS and probabilistic rules for recognition, we can use the
                         same format and formalism for this approach as in MAUS. The step-by-step procedure is as
                         follows:

                                Derive a set of statistical microrules from a subset of manually segmented data or use
                                 the rule set PHONRUL as labelling rule set (see section 1.).
                                Use the labelling rule set to label and segment the training corpus and count all
                                 appliances of each rule forming the statistics of the recognition rule set.
                                Apply the recognition rule set during the ASR search to all intra-word and inter-word
                                 phoneme strings to create statistically weighted alternate paths in the search space”

                         Schiel, at 134.

                         “This approach has the advantage that the statistics are more compact, independent of the
                         dictionary used for recognition (which for sure will contain words that were never seen in the
                         training set) and generalise knowledge about pronunciation to unseen cases. However, the last
                         point may be a source of uncertainty, since it cannot be foreseen whether the generalisation is
                         valid to all cases where the context matches. We cannot be sure that the context we are using is
                         sufficient to justify the usage of a certain rule in all places where this context occurs.”

                         Schiel, at 134.


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17.c   after incorporating the     Schiel discloses, expressly or inherently, the step of “after incorporating the pronunciation
       pronunciation               probabilities into the language model, recognizing an utterance using the language model.”
       probabilities into the      Schiel discloses testing the recognizer with these rules as well as the resulting performance
       language model,             disclosed. See, e.g.,
       recognizing an utterance
       using the language model.   “We trained and tested the recogniser with the same amount of data in two different fashions:

                                         Baseline System
                                          Standard bootstrapping to manually labelled data (1h40) and iterative embedded re-
                                          estimation (segmental-k-means) using 30h of speech until the performance on the
                                          independent test set converged. The re-estimation process used a canonical
                                          pronunciation dictionary with one pronunciation per lexical entry. The system was
                                          tested with the same canonical dictionary.
                                         MAUS System
                                          This system was bootstrapped to one third of the training corpus (approx. 10h of
                                          speech) using the MAUS segmentation and then iteratively re-estimated (30h of
                                          speech) using not the canonical dictionary but the transcripts of the MAUS analysis
                                          (note that the segmental information of the MAUS analysis is NOT used for the re-
                                          estimation).
                                          The system was tested with the probabilistic pronunciation model described in section
                                          2.1. using the pruning parameters N = 20 and M = 0%.”

                                   Schiel, at 135.

                                   “Figure 3 shows the performance of both systems during the training process. Note that the
                                   MAUS system starts with a much higher performance because it was bootstrapped to 10h of
                                   MAUS data (compared to lh40min of manually labelled data for the baseline system). After
                                   training, the MAUS system converges on a significantly higher performance level of 66.35%
                                   compared to 63.44% of the baseline svstem.”

                                   Schiel, at 135.


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                         Schiel, at Fig. 3.




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Claim 19
19     The computer-readable      As discussed above with respect to claim 17, Schiel, either by itself, or in combination as
       storage device of claim    described above, discloses, expressly or inherently, the computer-readable storage device of
       17, wherein the language   claim 17. See supra claim [17], which is incorporated by reference herein.
       model is generated by
       modeling pronunciation     Schiel discloses, expressly or inherently, a “language model [that] is generated by modeling
       dependencies across word   pronunciation dependencies across word boundaries.” Schiel describes using “inter-word
       boundaries.                phoneme strings” as part of its recognition rules. See, e.g.,

                                  “The usage of direct statistics like in the previous section has the disadvantage that because of
                                  lack of data most of the words will be modelled by only one variant, which in many cases will
                                  be the canonical pronunciation. An easy way to generalise to less frequent words (or unseen
                                  words) is to use not the statistics of the variants itself but the underlying rules that were
                                  applied during the segmentation process of MAUS. Note that this has nothing to do with the
                                  statistical weights of the microrules mentioned earlier in this paper; it’s the number of
                                  applications of these rules that counts. Since there is formally no distinction between
                                  microrules for segmentation in MAUS and probabilistic rules for recognition, we can use the
                                  same format and formalism for this approach as in MAUS. The step-by-step procedure is as
                                  follows:

                                        Derive a set of statistical microrules from a subset of manually segmented data or use
                                         the rule set PHONRUL as labelling rule set (see section 1.).
                                        Use the labelling rule set to label and segment the training corpus and count all
                                         appliances of each rule forming the statistics of the recognition rule set.
                                        Apply the recognition rule set during the ASR search to all intra-word and inter-word
                                         phoneme strings to create statistically weighted alternate paths in the search space”

                                  Schiel, at 134.

                                  In addition, it would be obvious to a person having ordinary skill in the art to combine Schiel
                                  with Kessens. Both Schiel and Kessens are in the same field of art. A person having ordinary

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                         skill in the art would be motivated to combine Schiel with Kessens. A person having ordinary
                         skill in the art considering Schiel’s disclosure recognition rules may be applied to “inter-word
                         phoneme strings” would be motivated to seek out a system that may be used to generate such
                         strings, as disclosed by Kessens. A person having ordinary skill in the art would have a
                         reasonable expectation of success in implementing Schiel using the phonetic transcriptions
                         provided by Kessens because the combination involves the predictable use of prior art
                         elements according to their established functions.

                         The motivation to combine these references would at least include:

                                Combining prior art elements according to known methods to yield predictable results
                                 (using cross-word pronunciations to yield inter-word phoneme strings);
                                Simple substitution of one known element for another to obtain predictable results
                                 (adding cross-word pronunciations for a recognition rule set);
                                Use of known technique to improve similar devices (methods, or products) in the same
                                 way (using cross-word pronunciation data to create a recognition rule set);
                                Applying a known technique to a known device (method, or product) ready for
                                 improvement to yield predictable results (using cross-word pronunciation data was well
                                 known in the art);
                                “Obvious to try”—choosing from a finite number of identified, predictable solutions,
                                 with a reasonable expectation of success (there are a finite number of known techniques
                                 to produce inter-word recognition rule sets);
                                Market forces and benefits associated with the known benefits of automatic speech
                                 recognition; and
                                Teaching of prior art would have lead a POSA to combine the references to arrive at a
                                 system that includes cross-word pronunciation dependencies.



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                         Kessens also discloses, expressly or inherently, a “language model [that] is generated by
                         modeling pronunciation dependencies across word boundaries.” Kessen describes using
                         “cross-word variation” in its pronunciation variants. See, e.g.,

                         “This article describes how the performance of a Dutch continuous speech recognizer was
                         improved by modeling pronunciation variation. We propose a general procedure for modeling
                         pronunciation variation. In short, it consists of adding pronunciation variants to the lexicon,
                         retraining phone models and using language models to which the pronunciation variants have
                         been added. First, within-word pronunciation variants were generated by applying a set of five
                         optional phonological rules to the words in the baseline lexicon. Next, a limited number of
                         cross-word processes were modeled, using two different methods. In the first approach, cross-
                         word processes were modeled by directly adding the cross-word variants to the lexicon, and in
                         the second approach this was done by using multi-words. Finally, the combination of the
                         within-word method with the two cross-word methods was tested. The word error rate (WER)
                         measured for the baseline system was 12.75%. Compared to the baseline, a small but
                         statistically significant improvement of 0.68% in W ER was measured for the within-word
                         method, whereas both cross-word methods in isolation led to small, non-significant
                         improvements. The combination of the within-word method and cross-word method 2 led to
                         the best result: an absolute improvement of 1.12% in WER was found compared to the
                         baseline, which is a relative improvement of 8.8% in WER.”

                         Kessens, at Abstract.

                         “In this research, we attempted to model two types of variation: within-word variation and
                         cross-word variation. To this end, we used a general procedure in which pronunciation
                         variation was modeled at the three different levels in the CSR: the lexicon, the phone models
                         and the language model. We found that the best results were obtained when all of the steps of
                         the general procedure were carried out, i.e. when pronunciation variants were incorporated at
                         all three levels. Below, the results of incorporating pronunciation variants at all three levels are
                         successively discussed.”



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                         Kessens, at 205.

                         “In the first step, variants were only incorporated at the level of the lexicon. Compared to the
                         baseline (SSS ^ MSS), an improvement was found for the within-word method and for the
                         within-word method in combination with each of the two crossword methods. However, a
                         deterioration was found for the two cross-word methods in isolation. A possible explanation
                         for the deterioration for cross-word method 1 is related to the fact that the pronunciation
                         variants of cross-word method 1 are very short (see Table 2); some of them consist of only one
                         phone. Such short variants can easily be inserted; for instance, the plosives /k/ and /t/ might
                         occasionally be inserted at places where clicks in the signal occur. Furthermore, this effect is
                         facilitated by the high frequency of occurrence of the words involved, i.e. they are favored by
                         the language model. Similar things might happen for cross-word method 2. Let us give an
                         example to illustrate this: A possible variant of the multi-word “ik_wil” /IkwIl/ is /kwIl/. The
                         latter might occasionally be confused with the word “wil” /wIl/. This confusion leads to a
                         substitution, but effectively it is the insertion of the phone /k/. Consequently, insertion of /k/
                         and other phones is also possible in cross-word method 2, and this could explain the
                         deterioration found for cross-word method 2.”

                         Kessens, at 205.

                         “When, in the second step, pronunciation variation is also incorporated at the level of the
                         phone models (MSS ^ MMS), the CSR’s performance improved in all cases, except in the case
                         of crossword method 2. A possible cause of this deterioration in performance could be that the
                         phone models were not retrained properly. During forced recognition, the option for
                         recognizing a pause between the separate parts of the multi-words was not given. As a
                         consequence, if a pause occurred in the acoustic signal of a multi-word, the pause was used to
                         train the surrounding phone models, which results in contaminated phone models. Error
                         analysis revealed that in 5% of the cases a pause was indeed present within the multi-words in
                         our training material. Further research will have to show whether this was the only cause of the
                         deterioration in performance or whether there are other reasons why retraining phone models
                         using multi-words did not lead to improvements.”


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                         Kessens, at 205.

                         “In the third step, pronunciation variants were also incorporated at the level of the language
                         model (MMS ^ MMM), which is beneficial to all methods. Moreover, the effect of adding
                         variants to the language model is much larger for the crossword methods than for the within-
                         word method. This is probably due to the fact that many recognition errors introduced in the
                         first step (see above) are corrected when variants are also included in the language model.
                         When cross-word variants are added to the lexicon (step 1), short sequences of only one or two
                         phones long (like e.g. the phone /k/) can easily be inserted, as was argued above. The output of
                         forced recognition reveals that the cross-word variants occur less frequently than the canonical
                         pronunciations present in the baseline lexicon: on average in about 13% of the cases for cross-
                         word method 1, and 9% for cross-word method 2. In the language model with cross-word
                         variants included, the probability of these cross-word variants is thus lower than in the original
                         language model and, consequently, it is most likely that they will be inserted less often.”

                         Kessens, at 205.

                         “One of the questions we posed in the introduction was what the best way of modeling
                         crossword variation is. On the basis of our results we can conclude that when cross-word
                         variation is modeled in isolation, cross-word method 2 performs better than cross-word
                         method 1, but the difference is non-significant. In combination with the within-word method,
                         cross-word method 2 leads to an improvement compared to the within-word method in
                         isolation. This is not the case for cross-word method 1, which leads to a degradation in WER.
                         Therefore, it seems that cross-word method 2 is more suitable for modeling cross-word
                         pronunciation variation. It should be noted, however, that most of the improvements gained
                         with cross-word method 2 are due to adding the multi-words to the lexicon and the language
                         model. An explanation for these improvements is that by adding multi-words to the language
                         model the span of the unigram and bigram increases for the most frequent word sequences in
                         the training corpus. Thus, more context information can be used during the recognition
                         process. Furthermore, it should also be noted that only a small amount of data was involved in
                         the cross-word processes which were studied; only 6-9% of the words in the training corpus


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                         were affected by these processes. Therefore, we plan to test cross-word methods 1 and 2 for a
                         larger amount of data and a larger number of cross-word processes.”

                         Kessens, at 205-06.

                         “To summarize, we obtained the best results when within-word pronunciation variation and
                         cross-word pronunciation variation using multiword were modeled in combination, and all the
                         steps of the general procedure had been carried out. Using only five phonological rules and 22
                         multi-words a relative improvement of 8.8% was found (12.75%-11.63%).”

                         Kessens, at 207.




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                                                       APPENDIX B-3
                               Invalidity Claim Chart for U.S. Patent No. 8,532,993 (’993 patent)
                Helmer Strik, Modeling pronunciation variation for ASR: A survey of the literature, 1999 (“Strik”)1

On October 16, 2020, Nuance narrowed the asserted ’993 patent claims to 17 and 19. Nuance’s Disclosure Limiting Asserted Claims
of Phase 1 Patents. Claims 17 and 19 of the ’993 patent are anticipated and/or rendered obvious by Strik alone or in combination with
at least the following references. The chart below discloses how prior art references identified by Omilia disclose, either expressly or
inherently, and/or render obvious each of the asserted claims:

    (1) Steinbiss et al., The Philips research system for large-vocabulary continuous-speech recognition, Proc. of 3rd European
        Conference on Speech Communication and Technology EUROSPEECH ’93, 2125-2128 (1993) (“Steinbiss”)2

    (2) Jain, et al., Creating Speaker-Specific Phonetic Templates with a Speaker-Independent Phonetic Recognizer: Implications for
        Voice Dialing, IEEE International Conference on Acoustics, Speech, and Signal Processing Conference Proceedings, 881-884
        (1996) (“Jain”)3

    (3) Kessens et al., Improving the performance of a Dutch CSR by modeling within-word and cross-word pronunciation variation,
        Speech Communication 29 (1999) 193-207 (“Kessens”)4

This invalidity claim chart is based on Omilia’s present understanding of the asserted claims, the Court’s August 6, 2020 Claim
Construction Order (ECF. No. 241), Plaintiff (“Nuance’s”) initial and all subsequent supplemental Infringement Contentions, its
Response to Omilia NLS’ Supplemental Preliminary Non-Infringement and Invalidity Contentions, its Response to Omilia NLS’
Interrogatory No. 9 and Omilia’s investigation to date. Omilia is not adopting Nuance’s apparent constructions, nor is Omilia admitting
to the accuracy of any particular construction. Omilia reserves all rights to amend this invalidity claim chart if Nuance further amends
its Infringement Contentions, or in response to any statements made by Nuance at any phase of this litigation. In addition, Discovery is
still ongoing, and Omilia reserves its right to supplement its contentions with additional evidence as discovery continues.

The citations provided are exemplary and do not necessarily include each and every disclosure of the limitation in the references. Omilia
has cited the most relevant portions of the identified prior art. Other portions of the identified prior art may additionally disclose, either

1
  Strik was published in 1999. Strik is prior art under at least pre-AIA 35 U.S.C. § 102(a), and (b).
2
  Steinbiss was published in September, 1993. Steinbiss is prior art under at least pre-AIA 35 U.S.C. § 102(a), and (b).
3
  Jain was published in 1996. Jain is prior art under at least pre-AIA 35 U.S.C. § 102(a), and (b).
4
  Kessens was published in 1999. Kessens is prior art under at least pre-AIA 35 U.S.C. § 102(a), and (b).
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expressly or inherently, and/or render obvious one or more limitations of the asserted claims. To provide context or aid in understanding
the prior art and the state of the art at the time of the alleged invention, Omilia reserves the right to rely on: (1) uncited portions of the
identified prior art; (2) other prior art not identified herein; (3) references that show the state of the art (irrespective of whether such
references themselves qualify as prior art to the asserted patents); (4) factual testimony from the inventors or authors of the prior art
references, or purveyors of prior art devices; and/or (5) expert testimony.

Citations to a particular drawing or figure in the accompanying charts should be understood to include the description of the drawing or
figure, as well as any text associated with the drawing or figure. Citations to particular text concerning a drawing or figure, should also
be understood to encompass that drawing or figure as well. The identified prior art expressly and/or inherently discloses the features of
the asserted claims under all proposed constructions of the asserted claims. To establish the inherency of certain features of the prior
art to invalidate the asserted claims, Omilia may rely on cited or uncited portions of the prior art, other documents, factual testimony,
and expert testimony. To the extent that the Court finds that this reference does not explicitly teach certain limitations in the asserted
claims, such limitations would have been inherent and/or obvious and Omilia reserves the right to supplement or amend this claim chart
to address such a finding.

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 Claim 17
 17.pre A computer-readable storage device having            To the extent that the preamble is limiting, Strik discloses, expressly or
        instructions stored which, when executed on a        inherently, “computer-readable storage device having instructions stored
        processor, cause the processor to perform            which, when executed on a processor, cause the processor to perform
        operations comprising:                               operations:” In Strik, the process described was developed and
                                                             implemented using an automatic speech recognition computer system
                                                             using conventional computer elements. See, e.g.,

                                                             “The focus in automatic speech recognition (ASR) research has gradually
                                                             shifted from isolated words to conversational speech. Consequently, the
                                                             amount of pronunciation variation present in the speech under study has
                                                             gradually increased. Pronunciation variation will deteriorate the
                                                             performance of an ASR system if it is not well accounted for. This is
                                                             probably the main reason why research on modeling pronunciation variation
                                                             for ASR has increased lately. In this contribution, we provide an overview
                                                             of the publications on this topic, paying particular attention to the papers in

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                                            this special issue and the papers presented at ‘the Rolduc workshop’. First,
                                            the most important characteristics that distinguish the various studies on
                                            pronunciation variation modeling are discussed. Subsequently, the issues of
                                            evaluation and comparison are addressed. Particular attention is paid to
                                            some of the most important factors that make it difficult to compare the
                                            different methods in an objective way. Finally, some conclusions are drawn
                                            as to the importance of objective evaluation and the way in which it could
                                            be carried out.”

                                            Strik, at Abstract.

                                            “It is obvious that each of these questions cannot be answered in isolation.
                                            On the contrary, the answers will be highly interdependent. Depending on
                                            the decision taken for each of the above questions, different methods for
                                            pronunciation variation modeling can be distinguished, as will appear from
                                            the following sections. For each question it is possible to identify a specific
                                            dimension along which a choice can be made. In this way a descriptive
                                            framework can be obtained to classify the various contributions to modeling
                                            pronunciation variation in ASR. Although it is certainly possible that the
                                            extremes of some of these dimensions will not occur in practice, this is
                                            irrelevant since their main function is to provide us with a framework for
                                            description.”

                                            Strik, at 229.

                                            “The majority of the contributions are concerned with variation at the
                                            segmental level. A common way of describing segmental pronunciation
                                            variation in the context of ASR is by indicating whether it refers to word-
                                            internal or to cross-word processes, because this choice is strongly related
                                            to the properties of the speech recognizer being used. As a matter of fact,
                                            the choice for word-internal variation, cross-word variation or both, is


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                                            determined by factors such as the type of ASR, the language, and the level
                                            at which modeling will take place.”

                                            Strik, at 229.

                                            “Given that the recognition engines of most ASR systems consist of three
                                            components, there are three levels at which variation can be modeled: the
                                            lexicon, the acoustic models, and the language model. This is not to say that
                                            modeling at one level precludes modeling at one of the other levels; on the
                                            contrary, to obtain a good recognition system, it is necessary that concerted
                                            modeling happens on the three levels. Therefore, in most studies modeling
                                            takes place at more than one level. Nevertheless, in order to categorize the
                                            various studies, each category will be discussed separately in the following
                                            subsections.”

                                            Strik, at 233.

                                            “The question that arises at this point is: Is an objective evaluation and
                                            comparison of these methods at all possible? This question is not easy to
                                            answer. An obvious solution seems to be to use benchmark corpora and
                                            standard methods for evaluation (e.g., to give everyone the same canonical
                                            lexicon), like the NIST evaluations for automatic speech recognition and
                                            automatic speaker verification. This would solve a number of the problems
                                            mentioned above, but certainly not all of them. The most important problem
                                            that remains is the choice of the language. Like many other benchmark tests
                                            it could be (American) English. However, pronunciation variation and the
                                            ways in which it should be modeled can differ between languages, as argued
                                            above. Furthermore, for various reasons it would favor groups who do
                                            research on (American) English. Finally, using benchmarks would not solve
                                            the problem of differences between ASR systems.”



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                                            Strik, at 240.

                                            “Finally, it is worth mentioning that at present most researchers use
                                            ‘standard ASR systems’ based on discrete segmental representations,
                                            HMMs to model the segments, and features that are computed per frame
                                            (usually cepstral features and their derivatives). Possibly, the underlying
                                            assumptions in these standard ASR systems are not optimal. One of the
                                            assumptions is that speech is made up of discrete segments, usually
                                            phone(me)s. Although this has long been one of the assumptions in
                                            linguistics too, the idea that speech can be phonologically represented as a
                                            sequence of discrete entities (the ‘absolute slicing hypothesis’, as
                                            formulated in (Goldsmith, 1976, pp. 16±17)) has proved to be untenable. In
                                            non-linear, autosegmental phonology (Goldsmith, 1976, 1990) an analysis
                                            has been proposed in which different features are placed on different tiers.
                                            The various tiers represent the parallel activities of the articulators in speech,
                                            which do not necessarily begin and end simultaneously. In turn the tiers are
                                            connected by association lines. In this way, it is possible to indicate that the
                                            mapping between tiers is not always one to one. Assimilation phenomena
                                            can then be represented by the spreading of one feature from one segment
                                            to the adjacent one. On the basis of this theory, Li Deng and his colleagues
                                            have built ASR systems with which promising results have been obtained
                                            (Deng and Sun, 1994).”

                                            Strik, at 242.

                                            In addition, it would be obvious to a person having ordinary skill in the art
                                            to combine Strik with Steinbiss. Both Strik and Steinbiss are in the same
                                            field of art. A person having ordinary skill in the art would be motivated
                                            to combine Strik with Steinbiss. A person having ordinary skill in the art
                                            considering Strik would be motivated to implement the system on a
                                            computer, as disclosed by Steinbiss. A person having ordinary skill in the
                                            art would have a reasonable expectation of success in implementing Strik

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                                            on the computer of Steinbiss because the combination involves the
                                            predictable use of prior art elements according to their established
                                            functions.

                                            The motivation to combine these references would at least include:

                                                   Combining prior art elements according to known methods to yield
                                                    predictable results (using a computer to perform speech recognition
                                                    using computers was well known in the art);
                                                   Simple substitution of one known element for another to obtain
                                                    predictable results (implementing the system of Strik on a computer,
                                                    as disclosed by Steinbiss);
                                                   Use of known technique to improve similar devices (methods, or
                                                    products) in the same way (the technique of using a computer to
                                                    perform speech recognition was known));
                                                   Applying a known technique to a known device (method, or product)
                                                    ready for improvement to yield predictable results (using a computer
                                                    to perform speech recognition using computers was well known in
                                                    the art);
                                                   “Obvious to try”—choosing from a finite number of identified,
                                                    predictable solutions, with a reasonable expectation of success (Strik
                                                    teaches automatic speech recognition, which may be implemented
                                                    using a computer);
                                                   Market forces and benefits associated with the known benefits of
                                                    automatic speech recognition; and




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                                                     Teaching of prior art would have lead a POSA to combine the
                                                      references to arrive at a speech recognition system implemented on
                                                      a computer.
                                            Steinbiss also discloses, expressly or inherently, “computer-readable
                                            storage device having instructions stored which, when executed on a
                                            processor, cause the processor to perform operations.” In Steinbiss, the
                                            process described was developed and implemented using PC based
                                            implementation. See, e.g.,

                                            “The system has been successfully applied to the American English
                                            DARPA RM task. Here, we report experimental results for a German 13
                                            000-word Philips internal dictation task. In addition to the scientific
                                            prototype, a PC version has been set up which is described here for the first
                                            time.”

                                            Steinbiss, at 2125.

                                            “The organization of the paper is as follows. We first summarize the
                                            statistical approach to speech recognition and then describe the four main
                                            entities of our system: acoustic analysis, acoustic phonetic modelling,
                                            language modelling and search. A section with experiments on our internal
                                            dictation task follows. The final section describes a PC based
                                            implementation of our system.”

                                            Steinbiss, at 2125.

                                            “8. A PC Based Continuous Speech-Recognition System for Dictation

                                            ...

                                            The system developed at Philips Dictation Systems, Vienna, and described
                                            here adopts this non-interactive approach and thus allows the person to

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                                                     dictate with a natural speaking style. After the speech is processed by the
                                                     speech recognizer, the secretary has only to correct the recognition errors,
                                                     which is both faster and a more interesting job to do.”

                                                     Steinbiss, at 2128.

                                                     “Speech recognition runs remotely on a PC which is connected to the
                                                     network. An acoustic front-end performs the acoustic analysis. Recognition
                                                     is sped up by a dedicated co-processor board containing application-specific
                                                     ICs. Depending on the speaker and the specific boundary conditions,
                                                     recognition with a 10 - 20 000-word vocabulary runs in 1 - 3 times real-
                                                     time.”

                                                     Steinbiss, at 2128.

17.a   approximating transcribed speech using a      Strik discloses, expressly or inherently, the step of “approximating
       phonemic transcription dataset associated     transcribed speech using a phonemic transcription dataset associated with
       with a speaker, to yield a language model,    a speaker, to yield a language model, where the phonemic transcription
       where the phonemic transcription dataset is   dataset is based on a pronunciation model of the speaker:”
       based on a pronunciation model of the
       speaker;                                      Strik discloses, expressly or inherently, the step of “approximating
                                                     transcribed speech using a phonemic transcription dataset associated
                                                     with a speaker, to yield a language model, where the phonemic
                                                     transcription dataset is based on a pronunciation model of the speaker:” In
                                                     Strik, an ASR system is trained using automatically-segmented acoustic
                                                     signals with pronunciation variation. See, e.g.,

                                                     “Another feature that distinguishes the various approaches to modeling
                                                     pronunciation variation in ASR is the source from which information on
                                                     pronunciation variation is derived. In this connection, a distinction can be
                                                     drawn between data-driven versus knowledge-based methods. The major
                                                     difference between these two types of approaches is that in the former case

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                                            the assumption is that the information on pronunciation variation has to be
                                            obtained in the first place. In knowledge-based approaches, on the other
                                            hand, it is assumed that this information is already available in the
                                            literature.”

                                            Strik, at 230.

                                            “The idea behind data-driven methods is that information on pronunciation
                                            variation has to be obtained directly from the signals (Bacchiani and
                                            Ostendorf, 1998, 1999; Blackburn and Young, 1995, 1996; Cremelie and
                                            Martens, 1995, 1997, 1998, 1999; Fosler-Lussier and Morgan, 1998, 1999;
                                            Fukada and Sagisaka, 1997; Fukada et al., 1998, 1999; Greenberg, 1998,
                                            1999; Heine et al., 1998; Holmes and Russell, 1996; Holter, 1997; Holter
                                            and Svendsen, 1998, 1999; Imai et al., 1995; Mirghafori et al., 1995;
                                            Mokbel and Jouvet, 1998; Nock and Young, 1998; Peters and Stubley,
                                            1998; Polzin and Waibel, 1998; Ravishankar and Eskenazi, 1997; Riley et
                                            al., 1998, 1999; Ristad and Yianilos, 1998; Sloboda and Waibel, 1996;
                                            Svendsen et al., 1995; Torre et al., 1997; Williams and Renals, 1998). To
                                            this end, the acoustic signals are analyzed in order to determine all
                                            possible ways in which the same word or phoneme is realized. A common
                                            stage in this analysis is transcribing the acoustic signals. Subsequently, the
                                            transcriptions can be used for different purposes, as will be explained in
                                            Sections 2.3 and 2.4. Transcriptions of the acoustic signals can be obtained
                                            either manually (Cremelie and Martens, 1995, 1997; Downey and
                                            Wiseman, 1997; Fosler-Lussier and Morgan, 1998, 1999; Greenberg,
                                            1998, 1999; Heine et al., 1998; Mirghafori et al., 1995; Riley et al., 1998,
                                            1999; Ristad and Yianilos, 1998; Wiseman and Downey, 1998) or (semi-)
                                            automatically (Adda-Decker and Lamel, 1998, 1999; Bacchiani and
                                            Ostendorf, 1998, 1999; Beulen et al., 1998; Cremelie and Martens, 1997,
                                            1998, 1999; Fukada and Sagisaka, 1997; Fukada et al., 1998, 1999; Holter,
                                            1997; Kessens and Wester, 1997; Kessens et al., 1999; Lehtinen and Safra,
                                            1998; Mokbel and Jouvet, 1998; Ravishankar and Eskenazi, 1997; Riley et

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                                            al., 1998, 1999; Schiel et al., 1998; Wester et al., 1998a; Svendsen et al.,
                                            1995; Torre et al., 1997; Williams and Renals, 1998). The latter is usually
                                            done either with a phone(me) recognizer (Fukada and Sagisaka, 1997;
                                            Fukada et al., 1998, 1999; Mokbel andJouvet, 1998; Ravishankar and
                                            Eskenazi, 1997; Torre et al., 1997; Williams and Renals, 1998) or by
                                            means of forced recognition (Adda-Decker and Lamel, 1998, 1999;
                                            Bacchiani and Ostendorf, 1998, 1999; Beulen et al., 1998; Cremelie and
                                            Martens, 1997, 1998, 1999; Kessens and Wester, 1997; Kessens et al.,
                                            1999; Lehtinen and Safra, 1998; Riley et al., 1998, 1999; Schiel et al.,
                                            1998; Wester et al., 1998a).”

                                            Strik, at 230.

                                            “Before variants can be selected, they have to be obtained, in the first
                                            place. Sometimes the pronunciation variants are generated manually
                                            (Aubert and Dugast, 1995; Riley et al., 1998, 1999) or selected from
                                            enumerated lists (Flach, 1995), but usually they are generated
                                            automatically by means of various procedures:

                                                   rules (Adda-Decker and Lamel, 1998, 1999; Aubert and Dugast,
                                                    1995; Cohen and Mercer, 1975; Cremelie and Martens, 1995,
                                                    1997, 1998, 1999; Flach, 1995; Kessens and , 1997; Kessens et al.,
                                                    1999; Mercer and Cohen, 1987; Nock and Young, 1998;
                                                    Ravishankar and Eskenazi, 1997; Schiel et al., 1998; et al., 1998a),
                                                   ANNs (Fukada and Sagisaka, 1997; Fukada et al., 1998, 1999),
                                                   grapheme-to-phoneme converters (Lehtinen and Safra, 1998),
                                                   phone(me) recognizers (Mokbel and Jouvet, 1998; Nock and
                                                    Young, 1998; Ravishankar and Eskenazi, 1997; Sloboda and
                                                    Waibel, 1996; Williams and Renals, 1998),
                                                   optimization with maximum likelihood criterion (Holter, 1997;
                                                    Holter and Svendsen, 1998, 1999) and


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                                                   decision trees (Fosler-Lussier and Morgan, 1998, 1999; Riley et al.,
                                                    1998, 1999).

                                            Strik, at 234.

                                            Strik discloses, expressly or inherently, the step of “approximating
                                            transcribed speech using a phonemic transcription dataset associated
                                            with a speaker, to yield a language model, where the phonemic
                                            transcription dataset is based on a pronunciation model of the speaker.”
                                            In Strik, an ASR system is trained using automatically-segmented acoustic
                                            signals with pronunciation variation A POSA would further understand
                                            that the acoustic signals are associated with a particular speaker. A POSA
                                            would further understand that the process of segmenting acoustic signals
                                            with pronunciation variation disclosed by Strik is “based on a
                                            pronunciation model of the speaker.” See, e.g.,

                                            “In forced recognition (which is also called forced alignment), the ASR
                                            system can only choose between the pronunciation variants of a word, and
                                            not between all words present in the lexicon, as is the case for a ‘normal’
                                            ASR system. Consequently, forced recognition can be employed to decide
                                            which pronunciation variant best matches the signal, and in this way a new
                                            transcription can be obtained (see also Section 2.4.2). The performance of
                                            forced recognition has been evaluated in (Wester et al., 1998a,b, 1999), by
                                            comparing it with the performance of humans that carried out the same
                                            tasks. It turned out that for the tasks studied in (Wester et al., 1998a,b,
                                            1999), the performance of the human listeners and forced recognition were
                                            similar, and that on average, the degree of agreement between ASR system
                                            and listeners is only slightly lower than that between listeners. Therefore,
                                            forced recognition seems to be a suitable tool for obtaining information on
                                            pronunciation (variation). However, since in (Wester et al., 1999) it is



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                                            shown that the agreement depends on the properties of the ASR system
                                            used, one should be cautious in applying such a tool.”

                                            Strik, at 230.

                                            “Although many studies contained in this issue are not completely data-
                                            driven or knowledge-based, it is generally possible to say whether the
                                            starting point of the research was mainly data-driven or knowledge-based
                                            (see the references above). However, most of them cannot be said to be
                                            completely bottom-up or top-down, because in none of these studies is the
                                            direction of the developing process solely upward or downward, but the
                                            flow of information is in both directions. For example, in many data-
                                            driven studies the results of the bottom-up analyses are used to change the
                                            lexicon and the altered lexicon is then used during recognition in a top-
                                            down manner. Similarly, knowledge-based methods are usually not strictly
                                            top-down, e.g. because in many of them the rules applied to generate
                                            pronunciation variants may be altered on the basis of information derived
                                            from analysis of the acoustic signals.”

                                            Strik, at 231.

                                            “The obvious alternative to using formalizations is to use information that
                                            is not formalized, but enumerated. Again, this can be done either in a data-
                                            driven or in a knowledge-based manner. In data-driven studies, the
                                            bottom-up transcriptions can be used to list all pronunciation variants of
                                            one and the same word. These variants and their transcriptions (or a
                                            selection of them) can then be added to the lexicon. Alternatively, in
                                            knowledge-based studies it is possible to add all the variants of one and the
                                            same word contained in a pronunciation dictionary. Quite clearly, when no
                                            formalization is used, it is not necessary to generate the variants because
                                            they are already available.”


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                                            Strik, at 232.

                                            “Given that the recognition engines of most ASR systems consist of three
                                            components, there are three levels at which variation can be modeled: the
                                            lexicon, the acoustic models, and the language model. This is not to say that
                                            modeling at one level precludes modeling at one of the other levels; on the
                                            contrary, to obtain a good recognition system, it is necessary that concerted
                                            modeling happens on the three levels. Therefore, in most studies modeling
                                            takes place at more than one level. Nevertheless, in order to categorize the
                                            various studies, each category will be discussed separately in the following
                                            subsections.”

                                            Strik, at 233.

                                            “Before variants can be selected, they have to be obtained, in the first
                                            place. Sometimes the pronunciation variants are generated manually
                                            (Aubert and Dugast, 1995; Riley et al., 1998, 1999) or selected from
                                            enumerated lists (Flach, 1995), but usually they are generated
                                            automatically by means of various procedures:

                                                   rules (Adda-Decker and Lamel, 1998, 1999; Aubert and Dugast,
                                                    1995; Cohen and Mercer, 1975; Cremelie and Martens, 1995,
                                                    1997, 1998, 1999; Flach, 1995; Kessens and Wester, 1997;
                                                    Kessens et al., 1999; Mercer and Cohen, 1987; Nock and Young,
                                                    1998; Ravishankar and Eskenazi, 1997; Schiel et al., 1998; Wester
                                                    et al., 1998a),
                                                   ANNs (Fukada and Sagisaka, 1997; Fukada et al., 1998, 1999),
                                                   grapheme-to-phoneme converters (Lehtinen and Safra, 1998),
                                                   phone(me) recognizers (Mokbel and Jouvet, 1998; Nock and
                                                    Young, 1998; Ravishankar and Eskenazi, 1997; Sloboda and
                                                    Waibel, 1996; Williams and Renals, 1998),


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                                                   optimization with maximum likelihood criterion (Holter, 1997;
                                                    Holter and Svendsen, 1998, 1999) and
                                                   decision trees (Fosler-Lussier and Morgan, 1998, 1999; Riley et al.,
                                                    1998, 1999).

                                            Strik, at 234.

                                            “Second, the fact that a method in which variants are taken directly from
                                            transcriptions of the acoustic signals works better than a rule-based one
                                            could also be due to the particular nature of the rules in question. As was
                                            pointed out in Section 2.2, rules taken from the literature are not always
                                            the optimal ones to model variation in spontaneous speech, while
                                            information obtained from data may be much better suited for this
                                            purpose.”

                                            Strik, at 234.

                                            In addition, it would be obvious to a person having ordinary skill in the art
                                            to combine Strik with Jain. Both Strik and Jain are in the same field of
                                            art. A person having ordinary skill in the art would be motivated to
                                            combine Strik with Jain. A person having ordinary skill in the art
                                            considering Strik’s disclosure that variants “usually they are generated
                                            automatically by means of various procedures” would be motivated to
                                            seek out a system that automatically captures a phonetic representation of
                                            pronunciation variants, as disclosed by Jain. A person having ordinary
                                            skill in the art would have a reasonable expectation of success in
                                            implementing Strik using the phonetic transcriptions provided by Jain
                                            because the combination involves the predictable use of prior art elements
                                            according to their established functions.

                                            The motivation to combine these references would at least include:


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                                                   Combining prior art elements according to known methods to yield
                                                    predictable results (using speaker-dependent training data to
                                                    improve accuracy for a user);
                                                   Simple substitution of one known element for another to obtain
                                                    predictable results (adding additional pronunciation variants to
                                                    improve accuracy of a speech recognition system);
                                                   Use of known technique to improve similar devices (methods, or
                                                    products) in the same way (using speaker-dependent pronunciation
                                                    data to improve the accuracy of a speech recognition system));
                                                   Applying a known technique to a known device (method, or product)
                                                    ready for improvement to yield predictable results (using speaker-
                                                    dependent pronunciation was well known in the art);
                                                   “Obvious to try”—choosing from a finite number of identified,
                                                    predictable solutions, with a reasonable expectation of success (there
                                                    are a finite number of known techniques to improve accuracy for
                                                    speech recognition systems);
                                                   Market forces and benefits associated with the known benefits of
                                                    automatic speech recognition; and

                                                   Teaching of prior art would have lead a POSA to combine the
                                                    references to arrive at a system that includes transcription data
                                                    reflecting pronunciation data from a speaker.

                                            Jain also discloses, expressly or inherently, the step of “approximating
                                            transcribed speech using a phonemic transcription dataset associated
                                            with a speaker, to yield a language model, where the phonemic
                                            transcription dataset is based on a pronunciation model of the speaker:”


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                                            “In this section, we describe the method for generating the speaker-
                                            specific models. Our speaker-specific models represent utterances as
                                            sequences of phonemes rather than acoustic parameters. A speaker-
                                            independent phonetic front end is used to generate the string of phonemes.
                                            For this approach to work, all that is needed is that the phonetic frontend
                                            behave in a consistent manner, i.e. it must produce the same (or nearly the
                                            same) string of phonemes each time the word is spoken.” In Jain, speaker-
                                            specific models are used to transcribe telephone speech into its phonetic
                                            subparts. A POSA would further understand that the “telephone speech”
                                            is associated with a particular speaker. See, e.g.,

                                            Jain, at 881.

                                            “The following steps produce a phonetic transcription:
                                            1. Data Capture: Telephone speech is sampled at 8 kHz. Unnecessary
                                            silence at the beginning and end of the utterance is removed by end-point
                                            detection.
                                            2. Feature Extraction: Seventh order RASTA features [2] are computed for
                                            every 10ms of speech using a 10ms window. This yields eight coefficients
                                            per frame.”

                                            Jain, at 881.

                                            “Another method is to force-align each phoneme string (which was
                                            generated using the template generation technique) with all the other
                                            waveforms corresponding to the same label and compute the average
                                            Viterbi score. The template with the maximum average score is selected as
                                            the word-model for that label. Table 1 shows the error rates obtained with
                                            forced-alignment. It can be seen that the error rates decreased substantially
                                            for all the 4 channels.



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                                                                                       ”

                                            Jain, at 882-83.

                                            “It is well known that speaker dependent systems perform better than
                                            speaker-independent systems. In several commercial products, speaker
                                            adaptation is used to adapt speaker-independent models to the current
                                            user.”

                                            Jain at 883.

                                            Strik discloses, expressly or inherently, the step of “approximating
                                            transcribed speech using a phonemic transcription dataset associated with
                                            a speaker, to yield a language model, where the phonemic transcription
                                            dataset is based on a pronunciation model of the speaker.” In Strik, a
                                            language model is created using pronunciation variants. See, e.g.,

                                            “Another component in which pronunciation variation can be taken into
                                            account is the language model (LM) (Cremelie and Martens, 1995, 1997,
                                            1998, 1999; Deshmukh et al., 1996; Finke and Waibel, 1997; Fukada et
                                            al., 1998, 1999; Kessens et al., 1999; Lehtinen and Safra, 1998; Perennou
                                            and Brieussel-Pousse, 1998; Pousse and Perennou, 1997; Schiel et al.,
                                            1998; Wester et al., 1998a; Zeppenfeld et al., 1997). This can be done in
                                            several ways, as will be discussed below.”

                                            Strik, at 236.

                                            “Method 1. The easiest solution is to simply add the variants to the
                                            lexicon, and not to change the LMs at all. In this case, for every variant the

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                                            probabilities for the word it belongs to are used. Since the statistics for the
                                            variants are not used, it is obvious that this is a sub-optimal solution. In the
                                            following two methods the statistics for the variants are employed.”

                                            Strik, at 236.

                                            “Method 2. The second solution is to use the variants themselves (instead
                                            of the underlying words) to calculate the N-grams (Kessens et al., 1999;
                                            Schiel et al., 1998; Strik et al., 1998a). For this procedure, a transcribed
                                            corpus is needed which contains information about the realized
                                            pronunciation variants. These transcriptions can be obtained in various
                                            ways, as has been discussed in Sections 2.2 and 2.4. The goal of this
                                            method is to find the string of variants V which maximizes P(X|V) * P(V).”

                                            Strik, at 236-37.

                                            “Another important difference between the two methods is that in the third
                                            method the context-dependence of pronunciation variants is not modeled
                                            directly in the LM. This can be a disadvantage as pronunciation variation
                                            is often context-dependent, e.g., liaison in French (Perennou and
                                            Brieussel-Pousse, 1998; Pousse and Perennou, 1997). Within the third
                                            method, this deficiency can be overcome by using classes of words instead
                                            of the words themselves, i.e., the classes of words that do or do not allow
                                            liaison (Perennou and Brieussel-Pousse, 1998; Pousse and Perennou,
                                            1997). The probability of a pronunciation variant for a certain class is then
                                            represented in P(V|W), while the probability of sequences of word classes
                                            is stored in P(W).”

                                            Strik, at 237.

                                            “One of the most common ways of modeling pronunciation variation is to
                                            add pronunciation variants to the lexicon (see Section 2.4.1). This method

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                                                         can be applied fairly easily and it appears to improve recognition
                                                         performance. However, a problem with this approach is that certain words
                                                         have numerous variants with very different frequencies of occurrence.
                                                         Some quantitative data on this phenomenon can be found in Table 2 on
                                                         page 50 of Greenberg (1998). For instance, if we look at the data for ‘that’,
                                                         we can see that this word appears 328 times in the corpus used by
                                                         Greenberg, that it has 117 different pronunciations and that the single most
                                                         common variant only covers 11% of the pronunciations. The coverage of
                                                         the other variants will probably decrease gradually from 11% to almost
                                                         zero. In principle one could include all 117 variants in the lexicon and it is
                                                         possible that this will improve recognition of the word ‘that’. However,
                                                         this is also likely to increase confusability. If many variants of a large
                                                         number of words are included in the lexicon the confusability can increase
                                                         to such an extent that recognition performance may eventually decrease.
                                                         This implies that variant selection constitutes an essential part of this
                                                         approach.”

                                                         Strik, at 240-41.

17.b   incorporating, into the language model,           Strik discloses, expressly or inherently, the step of “incorporating, into the
       pronunciation probabilities associated with       language model, pronunciation probabilities associated with respective
       respective unique labels for each different       unique labels for each different pronunciation of a word, wherein the
       pronunciation of a word, wherein the              respective unique label for a most frequent word indicates a special status
       respective unique label for a most frequent       in the language model.”
       word indicates a special status in the language
       model; and                                        Strik discloses, expressly or inherently, the step of “incorporating, into
                                                         the language model, pronunciation probabilities associated with
                                                         respective unique labels for each different pronunciation of a word,
                                                         wherein the respective unique label for a most frequent word indicates a
                                                         special status in the language model.” In Strik, pronunciation variants for



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                                            words and their probabilities first associated with unique labels, which are
                                            then incorporated into a language model. See, e.g.,

                                            “Another feature that distinguishes the various approaches to modeling
                                            pronunciation variation in ASR is the source from which information on
                                            pronunciation variation is derived. In this connection, a distinction can be
                                            drawn between data-driven versus knowledge-based methods. The major
                                            difference between these two types of approaches is that in the former case
                                            the assumption is that the information on pronunciation variation has to be
                                            obtained in the first place. In knowledge-based approaches, on the other
                                            hand, it is assumed that this information is already available in the
                                            literature.”

                                            Strik, at 230.

                                            “Given that the recognition engines of most ASR systems consist of three
                                            components, there are three levels at which variation can be modeled: the
                                            lexicon, the acoustic models, and the language model. This is not to say that
                                            modeling at one level precludes modeling at one of the other levels; on the
                                            contrary, to obtain a good recognition system, it is necessary that concerted
                                            modeling happens on the three levels. Therefore, in most studies modeling
                                            takes place at more than one level. Nevertheless, in order to categorize the
                                            various studies, each category will be discussed separately in the following
                                            subsections.”

                                            Strik, at 233.

                                            “At the level of the lexicon, pronunciation variation is usually modeled by
                                            adding pronunciation variants (and their transcriptions) to the lexicon
                                            (Adda-Decker and Lamel, 1998, 1999; Aubert and Dugast, 1995; Beulen
                                            et al., 1998; Bonaventura et al., 1998; Cohen and Mercer, 1975; Cremelie
                                            and Martens, 1995, 1997, 1998, 1999; Downey and Wiseman, 1997;

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                                            Ferreiros et al., 1998; Finke and Waibel, 1997; Fukada et al., 1998, 1999;
                                            Holter, 1997; Holter and Svendsen, 1998, 1999; Imai et al., 1995; Kessens
                                            and Wester, 1997; Kessens et al., 1999; Lamel and Adda, 1996; Lehtinen
                                            and Safra, 1998; Mercer and Cohen, 1987; Mokbel and Jouvet, 1998;
                                            Nock and Young, 1998; Ravishankar and Eskenazi, 1997; Riley et al.,
                                            1998, 1999; Roach and Arnfield, 1998; Sloboda and Waibel, 1996; Torre
                                            et al., 1997; Wester et al., 1998a; Williams and Renals, 1998; Wiseman
                                            and Downey, 1998; Zeppenfeld et al., 1997). The rationale behind this
                                            procedure is that with multiple transcriptions of the same word the chance
                                            is increased that for an incoming signal the speech recognizer selects a
                                            transcription belonging to the correct word. In turn, this should lead to
                                            lower error rates.”

                                            Strik, at 233.

                                            “The obvious alternative to using formalizations is to use information that
                                            is not formalized, but enumerated. Again, this can be done either in a data-
                                            driven or in a knowledge-based manner. In data-driven studies, the
                                            bottom-up transcriptions can be used to list all pronunciation variants of
                                            one and the same word. These variants and their transcriptions (or a
                                            selection of them) can then be added to the lexicon. Alternatively, in
                                            knowledge-based studies it is possible to add all the variants of one and the
                                            same word contained in a pronunciation dictionary. Quite clearly, when no
                                            formalization is used, it is not necessary to generate the variants because
                                            they are already available.”

                                            Strik, at 232.

                                            “At the level of the lexicon, pronunciation variation is usually modeled by
                                            adding pronunciation variants (and their transcriptions) to the lexicon
                                            (Adda-Decker and Lamel, 1998, 1999; Aubert and Dugast, 1995; Beulen
                                            et al., 1998; Bonaventura et al., 1998; Cohen and Mercer, 1975; Cremelie

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                                            and Martens, 1995, 1997, 1998, 1999; Downey and Wiseman, 1997;
                                            Ferreiros et al., 1998; Finke and Waibel, 1997; Fukada et al., 1998, 1999;
                                            Holter, 1997; Holter and Svendsen, 1998, 1999; Imai et al., 1995; Kessens
                                            and Wester, 1997; Kessens et al., 1999; Lamel and Adda, 1996; Lehtinen
                                            and Safra, 1998; Mercer and Cohen, 1987; Mokbel and Jouvet, 1998;
                                            Nock and Young, 1998; Ravishankar and Eskenazi, 1997; Riley et al.,
                                            1998, 1999; Roach and Arnfield, 1998; Sloboda and Waibel, 1996; Torre
                                            et al., 1997; Wester et al., 1998a; Williams and Renals, 1998; Wiseman
                                            and Downey, 1998; Zeppenfeld et al., 1997). The rationale behind this
                                            procedure is that with multiple transcriptions of the same word the chance
                                            is increased that for an incoming signal the speech recognizer selects a
                                            transcription belonging to the correct word. In turn, this should lead to
                                            lower error rates.”

                                            Strik, at 233.

                                            “However, adding pronunciation variants to the lexicon usually also
                                            introduces new errors because the acoustic confusability within the lexicon
                                            increases, i.e., the added variants can be confused with those of other
                                            entries in the lexicon. This can be minimized by making an appropriate
                                            selection of the pronunciation variants, by, for instance, adding only the
                                            set of variants for which the balance between solving old errors and
                                            introducing new ones is positive. Therefore, in many studies tests are
                                            carried out to determine which set of pronunciation variants leads to the
                                            largest gain in performance (Cremelie and Martens, 1995, 1997, 1998,
                                            1999; Fukada et al., 1998, 1999; Holter, 1997; Holter and Svendsen, 1998,
                                            1999; Imai et al., 1995; Kessens and Wester, 1997; Kessens et al., 1999;
                                            Lehtinen and Safra, 1998; Mokbel and Jouvet, 1998; Nock and Young,
                                            1998; Riley et al., 1998, 1999; Sloboda and Waibel, 1996; Torre et al.,
                                            1997; Wester et al., 1998a). For this purpose, different criteria can be used,
                                            such as:


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                                                   frequency of occurrence of the variants (Kessens and Wester,
                                                    1997; Kessens et al., 1999; Ravishankar and Eskenazi, 1997; Riley
                                                    et al., 1998, 1999; Schiel et al., 1998; Wester et al., 1998a;
                                                    Williams and Renals, 1998),
                                                   a maximum likelihood criterion (Holter, 1997; Holter and
                                                    Svendsen, 1998, 1999; Imai et al., 1995),
                                                   confidence measures (Sloboda and Waibel, 1996), and
                                                   the degree of confusability between the variants (Sloboda and
                                                    Waibel, 1996; Torre et al., 1997).

                                            A description of a method to detect confusable pairs of words or
                                            transcriptions is also given in (Roe and Riley, 1994). If rules are used to
                                            generate pronunciation variants, then certain rules can be selected (and
                                            others discarded), as in (Cremelie and Martens, 1995, 1997, 1998, 1999;
                                            Lehtinen and Safra, 1998; Schiel et al., 1998) where rules are selected on
                                            the basis of their frequency and application likelihood.”

                                            Strik, at 233-34.

                                            “As was mentioned earlier, multi-words can also be added to the lexicon,
                                            in an attempt to model cross-word variation at the level of the lexicon.
                                            Optionally, the pronunciation variants of multi-words can also be included
                                            in the lexicon. By using multi-words Beulen et al. (1998) and Wester et al.
                                            (Kessens et al., 1999; Wester et al., 1998a) achieve a substantial
                                            improvement, while for Nock and Young (1998) this was not the case.”

                                            Strik, at 234.

                                            “An obvious way of optimizing the acoustic models is by using forced
                                            recognition. In Section 2.2 we already explained how forced recognition
                                            can be employed to calculate new transcriptions of the signals. In turn, the
                                            new transcriptions can be used to train new acoustic models. These new

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                                            acoustic models can then be used to do forced recognition again, etc. In
                                            other words, this process can be iterated. We will refer to this procedure as
                                            iterative transcribing. Forced recognition and iterative transcribing have
                                            been used often to obtain improved transcriptions and improved acoustic
                                            models (Aubert and Dugast, 1995; Bacchiani and Ostendorf, 1998;
                                            Bacchiani and Ostendorf, 1999; Beulen et al., 1998; Finke and Waibel,
                                            1997; Kessens and Wester, 1997; Kessens et al., 1999; Riley et al., 1998,
                                            1999; Schiel et al., 1998; Sloboda and Waibel, 1996; Wester et al.,
                                            1998a).”

                                            Strik, at 235.

                                            “In forced recognition, pronunciation variants are present in the lexicon
                                            during training in order to train new acoustic models. Optionally,
                                            pronunciation variants can be retained in the lexicon during recognition
                                            (testing). In general, using the variants during recognition is more
                                            beneficial than using variants during training, while the best results are
                                            obtained when multiple variants are included during both training and
                                            recognition (Kessens and Wester, 1997; Kessens et al., 1999; Lamel and
                                            Adda, 1996; Wester et al., 1998a). Therefore, it seems worthwhile to test
                                            the procedure of forced recognition because it is a relatively
                                            straightforward procedure that can be applied almost completely
                                            automatically and because it usually gives an improvement over and above
                                            that of using multiple variants during recognition only.”

                                            Strik, at 235.

                                            “Another component in which pronunciation variation can be taken into
                                            account is the language model (LM) (Cremelie and Martens, 1995, 1997,
                                            1998, 1999; Deshmukh et al., 1996; Finke and Waibel, 1997; Fukada et
                                            al., 1998, 1999; Kessens et al., 1999; Lehtinen and Safra, 1998; Perennou
                                            and Brieussel-Pousse, 1998; Pousse and Perennou, 1997; Schiel et al.,

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                                            1998; Wester et al., 1998a; Zeppenfeld et al., 1997). This can be done in
                                            several ways, as will be discussed below.”

                                            Strik, at 236.

                                            “Method 1. The easiest solution is to simply add the variants to the
                                            lexicon, and not to change the LMs at all. In this case, for every variant the
                                            probabilities for the word it belongs to are used. Since the statistics for the
                                            variants are not used, it is obvious that this is a sub-optimal solution. In the
                                            following two methods the statistics for the variants are employed.”

                                            Strik, at 236.

                                            “Method 2. The second solution is to use the variants themselves (instead
                                            of the underlying words) to calculate the N-grams (Kessens et al., 1999;
                                            Schiel et al., 1998; Wester et al., 1998a). For this procedure, a transcribed
                                            corpus is needed which contains information about the realized
                                            pronunciation variants. These transcriptions can be obtained in various
                                            ways, as has been discussed in Sections 2.2 and 2.4. The goal of this
                                            method is to find the string of variants V which maximizes P(X|V) * P(V).”

                                            Strik, at 236-37.

                                            “Another important difference between the two methods is that in the third
                                            method the context-dependence of pronunciation variants is not modeled
                                            directly in the LM. This can be a disadvantage as pronunciation variation
                                            is often context-dependent, e.g., liaison in French (Perennou and
                                            Brieussel-Pousse, 1998; Pousse and Perennou, 1997). Within the third
                                            method, this deficiency can be overcome by using classes of words instead
                                            of the words themselves, i.e., the classes of words that do or do not allow
                                            liaison (Perennou and Brieussel-Pousse, 1998; Pousse and Perennou,
                                            1997). The probability of a pronunciation variant for a certain class is then

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                                            represented in P(V|W), while the probability of sequences of word classes
                                            is stored in P(W).

                                            Strik, at 237.

                                            “In trying to draw general conclusions as to the effectiveness of these
                                            methods, one is tempted to conclude that the method for which the largest
                                            improvement was observed is the best one. In this respect some comment
                                            is in order. First, it is unlikely that there will be one single best approach,
                                            as the tasks of the various systems are very different. Second, we are not
                                            interested in finding a winner, but in understanding how pronunciation
                                            variation can best be approached. So, even a method that does not produce
                                            any significant reduction in WER may turn out to be extremely valuable
                                            because it increases our understanding of pronunciation variation. Third, it
                                            is wrong to take the change in WER as the only criterion for evaluation,
                                            because this change is dependent on at least three different factors: (1) the
                                            corpora, (2) the ASR system and (3) the baseline system. This means that
                                            improvements in WER can be compared with each other only if in the
                                            methods under study these three elements were identical or at least similar.
                                            It is obvious that in the majority of the methods presented these three
                                            elements are not kept constant, but are usually very different. In the
                                            following sections we discuss these differences and try to explain why this
                                            makes it difficult to compare the various methods and, in particular, the
                                            results obtained with each of them.”

                                            Strik, at 238.

                                            Strik discloses, expressly or inherently, the step of “incorporating, into the
                                            language model, pronunciation probabilities associated with respective
                                            unique labels for each different pronunciation of a word, wherein the
                                            respective unique label for a most frequent word indicates a special
                                            status in the language model.” In Strik, pronunciation variants and their

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                                            probabilities result from a “variant selection” process, which selects the
                                            most frequent words and identifies a special status. See, e.g.,

                                            “One of the most common ways of modeling pronunciation variation is to
                                            add pronunciation variants to the lexicon (see Section 2.4.1). This method
                                            can be applied fairly easily and it appears to improve recognition
                                            performance. However, a problem with this approach is that certain words
                                            have numerous variants with very different frequencies of occurrence.
                                            Some quantitative data on this phenomenon can be found in Table 2 on
                                            page 50 of Greenberg (1998). For instance, if we look at the data for ‘that’,
                                            we can see that this word appears 328 times in the corpus used by
                                            Greenberg, that it has 117 different pronunciations and that the single most
                                            common variant only covers 11% of the pronunciations. The coverage of
                                            the other variants will probably decrease gradually from 11% to almost
                                            zero. In principle one could include all 117 variants in the lexicon and it is
                                            possible that this will improve recognition of the word ‘that’. However,
                                            this is also likely to increase confusability. If many variants of a large
                                            number of words are included in the lexicon the confusability can increase
                                            to such an extent that recognition performance may eventually decrease.
                                            This implies that variant selection constitutes an essential part of this
                                            approach.”

                                            Strik, at 240-41.

                                            “An obvious criterion for variant selection is frequency of occurrence.
                                            Adding very frequent variants is likely to produce a more substantial
                                            improvement than adding infrequent variants. However, there is no clear
                                            distinction between frequent and infrequent pronunciation variants.
                                            Furthermore, besides frequency of occurrence, there will be other
                                            important factors that influence recognition performance. For instance,
                                            some pronunciation variants will probably constitute no problem for the
                                            ASR system, in the sense that they will be recognized correctly even

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                                            though they (slightly) differ from the representation stored in the lexicon.
                                            Other spoken variants will probably cause frequent errors during
                                            recognition. In order to improve the performance of the ASR system, it is
                                            necessary to know which variants cause recognition errors (and which do
                                            not). Furthermore, adding pronunciation variants to the lexicon can solve
                                            some recognition errors, but it will certainly also introduce new ones. To
                                            optimize performance one should add those variants for which the balance
                                            between solving old errors and introducing new errors is positive.
                                            Confusability during the decoding process is a central issue in this respect.
                                            However, it will be difficult to predict a priori what the confusability
                                            during decoding will be. A manner in which our insight on this topic could
                                            be enhanced, is by doing error analysis, as will be discussed below.”

                                            Strik, at 241.

                                            In addition, it would be obvious to a person having ordinary skill in the art
                                            to combine Strik with Kessens. Both Strik and Kessens are in the same
                                            field of art. Strik discloses that it is beneficial to include pronunciation
                                            variants and a potential issue is that this may increase “confusability.”
                                            Kessens teaches techniques that include pronunciation variants and protect
                                            against performance degradation caused by the increase in “confusability.”
                                            A person having ordinary skill in the art would therefore be motivated to
                                            use the disclosures of Kessens to implement the system of Wester. A
                                            person having ordinary skill in the art would have a reasonable expectation
                                            of success in implementing Wester using the disclosure of Kessens
                                            because the combination involves the predictable use of prior art elements
                                            according to their established functions.

                                            The motivation to combine these references would at least include:




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                                                   Combining prior art elements according to known methods to yield
                                                    predictable results (including pronunciation variants in a lexicon to
                                                    improve performance of a speech recognizer);
                                                   Simple substitution of one known element for another to obtain
                                                    predictable results (including pronunciation variants in a lexicon
                                                    was well known in the art);
                                                   Use of known technique to improve similar devices (methods, or
                                                    products) in the same way (using pronunciation variants and limiting
                                                    their use was known));
                                                   Applying a known technique to a known device (method, or product)
                                                    ready for improvement to yield predictable results (using data-
                                                    driven techniques to create a language model for speech recognition
                                                    was well known in the art);
                                                   “Obvious to try”—choosing from a finite number of identified,
                                                    predictable solutions, with a reasonable expectation of success (there
                                                    are a finite number of ways to incorporate variant pronunciations in
                                                    a speech recognition system);
                                                   Market forces and benefits associated with the known benefits of
                                                    automatic speech recognition; and
                                                   Teaching of prior art would have lead a POSA to combine the
                                                    references to arrive at a language model for speech recognition.
                                            Kessens also discloses, expressly or inherently, the step of “incorporating,
                                            into the language model, pronunciation probabilities associated with
                                            respective unique labels for each different pronunciation of a word,
                                            wherein the respective unique label for a most frequent word indicates a
                                            special status in the language model.” In Kessens, the 50 most frequently

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                                                     occurring word sequences are selected, and given a special status. See,
                                                     e.g.,

                                                     “The first step in cross-word method 1 consisted of selecting the 50 most
                                                     frequently occurring word sequences from our training material. Next,
                                                     from those 50 word sequences we chose those words which are sensitive
                                                     to the cross-word processes cliticization, contraction and reduction. This
                                                     led to the selection of seven words which made up 9% of all the words in
                                                     the training corpus (see Table 2). The variants of these words were added
                                                     to the lexicon and the rest of the steps of the general procedure were
                                                     carried out (see Section 2.2). Table 2 shows the selected words (column 1),
                                                     the total number of times the word occurs in the training material (column
                                                     2), their baseline transcriptions (column 3) and their added cross-word
                                                     variants (column 4).”

                                                     Kessens, at 199.

                                                     “For all methods, the best results are obtained when pronunciation variants
                                                     are used during training and recognition, and when they are added to the
                                                     language model (MMM). All methods lead to an improvement in the
                                                     CSR’s performance when their results are compared to the result of the
                                                     baseline (SSS). These improvements are summed up in Table 5. Modeling
                                                     within-word variation in isolation gives a significant improvement of
                                                     0.68%, and in combination with cross-word method 2, the improvement is
                                                     also significant.”

                                                     Kessens, at 204.

17.c   after incorporating the pronunciation         Strik discloses, expressly or inherently, the step of “after incorporating the
       probabilities into the language model,        pronunciation probabilities into the language model, recognizing an
       recognizing an utterance using the language   utterance using the language model:” Strik discloses testing the recognizer
       model.

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                                            with the language model as well as the resulting performance disclosed.
                                            See, e.g.,

                                            “The focus in automatic speech recognition (ASR) research has gradually
                                            shifted from isolated words to conversational speech. Consequently, the
                                            amount of pronunciation variation present in the speech under study has
                                            gradually increased. Pronunciation variation will deteriorate the
                                            performance of an ASR system if it is not well accounted for. This is
                                            probably the main reason why research on modeling pronunciation variation
                                            for ASR has increased lately. In this contribution, we provide an overview
                                            of the publications on this topic, paying particular attention to the papers in
                                            this special issue and the papers presented at ‘the Rolduc workshop’. First,
                                            the most important characteristics that distinguish the various studies on
                                            pronunciation variation modeling are discussed. Subsequently, the issues of
                                            evaluation and comparison are addressed. Particular attention is paid to
                                            some of the most important factors that make it difficult to compare the
                                            different methods in an objective way. Finally, some conclusions are drawn
                                            as to the importance of objective evaluation and the way in which it could
                                            be carried out.”

                                            Strik, at Abstract.

                                            “The question that arises at this point is: Is an objective evaluation and
                                            comparison of these methods at all possible? This question is not easy to
                                            answer. An obvious solution seems to be to use benchmark corpora and
                                            standard methods for evaluation (e.g., to give everyone the same canonical
                                            lexicon), like the NIST evaluations for automatic speech recognition and
                                            automatic speaker verification. This would solve a number of the problems
                                            mentioned above, but certainly not all of them. The most important problem
                                            that remains is the choice of the language. Like many other benchmark tests
                                            it could be (American) English. However, pronunciation variation and the
                                            ways in which it should be modeled can differ between languages, as argued

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                                            above. Furthermore, for various reasons it would favor groups who do
                                            research on (American) English. Finally, using benchmarks would not solve
                                            the problem of differences between ASR systems.”

                                            Strik, at 240.

                                            “Finally, it is worth mentioning that at present most researchers use
                                            ‘standard ASR systems’ based on discrete segmental representations,
                                            HMMs to model the segments, and features that are computed per frame
                                            (usually cepstral features and their derivatives). Possibly, the underlying
                                            assumptions in these standard ASR systems are not optimal. One of the
                                            assumptions is that speech is made up of discrete segments, usually
                                            phone(me)s. Although this has long been one of the assumptions in
                                            linguistics too, the idea that speech can be phonologically represented as a
                                            sequence of discrete entities (the ‘absolute slicing hypothesis’, as
                                            formulated in (Goldsmith, 1976, pp. 16-17)) has proved to be untenable. In
                                            non-linear, autosegmental phonology (Goldsmith, 1976, 1990) an analysis
                                            has been proposed in which different features are placed on different tiers.
                                            The various tiers represent the parallel activities of the articulators in speech,
                                            which do not necessarily begin and end simultaneously. In turn the tiers are
                                            connected by association lines. In this way, it is possible to indicate that the
                                            mapping between tiers is not always one to one. Assimilation phenomena
                                            can then be represented by the spreading of one feature from one segment
                                            to the adjacent one. On the basis of this theory, Li Deng and his colleagues
                                            have built ASR systems with which promising results have been obtained
                                            (Deng and Sun, 1994).”

                                            Strik, at 242.

                                            “One of the most common ways of modeling pronunciation variation is to
                                            add pronunciation variants to the lexicon (see Section 2.4.1). This method
                                            can be applied fairly easily and it appears to improve recognition

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                                            performance. However, a problem with this approach is that certain words
                                            have numerous variants with very different frequencies of occurrence.
                                            Some quantitative data on this phenomenon can be found in Table 2 on
                                            page 50 of Greenberg (1998). For instance, if we look at the data for ‘that’,
                                            we can see that this word appears 328 times in the corpus used by
                                            Greenberg, that it has 117 different pronunciations and that the single most
                                            common variant only covers 11% of the pronunciations. The coverage of
                                            the other variants will probably decrease gradually from 11% to almost
                                            zero. In principle one could include all 117 variants in the lexicon and it is
                                            possible that this will improve recognition of the word ‘that’. However,
                                            this is also likely to increase confusability. If many variants of a large
                                            number of words are included in the lexicon the confusability can increase
                                            to such an extent that recognition performance may eventually decrease.
                                            This implies that variant selection constitutes an essential part of this
                                            approach.”

                                            Strik, at 240-41.

                                            “In most studies mentioned above the emphasis was on reduction of the
                                            error rates. However, the difference in the error rates of two systems is
                                            only a global measure which does not provide information about the
                                            details of the differences in the recognition results. Consequently, in most
                                            studies it is not possible to find out how and why improvements were
                                            obtained. In order to do so the recognition errors should be studied in more
                                            detail, i.e., more detailed error analysis should be carried out. This can be
                                            done by comparing the errors in the recognition results between the old
                                            system and the new one. In addition, error analysis could be used not only
                                            post hoc, to test the effect of a specific method, but also before applying
                                            the method. For instance, it would be informative to know beforehand how
                                            many and what kind of errors are made so as to be able to estimate the



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                                            maximum amount of improvement that can be achieved. In turn this could
                                            constitute a criterion in deciding whether to test the method at all.”

                                            Strik, at 241.

                                            “At this point, it may be useful to try to make a general assessment of the
                                            state of the art in research on modeling pronunciation variation for ASR.
                                            For example, we could start by relating the results obtained so far to the
                                            expectations researchers had at the beginning. It is difficult, though, to
                                            estimate the researchers’ expectations about the gain in recognition
                                            performance that could be obtained by modeling pronunciation variation.
                                            In any case, judging by the effort that has gone in this type of research one
                                            could conclude that there were high expectations. The results reported so
                                            far vary from 0% to 20% relative reduction in the WER. These findings
                                            can be interpreted either positively or negatively. Positively: modeling
                                            pronunciation variation often improves recognition performance,
                                            sometimes even by 20%. Negatively: sometimes recognition performance
                                            increases by about 20%, but in most cases improvements are marginal. At
                                            the Rolduc workshop the general feeling seemed to be that the results
                                            obtained so far did not live up to the expectations.”

                                            Strik, at 241-42.

                                            “Finally, it is worth mentioning that at present most researchers use
                                            ‘standard ASR systems’ based on discrete segmental representations,
                                            HMMs to model the segments, and features that are computed per frame
                                            (usually cepstral features and their derivatives). Possibly, the underlying
                                            assumptions in these standard ASR systems are not optimal. One of the
                                            assumptions is that speech is made up of discrete segments, usually
                                            phone(me)s. Although this has long been one of the assumptions in
                                            linguistics too, the idea that speech can be phonologically represented as a
                                            sequence of discrete entities (the ‘absolute slicing hypothesis’, as

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                                                    formulated in (Goldsmith, 1976, pp. 16-17)) has proved to be untenable. In
                                                    non-linear, autosegmental phonology (Goldsmith, 1976, 1990) an analysis
                                                    has been proposed in which different features are placed on different tiers.
                                                    The various tiers represent the parallel activities of the articulators in
                                                    speech, which do not necessarily begin and end simultaneously. In turn the
                                                    tiers are connected by association lines. In this way, it is possible to
                                                    indicate that the mapping between tiers is not always one to one.
                                                    Assimilation phenomena can then be represented by the spreading of one
                                                    feature from one segment to the adjacent one. On the basis of this theory,
                                                    Li Deng and his colleagues have built ASR systems with which promising
                                                    results have been obtained (Deng and Sun, 1994).”

                                                    Strik, at 242.

Claim 19
19     The computer-readable storage device of      As discussed above with respect to claim 17, Strik, either by itself, or in
       claim 17, wherein the language model is      combination with Steinbiss, discloses, expressly or inherently, the
       generated by modeling pronunciation          computer-readable storage device of claim 17. See supra claim [17],
       dependencies across word boundaries.         which is incorporated by reference herein.

                                                    Strik discloses, expressly or inherently, a “language model [that] is
                                                    generated by modeling pronunciation dependencies across word
                                                    boundaries.” Strik describes using “cross-word processes” in the language
                                                    model as part of an ASR system. See, e.g.,

                                                    “The majority of the contributions are concerned with variation at the
                                                    segmental level. A common way of describing segmental pronunciation
                                                    variation in the context of ASR is by indicating whether it refers to word-
                                                    internal or to cross-word processes, because this choice is strongly related
                                                    to the properties of the speech recognizer being used. As a matter of fact,
                                                    the choice for word-internal variation, cross-word variation or both, is

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                                            determined by factors such as the type of ASR, the language, and the level
                                            at which modeling will take place.”

                                            Strik, at 229.

                                            “Besides within-word variation, cross-word variation also occurs, especially
                                            in continuous speech. Therefore, cross-word variation should also be
                                            accounted for. A sort of compromise solution between the ease of modeling
                                            at the level of the lexicon and the need to model cross-word variation is to
                                            use multi-words (Beulen et al., 1998; Finke and Waibel, 1997; Kessens et
                                            al., 1999; Nock and Young, 1998; Pousse and Perennou, 1997; Ravishankar
                                            and Eskenazi, 1997; Riley et al., 1998; Sloboda and Waibel, 1996; Wester
                                            et al., 1998a). In this approach, sequences of words (usually called multi-
                                            words) are treated as one entity in the lexicon (see also Section 2.4.1) and
                                            the variations that result when the words are strung together are modeled by
                                            including different variants of the multi-words. It is important to note that,
                                            in general, with this approach only a small portion of cross-word variation
                                            is modeled, e.g., that occurring between words that figure in very frequent
                                            sequences. Besides the multi-word approach, other methods have been
                                            proposed to model cross-word variation such as (Aubert and Dugast, 1995;
                                            Blackburn and Young, 1995, 1996; Cohen and Mercer, 1975; Cremelie and
                                            Martens, 1995, 1997, 1998, 1999; Mercer and Cohen, 1987; Perennou and
                                            Brieussel-Pousse, 1998; Pousse and Perennou, 1997; Safra et al., 1998;
                                            Schiel et al., 1998; Wiseman and Downey, 1998).”

                                            Strik, at 229.

                                            “Given that both within-word and cross-word variation occur in running
                                            speech, it will probably be necessary to model both of them. This has
                                            already been done in (Beulen et al., 1998; Blackburn and Young, 1995,
                                            1996; Cohen and Mercer, 1975; Cremelie and Martens, 1995, 1997, 1998,
                                            1999; Finke and Waibel, 1997; Kessens et al., 1999; Mercer and Cohen,

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                                            1987; Riley et al., 1998, 1999; Schiel et al., 1998; Sloboda and Waibel,
                                            1996; Wester et al., 1998a).”

                                            Strik, at 229-30.

                                            “As was mentioned earlier, multi-words can also be added to the lexicon,
                                            in an attempt to model cross-word variation at the level of the lexicon.
                                            Optionally, the pronunciation variants of multi-words can also be included
                                            in the lexicon. By using multi-words Beulen et al. (1998) and Wester et al.
                                            (Kessens et al., 1999; Wester et al., 1998a) achieve a substantial
                                            improvement, while for Nock and Young (1998) this was not the case.”

                                            Strik, at 234.

                                            “Another component in which pronunciation variation can be taken into
                                            account is the language model (LM) (Cremelie and Martens, 1995, 1997,
                                            1998, 1999; Deshmukh et al., 1996; Finke and Waibel, 1997; Fukada et
                                            al., 1998, 1999; Kessens et al., 1999; Lehtinen and Safra, 1998; Perennou
                                            and Brieussel-Pousse, 1998; Pousse and Perennou, 1997; Schiel et al.,
                                            1998; Wester et al., 1998a; Zeppenfeld et al., 1997). This can be done in
                                            several ways, as will be discussed below.”

                                            Strik, at 236.

                                            “Method 1. The easiest solution is to simply add the variants to the
                                            lexicon, and not to change the LMs at all. In this case, for every variant the
                                            probabilities for the word it belongs to are used. Since the statistics for the
                                            variants are not used, it is obvious that this is a sub-optimal solution. In the
                                            following two methods the statistics for the variants are employed.”

                                            Strik, at 236.



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                                            “Method 2. The second solution is to use the variants themselves (instead
                                            of the underlying words) to calculate the N-grams (Kessens et al., 1999;
                                            Schiel et al., 1998; Wester et al., 1998a). For this procedure, a transcribed
                                            corpus is needed which contains information about the realized
                                            pronunciation variants. These transcriptions can be obtained in various
                                            ways, as has been discussed in Sections 2.2 and 2.4. The goal of this
                                            method is to find the string of variants V which maximizes P(X|V) * P(V).”

                                            Strik, at 236-37.

                                            “Another important difference between the two methods is that in the third
                                            method the context-dependence of pronunciation variants is not modeled
                                            directly in the LM. This can be a disadvantage as pronunciation variation
                                            is often context-dependent, e.g., liaison in French (Perennou and
                                            Brieussel-Pousse, 1998; Pousse and Perennou, 1997). Within the third
                                            method, this deficiency can be overcome by using classes of words instead
                                            of the words themselves, i.e., the classes of words that do or do not allow
                                            liaison (Perennou and Brieussel-Pousse, 1998; Pousse and Perennou,
                                            1997). The probability of a pronunciation variant for a certain class is then
                                            represented in P(V|W), while the probability of sequences of word classes
                                            is stored in P(W).

                                            Strik, at 237.




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                    Invalidity Claim Chart for U.S. Patent No. 8,532,993 (’993 patent)
